Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 1 of
                                      100




                         Exhibit A
                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 2 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                               September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Major Non-Conformities)


                                                                                                                                                                                                                                      Status of
                                                                                                                                                                                                                                    Corrective &
                        Location Name                                                                                                                                                                                            Preventive Action
  Row Number             (Audit Date)             ECP Section                                Final Audit Finding                                                   Corrective & Preventive Action Plan                                  Plan
                                                                    The Membrane Bio-Reactor (MBR) marine sewage treatment                   Root Cause Analysis indicated a lack of parts available for the obsolete unit. A   In Progress
                                                                    plant (Black Water System), has been Non-operational since May           return visit by the Department for Environmental Food & Rural Affairs is to be
                                                                    of 2017, some 14 months past. As with many items of equipment,           conducted in September to continue repairs. GOTECH is currently resolving
                                                                    this particular model is obsolete, and new parts are not readily         communications issues. The unit is to be replaced by
                                                                    compatible. There has been a series of visits from Tech Reps             WARTSILA/HAMMWORTHY.
                                                                    throughout this period with much money spent. After 14-months,
                                                                    there is currently a riding crew on board to repair the units. There
                        MS Oosterdam              ECP Section       is also a full replacement scheduled for the first quarter of 2019. In
         1.
                         (07.26.2018)              VIII.B.2.g       the interim, the vessel is using a ballast tank as a holding tank.
                                                                    This is a class approved solution. This is also a root cause for
                                                                    some of the inappropriate discharges of Black Water during this
                                                                    time.



                                                                    The vessel is fitted with Four (4) Exhaust Gas Cleaning Systems    Root Cause Analysis indicated of having 2 EGCS out of service during the audit.          Completed
                                                                    (EGCS). Two EGCS were inoperable at the time of the audit.         The first EGCS went out of service on May 27th and the other on August 14th,
                                                                                                                                       both due to the gearbox failure. We received one gearbox on August 14th, but it
                                                                                                                                       was the incorrect type. We also received another gearbox from another ship on
                        MS Zuiderdam              ECP Section
         2.                                                                                                                            August 24th, but again this was the wrong type. Currently, we expect one to be
                         (09.27.2018)              VIII.B.2
                                                                                                                                       delivered onboard October 20th and not sure of the delivery date for the other at
                                                                                                                                       this moment and working with the vendor. (PO# T466-180957). Recommended
                                                                                                                                       review of the EGCS required spares website (CCL Marine Technology website -
                                                                                                                                       updated August 2018) and proposed carry of spare(s) for HA Group fleet.
                                                                    One of the two sewage treatment plants, a pollution prevent device Root Cause Analysis indicated during the audit 1 of 2 Rochem lines was not               Completed
                                                                    is not operating as designed.                                      working L1 is off due to failure of the VFD’s. Old VFD’s are obsolete of L1 and
                        MS Zuiderdam              ECP Section
         3.                                                                                                                            need to be up-graded like L2. PO T466-181337 and T466-181581 - estimated
                         (09.27.2018)              VIII.B.2
                                                                                                                                       completion Q1 2019. Review of Rochem system and its future applicability
                                                                                                                                       onboard the ZUDM.
                                                                    During a U.S. Coast Guard, Port State Control, Certificate of      Root Cause Analysis indicated the direct cause was procedural non-conformance.           Completed
                                                                    Compliance annual inspection conducted on 4 November, 2018 in Actions were taken immediately following the near-miss: 1. Tank isolated,
                                                                    Guam, the vessel was cited for pumping condensate through a        wastewater discharged ashore (total 1.1m3), and tank cleaned. Returned to
         4.
                        Coral Princess          ECP Section VIII    hose that was labeled for “Sludge” usage into the Grey Water tank service 11 November 2018. 2. Hoses & fittings separated and now stored in
                        (11.22.2018)                 B.2.t          through the sounding tube, which could have potentially lead to a  lockers controlled by the Chief Engineer. 3. The vessel has ordered materials to
                                                                    discharge of oil directly overboard.                               complete fabrication of separate lockers which will divide hoses into use
                                                                                                                                       category. The Chief Engineer will control access to these lockers.
                                                                    The static Oily Water Separator (OWS), manufactured by RWO               Root Cause Analysis indicated the RWO capacity and installation design doesn't     Completed
                                                                    could not perform the one-hour operation test as required by the         allow comfortable processing overboard. The RWO will be decommissioned,
                        Carnival Elation        ECP Section VIII    ECP. The Chief Engineer stated the RWO/OWS is not dependable             taken out from the IOPPC, and dismantled. The ship has in place a working
         5.                                                         and has not been used to process bilge water overboard but utilizes      Marinfloc OWS. A new OWS will be installed to replace the RWO. CCL will
                         (12.16.2018)                B.2.d
                                                                    the Marinfloc OWS instead.                                               also apply the same corrective actions for the other two vessels that have RWO
                                                                                                                                             installed and the same corrective action will be applied across the other ships.


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                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 3 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                               September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Major Non-Conformities)

                                                                                                                                                                                                                                          Status of
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                        Location Name                                                                                                                                                                                                Preventive Action
  Row Number             (Audit Date)             ECP Section                               Final Audit Finding                                                      Corrective & Preventive Action Plan                                    Plan
                                                                    In the garbage handling room, the food waste containers had other         Root Cause Analysis indicates a lack of oversight by team members working in          In Progress
                                                                    items such as plastic straws, plastic wrap, aluminum butter               the area. No adequate supervision. Retraining will be conducted with all team
                                                                    wrappers, wooden stir sticks and other miscellaneous items mixed          members. Supervision in respective areas will be reinforced on board, and
                                                                    in the food waste that was processed through the pulpers and into         additional spot checks will be conducted by the Environmental Officer to ensure
                                                                    the food waste tanks, ready to be discharged while at sea. The            compliance. 1. Environmental ops and Food ops to review the current
                        Carnival Elation        ECP Section VIII
         6.                                                         Food Waste tank was discharged to sea on 16 December 2018,                process/cycle of waste segregation and come up with recommendations to
                         (12.16.2018)                B.2.g
                                                                    with no verified documentation of the removal of items noted              improve if needed. The review shall include a study on the efficiency of current
                                                                    above. The TPA noted the issue to the EO.                                 supervision and logging requirements. 2. CCL OLTM to look into the
                                                                                                                                              effectiveness of training materials/ready references/posters currently in use to
                                                                                                                                              highlight waste segregation and revise if necessary 3. Access the feasibility to
                                                                                                                                              Install CCTV cameras over pulper/garbage room chutes around the ship.
                                                                    The #1 incinerator, a pollution prevention equipment, was found           Root Cause Analysis indicated damaged silo screw caused the incinerator to be         Completed
                                                                    not in service. The incinerator has been out of service for several       placed out of service. The incinerator was kept out of service for over a year. An
                                                                    years but utilizes the #2 incinerator to burn solid waste.                incident report was raised in time, and this was also reported to the interested
                                                                                                                                              parties. This was also reported on the EnoA every arrival US port. The reason
                                                                                                                                              for keeping this equipment OOS for so long was that technical operations were
                        Carnival Elation        ECP Section VIII
         7.                                                                                                                                   evaluating the possible decommissioning of the equipment, taking into
                         (12.16.2018)                B.2.c
                                                                                                                                              consideration the system capability, performance, and ship needs. All this while
                                                                                                                                              the other incinerator # 2 was fully operational and the ship was able to burn waste
                                                                                                                                              comfortably. The incinerator will be removed # 1 off the ships IAPPC. The need
                                                                                                                                              for repair or decommission will be evaluated. The ship’s other Incinerator # 2 is
                                                                                                                                              fully operational, and capacity to burn waste is not affected.
                                                                    The Exhaust Gas Cleaning System (EGCS) installed for engines              Root Cause Analysis indicated the EGCS was not in service, as there was a             Completed
                                                                    DG1, DG2, and DG5 had been commissioned at the presence of                various technical issue's including gas analyzer failure. Lloyds had issued the
                                                                    Lloyds Class Surveyor on December 19, 2018, and a new IAPP                IAPPC by error. OEM Technicians will be boarding the ship to carry out
                        Carnival Vista            ECP Section
         8.                                                         Certificate and Supplement had been issued on that date                   necessary troubleshooting before placing the unit in service. DD/GG # 5 has a
                        (01.11.2019)              VIII.B.2.c.
                                                                    accordingly. The EGCS had been found out of service at the time           condition of class issued. Future commissioning will be done in a more
                                                                    of the audit.                                                             coordinated manner to avoid such situations from occurring in the future. The
                                                                                                                                              Lloyds surveyor was also briefed about this finding to prevent reoccurrence.
                                                                    During an internal inspection of the Recycling Center equipment;          Root Cause Analysis indicated segregation at source was not always being              In Progress
                                                                    shredder/pulper and mixing tank/food waste tank, numerous non‐            followed in the main galleys and Lido dining room due to lack of procedural
                                                                    food items were found inside such as metal bottle caps, metal             instructions. All nonfood items were removed immediately. The system was
                                                                    utensils, crayons, glass, cloth rags, pieces of broken dishes and         cleaned and placed back in service. An incident report raised and Garbage record
                                                                    some plastics.                                                            book entry recorded. Food waste segregation at source will be reinforced in the
                                                                                                                                              Main Galleys and Lido Galleys and other areas of the ship where food waste is
                                                                                                                                              being generated. A standardized guideline will be prepared for this process of
                                                                                                                                              waste segregation at the source which will encompass all departments that create
                       Carnival Breeze*           ECP Section
         9.                                                                                                                                   food waste. Signage in the galleys will be reinforced to ensure clarity and more
                         (05.11.2019)              VIII.B.2.g
                                                                                                                                              visibility. CCL team working with Dupont to develop this revamped signage.
                                                                                                                                              Carnival Breeze will be a pilot ship. New training will be designed for the crew
                                                                                                                                              to emphasize on the food waste segregation and its importance. A video will also
                                                                                                                                              be created to bring to the attention of our guests the importance of food waste
                                                                                                                                              segregation on board. Supervision, Control, and Logging of food waste
                                                                                                                                              discharges will be enhanced in the form of formal procedures to improve the
                                                                                                                                              oversight and accountability of food waste operations. Single-use items like
                                                                                                                                              plastic straws, sugar sachets, etc. are being phased out to eliminate nonfood items
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                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 4 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                               September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Major Non-Conformities)

                                                                                                                                                                                                                                   Status of
                                                                                                                                                                                                                                 Corrective &
                        Location Name                                                                                                                                                                                          Preventive Action
  Row Number             (Audit Date)             ECP Section                             Final Audit Finding                                                  Corrective & Preventive Action Plan                                   Plan
                                                                                                                                          from entering the food waste streams. Hotel operations will develop a phase-out
                                                                                                                                          plan CCTV cameras also will be installed fleet-wide. An installation plan to be
                                                                                                                                          developed by technical operations.




                                                                    Throughout the ships various galleys and food preparation areas      Root Cause Analysis indicated the original design of the deck floor drains allows     Completed
                                                                    there are approximately (28) galley deck drain bells and (137)       the crew members to remove protection grids, therefore, permitting solid waste
                                                                    screws missing                                                       entrance to the greywater system. Root Cause Analysis also indicates a lack of
                                                                                                                                         awareness for the crew about any modification in design or misuse of the
                       Carnival Breeze*           ECP Section
         10.                                                                                                                             equipment. All drain bells and deck drain covers in all galleys and pantry have
                         (05.11.2019)              VIII.B.2.g
                                                                                                                                         been inspected as per Info ship notice EN000065. Engine department has
                                                                                                                                         submitted a requisition for drain bells, and all missing drain bells will be fitted
                                                                                                                                         upon receiving new onboard. Tamper-proof screws are being sourced and will be
                                                                                                                                         installed fleet-wide.
                                                                    A visual inspection of the ships galley grey water drain tank found Root Cause Analysis indicated the original design of the deck floor drains allows      In Progress
                                                                    several non‐food items floating on the surface of the tank contents, crew members to remove protection grids and therefore permitting solid waste
                                                                    including plastics.                                                  entrance to the grey water system. Lack of awareness for the crew about any
                       Carnival Breeze*           ECP Section                                                                            modification in design or misuse of the equipment. All drain bells and deck drain
         11.
                         (05.11.2019)              VIII.B.2.g                                                                            covers in all galleys and pantry have been inspected as per Info ship notice
                                                                                                                                         EN000065. Engine department has submitted a requisition for drain bells, and all
                                                                                                                                         missing drain bells will be fitted upon receiving new onboard. Tamper-proof
                                                                                                                                         screws are being sourced and will be installed fleet-wide.
                                                                    The Exhaust Gas Cleaning Systems (EGCS) for MDG No. 1 and            Root Cause Analysis indicated service onboard by a third-party vendor required        In Progress
                                                                    No. 6 are not working due to a malfunction of the Variable           power removal to the shared transformer (AAQS - C Transformer). Once power
                                                                    Frequency Drives (VFD’s) that control the scrubber dilution          returned to the system, then the AAQS was found inoperable. Initial diagnosis
                                                                    pumps. The No. 2 MDG is equipped with an EGCS that is fully          indicates that the FENA control boards on #1 and #6 VFDs failed due to power
                                                                    functional but cannot be run on HFO because it shares the same       cycle. EUDM received and installed two VFDs from the warehouse and installed
                                                  ECP Section
         12.        Eurodam*(07.08.2019)                            fuel cell with MDG No. 1.                                            five days after failure. AAQS complete system is operable. VFDs sent ashore to
                                                   VIII.B.2.c
                                                                                                                                         the manufacturer for further diagnosis. If FENA switches are determined to be
                                                                                                                                         the root cause of failure, then the AAQS Spares List will require an update to
                                                                                                                                         include FENA switches. Consider ABG fleet implementation if FENA is the root
                                                                                                                                         cause of failure and submit to AAQS Working Group - SVP, Marine Tech &
                                                                                                                                         Refit, Mike Kaczmarek.


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                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 5 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                               September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Major Non-Conformities)

                                                                                                                                                                                         Status of
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                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 6 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                  September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                               Status of
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      Row Number              (Audit Date)                ECP Section                                       Final Audit Finding                                                Corrective & Preventive Action Plan                            Action Plan
                                                                               As per the ECP section III.B.1.b., the Risk Advisory and Assurance            Root Cause Analysis indicated ineffective Procedure (the process is open      In Progress
                                                                               Service (“RAAS”) department shall investigate covered vessel casualties       to interpretation). The Company will now require that a monthly update
                                                                               and oil pollution incidents in accordance with Carnival’s incident            on the status of all Severity 3 investigations in progress at all brands be
                                                                               investigation policy. Reference is to the HESS‐MS Procedure HMP‐1303          provided to the RAAS Director of Investigations in order to ensure that
                                                                               – Event Investigation (Level 3 and 4), Section 3.3 which states that “with    all issues are being reviewed and resolved in a timely manner. The first
                                                                               all level 3 investigations, the lead investigator must routinely update the   update is to be provided by November 30, 2017. RAAS will update
                                                                               VP RAAS (Maritime) and the appropriate legal department on the status         HMP 1303 to define: (1) Operating Line progress report frequency based
                               Shore - ABG                                     of these investigations”. At the time of the audit, multiple level 3          on the investigation’s complexity (Severity 1 to 4); (2) the VP of RAAS
             1.                                       ECP Section III.B.1.b
                               (08.18.2017)                                    investigations relevant to pollution incidents have occurred from             Maritime will be required to discuss Severity 4 investigations during the
                                                                               September 2016 to July 2017, 24 investigations were found to still            quarterly EVP meetings; and (3) VP of RAAS Maritime will provide a
                                                                               remain open. Evidence was provided by the RAAS Director of                    factual statement on the incident to the MPA within 15 days of
                                                                               Investigation showing where he has requested follow up from the Lead          commencing a Severity 4 investigation. Overall, the Company
                                                                               Investigators residing at the Line level on a regular basis. However, no      acknowledges the difficulties observed by the TPA and is revising its
                                                                               recent feedback or investigation updates had been provided to the RAAS        HESS investigation procedure to ensure more timely investigation
                                                                               Director of Investigations at the time of this audit.                         results.

                                                                               As per the ECP section III.B.1.b., the Risk Advisory and Assurance            Root Cause Analysis indicated ineffective Procedure. MPA Issued ECN           In Progress
                                                                               Service (“RAAS”) department shall investigate covered vessel casualties       #10 (22nd August 2017) to specifically address the Bahamas Baseline
                                                                               and oil pollution incidents in accordance with Carnival’s incident            incidents. The Safety and Environmental Awareness Bulletin were also
                                                                               investigation policy. Reference is to the HESS‐MS Procedure HMP‐1303          used for communicating lessons learned. Working group established to
                                                                               – Event Investigation (Level 3 and 4), Section 6, which states that during    identify non-shoreline claims. Preventive RAAS will update HMP 1303
                                                                               the course of an investigation MPA has to circulate information learned       to define: 1) Operating Line progress report frequency based on the
                                                                               from the investigation to all Operating Lines. Incidents in violation of      investigation complexity (Severity 1 to 4); 2) require that the VP of
                                                                               Marpol Annex IV and V regulations and company procedure ENV 1001              RAAS Maritime discuss Severity 4 investigations during the quarterly
                                                                               due to discharge overboard of comminuted food waste and treated black         EVP meetings; and 3) require that the VP of RAAS Maritime provide a
                                                                               water inside 12 nautical miles of the Bahamas baseline were reported on       factual statement on the incident to MPA within 15 days of commencing
                                                                               the vessel Carnival Elation on voyages between June 4 and June 16,            a Severity 4 investigation.
                                                                               2017. Reference is to the environmental incident report 005_2017‐EL.
                               Shore - ABG            ECP Section III.B.1.b;   Further investigation revealed the existence of similar reports issued to
             2.                                                                other Carnival Cruise Line vessels (Carnival Freedom, Carnival Liberty,
                               (08.18.2017)            HESS: HMP‐1303
                                                                               Carnival Magic, Carnival Conquest, Carnival Splendor and Carnival
                                                                               Vista). At the time of the audit, the investigation of these incidents was
                                                                               found open. The HESS‐MS procedure ENV 1001 was found revised and
                                                                               containing additional information to the vessel to avoid future similar
                                                                               incidents. A copy of the internal Carnival Cruise Line internal
                                                                               communication sent to the Line fleet requiring Masters and Chief
                                                                               Engineers to confirm awareness and updates of the procedure was also
                                                                               provided. However the information learned from the ongoing
                                                                               investigation, including the notification of procedure change, has not
                                                                               been circulated to all the Operating Lines as required by the HESS‐MS
                                                                               Procedure.




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                                                               Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 7 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                   September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                             Status of
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      Row Number               (Audit Date)                 ECP Section                                      Final Audit Finding                                              Corrective & Preventive Action Plan                           Action Plan
                                                                                The ship has identified their vulnerabilities but has not sealed all of them. Root Causes Analysis indicated a misinterpretation of ECP                   Completed
                                                                                It is the practice of the ship that some vulnerability points need a portable requirements. The controls of portable pump usage are currently under
                                                                                pump and hoses to make them a vulnerability. According to the ship            review.
                                                                                unauthorized usage of portable pumps is prevented by controlling pump
                                                                                usage as per their companies OD ENV/02/16. Portable pump usage is
                                                                                also regulated by ENV-1203. Using this pump control method might be
             3.         Crown Princess(11.18.2017)      ECP Section IX.B.1      seen as a virtual lock but this does not meet the requirements of the ECP
                                                                                for tags, seals or locks. A reassessment of all vulnerable connections that
                                                                                are not tagged because of the use of the portable pump control directive
                                                                                needs to be done and seals, tags, locks or welded clips need to be
                                                                                installed to meet the ECP requirement.


                                                                                Investigations Process does not follow HMP 1303, Para 4 - Reports:          Root Cause Analysis indicated a failure to follow procedure. Streamline       In Progress
                                                                                RAAS group does not consistently return review of Investigations within     the review process within RAAS. RAAS needs to formally confirm
                                                                                five (5) working days of Holland America Group reporting. Examples of       Maritime Audit Services not only reviews but also can sign off on the
                         Holland America Group                                  ECP related incidences among numerous other examples include:               investigations reports on behalf of RAAS. Review HMP 1303 to
             4.         Offices Seattle/Santa Clarita   ECP Section III.B.1.b   VE20170036 Report 8/28/17 Reply 9/5/17 9 days 7 working days                determine if the 5 day turn around requirement is realistic and if it needs
                                (01.15.2018)                                    KP20170009 Report 7/19/17 Reply 8/14/17 31 days 24 working days             amendment.
                                                                                OS20170038 Report 9/5/17 Reply 9/25/17 20 days 12 working days



                                                                                On June 1, 2016, the Company entered into a contract with the Waste         Root Cause Analysis indicated Senior Director of Environmental                In Progress
                                                                                Service provider Stericycle for Waste Management Services to all            Operations conducted meetings with Stericycle in the HA Group offices,
                                                                                HAG’s ships. GLOBAL HESS procedure “ENV1004, Environmental                  along with Port Ops in March 2017. This was considered as de facto due
                                                                                Management of Waste Vendors” requires that an assessment program for        diligence activity at the time because ENV-1004 did not provide clear
                                                                                waste vendors has to be done by using the “Due Diligence Audit for          guidelines for what this type of inspection should consist of. Stericycle
                                                                                Waste Vendors” form. No evidence was provided that the due diligence        conducted another visit November 28 to begin discussions regarding the
                                                                                audit was conducted before entering into the agreement with Stericycle.     option year (beginning 6/1/18) in our agreement along with possible
                         Holland America Group
                                                         Non-compliance to                                                                                  extensions. Senior Director Environmental to attach proposal submitted
             5.         Offices Seattle/Santa Clarita
                                                        Company procedures                                                                                  for inclusion in ENV-1004 as per PAP. Carnival Corp is in the process
                                (01.15.2018)
                                                                                                                                                            of updating ENV 1004 Management of Waste Vendors and both the
                                                                                                                                                            Environmental and Port Ops team submitted comments to improve the
                                                                                                                                                            procedure. The current procedure is not prescriptive about the roles and
                                                                                                                                                            expectations so this will be clarified going forward including the
                                                                                                                                                            worksheet that will be used to document this diligence occurred. As this
                                                                                                                                                            revision is under Carnival Corp significant time should be provided to
                                                                                                                                                            allow time for review and publication.




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                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 8 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                  September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
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                                                                             The finding “Observation-03” raised during the first year TPA audit          Root Cause Analysis indicated finding could not be closed by the person    Completed
                                                                             completed on August 18, 2017, was reviewed and found in the closed           to which is was assigned. Assignment of action plans to ABG personnel
                                                                             status. However the preventive action completion date which was set on       was not considered at the time of the HESS-MS audit tracking
                                                                             31 Dec 2017 was found not met. The preventive action for the                 development. There is no formal procedure documenting the audit
                               Shore - ABG
             6.                                       ECP Section VIII.F.3   Observation 03 was found closed on Feb 28, 2018.                             workflow save for the logic in the platform itself. The Company should
                               (05.04.2018)
                                                                                                                                                          implement the ability for ABG persons to be assigned audit findings and
                                                                                                                                                          subsequent action plans and create a specific HESS procedure for Third
                                                                                                                                                          Party Environment Audits.

                                                                             The Garbage Management Plan, Section 5.6 (Training) states that there        Root Cause Analysis indicated existing garbage management training         In Progress
                                                                             are three different levels of training; general, an advanced and equipment   materials are outdated and no longer valid. Modify GMP to be
                                                      ECP Section IX.G.I &   specific training on waste handling equipment and hazardous waste            consistent with current HA Group operations. Determine what training
             7.         MS Oosterdam(07.26.2018)
                                                       HESS ENV‐1301         handling. These 3 different levels of training are not currently being       is necessary to meet MARPOL and ECP requirements. Consult with
                                                                             conducted onboard.                                                           Carnival Corporation to ascertain their current plans for developing and
                                                                                                                                                          delivering garbage management training.
                                                                             Shipboard Covered Personnel hired after the implementation of the            Root Cause Analysis indicated the current learning management system       In Progress
                                                                             training program must complete ECP training within seven (7) days of         does not allow a quick overview and therefore a quick identification of
                                                                             commencing their duties on a new contract.                                   training gaps. Install a new learning management system fully
                                                                             It was found that the monthly training records indicated that ECP            interfaced with the HR management system that allows queries and
                                                                             training had not been completed within the 7-day time period as required     reports. Provide an interim solution pending the installation of the new
                                                                             by the ECP. A two-month sample (May and June 2018) was reviewed              LMS.
                         Carnival Maritime Office                            and identified the following:
                                                      ECP, Attachment 2 ‐    Costa Atlantica – 36 personnel in May 2018 and 31 personnel in June
             8.                  Hamburg
                                                       Document Control      2018 did not complete the training within 7 days.
                               (09.16.2018)
                                                                             Costa Deliziosa - 11 personnel in June 2018 did not complete the
                                                                             training within 7 days.
                                                                             Costa Luminosa - 24 personnel in May 2018 and 39 personnel in June
                                                                             2018 did not complete the training within 7 days.
                                                                             It should be noted that records sampled indicated all vessels had
                                                                             completed the initial induction training on the first day.
                                                                             The ship/company has decided some vulnerabilities to unauthorized            Root Cause Analysis indicated a difference in interpretation of ECP        Completed
                                                                             disposal of oily waste are only vulnerable if a portable pump and hoses      requirements for vulnerabilities. A revision of the ECP for submission
                                AIDAmar                                      are used. The ECP authorizes the use of “seals, locks, or welds”, it does    to the interested parties will clarify the ECS methodology including the
             9.                                        ECP Section IX.B.1
                               (09.16.2018)                                  not authorize the use of virtual locks. There are numerous vulnerabilities   use of portable pumps. The current methodology of controlling points
                                                                             currently being controlled in this manner onboard.                           recognized in the VA by portable pumps is being discussed with the
                                                                                                                                                          CAM/TPA.
                                                                             The Record of Equipment for the International Oil Pollution Prevention       Root Cause Analysis indicated an oversight by Class and also by CE and     Completed
                                                                             Certificate issued by Lloyd’s Register on 29 April 2018 and endorsed         EO who failed to check the ships IOPPC. Ships IOPPC to be corrected
                                                                             following the annual IOPP survey on 9 July 2018 contains outdated            to reflect correct info. Ships IOPPC to be cross-checked to find if
                                                                             information regarding the installed 15 ppm oil filtering equipment           additional errors exist.
                             Carnival Fantasy             ECP Section        (Section 2.2.2). The Record of Equipment indicates the two (2) installed
             10.
                              (09.16.2018)                 VIII.B.2.i        oil filtering equipment were manufactured by MarinFloc AB and that the
                                                                             Alarms are both Deckma OMD‐2005 models. One MarinFloc system
                                                                             and its accompanying oil content meter has been removed and replaced
                                                                             with an Alfa Laval PureBilge system with a Deckma OMD‐24 oil
                                                                             content meter.
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                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 9 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                  September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                            Status of
                                                                                                                                                                                                                                          Corrective &
                             Location Name                                                                                                                                                                                                 Preventive
      Row Number              (Audit Date)                ECP Section                                  Final Audit Finding                                                 Corrective & Preventive Action Plan                             Action Plan
                                                                             The onboard uncontrolled Garbage Management Plan does not reflect           Root Cause Analysis indicated a difference in interpretation of the ECP.       In Progress
                                                                             information in the Global HESS Garbage Management Plan ENV 1301.            Both ENV 1301 and MAPROL Annex 5 state the GMP needs to be
                              MS Zuiderdam                ECP Section                                                                                    onboard but does not specify in what state, either a hard copy or
             11.
                               (09.27.2018)                VIII.B.2.G                                                                                    virtually. Therefore, we have not defined it in our own GMP or Tier III
                                                                                                                                                         procedures. GMP onboard state, hard copy or virtual, to be defined in
                                                                                                                                                         ENV-1301.
                                                                             The monthly report provided to the OLCM summarizing the Critical            Root Cause Analysis indicated all info is being currently reported.            Completed
                                                                             Environmental Components was found not satisfying specific                  However not in one report. The current report structure will be
                       Shore - Carnival Cruise Line
             12.                                       ECP Section V.B.3     requirements of the ECP, such as 1) lead time from requisition to           reviewed, and all items as required by the ECP will be incorporated in
                               (10.02.2018)
                                                                             fulfillment on board and 2) open order aging.                               one report. Once the report is restructured, this will be implemented as
                                                                                                                                                         required on a monthly basis.
                                                                             The ECP spare part list for the vessel CARNIVAL VALOR was found             Root Cause Analysis indicated a lack of oversight by TOM. This item            Completed
                                                                             not updated. The ECP spare part VA_0069256, gasket repair kit for ECP       should have been taken off the list, however, was not taken off due to
                                                                             valve was found with Minimum Stock quantity equals to zero (0). This        lack of oversight. The ECP critical spare parts list for Carnival Valor
                          Shore - Carnival Cruise
             13.                                       ECP Section V.B.2     specific spare part had not been in production since May 2017 and           will be reevaluated, to check for any missing or obsolete parts and will
                            Line(10.02.2018)
                                                                             supplier is now out of business.                                            be updated accordingly. A fleet-wide action plan will be put in place to
                                                                                                                                                         check critical spare parts of all the ships, and evaluate for any missing or
                                                                                                                                                         obsolete parts and update if needed.
                                                                             Multiple ECP Spare parts having the Stock quantity onboard below the        Root Cause Analysis indicated lack of attention while creating the             Completed
                                                                             Reorder Point quantity were found without a requisition and/or purchase     system protocol for reordering and auto requisitions. The reorder points
                       Shore - Carnival Cruise Line                          order in place.                                                             auto requisition program in info ship will be checked for any errors in
             14.                                       ECP Section V.B.3
                               (10.02.2018)                                                                                                              the system and will be corrected. The reorder points auto requisition
                                                                                                                                                         program in info ship will be checked for any errors in the system and
                                                                                                                                                         will be corrected.
                                                                             It was found during review of Exception Requests that three (3) out of      Root Cause Analysis indicated an oversight of persons who are                  Completed
                                                                             fifteen (15) open Exception Requests on file were expired.                  responsible to close out exception requests. Moreover the system does
                                                          ECP Section
                                                                                                                                                         not give an auto notification when a request is due to close. The
                       Shore - Carnival Cruise Line      Attachment 2 ‐
             15.                                                                                                                                         exception requests were reviewed and closed. The HESS Administrator
                               (10.02.2018)              Corrective and
                                                                                                                                                         will monitor the exception requests on a monthly basis and ensure the
                                                        Preventive Action
                                                                                                                                                         requester of the exception requests close out the exceptions in time.
                                                                                                                                                         Evaluate the possibility of sending alerts to the user when due.
                                                                             The Risk Assessment Template (Rev. 2 – 05/07/2017) required to be           Root Cause Analysis indicated no procedures exist to address this              Completed
                                                          ECP Section
                                                                             completed by Contractors per procedure “OHS 1302 – Contractor or            requirement. Once CCL and ABG evaluate the OHS 1302 procedure to
                       Shore - Carnival Cruise Line      Attachment 2 ‐
             16.                                                             Third Party Personnel”, sections 2.3, is lacking content to address risks   include environmental risks, implement fleet wide.
                               (10.02.2018)           Training, Awareness,
                                                                             of 1) impacts to the environment and 2) noncompliance with ECP
                                                        and Competence
                                                                             requirements.
                                                                             The ship is using portable pumps & hoses to mitigate vulnerabilities of     Root Cause Analysis indicated grease traps had not been considered             Completed
                                 Ventura                                     oily waste disposal. The ECP authorizes the use of “seals, locks, or        within the ships vulnerability assessment; therefore, no environmental
             17.                                       ECP Section IX.B.1    welds”, it does not authorize the use of a virtual locks that control       control system was applied. Review the methodology of vulnerability
                               (10.24.2018)
                                                                             portable pump usage.                                                        assessments to ensure the methodology controls grease traps.
                                                                             The ship is using portable pumps & hoses to mitigate vulnerabilities of     Root Cause Analysis indicated differences of interpretation of the ECP.        Completed
                              Ruby Princess                ECP Section       oily waste disposal. The ECP authorizes the use of “seals, locks, or        Finding noted but not in accordance with ECN 09. ECS methodology
             18.
                              (10.31.2018)                  VIII.B.2.h       welds”, it does not authorize the use of a virtual locks that control       currently under review with the CAM and DOJ.
                                                                             portable pump usage.


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 10 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                                Status of
                                                                                                                                                                                                                                              Corrective &
                             Location Name                                                                                                                                                                                                     Preventive
      Row Number              (Audit Date)                ECP Section                                     Final Audit Finding                                                   Corrective & Preventive Action Plan                            Action Plan
                                                                               The ship is using portable pumps & hoses to mitigate vulnerabilities of        Root Cause Analysis indicated procedures in place are unclear and open        In Progress
                                                                               oily waste disposal. The ECP authorizes the use of *seals, locks, or           to interpretation. A cross-brand ECS group is working to develop a
                                                                               welds*, it does not authorize the use of a virtual locks that control          standardized methodology and identifying all systems in need of
                             Carnival Horizon
             19.                                           ECP IX.B.1          portable pump usage.                                                           control(s). Update procedures ENV 1203 and ENV 1204. Once a
                               (11.03.2018)
                                                                                                                                                              standardized methodology is finalized, implement fleet wide. Reassess
                                                                                                                                                              all vulnerability assessments for the CCL fleet and take corrective
                                                                                                                                                              actions accordingly.
                                                                               Found two (2) portable pumps not controlled by an ECS. One was an              Root Cause Analysis indicated procedure ENV 1203 currently in place is        Completed
                                                                               educator pump in a Damage Control Locker, the other was a submersible          unclear and open to interpretation. The educator pump and submersible
                                                                               pump found in the engineering spare parts room.                                pumps are now controlled on the Horizon. Additionally, the Company
                             Carnival Horizon                                                                                                                 formed a cross-brand ECS team. This ECS group is developing a
             20.                                      ECP Section viii.b.2.h
                               (11.03.2018)                                                                                                                   standardized methodology and clarifying all type of pumps needing to be
                                                                                                                                                              controlled. Update procedure ENV-1203 accordingly. Once a
                                                                                                                                                              standardized method has been finalized, this will be implemented fleet-
                                                                                                                                                              wide.
                                                                               The ship is using portable pumps & hoses to mitigate vulnerabilities of        Root Cause Analysis indicated a difference of interpretation of the ECP       Completed
                                                                               oily waste disposal. The ECP authorizes the use of “seals, locks, or           requirements for vulnerabilities. A revision to the ECP is currently
                                                                               welds”, it does not authorize the use of a virtual locks that control          being prepared for submission to the interested parties which will clarify
             21.         Star Princess(11.23.2018)     ECP Section IX.B.1      portable pumpusage.                                                            the Environmental Control System methodology including the use of
                                                                                                                                                              portable pumps. The current methodology of controlling points
                                                                                                                                                              recognized in the VA by portable pumps is being discussed with the
                                                                                                                                                              CAM/TPA, and an action plan will be in place once resolved.
                                                                               The ship is using portable pumps & hoses to mitigate vulnerabilities of        Root Cause Analysis indicated a difference in interpretation of the ECP       Completed
                                                                               oily waste disposal. The ECP authorizes the use of “seals, locks, or           requirements for vulnerabilities. The Company is preparing a revision to
                                                                               welds,” it does not authorize the use of virtual locks that control portable   the ECP for submission to the interested parties which will clarify the
                                                                               pump usage.                                                                    Environmental Control System methodology including the use of
                                                                                                                                                              portable pumps. The current methodology for controlling vulnerabilities
                             MS Koningsdam                                                                                                                    recognized in the VA by portable pumps is in review with the
             22.                                       ECP Section IX.B.1
                              (12.13.2018)                                                                                                                    CAM/TPA, and corrective and preventive action plans will be developed
                                                                                                                                                              once resolved. ECP description of the ECS and the related VA are
                                                                                                                                                              subject to discussion between the CAM and CCM. Control of portable
                                                                                                                                                              pumps as an aspect of the ECS is a significant topic in these discussions.
                                                                                                                                                              Pending resolution of that discussion preventive action to be updated and
                                                                                                                                                              addressed.
                                                                               The Health, Environment, Safety, Security, and Sustainability                  Root Cause Analysis indicated the Heads of Departments were unaware           Completed
                                                                               Procedures for Contractor's booklet, specifically the HESS Contractor          of the retention policy. ABG is drafting the Instructional Notice
                             MS Koningsdam                ECP Section
             23.                                                               Procedure Checklist, is not being properly filled out and retained by          directing Operating Lines on addressing this finding. Development and
                              (12.13.2018)                 VIII.B.2.q
                                                                               supervisors.                                                                   implement Operating Lines specific procedures per the IN on contractor
                                                                                                                                                              awareness.
                                                                               Receipts for sludge ashore from Cliff Berry Inc. in Jacksonville, Florida      Root Cause Analysis indicated oversight by the ship staff. The Chief          Completed
                                                                               indicate “non-hazardous oily bilge water” when the product discharged          Engineer and Environmental Officer are to retrain PIC to ensure these
                             Carnival Elation           ECP Section VIII       ashore was “sludge.” Receipts are mislabeled “non-hazardous oily bilge         discrepancies are picked up in time. Environmental Operations are to
             24.
                              (12.16.2018)                 B.2.i.xii           water” for 11/19/2018, 11/24/2018, 11/29/2018, and 12/13/2018.                 get in touch with the vendor to ensure correct receipts are provided to the
                                                                                                                                                              ship. Send a fleet-wide notice to the CCL ships highlighting the
                                                                                                                                                              importance of cross-checking waste receipts.

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 11 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                     Status of
                                                                                                                                                                                                                                   Corrective &
                             Location Name                                                                                                                                                                                          Preventive
      Row Number              (Audit Date)                ECP Section                                  Final Audit Finding                                               Corrective & Preventive Action Plan                        Action Plan
                                                                             The medical center is not properly completing the Sharps Log as           Root Cause Analysis indicated oversight by the medical staff due to lack   Completed
                                                                             required in HESS procedures.                                              of awareness. The EO and Doctor retrained medical staff. The EO will
                                                                                                                                                       increase the frequency of checks in the medical center to ensure proper
                             Carnival Elation           ECP Section VIII
             25.                                                                                                                                       oversight and completion of the form. Send a fleet-wide notice to the
                              (12.16.2018)                 B.2.j.xii
                                                                                                                                                       ships to highlight this issue, increase awareness, and stress the
                                                                                                                                                       importance of the proper completion of this log and all other such logs
                                                                                                                                                       required by HESS.
                                                                             Monthly test of the RWO‐OWS are not being conducted and recorded in       Root Cause Analysis indicated the RWO capacity and installation design     Completed
                                                                             the Oil Record Book.                                                      did not allow for comfortable processing. Please note staff conducted
                                                                                                                                                       the test every month and recorded in the ORB. The staff could not
                             Carnival Elation                                                                                                          effectively quantify the low discharge volume and sometimes recorded a
             26.                                       ECP Section IX H.4
                              (12.16.2018)                                                                                                             volume of 0 m3 discharged overboard. Decommission the RWO,
                                                                                                                                                       remove from the IOPPC, and dismantle. The ship now has a working
                                                                                                                                                       Marinfloc OWS. CCL will also implement these corrective actions on
                                                                                                                                                       the other two vessels that have the RWO installed and all other vessels.
                                                                             Annual operational test of the RWO‐OWS was not being conducted and        Root Cause Analysis indicated the RWO capacity and installation design     Completed
                                                                             recorded in the Oil Record book.                                          did not allow for comfortable processing. Please note staff conducted
                                                                                                                                                       the test annually and recorded in the ORB. The staff could not
                             Carnival Elation                                                                                                          effectively quantify the low discharge volume and sometimes recorded a
             27.                                       ECP Section IX H.5
                              (12.16.2018)                                                                                                             volume of 0 m3 discharged overboard. Decommission the RWO,
                                                                                                                                                       remove from the IOPPC, and dismantle. The ship now has a working
                                                                                                                                                       Marincfloc OWS. CCL will also implement these corrective actions on
                                                                                                                                                       the other two vessels that have the RWO installed and all other vessels.
                                                                             The review of the garbage management procedures revealed several          Root Cause Analysis indicated ENV-1301 does not provide detailed           In Progress
                                                                             entries in the Waste Management System (WMS) improperly                   guidance on estimating quantities as per MARPOL requirements nor
                                                          ECP Section        categorized resulting in incorrect quantities being entered in the        does it provide detailed guidance on how the GMP should be stored
             28.         Sun Princess(01.08.2019)                            electronic Garbage Log (Napa). However, all quantities did match the      onboard. The ABG ENV Working Group is drafting guidance to include
                                                           VIII.B.2.g
                                                                             landing receipts, and all hazardous waste and non‐hazardous waste being   in the update to ENV 1301 to clarify the matching of records in
                                                                             disposed of were accounted for.                                           accordance with MARPOL. Publish ENV-1301 revisions in G-HESS.
                                                                             An uncontrolled sharps container had been found in the garbage room.      Root Cause Analysis indicated an oversight by the garbage room team.       Completed
                                                                             The environmental team in the garbage room declared the container was     Removed the sharp container from the garbage room. Sharp containers
                              Carnival Vista              ECP Section
             29.                                                             for use of crew members to dispose of personal sharps. However, no one    for guest and crew are managed via the medical center, and the log is
                              (01.11.2019)                VIII.B.2.j.xii
                                                                             at the medical center were aware of or had any records of the sharps      maintained in there. Send a fleet-wide CMS to the ships to prevent the
                                                                             container.                                                                repeat of such findings.
                                                                             The plastic pail stored in the Vessel Sanitation Program (VSP) locker     Root Cause Analysis indicated an oversight by the vessel's sanitation      Completed
                                                                             intended for collection and storage of “Pesticide Cans Only” had been     program steward. All other unwanted items that were not supposed to be
                                                                             found filled with other waste materials (used containers and bottles).    in the plastic container were removed, and only the pesticide cans were
                              Carnival Vista              ECP Section                                                                                  left inside. Re-briefed the Staff Stewards VSP on proper garbage
             30.
                              (01.11.2019)               VIII.B.2.j.xviii                                                                              separation procedures. The HSKP management in charge of the area
                                                                                                                                                       will reinforce supervision to ensure that garbage separation is done
                                                                                                                                                       properly. EO will periodically spot check this area to monitor
                                                                                                                                                       compliance.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 12 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                              Status of
                                                                                                                                                                                                                                            Corrective &
                             Location Name                                                                                                                                                                                                   Preventive
      Row Number              (Audit Date)                ECP Section                                Final Audit Finding                                                       Corrective & Preventive Action Plan                           Action Plan
                                                                             A Stub pipe was found on the auxiliary cooler in the engine room.               Root Cause Analysis indicated the current ECS methodology does not            Completed
                                                                                                                                                             require this system to be controlled. Discuss this finding with the cross-
                              Carnival Vista                                                                                                                 brand ECS working group, and if it is decided that this pipe needs to be
             31.                                       ECP Section IX.C.3                                                                                    controlled, take actions accordingly. Implement actions fleet-wide based
                              (01.11.2019)
                                                                                                                                                             on the decision taken in the ECS working group.

                                                                             The ship is using portable pumps & hoses to mitigate vulnerabilities of         Root Cause Analysis indicated the ECP is open to interpretations. The         Completed
                                                                             oily waste disposal. The ECP authorizes the use of "seals, lock, or             Company formed a cross-brand ECS working group to mitigate this
                                                                             welds". It does not authorize the use of a virtual locks that control           issue of inconsistency in the implementation of the ECS program. The
                              Carnival Vista
             32.                                       ECP Section IX.B.1    portable pump usage.                                                            ECS working group is responsible for standardizing the procedures ENV
                              (01.11.2019)
                                                                                                                                                             1203 and ENV 1204 and for effective implementation fleet-wide across
                                                                                                                                                             all of the brands. The ECS working group is also responsible for the
                                                                                                                                                             effective roll out of the ECS get well program.
                                                                             The ship has reported a minor and inconsistent oil sheen that has been          Root Cause Analysis indicated tests conducted over the last 5 weeks           Completed
                                                                             observed in the proximity of the transom at various times over the past         have concluded that the port-side air guard shaft seal is the likely source
                                                                             few weeks. The cause of the sheen has not been determined if it is              of the sheen. The Chief Engineer continues communication with the
                               Sea Princess
             33.                                       ECP Section IX.M      originating from the vessel. Diver’s inspection reports (2 reports viewed)      OEM for corrective action.
                               (01.14.2019)
                                                                             and shipboard machinery checks show no possible causes at this time.
                                                                             No action plan was available to verify additional reviews are being done
                                                                             to correct/address this issue.
                                                                             In reviewing ENV‐1008‐A1 ‐ Environmental Officer Weekly Report, it              Root Cause Analysis indicated inadequate information to fully assess          Completed
                                                                             was shown that there has been a consistent variance of greater than 10%         whether the variance represented a calibration issue between two
                                                                             between the ABB (tank soundings) and the BCDB (flow meter) for                  systems or an operational issue indicating discrepancies which warrant
                               Sea Princess           Global HESS: ENV‐
             34.                                                             several months. Total Marine Solutions (TMS) technicians originally             further investigation. Due diligence to be performed by vessel to
                               (01.14.2019)                  1008
                                                                             reported that the constant 10% differential in total readings is due to two     provide calibration of equipment. Further actions are dependent of
                                                                             different methods of technology reading total quantity of discharged            results.
                                                                             water.
                                                                             The vulnerability assessment report provided to the vessel is not               Root Cause Analysis indicated a difference in interpretation of the ECP.      Completed
                                                                             consistent with the vulnerability control policies/procedures highlighted       Seal reduction and VA update scheduled for early April 2019. ECP
                                                                             in ENV 1204 and associated guidelines. Multiple locations, including            description of the ECS and the related VA are subject to discussion
                                                                             piping flanges between the oily water separators (COWS and SOWS)                between the CAM and CCM. Pending resolution of that discussion and
                                                                             and the Bilge Control Discharge Box are not identified in the                   possible revisions to the ECP language, then ENV-1204 2.2.3 to be
                                                                             vulnerability assessment present onboard the vessel but are sealed and          reviewed for its guidance on best practices for the crew on maintaining
                                                                             listed in the Critical Valves, Fittings, Tank Hatches List, Lock Log and        and updating the vulnerability assessment.
             35.         Sea Princess(01.14.2019)      ECP Section IX.B.1    Seal Log.Some of the vulnerabilities that are listed in the assessment
                                                                             (those that are welded, in particular) are not listed in the Critical Valves,
                                                                             Fittings, Tank Hatches List as required under HESS 1204 Section
                                                                             2.2.3.Finally, ENV‐1204 provides no guidance to the crew on
                                                                             maintaining and updating the vulnerability assessment.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 13 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                           Status of
                                                                                                                                                                                                                                         Corrective &
                             Location Name                                                                                                                                                                                                Preventive
      Row Number              (Audit Date)                ECP Section                                    Final Audit Finding                                                 Corrective & Preventive Action Plan                          Action Plan
                                                                             Procedures related to oil transfers and bunkering were not being              Root Cause Analysis indicated inattention to detail when filling out         Completed
                                                                             followed. While examining the bunker receipts and plans multiple              forms and checking the posted drawings in the bunker break for most
                                                                             instances of bunker plans and bunker checklists missing information           current drawings available. After each bunker operation, these forms
                                                                             (signature, time, bunker vessel or facility name, etc.) were observed.        should be checked and signed by a supervisor (Staff Clerk) before they
                                                                                                                                                           are filed. Issue guidance to HA Group Fleet Technical Department to
                               Sea Princess               ECP Section
             36.                                                             Additionally, both bunker stations have outdated fuel system drawings         verify posted drawings and procedures in the bunker break are current
                               (01.14.2019)                VIII.B.2.t
                                                                             posted on the bulkheads. A separate transfer pipe between fuel oil tank       and up to date. To prevent this from happening again, the updating of
                                                                             1C and the Diesel oil transfer pump was installed. The posted drawings        certificates/drawings should be included in the work description when
                                                                             were never updated. Instead, printouts from the automation computer           projects take place. A reminder could be included in the set-up of the
                                                                             screens were posted showing the fuel transfer system.                         new Modprop software as part of the approval criteria for a modification.

                                                                             The ship is using portable pumps & hoses to mitigate vulnerabilities of       Root Cause Analysis indicated a difference in the interpretation of the      Completed
                                                                             oily waste disposal identified in the initial assessment done for the ship.   ECP. Revise the ECP to allow virtual locks. There is active engagement
                                                                             The ECP authorizes the use of "seals, locks or welds", it does not            with the CAM on the matter of the ECS, portable pumps, and the
                              Crown Princess
             37.                                       ECP Section IX.B.1    authorize the use of a virtual locks that control portable pump usage.        number of seals. There is a general agreement that the number of seals
                               (01.29.2019)
                                                                                                                                                           should be reduced. Ship visits are underway, and vulnerability
                                                                                                                                                           assessments are being updated, resulting in a reduction in the number of
                                                                                                                                                           flanges, connections, etc., requiring seals.
                                                                             A five-gallon container holding used barbicide in the Ship's Spa was not      Root Cause Analysis indicated a failure in the implementation of the         Completed
                                                                             placed in secondary containment. The container was placed in a floor          procedure. EO is tasked with follow-up rounds with the Section
                              Crown Princess              ECP Section
             38.                                                             cabinet less than 10 inches to a floor drain. The floor drain was             Manager responsible for that area. Already corrected onboard. EO is to
                               (01.29.2019)              VIII.B.2.j.xviii
                                                                             connected to the grey water tank.                                             brief spa staff to reinforce understanding of chemical storage
                                                                                                                                                           requirements.
                                                                             Over the past 30 days there were 6 (six) discrepancies in the ECS             Root Cause Analysis indicated a failure to follow the procedure and          Completed
                                                                             padlock log. Entries were made that showed padlocks being unlocked,           oversight by the watchkeepers attributable to multi-tasking and
                                                                             without a corresponding entry indicating the padlock being locked - or -      forgetting to sign when returning a key. Corrected log onboard to
                                                                             the padlock being locked without a corresponding entry indicating that        address identified deficiencies. The Chief is tasked with briefing
                              Crown Princess
             39.                                       ECP Section IX.B.1    the padlock had been unlocked.                                                engineering team concerning proper documentation requirements for
                               (01.29.2019)
                                                                                                                                                           opening/closing locks in the ECS. EO suggested a different format for
                                                                                                                                                           the log (ENV-1204) to make it easier to document and audit the paired
                                                                                                                                                           activity of unlocking and locking valves, flanges, etc. Document
                                                                                                                                                           revision suggestion to be submitted by the ECS Working Group.
                                                                             The ship is controlling portable pumps & hoses to mitigate                    Root Cause Analysis indicated ECP language is open to interpretation -       Completed
                                                                             vulnerabilities of oily waste disposal identified in the initial assessment   discussion are ongoing with the CAM on the matter of the ECS and the
                                                                             done for the ship. The ECP authorizes the use of “seals, locks or welds”,     number of seals and control of portable pumps in the context of the ECS.
                                                                             it does not authorize the use of a virtual locks that control portable pump   There is general agreement that the number of seals should be reduced to
                                                                             usage.                                                                        be more manageable. Revise the ECP to clarify the use of virtual locks
                                                                                                                                                           and control of portable pumps in context to the ECS. Ship visits are
             40.       Pacific Princess (02.19.2019)   ECP Section IX.B.1
                                                                                                                                                           underway, and vulnerability assessments are being updated, resulting in
                                                                                                                                                           a reduction of the number of flanges/connections/etc., requiring seals.
                                                                                                                                                           ECP description of the ECS and the related VA are subject to discussion
                                                                                                                                                           between the CAM and CCM. Control of portable pumps as an aspect of
                                                                                                                                                           the ECS is a significant topic in these discussions. Pending resolution of
                                                                                                                                                           that discussion preventive action to be updated and addressed.



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Items without an asterisk previously appeared and are either in progress or pending verification.                                     12
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 14 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                           Status of
                                                                                                                                                                                                                                         Corrective &
                             Location Name                                                                                                                                                                                                Preventive
      Row Number              (Audit Date)                ECP Section                                    Final Audit Finding                                                 Corrective & Preventive Action Plan                          Action Plan
                                                                             The vessel is controlling portable pumps & hoses to mitigate                 Root Cause Analysis indicated the current language in the ECP is open        In Progress
                                                                             vulnerabilities identified in the original Vulnerabilities Assessment. The   to interpretations. A cross brand ECS working group was formed to
                                                                             ECP only authorizes the use of “seals, locks, or welds”, it does not         mitigate this issue of inconsistency in implementation of the ECS
                                                                             authorize the use of a virtual lock system, such as controlling portable     program. The ECS working group is responsible for standardizing the
                             Carnival Liberty                                pump accessibility.                                                          procedures ENV 1203 and ENV 1204 and effective implementation of
             41.                                       ECP Section IX.B.1
                              (01.13.2019)                                                                                                                the same fleet wide across all the brands. The ECS working group is also
                                                                                                                                                          responsible for the effective roll out of the ECS get well program. All
                                                                                                                                                          ships in the CCL fleet will be completed by 31st December 2019. Once
                                                                                                                                                          the ECS get well program has been implemented on the ship, the EO and
                                                                                                                                                          CE on board will be responsible for maintaining the standards.
                                                                             The vessel is controlling portable pumps & hoses to mitigate                 Root Cause Analysis indicated ECP language is open to interpretation -       Completed
                                                                             vulnerabilities identified in the original Vulnerabilities Assessment. The   discussion are ongoing with the CAM on the matter of the ECS and the
                                                                             ECP only authorizes the use of “seals, locks, or welds”, it does not         number of seals and control of portable pumps in the context of the ECS.
                                                                             authorize the use of a virtual lock system, such as controlling portable     There is general agreement that the number of seals should be reduced to
                                                                             pump accessibility.                                                          be more manageable. Revise the ECP to clarify the use of virtual locks
                            Diamond Princess                                                                                                              and control of portable pumps in context to the ECS. Ship visits are
             42.                                       ECP Section IX.B.1
                               (02.22.19)                                                                                                                 underway, and vulnerability assessments are being updated, resulting in
                                                                                                                                                          a reduction of the number of flanges/connections/etc. requiring seals.
                                                                                                                                                          ECP description of the ECS and the related VA are subject to discussion
                                                                                                                                                          between the CAM and CCM. Control of portable pumps as an aspect of
                                                                                                                                                          the ECS is an important topic in these discussions. Pending resolution of
                                                                                                                                                          that discussion preventive action to be updated and addressed.
                                                                             The hatch on top of the food waste tanks (A & B) not identified as a         Root Cause Analysis indicated variability during early implementation        In Progress
                                                                             vulnerability.                                                               of vulnerability assessments lead to a vessel not recognizing the food
                                                                                                                                                          waste tank hatch as a vulnerability. Corrected while inspectors were still
                            Diamond Princess              ECP Section                                                                                     onboard: it is now identified and secured. The VA is subject to
             43.
                               (02.22.19)                  VIII.B.2.h                                                                                     discussion between the CAM and CCM. Technical Department is
                                                                                                                                                          actively visiting fleet vessels to update their vulnerability assessments
                                                                                                                                                          based on these discussions and nearly two years of the implementation
                                                                                                                                                          of the ECP.
                                                                             Checklist, diagrams and instructions (Hess‐TEC 1402) not posted in           Root Cause Analysis indicated failure of document control. Corrected         Completed
                                                                             Bunker Station and/or is out of date.                                        while inspectors were still onboard: created and posted. Submit
                            Diamond Princess              ECP Section
             44.                                                                                                                                          document revision suggestion to ENV-1008-A1 directing EO to verify
                               (02.22.19)                  VIII.B.2.t
                                                                                                                                                          most current bunker checklist is utilized and drawing, diagrams,
                                                                                                                                                          checklist, etc. are posted in bunker break.




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Items without an asterisk previously appeared and are either in progress or pending verification.                                    13
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 15 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                            Status of
                                                                                                                                                                                                                                          Corrective &
                             Location Name                                                                                                                                                                                                 Preventive
      Row Number              (Audit Date)                ECP Section                                  Final Audit Finding                                                   Corrective & Preventive Action Plan                           Action Plan
                                                                             Used pyrotechnics were found in the cold storage locker of the garbage        Root Cause Analysis indicated GMP does not specify instructions for           Completed
                                                                             handling area that were not properly stored as per garbage management         handling/waste disposal of “used” pyro. Used pyro does not pose a risk
                                                                             plan.                                                                         when materials have been spent. Prior to the audit, the vessel had
                                                                                                                                                           correctly stored the spent pyro within the Recycling Center. During the
                                                                                                                                                           audit, the spent pyro was transported to the Hazardous Waste Locker
                                                                                                                                                           when highlighted by the TPA. Vessel submitted MSDS to shore
                                                        ECP Section: ECP                                                                                   verifying spent pyro poses no risk and as such does not meet the
             45.        Regal Princess(02.24.2019)
                                                          VIII B.2.j.xi                                                                                    requirements for waste disposal storage via the Hazardous Waste
                                                                                                                                                           Locker. Please see MSDS Section 13 – Disposal Considerations and
                                                                                                                                                           MSDS Section 7 – Handling and Storage. Vessel to transport spent pyro
                                                                                                                                                           to the Recycling Center for waste disposal. Reminder to HA Group EOs
                                                                                                                                                           on the GMP process for spent pyro during the bi-monthly call. GMP
                                                                                                                                                           document revision suggestion to include the waste disposal requirements
                                                                                                                                                           of spent pyro.
                                                                             The ship is controlling portable pumps & hoses to mitigate                    Root Cause Analysis indicated ECP language is open to interpretation -        Completed
                                                                             vulnerabilities of oily waste disposal identified in the initial assessment   discussion are ongoing with the CAM on the matter of the ECS and the
                                                                             done for the ship. The ECP authorizes the use of “seals, locks or welds”,     number of seals and control of portable pumps in the context of the ECS.
                                                                             it does not authorize the use of a virtual locks that control portable pump   There is general agreement that the number of seals should be reduced to
                                                                             usage.                                                                        be more manageable. Revise the ECP to clarify the use of virtual locks
                              Regal Princess                                                                                                               and control of portable pumps in context to the ECS. Ship visits are
             46.                                      ECP Section: IX.B.1
                               (02.24.2019)                                                                                                                underway, and vulnerability assessments are being updated, resulting in
                                                                                                                                                           a reduction of the number of flanges/connections/etc. requiring seals.
                                                                                                                                                           ECP description of the ECS and the related VA are subject to discussion
                                                                                                                                                           between the CAM and CCM. Control of portable pumps as an aspect of
                                                                                                                                                           the ECS is a significant topic in these discussions. Pending resolution of
                                                                                                                                                           that discussion preventive action to be updated and addressed.
                                                                             Training Records not being maintained as per HESS Policies ENV‐1008           Root Cause Analysis indicated a TRG 2302 signature sheet, although            Completed
                                                                             2.4.1.5:                                                                      completed, was being kept in the Human Resource Office instead of in
                                                                             - Environmental training sign‐in sheets for TRG‐2302 not maintained or        the Environmental Office. This was an oversight following the recent
                                                                             reviewed by Environmental Officer prior to handing over to HR                 change of both Human Resource Manager (HRM) and Environmental
                                                                             Department.                                                                   Officer (EO) at the same time. This was corrected immediately with the
                                                                             - The crew embarkation dates and training due dates on Environmental          issuance and retention of all TRG’s discussed by both HRM and EO
                                                                             Training sign‐in sheets are incorrect.                                        going forward. A TRG signature sheet was found with incorrect
                                                                                                                                                           embarkation and due dates. This was an oversight at the time and was
                                                                                                                                                           discussed as per #1. The shipboard process has been modified as
                                 Maasdam                  ECP Section
             47.                                                                                                                                           follows: Human Resources Clerk prepares correct rosters prior to the
                               (03.02.2019)                VIII.B.2.n
                                                                                                                                                           start of each course. Persons conducting the training (EO or supervisor)
                                                                                                                                                           review the rosters to ensure that each attendee signs and dates the roster.
                                                                                                                                                           EO reviews the completed rosters to ensure they have been filled out
                                                                                                                                                           correctly. EO scans the roster and sends it to the HR clerk. The EO
                                                                                                                                                           maintains the original roster. Human Resources Clerk uploads the
                                                                                                                                                           training data from the roster into MAPS. The corrective action applied
                                                                                                                                                           above will prevent this kind of finding again. This process will be
                                                                                                                                                           included in the handover notes for each of the participants in this process
                                                                                                                                                           (HAL fleet only).


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 16 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                           Status of
                                                                                                                                                                                                                                         Corrective &
                             Location Name                                                                                                                                                                                                Preventive
      Row Number              (Audit Date)                ECP Section                                  Final Audit Finding                                                  Corrective & Preventive Action Plan                           Action Plan
                                                                             In reviewing Global HESS ‐ ENV‐1008‐A1 (Environmental Officer                Root Cause Analysis indicated inadequate document control ENV-1008-           Completed
                                                                             Weekly Report) the following was found:- Missing Chief Engineer’s            A1; EO continued use of old form without change to updated form.
                                                                             signature on report dated 12 Nov 2018.- Missing Environmental                With respect to missing signatures recipient of the form (Captain) did
                                                                             Officer’s signature on reports dated 1 and 8 October 2018.- Old version      not assure reports were properly signed by EO and CE. EO to be added
                                                                             of form being used from August 2018 to 21 Oct 2018.                          as Primary Owner in the GHESS for ENV-1008-A1 (e-form):
                                                                                                                                                          maintaining the document electronically in the GHESS ensures the use
                                                          ECP Section                                                                                     of most up-to-date form. Remind EOs of the importance of document
             48.          Maasdam(03.02.2019)         VIII.B.2.i.xvi & ECN                                                                                control, to be discussed during bi-monthly EO calls, that includes the use
                                                               #20                                                                                        of the e-form. Please find attached last one month of Weekly
                                                                                                                                                          compliance report which is a correct form, corrective action was already
                                                                                                                                                          taken. During the EO conference for March 2019, EOs were reminded
                                                                                                                                                          that they must Print forms from GHESSMS each time to assure most
                                                                                                                                                          current version is used. This form will be deployed through E-forms and
                                                                                                                                                          populated/signed-off electronically. The system will flag when
                                                                                                                                                          signatures are missing.
                                                                             The semi‐annual inspection for the Oil Spill Equipment, per EMR‐1801,        Root Cause Analysis disarray of supplies is directly related to the lack of   Completed
                                                                             was completed during August 2018, however, the Oil Spill Equipment           equipment checklist. In Fall 2018 Carnival Corp mandated the OLs
                                                                             and Supplies in Bunker Stations were found in disarray, and no               follow their SOPEP template to align all OLs SOPEP templates. The
                                                                             equipment checklist was present or readily available to crew.                approval by Class is a time and labor-intensive process. Task Manager
                                                                             Additionally, Class Approved SOPEP does not have a list of equipment         in GHESS indicates the EO is responsible for the semi-annual check of
                                                                             as required in EMR‐1081.                                                     SOPEP equipment. This contradicts the AMOS job order, which places
                                 Maasdam                  ECP Section
             49.                                                                                                                                          the responsibility of the Safety Officer. All HAL and SBN vessels have
                               (03.02.2019)                VIII.B.2.u
                                                                                                                                                          had new SOPEP’s assembled for them. However, they are currently w/
                                                                                                                                                          Class for review and approval. The discrepancies noted in the finding
                                                                                                                                                          will be resolved by this new SOPEP - the checklist is included.
                                                                                                                                                          Organize and verify all Oil Spill Equipment and Supplies. Align SOPEP
                                                                                                                                                          equipment inspection responsibilities between GHESS Task Manager
                                                                                                                                                          and AMOS.
                                                                             The ship is controlling portable pumps & hoses to mitigate                   Root Cause Analysis, along with Corrective and Preventive Actions, will       Completed
                                                                             vulnerabilities identified in the original Vulnerabilities Assessment. The   be reported within the next quarterly submission.
                                 Maasdam
             50.                                       ECP Section IX.B.1    ECP only authorizes the use of “seals, locks, or welds”, it does not
                               (03.02.2019)
                                                                             authorize the use of a virtual lock system, such as controlling portable
                                                                             pump accessibility.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 17 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                        Status of
                                                                                                                                                                                                                                      Corrective &
                             Location Name                                                                                                                                                                                             Preventive
      Row Number              (Audit Date)                ECP Section                                  Final Audit Finding                                                 Corrective & Preventive Action Plan                         Action Plan
                                                                             Identified two (2) marked vulnerabilities in a section of permeate /        Root Cause Analysis indicated the Environmental Control System can be       Completed
                                                                             technical water discharge piping (#290.1 & #290.2) that are not sealed.     complicated at times, and we currently have no control system in place
                                                                                                                                                         that double checks any changes made by the vessel (this will change
                                                                                                                                                         with the planned publication of ENV-1204 revision this month that does
                                                                                                                                                         include any changes to be reviewed and signed off on). #290.1; #290.2
                                                                                                                                                         were correctly identified in the original VA, but the vessel removed the
                                                                                                                                                         controls on the vulnerabilities and the VA/ENV-1204A1 as there was a
                                                                                                                                                         non-return valve fitted in the overboard line that would physically
                                 Maasdam                  ECP Section                                                                                    prevent any overboard discharges. The ECP requires each open-ended
             51.
                               (03.02.2019)                VIII.B.2.r                                                                                    blank flange and/or plugged fitting located on overboard piping must be
                                                                                                                                                         controlled by locks, seals or welds, regardless if there are non-return
                                                                                                                                                         valve fitted or not. 290.1/2 items connected to 334 are condensed
                                                                                                                                                         already to a new Vulnerability in Fwd Sewage room (was old permeate
                                                                                                                                                         line to technical water, but had non-return valve still installed).
                                                                                                                                                         Completed and updated Vulnerability list to be sent. ENV-1204-A1 is
                                                                                                                                                         being updated to an excel spreadsheet that will make the Critical Valves,
                                                                                                                                                         Fittings, Tank Hatches List, Lock Log, and Seal Log a greater tool for
                                                                                                                                                         updating and tracking for the EOs use in their weekly checks.
                                                                             A small pump and hoses stowed near reverse osmosis system that is used      Root Cause Analysis indicated a difference in interpretation of the ECP:    Completed
                                                                             for cleaning filters, is not properly being controlled in accordance with   this was not noted during the initial vulnerability assessment. Locked
                                                                             ECN 01‐2019.                                                                pump. Correction made during the audit. ECP description of the ECS
                                                          ECP Section
             52.          Maasdam(03.02.2019)                                                                                                            and the related VA are subject to discussion between the CAM and
                                                           VIII.B.2.h
                                                                                                                                                         CCM. Control of portable pumps as an aspect of the ECS is an essential
                                                                                                                                                         topic in these discussions. Pending resolution of that discussion
                                                                                                                                                         preventive action to be updated and addressed.
                                                                             Checklist, diagrams and instructions (HESS‐TEC 1402) not posted in          Root Cause Analysis indicated lack of oversight. Officer in charge of       Completed
                                                                             Bunker Station and/or out of date.                                          bunkering did not confirm the latest version of the bunker plan was
                                                                             The sludge discharge line connection is outside the primary containment     posted. Also not picked up by the EO during the inspection of records.
                                                                             box                                                                         Update board with new sludge discharge instruction and Hess 1402 is
                                                                                                                                                         printed during bunkering (to always have the most up to date version
                                 Maasdam                  ECP Section                                                                                    with us) removed the old ones hanging in bunker breaks. Done by
             53.
                               (03.02.2019)                VIII.B.2.t                                                                                    Monday. (Drawings are hanging just outside Bunker break across Shore
                                                                                                                                                         connection cabinets, and no comments were received on that part). We
                                                                                                                                                         will make sludge connection, was at the edge of the containment tray.
                                                                                                                                                         Done by Monday. ModProp to include statement/question "all updated
                                                                                                                                                         drawings to be provided to the vessel and superseded versions confirmed
                                                                                                                                                         replaced."




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 18 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                          Status of
                                                                                                                                                                                                                                        Corrective &
                             Location Name                                                                                                                                                                                               Preventive
      Row Number              (Audit Date)                ECP Section                                 Final Audit Finding                                                   Corrective & Preventive Action Plan                          Action Plan
                                                                             Fuel Oil Bunker Checklist are missing or have incorrect times.              Root Cause Analysis indicated administration tasks were completed after       Completed
                                                                             Fuel Oil Bunker Plans amounts retained or loaded in tanks, do not match     the tasks themselves due to high workload. This caused an opportunity
                                                                             Oil Record Book entries or Bunker notes.                                    for errors in returning to the administrative duties after the fact. 1/26 I
                                                                             Lube Oil Bunker Checklist are missing or have incorrect times.              added wrong time in Ready to bunker box for HFO and consider it
                                                                                                                                                         corrected. Fuel oil pre bunker plan final amount is now also ORB entry
                                                                                                                                                         figure and correctly done during yesterday’s bunkering, but this is not
                                 Maasdam                  ECP Section
             54.                                                                                                                                         always the same as the final receipt amount (bunker notes). L/O bunker
                               (03.02.2019)                VIII.B.2.t
                                                                                                                                                         1/26 I added wrong ready to bunker time and consider it corrected. They
                                                                                                                                                         did inform me at the correct time before bunkering started and I gave
                                                                                                                                                         permission at the right time, so procedures were followed correctly only
                                                                                                                                                         clerical mistake made. VP Technical to determine if fleet-wide guidance
                                                                                                                                                         on bunkering as optional to be Yellow-Manning is to be the standard
                                                                                                                                                         going forward.
                                                                             There are approximately 100 liters of barbicide that are unaccounted for.   Root Cause Analysis indicated an investigation in progress. The               Completed
                                                                             Between 28 October 2018 and 30 March 2019 there were not any records        investigation commenced Monday, April 15th. Senior Manager,
                             Majestic Princess          ECP Section VIII
             55.                                                             of barbicide being removed from the spa - to the garbage handling room      Maritime Investigation, to submit a report once the investigation is
                              (03.28.2019)                B.2.j.xviii
                                                                             for disposal.                                                               completed. Preventive Action Plan is dependent on the outcome of the
                                                                                                                                                         Investigation Report.
                                                                             Used barbicide container in the spa is not labeled.                         Root Cause Analysis indicated a failure to follow GMP requirement for         Completed
                                                                                                                                                         labeling of all waste containers. Confirm with EO to verify proper waste
                             Majestic Princess          ECP Section VIII                                                                                 accumulation practices are established as per GMP. One Spa world will
             56.
                              (03.28.2019)                B.2.j.xviii                                                                                    reiterate the proper waste accumulation practice to the onboard Spa
                                                                                                                                                         operation, Trevor Flynn to include in his non-conformance
                                                                                                                                                         communication to the fleet.
                                                                             The cotton swap hazardous waste receptacle in the print shop is missing     Root Cause Analysis indicated unclear and/or out-of-date waste                In Progress
                                                                             the hazardous waste label.                                                  characterization: incomplete GMP with respect to this waste stream
                                                                                                                                                         resulting in inadequate instruction for waste accumulation in this area.
                                                                                                                                                         The hazardous waste label has been applied to the receptacle. Message
                             Majestic Princess          ECP Section VIII                                                                                 sent to the Fleet to ensure the receptacle in all Print Shop is correctly
             57.
                              (03.28.2019)                B.2.j.xviii                                                                                    labeled with a hazardous waste label. Recharacterize this waste stream
                                                                                                                                                         based on ink/solvent constituents. Update GMP as appropriate per the
                                                                                                                                                         revised waste recharacterization and follow waste accumulation
                                                                                                                                                         practices in the revised GMP. Message (similar to Corrective Action
                                                                                                                                                         message to PCL fleet) to be sent to remainder HA Group fleet.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 19 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                      Status of
                                                                                                                                                                                                                                    Corrective &
                             Location Name                                                                                                                                                                                           Preventive
      Row Number              (Audit Date)                ECP Section                                   Final Audit Finding                                                  Corrective & Preventive Action Plan                     Action Plan
                                                                             There are two 20 liter pails of a chemical cleaner Metal Bright in the        Root Cause Analysis indicated the Metal Brite was not planned for       Completed
                                                                             hazardous waste locker. The Metal Bright cleaner is not on the approved       offload before the 1st of October 2018. The delay in the offloading
                                                                             list of chemicals to be used on board the vessel.                             could be due to the itinerary (Asia-Australasia), which made it
                                                                                                                                                           challenging to meet the dateline dictated by ECN/21/2018. Anyway, I
                                                                                                                                                           was not on board at that time. Nevertheless, the vessel had previously
                                                                                                                                                           isolated the chemical in the Hazardous waste locker and quarantined
                                                                                                                                                           away from deck/hull approved cleaning chemical, waiting to be
                                                                                                                                                           offloaded and has never been used as a Deck /Hull Cleaner. Also, ECN
                                                                                                                                                           the 21st of August 2018, stated “Use of Company-approved spot
                                                                                                                                                           cleaners (Never Specified which are approved Spot cleaners) were not
                                                                                                                                                           subject to this procedure. These products may be used on open deck
                                 Majestic               ECP Section VIII
             58.                                                                                                                                           areas ONLY if they are immediately polished, wiped off and/or allowed
                           Princess(03.28.2019)             B.2.j.iii
                                                                                                                                                           to air dry, and are used in such a way that there is no chance of the
                                                                                                                                                           product/ residue reaching open deck scuppers and drains". The full pail
                                                                                                                                                           of unapproved chemicals was offloaded on 02/APRIL/2019 in the port of
                                                                                                                                                           Darwin. A discussion was carried out with the personnel involved to
                                                                                                                                                           reiterate the importance of procedure ENV-1103 and proper use of
                                                                                                                                                           chemicals with the regards of the environmental protection. Metal Brite
                                                                                                                                                           has been removed from Amos, so it cannot be ordered again. A survey
                                                                                                                                                           was carried out on the vessel to ensure no additional unauthorized
                                                                                                                                                           chemicals are kept onboard. EVP of Fleet Ops directive: survey and
                                                                                                                                                           remove all MetalBright found onboard before end of April for all HA
                                                                                                                                                           Group fleet.
                                                                             The ship is controlling portable pumps & hoses to mitigate                    Root Cause Analysis indicated ECP language is open to interpretation -    Completed
                                                                             vulnerabilities of oily waste disposal identified in the initial assessment   discussion are ongoing with the CAM on the matter of the ECS and the
                                                                             done for the ship. The ECP authorizes the use of “seals, locks or welds”,     number of seals and control of portable pumps in the context of the ECS.
                                                                             it does not authorize the use of a virtual locks that control portable pump   There is general agreement that the number of seals should be reduced to
                                                                             usage.                                                                        be more manageable. Revise the ECP to clarify the use of virtual locks
                             Majestic Princess                                                                                                             and control of portable pumps in context to the ECS. Ship visits are
             59.                                       ECP Section IX.B.1
                              (03.28.2019)                                                                                                                 underway, and vulnerability assessments are being updated, resulting in
                                                                                                                                                           a reduction of the number of flanges/connections/etc. requiring seals.
                                                                                                                                                           ECP description of the ECS and the related VA are subject to discussion
                                                                                                                                                           between the CAM and CCM. Control of portable pumps as an aspect of
                                                                                                                                                           the ECS is an important topic in these discussions. Pending resolution of
                                                                                                                                                           that discussion preventive action to be updated and addressed.
                                                                             An inventory of ECS Seals revealed that eleven (11) “TMS ECS Paper            The Root Cause Analysis indicated investigation in progress. An           Completed
                                                                             Seals” used on the sample lines of the COWS were not properly                 investigation commenced Monday, April 15th. Senior Manager,
                             Majestic Princess                               accounted for when they were removed for maintenance. The used seals          Maritime Investigation, to submit a report once the investigation is
             60.                                       ECP Section IX.B.4
                              (03.28.2019)                                   were not properly returned to the C/E for storage. Entries were not made      completed. Preventive Action Plan is dependent on the outcome of the
                                                                             in the ECS log for replacement of seals on dates the maintenance was          Investigation Report.
                                                                             performed.




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Items without an asterisk previously appeared and are either in progress or pending verification.                                    18
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 20 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                       Status of
                                                                                                                                                                                                                                     Corrective &
                             Location Name                                                                                                                                                                                            Preventive
      Row Number              (Audit Date)                ECP Section                                   Final Audit Finding                                             Corrective & Preventive Action Plan                           Action Plan
                                                                             Most Preventive actions related to TPA ECP findings and as articulated   Root Cause Analysis indicated: 1. No root cause analysis program             In Progress
                                                                             in Global HESS, do not reflect preventive actions that address the       corporate-wide, therefore, no training is given or procedure in place to
                                                                             finding, nor do they effectively eliminate recurrence.                   ensure accurate and full RCA on audit findings. No one/ department
                                                                                                                                                      designated as responsible for RCA program creation, coordination
                                                                                                                                                      between departments, training or maintenance of the said program.2.
                                                                                                                                                      ABG Corporate Environmental Compliance department, lack of
                                                                                                                                                      oversight, no functionality to document in G-HESS, assumption that
                                                                                                                                                      OLCMs were actively involved in assessing verification of findings - no
                                                      ECP Section VIII.F.1                                                                            structured workflow process. G-HESS update to include follow-up
             61.        Shore - ABG*(05.07.2019)
                                                         and VIII.F.3                                                                                 functionality which is to be used by CEC and initial RCA methodology
                                                                                                                                                      which matches that of SeaEvent. Updated workflow to include CEC at
                                                                                                                                                      the front end to select dropdowns for RCA, then at the back end to
                                                                                                                                                      complete full follow-up. VP Investigations taking the lead on the
                                                                                                                                                      creation of an RCA program, which is to be memorialized in a
                                                                                                                                                      procedure. CEC and SeaEvent team to assess program implementation
                                                                                                                                                      and incorporate into respective programs if deemed appropriate. CEC
                                                                                                                                                      team to coordinate training for OLCM's and their audit designees.
                                                                             The Company’s published Sustainability Report states “that shore side    Root Cause Analysis indicated unclear procedure leads to an inaccurate       In Progress
                                                                             waste facilities are evaluated prior to offloading the waste from the    statement in the sustainability report. This was based on the statement in
                                                         ECP Section         ships”. No evidence was provided to document these evaluations are       ENV 1004 - The Company must establish an assessment program for
                              Shore - ABG*              Attachment 2,        conducted.                                                               waste vendors. A desktop assessment can achieve this, and when
             62.
                               (05.07.2019)             Environmental                                                                                 deemed necessary onsite visits." Update the sustainability report to
                                                      Management System                                                                               reflect the correct text. A revised ENV-1004 is being finalized to require
                                                                                                                                                      Duty of Care Assessments of waste vendors, so the preventive action
                                                                                                                                                      will remain open until the revised procedure is published.
                                                                             Found (3) pipe spool pieces in the mixing tank/food waste tank piping    Root Cause Analysis indicated procedures and guidance was not clear          In Progress
                                                                             that did not have ECS’s, nor were they marked as a vulnerability.        during the implementation of the ships Vulnerability assessment in 2017.
                                                                                                                                                      The pool pieces in the mixing tank/food waste tank piping were
                                                                                                                                                      removed/controlled and added to the vulnerability assessment and ENV
                             Carnival Breeze*             ECP Section
             63.                                                                                                                                      1204 log. A cross-brand ECS working group was formed to streamline,
                               (05.11.2019)                VIII.B.2.h
                                                                                                                                                      clarify, and standardize the ECS regulates across the fleet. Dedicated
                                                                                                                                                      ECS teams will be boarding all CCL ships to carry out a fresh
                                                                                                                                                      Vulnerability assessment based on the revised ECS guidance documents
                                                                                                                                                      and procedures.
                                                                             The sample points for the COWS units did not have permanent sample       Root Cause Analysis indicated oversight by the team who identified and       Completed
                             Carnival Breeze*                                valves in place. They removed blank flanges that were locked in place    installed the sampling points. Permanent sampling valves were installed
             64.                                       ECP Section IX.G.1    and installed temporary valves to take samples.                          on the COWS units during the audit. All CCL ships sampling plans will
                               (05.11.2019)
                                                                                                                                                      be reviewed to ensure that they comply with the ECP requirements.




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Items without an asterisk previously appeared and are either in progress or pending verification.                                  19
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 21 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                      Status of
                                                                                                                                                                                                                                    Corrective &
                             Location Name                                                                                                                                                                                           Preventive
      Row Number              (Audit Date)                ECP Section                                 Final Audit Finding                                                  Corrective & Preventive Action Plan                       Action Plan
                                                                             The entertainment pyrotechnics are not stored in a sealed metal container   Root Cause Analysis indicated pyrotechnics in question were spent and     Completed
                                                                             as per the Garbage Management plan.                                         stored in a metal drum but not sealed. As the spent pyro consisted of
                                                                                                                                                         cardboard and cotton wire, crew interpreted as not hazardous waste.
                                                                                                                                                         However, GMP Appendix 1 – Waste Book states in paragraph 6.9:
                              Ruby Princess*            ECP Section VIII                                                                                 Entertainment pyrotechnics should be collected, stored in sealable metal
             65.
                               (05.16.2019)               B.2.j.xviii                                                                                    containers and landed ashore as Hazardous Waste. The crew covered the
                                                                                                                                                         container during the audit and are now in a sealable container. Amended
                                                                                                                                                         ENV-1301 is expected to be published in mid-July. GMP Waste Book
                                                                                                                                                         will identify spent pyro as non-hazardous and can be treated as per the
                                                                                                                                                         general waste procedure.
                                                                             The most recent handover notes for the Chief Engineer and the               Root Cause Analysis indicated TEC-1002-A1 was updated in JULY              In Progress
                                                                             Staff Chief Engineer do not have proper signature of the incoming           2018, and the requirement for a signature was either deliberately left off
                                                                             Engineer as required by the company procedure “TEC‐1002 – Chief             OR was mistakenly left off. It should be noted that on this updated form
                                                                             Engineer and Staff Chief Engineer’s Handover”.                              the outgoing and incoming Chief Engineers have to sign for the
                                                                                                                                                         "inventory of environmental seals "so in effect are signing this form.
                                                                                                                                                         The same applies to the Staff Engineer Hand Over form also. If Senior
                                                                                                                                                         Management deems that a signature is required Hand Over Form TEC-
             66.        Coral Princess*(05.22.2019)   ECP Section IV.C.2.c
                                                                                                                                                         1002-A1 needs to be amended to include a signature box as per the
                                                                                                                                                         previous form. It should be noted that this form is a Corporate
                                                                                                                                                         requirement, so the change will have to go into GLOBAL HESS. The
                                                                                                                                                         same applies to the Staff Engineer Hand Over form also. Document
                                                                                                                                                         revision suggestion has been submitted for the signature box to TEC-
                                                                                                                                                         1002-A1 and TEC-1002-A2. Publish updated hand over forms for both
                                                                                                                                                         TEC-1002-A1 and TEC-1002-A2.
                                                                             Multiple scuppers’ drain covers located on the open deck 7, embarkation     Root Cause Analysis indicated the shortcut by the crew who removed         Completed
                                                                             deck, deck 14 and 15, were found missing the screws to secure the           the screws to unblock the clogged scuppers without appropriately
                                                                             covers to the deck. These scuppers have direct connection overboard.        replacing them also due to the fact that the threads were corroded. The
                              Coral Princess*             ECP Section                                                                                    corrective action plan was welding those that could not be fixed and
             67.
                               (05.22.2019)                VIII.B.2.g.                                                                                   restore the screws to the missing ones. The Technical and Deck crew
                                                                                                                                                         have been reminded in various meetings that if there is a need to open
                                                                                                                                                         the scupper's protections or is found to be missing immediately notify
                                                                                                                                                         the Supervisors, and Managers.
                                                                             The MARPOL Annex V simplified overview placards for garbage                 Root Cause Analysis indicated freeze on ENV 1301 Tier III documents,       In Progress
                                                                             disposal displayed on board the ship does not match with the placards       unable to upload for months. Ships currently have placard as it was
                                                                             required as per the current Garbage Management Plan, Appendix 3.            distributed last summer via email; however, they cannot post said
                                                                                                                                                         placards until the ENV-1301 update reflects new placard requirements.
                              Coral Princess*             ECP Section
             68.                                                                                                                                         Updated ENV-1301 to reflect Garbage Management Plan placard
                               (05.22.2019)                VIII.B.2.g.
                                                                                                                                                         requirements. Send a reminder to HA Group fleet EOs to update
                                                                                                                                                         placards when ENV-1301 is published. A one-time HESS Task for EOs
                                                                                                                                                         is to be created to conform to the new placards having been posted once
                                                                                                                                                         the ENV-1301 update is released.




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Items without an asterisk previously appeared and are either in progress or pending verification.                                   20
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 22 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                     Status of
                                                                                                                                                                                                                                   Corrective &
                             Location Name                                                                                                                                                                                          Preventive
      Row Number              (Audit Date)                ECP Section                                    Final Audit Finding                                               Corrective & Preventive Action Plan                      Action Plan
                                                                             During the inspection of the recycling center, large boxes intended for    Root Cause Analysis indicated many jurisdictions require food             Completed
                                                                             collection of broken crockery were found containing other waste material   contaminated waste to be separated from regular and sorted waste.
                                                                             (plastic containers, plastic bags, broken glass, aluminum foil, paper      Hence, USDA, international, and high-risk waste labels we see in the
                                                                             boxes). The waste material is not being segregated per HESS                US, Canada, and the EU. When operating in these locations (like
                                                                             procedures.                                                                Whittier, AK) food, contaminated wastes need to be separated. It doesn't
                              Coral Princess*             ECP Section                                                                                   matter what material the food contaminated waste is. It only matters that
             69.
                               (05.22.2019)                VIII.B.2.g.                                                                                  it is contaminated with food - so it is disposed of in a more regulated
                                                                                                                                                        manner. The box was not intended for broken crockery exclusively, but
                                                                                                                                                        for all food contaminated wastes. Per root cause analysis, no CAP
                                                                                                                                                        necessary as per HESS procedures and AK requirements, crew
                                                                                                                                                        segregated based on food contamination correctly. The crew took steps
                                                                                                                                                        for refresher training on waste segregation.
                                                                             The current practice to store and disposes galley greases were found not   Root Cause Analysis indicated finding provided via the Draft Summary        Completed
                                                                             in compliance with the company procedures as stated in the Garbage         Report does not adequately describe the defect observed. The GMP does
                                                                             Management Plan available onboard.                                         not require the segregation of Galley Grease and Cooking Oil.
                              Coral Princess*             ECP Section                                                                                   Corrective Action Plan taken onboard was to segregate the grease from
             70.
                               (05.22.2019)               VIII.B.2.j.x.                                                                                 oil in collection and delivery to the Recycling Center. No further
                                                                                                                                                        Corrective Action is deemed necessary. Based on a complete root cause
                                                                                                                                                        analysis, the corrective action is deemed sufficient to address this
                                                                                                                                                        finding.
                                                                             Multiple discrepancies were noted between the entries in the               Root Cause Analysis indicated the medical steward was taking clinical       Completed
                                                                             hazardous waste log for red bags (Medical/Biohazardous waste) kept         waste to the garbage room twice daily (and completing the garbage room
                                                                             in the recycling center and the Medical Department Waste Log, Medical      log correctly as each delivery was received there) but only recording one
                                                                             Soft Waste (Red Bags), kept in the medical center.                         daily total in the medical center log. This was identified to be a training
                                                                                                                                                        issue for the medical steward as he misunderstood the documentation
                                                                                                                                                        requirements. Nonetheless, although the individual records did not tally
                                                                                                                                                        between the two logs, the daily total on each was correct. The medical
                                                          ECP Section
             71.        Coral Princess*(05.22.2019)                                                                                                     steward was informed that each entry in the medical center waste log
                                                         VIII.B.2.j.xviii.
                                                                                                                                                        must tally with the garbage room log each time clinical waste is
                                                                                                                                                        delivered there. The medical center waste log will be edited (MED2101)
                                                                                                                                                        to include text to clarify that each line must reflect what is delivered to
                                                                                                                                                        the garbage room each time and that it should tally with the garbage
                                                                                                                                                        room log. This will be submitted for publishing to GHESS ASAP.
                                                                                                                                                        Senior Nurses will be tasked with ensuring that this is part of the medical
                                                                                                                                                        steward training.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 23 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                         Status of
                                                                                                                                                                                                                                       Corrective &
                             Location Name                                                                                                                                                                                              Preventive
      Row Number              (Audit Date)                ECP Section                                   Final Audit Finding                                              Corrective & Preventive Action Plan                            Action Plan
                                                                              Over the past 30 days there were eight (8) discrepancies in the ECS      Root Cause Analysis indicated during the last 24 months, ENV-1204 has         In Progress
                                                                              padlock log. Entries were made that showed padlocks being unlocked       been reviewed enough times to create confusion as to the appropriate
                                                                              and or locked, without a corresponding entry indicating the padlock      annex numbers and the detailed within them. We now have the present
                                                                              being locked and or unlocked.                                            version of the ‘log’ in HESS A3 (Layout unclear). These docs had only
                                                                                                                                                       just come into circulation immediately before the Audit and as such the
                                                                                                                                                       ships staff could not have been familiar with the layout as they had not
                             Crown Princess*                                                                                                           had time. Confirm ENV-1204 is being followed, specifically: “Until
             72.                                       ECP Section IX.B.1
                              (06.06.2019)                                                                                                             your ship’s Vulnerability Assessment Report is revised, continue to use
                                                                                                                                                       ENV-1204-A1 Critical Valves, Fittings, Tank Hatches List, Lock Log,
                                                                                                                                                       and Seal Log as records for the ship’s ECS.” If yes, then confirm the
                                                                                                                                                       revised VA report has been received by the ship and then use of the
                                                                                                                                                       correct ENV 1204-A3 ECS Vulnerability Log as published in Global
                                                                                                                                                       HESS is being used onboard. Chief Engineer to retrain all engine
                                                                                                                                                       officers on how to complete ENV-1204-A3 ECS Vulnerability Logs.
                                                                              The last Environmental Officer handover notes prior to this audit, was   Root Cause Analysis indicated EO has signed off on medical grounds.           Completed
                                                                              not conducted in accordance with Global HESS procedures.                 Therefore the handover as required by the ENV-1014 couldn’t be
                                                                                                                                                       provided. Per procedure, the EO duties were handed off to the Staff
                                Volendam*
             73.                                      ECP Section IV.A.2.h                                                                             Chief Engineer. A qualified EO embarked the vessel in 2 days after the
                               (06.12.2019)
                                                                                                                                                       Ship’s EO had medically disembarked. There is no preventative action
                                                                                                                                                       for this finding as we cannot anticipate and be prepared in advance if
                                                                                                                                                       anyone is going to disembark medically.
                                                                              There is no record of the ship using the HESS Contractor Procedure       Root Cause Analysis indicated a lack of awareness. Chairman of the            In Progress
                                                                              Checklist.                                                               Ship's HAT to be reminded of the requirements of OHS-1302, including
                                Volendam*                 ECP Section                                                                                  the DI1 that includes the latest version checklist with the five-year
             74.                                                                                                                                       retention requirement. Ship to address this issue in HAT meeting and
                               (06.12.2019)                VIII.B.2.q
                                                                                                                                                       review with the HAT OHS-1302 including DI1 which contains the latest
                                                                                                                                                       version of the checklist that stipulates a five-year retention requirement.
                                                                               An OWS discharge overboard of clean bilge water (under 15 ppm) on       Root Cause Analysis indicated the Auditors looked through 3 months of         In Progress
                                                                              06 June 2019 for a total of 14.4 m3 was miscoded in the ORB as C‐15.3;   oil record book entries and found an anomalous error where the Engineer
                                                                              the correct code for OWS overboard operations are C‐15.1                 wrote 15.3, instead of writing 15.1. Even though the wrong code was
                                                                                                                                                       used, the rest of the entry was correct for a 15.1 entry, which indicates
                                                                                                                                                       this was a simple anomalous, as the Engineer knew and wrote that this
                                                                                                                                                       was an overboard discharge. Add a corrective entry to the ORB. The
                                                                                                                                                       Chief Engineer and Environmental Officer have discussed this error with
             75.         Volendam*(06.12.2019)        ECP Section IX. J & k                                                                            all the Watch Engineers, and the need to review and check their work.
                                                                                                                                                       The Environmental Officer also understands the need to look at the oil
                                                                                                                                                       record book entries daily and to verify that the correct codes are being
                                                                                                                                                       used, among other things. The Watch Engineers have been reminded to
                                                                                                                                                       check their entries and to use the oil record book guidance if they have
                                                                                                                                                       any questions. During the review of the oil record book, the
                                                                                                                                                       Environmental Officer will review the complete entries, including
                                                                                                                                                       ensuring the correct code is being used.




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Items without an asterisk previously appeared and are either in progress or pending verification.                                   22
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 24 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                          Status of
                                                                                                                                                                                                                                        Corrective &
                             Location Name                                                                                                                                                                                               Preventive
      Row Number              (Audit Date)                ECP Section                                   Final Audit Finding                                                 Corrective & Preventive Action Plan                          Action Plan
                                                                               In reviewing the recycling center Hazardous Waste Log, (3) entries on      Root Cause Analysis indicated prior EO was medically disembarked on         In Progress
                                                                              29 May 2019, (1) on 5 June 2019 and (1) on 12 June 2019 were missing        June 5th and the vessel was without an EO until June 7th - no handover
                                Volendam*                 ECP Section         the Environmental Officers signature for verification confirming offload.   was able to take place. EO to find receipts and confirm that these lines
             76.
                               (06.12.2019)                VIII.B.2.i                                                                                     in the hazardous waste log were offloaded. Then, make corrective
                                                                                                                                                          entries in hazardous waste log. Reminder in EO monthly call to sign
                                                                                                                                                          hazardous waste log when entries are offloaded.
                                                                               Throughout the ship’s galleys and food preparation areas there are         Root Cause Analysis indicated these items have gone missing during an       In Progress
                                                                              approximately 164 galley grey water scuppers with a secured scupper         extended time of negligence and lack of care. All missing items have
                                                                              cover/drain bell for each. Auditors found 116 screws used to secure         been ordered; no delivery date available yet. Once received, items will
                                Volendam*                 ECP Section         scupper covers and (1) one cover missing.                                   be installed. Increased engagement by all involved and elevated levels
             77.                                                                                                                                          of training, supervision, and audits will prevent this issue from re-
                               (06.12.2019)                VIII.B.2.g
                                                                                                                                                          occurring. Galley inspection checklists will be modified to specifically
                                                                                                                                                          include checking scupper cover/drain bells and associated hardware.
                                                                                                                                                          (Plan will be rewritten to reflect the usage of i-Inspector)

                                                                              The actions required by Carnival’s ECN #3‐2019, specifically the “visual    Root Cause Analysis indicated galley grey water collecting tanks were       In Progress
                                                                              inspection of the galley grey water collecting tank(s) and the urgent       inspected about AMOS jobs (reference April 26th for oil trace
                                                                              requisition of all scupper covers and associated hardware” was not          inspection), but not referenced to complete via the ECN#3-2019. This is
                                                                              completed by the 31 May 2019 deadline.                                      a crew oversight. Hotel Dept. carried out a survey of scupper covers and
                                                                                                                                                          hardware, May 20th. No requisitions were created until June 14th. Lack
                                Volendam*             ECP Section X.A.1.b                                                                                 of oversight during this period as to what was identified as missing
             78.
                               (06.12.2019)             & ECN #3‐2019                                                                                     versus parts requisitioning. Inspection completed immediately following
                                                                                                                                                          the TPA audit. Covers and bells found missing then reported to
                                                                                                                                                          superintendent. Superintendent approved the order of equipment.
                                                                                                                                                          Environmental Compliance to establish project management
                                                                                                                                                          responsibility for each ECN issued to assure visibility and timelines are
                                                                                                                                                          appropriately implemented.
                                                                              While observing an overboard discharge operation for previously             Root Cause Analysis indicated undisciplined food segregation at source      In Progress
                                                                              segregated comminuted food waste, 27 of 42 food waste containers were       in galleys. The bins are consistently being monitored and checked; more
                                                                              found to have non‐food items in them. Non‐food items included small         stringent procedures have been implemented, and crew awareness
                                Volendam*                 ECP Section         pieces of plastics, paper, china, wooden stir sticks and aluminum foil.     training is taking place. Corrective action is encouraged as immediate as
             79.
                               (06.12.2019)                VIII.B.2.g         The 27 containers were sent back to the galleys to remove non‐food          possible through increased supervision. Tiger Teams have been
                                                                              items.                                                                      assembled to investigate and determine best practices/strategies for food
                                                                                                                                                          waste segregation at source in galleys. Commit to implementing Tiger
                                                                                                                                                          Team recommendations as appropriate.
                                                                              During audit of the main galley, a pulper station that was not being used   Root Cause Analysis indicated 1) Incident was caused by the negligence      In Progress
                                                                              at the time was found unlocked with its cover off. The design of the        of a crew member. 2) The cover design still allowed food waste to enter
                                                                              galley pulper station tables allows non‐food items to still enter the       the pulper while still locked. This was a design flaw. 1) Crew members
                                                                              pulper, regardless if their covers are in place and locked.                 have been trained; supervision increased as well as spot checks. 2)
                                                           ECP Section                                                                                    Design modified to limit the food waste entering the pulper while
             80.         Volendam*(06.12.2019)        VIII.B.2.g & Carnival                                                                               locked. This was completed shortly after the audit. 1) Training,
                                                          ENV/07/2019                                                                                     increased supervision, and spot checks are actively taking place — 2)
                                                                                                                                                          F&B Directors in HA Group fleet to take a walk around inspection of
                                                                                                                                                          pulper covers. Specifically whether or not non-food waste can still be
                                                                                                                                                          placed when locked — one-time HESS task to be created for walk-
                                                                                                                                                          around spot checks.

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Items without an asterisk previously appeared and are either in progress or pending verification.                                    23
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 25 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                        Status of
                                                                                                                                                                                                                                      Corrective &
                             Location Name                                                                                                                                                                                             Preventive
      Row Number              (Audit Date)                ECP Section                                  Final Audit Finding                                                  Corrective & Preventive Action Plan                        Action Plan
                                                                             The refrigerant leak records are being recorded on an outdated form         Root Cause Analysis indicated VODM was using an outdated ENV-               Completed
                                                                             “ENV‐1402‐A2 Example Ozone Depleting Form”. The ships refrigerant           1402-A2. The previous EOs medical disembark is a contributing factor.
                                Volendam*
             81.                                        ECP Section IX.I     inventory does not include any ozone depleting substances (ODS).            Updated form to be used. During EO monthly call all EOs to be
                               (06.12.2019)
                                                                                                                                                         reminded of the importance of pulling forms directly from the HESS for
                                                                                                                                                         the latest form revision.
                                                                             There was only one contractor who had a filled out “Contractor HA           Root Cause Analysis indicated a lack of following HESS guidelines,          In Progress
                                                                             Group OHS 1320 DLI‐A2 March 2019” on file with the technical                most likely due to all involved, simply forgetting this task requirement
                                                                             department since March of 2019. No evidence could be provided for the       with the belief it had been completed when they joined the vessel. Chief
                           Caribbean Princess*          ECP Section VIII
             82.                                                             3 different contractor companies that were onboard during the ECP audit     Engineer held a meeting to directly name two individual positions to
                              (06.18.2019)                  B.2.q
                                                                             to show they had received this instruction/training (Ocean Spray,           follow up on all vendors for the technical department. Director of Safety
                                                                             Siemens, and Nordic Made).                                                  Operations to remind the CB HODs to follow the OHS-1302-DI1 HA
                                                                                                                                                         Group-Specific Instructions.
                                                                             The Oil Record Book was missing Chief Engineer and 3rd Engineer             Root Cause Analysis indicated the third engineer accidentally forgot to     In Progress
                                                                             signatures.                                                                 sign and has no excuse. The Third Engineer realizes that he needs to
                                                                                                                                                         check and double-check to make sure the entries are signed. The Chief
                                                                                                                                                         Engineer who did not sign the page was not on board during the audit.
                                                                                                                                                         The current Chief Engineer will include a summary of the finding in his
                                                                                                                                                         handover report. During the ABSG ECP audit, the Chief Engineer
                                                                                                                                                         reviewed the page with the missing Chief Engineer's signature and found
                                                                                                                                                         no issues with any of the entries, so he signed the page. The Third
                           Caribbean Princess*           ECP Section VIII                                                                                Engineer was still onboard, so he signed his entry. The Auditors were
             83.
                              (06.18.2019)                    B.i.i                                                                                      satisfied with these corrective actions. The Chief Engineer used this
                                                                                                                                                         finding as a learning opportunity and held a meeting with all the Watch
                                                                                                                                                         Engineers and discussed making accurate oil record book entries. The
                                                                                                                                                         Environmental Officer was also present during the meeting. The Chief
                                                                                                                                                         Engineer and Environmental Officer also recognized the need to do
                                                                                                                                                         better with checking the oil record book entries to make sure each entry
                                                                                                                                                         is complete. The Chief Engineer is including a statement in his
                                                                                                                                                         handover report to the returning Chief Engineer that he needs to review
                                                                                                                                                         each oil record book page for accuracy, including signatures.
                                                                             The vessel utilizes pulpers in order to discharge food waste overboard in   Root Cause Analysis indicated original drafting of GMP focused on           In Progress
                                                                             certain areas. This garbage processing equipment is not included in the     Garbage Handling equipment in the Recycling Center and erroneously
                                                                             Garbage Management Plan on board. Additionally, it should be noted          excluded food pulpers throughout the vessel. Appendix 6 is being re-
                           Caribbean Princess*          ECP Section VIII
             84.                                                             that the Garbage Management Plan is lacking control numbers.                written and expanded to better instruct fleet on MEPC 220 (63)
                              (06.18.2019)                  B.2.g
                                                                                                                                                         requirements. The expansion of Appendix 6 will coincide with the
                                                                                                                                                         corporate publishing of a corporate-wide GMP template. Fleet
                                                                                                                                                         implementation of updating GMP.




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Items without an asterisk previously appeared and are either in progress or pending verification.                                   24
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 26 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                           Status of
                                                                                                                                                                                                                                         Corrective &
                             Location Name                                                                                                                                                                                                Preventive
      Row Number              (Audit Date)                ECP Section                                    Final Audit Finding                                              Corrective & Preventive Action Plan                             Action Plan
                                                                             The galley grease trap was open and inspected and found to have 2         Root Cause Analysis indicated solid items entering the greywater system         In Progress
                                                                             pieces of plastic wrap, approximately 12” x 12” and 5” x 10” as well as,  could only do so via drains and kettle/braising pans drains. Cover bells
                                                                             small pieces of tin foil, two plastic/metal twist ties and what seemed to are in place for all scupper drains (although securing with anti-tamper
                                                                             be either a shredded rag or part of a mop head. One of the pulper silos   screws not yet complete) but there could be risks at the kettle/braising
                                                                             was also inspected and found to include a dime size piece of china.       pan drainage system. Below is the corrective action request that will be
                                                                                                                                                       sent to all vessels. Communication to be sent to the vessels to conduct a
                                                                                                                                                       physical inspection by supervisor (Chief steward/ SCHEF and above that
                                                                                                                                                       no plastic, solids, paper, plastic gloves are on the floor or in the
                                                                                                                                                       kettles/braising pans drains before any water is flushed and/or drains are
                                Caribbean
             85.                                      ECP Section VIII B.h                                                                             cleaned.We will also require that training is conducted for all crew
                          Princess*(06.18.2019)
                                                                                                                                                       members that items falling on the floor must be picked up, whichever
                                                                                                                                                       size they are and failing to do so will be equivalent to failing to sort food
                                                                                                                                                       waste/avoid non-food to penetrate our food waste/greywater system.
                                                                                                                                                       Tiger Team review has identified galley scuppers as vulnerability
                                                                                                                                                       through which non-food waste items may enter to the greywater system.
                                                                                                                                                       Corporate-wide initiative to ensure that all galley waste scuppers are
                                                                                                                                                       capped with bell covers and secured with tamper-proof screws. The
                                                                                                                                                       initiative is tracked at a corporate-wide level to ensure upon completion
                                                                                                                                                       of the effort.
                                                                             The food waste trap was open and inspected and found to contain           Root Cause Analysis indicated segregation at source was not always              In Progress
                                                                             pieces of broken china, silverware, metal beer cap, piece of aluminum     being followed in the Main Galleys and Lido dining room due to lack of
                                                                             and hard food like bones, oyster and mussel shells. (No plastic was       procedural instructions. All non-food items were removed immediately.
                                                                             found.) The Magnetic trap #2 was opened, and it contained metal beer      The system was cleaned and placed back in service. An incident report
                                                                             caps and a few pieces of silverware. This finding indicates an inadequate raised and Garbage record book entry recorded. 1. Food waste
                                                                             food waste segregation process prior to material entering the pulper.     segregation at source will be reinforced in the Main Galleys and Lido
                                                                                                                                                       Galleys and other areas of the ship where food waste is being generated.
                                                                                                                                                       A standardized guideline will be prepared for this process of waste
                                                                                                                                                       segregation at the source, which will encompass all departments that
                                                                                                                                                       generate food waste.
                                                                                                                                                       2. Signage in the galleys will be reinforced to ensure clarity and more
                                                                                                                                                       visibility. CCL team working with Dupont to develop this revamped
                             Carnival Magic*              ECP Section
             86.                                                                                                                                       signage.
                              (06.22.2019)                VIII.B.2.g)
                                                                                                                                                       3. New training will be developed for the crew to emphasize on the food
                                                                                                                                                       waste segregation and its importance.
                                                                                                                                                       4. A video will also be created to bring to the attention of our guests the
                                                                                                                                                       importance of food waste segregation on board.
                                                                                                                                                       5. Supervision, Control, and Logging of food waste discharges will be
                                                                                                                                                       enhanced in the form of formal procedures to improve the oversight and
                                                                                                                                                       accountability of food waste operations.
                                                                                                                                                       6. Single-use items like plastic straws, sugar sachets, etc. are being
                                                                                                                                                       phased out to eliminate non-food items from entering the food waste
                                                                                                                                                       streams. Hotel operations will develop a phase-out plan
                                                                                                                                                       7. CCTV cameras also will be installed for evaluation. An installation
                                                                                                                                                       plan to be developed by technical services.



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Items without an asterisk previously appeared and are either in progress or pending verification.                                   25
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 27 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                 September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Non-Conformities)
                                                                                                                                                                                                                                       Status of
                                                                                                                                                                                                                                     Corrective &
                             Location Name                                                                                                                                                                                            Preventive
      Row Number              (Audit Date)                ECP Section                                    Final Audit Finding                                              Corrective & Preventive Action Plan                         Action Plan
                                                                             Two new drain valves installed during the April 2019 yard period on the    Root Cause Analysis indicated prior to this drydock; there was not a       In Progress
                                                                             #5 and #6 engine’s EGCS overboard lines. These were not identified as      dedicated project manager for AAQS and the associated systems
                                                                             vulnerabilities, and the procedures does not address new installations     impacted the implementation of the new system. VP Technical has
                            Emerald Princess*
             87.                                       ECP Section IX.B.1    after the initial assessment was done.                                     assigned a permanent position dedicated to the implementation of these
                              (06.29.2019)
                                                                                                                                                        systems. Project Manager to verify that the Vulnerability Assessment is
                                                                                                                                                        addressed as a potential impact on any/all AAQS upgrades and
                                                                                                                                                        modifications.
                                                                             The HESS Contractor Procedure Checklist was updated on 26 March            Root Cause Analysis indicated the ship did not add the required pages    In Progress
                                                                             2019. The ship has been using a previous version.                          from the latest version of the Contractor Brochure on GHESS. Updated
                                                                                                                                                        HESS Contractor Procedure Checklist does not have a revision number.
                                                          ECP Section                                                                                   Ship to add page 3 (POL_1001) and 12 (updated checklist that adds the
             88.          Eurodam*(07.08.2019)
                                                           VIII.B.2.q                                                                                   5-year retention requirement) to all hard copy brochures. Print and
                                                                                                                                                        distribute to warehouse updated version of the brochure. A future update
                                                                                                                                                        to the HESS Contractor Procedure Checklist will require revision
                                                                                                                                                        number.
                                                                             A wrong entry was made in the ORB. The OWS discharge overboard of          Root Cause Analysis indicated the auditors looked through over 30 days In Progress
                                                                             clean bilge water on 28 June 2019 for a total of 14.1 m3 was miscoded in   of oil record book entries and found an anomalous error where the
                                                                             the ORB as C‐15.3. The correct code for OWS overboard operations is        Engineer wrote 15.3, instead of writing 15.1. Even though the wrong
                                                                             C‐15.1.                                                                    code was used, the rest of the entry was correct for a 15.1 entry, which
                                                                                                                                                        indicates this was a simple anomaly, as the Engineer knew and wrote
                                                                                                                                                        that this was an overboard discharge. The entry has been corrected in
                                                                                                                                                        the oil record book. The Chief Engineer and Environmental Officer
                                Eurodam*                   ECP Section
             89.                                                                                                                                        have discussed this error with all the Watch Engineers, and the need to
                               (07.08.2019)                VIII.B.2.i.i
                                                                                                                                                        review and check their work. The Environmental Officer also
                                                                                                                                                        understands the need to look at the oil record book entries daily and to
                                                                                                                                                        verify that the correct codes are being used, among other things. During
                                                                                                                                                        the review of the oil record book, the Environmental Officer will review
                                                                                                                                                        the complete entries, including ensuring the correct code is being used.
                                                                                                                                                        Environmental Operations to reinforce the importance of accurate ORB
                                                                                                                                                        entries.
                                                                              Throughout the ship’s galleys and food preparation areas there are        Root Cause Analysis indicated the lack of procedure to guide the         In Progress
                                                                             approximately (161) galley grey water scupper drain bells and (2075)       cleaning/maintenance of galley grey water scupper covers/drain bells.
                                Eurodam*                  ECP Section        galley grey water scupper cover securing screws missing.                   Once received, items will be installed. ABG is providing guidance in
             90.                                                                                                                                        two procedures estimated to be published in end Q3/early Q4. HESS
                               (07.08.2019)                VIII.B.2.g
                                                                                                                                                        task to be created for Hotel Directors for check/walk-through to include
                                                                                                                                                        galley grey water scupper covers/drain bells.
                                                                             While observing pulper chute operations in the recycling center for        Root Cause Analysis indicated this is a systemic issue being addressed     In Progress
                                                                             previously segregated food waste, numerous food waste containers from      by the focus of the Tiger Team. Combination of increased training,
                                Eurodam*                  ECP Section        various galleys and food preparation areas were found to have non‐food     supervision, and improving operational procedures for Hotel. Separation
             91.
                               (07.08.2019)                VIII.B.2.g        items in them, to include several pieces of plastics & paper, aluminum     of non-food items is challenging, but the metal trap worked as a safety
                                                                             foil packets, metal bottle cap, rubber band and a wooden stir stick.       mechanism. ENV-1302 is in the process of being revised.
                                Eurodam*                  ECP Section        Letters of infeasibility for the 8 non‐EAL oil to sea interfaces are not   Root cause analysis, corrective, and preventive actions will be reported   In Progress
             92.                                                             onboard.                                                                   within the next quarterly submission.
                               (07.08.2019)                VIII.B.2.x



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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 28 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                        Status of
                                                                                                                                                                                                                                      Corrective &
                         Location Name                                                                                                                                                                                             Preventive Action
     Row Number           (Audit Date)             ECP Section                                            Final Audit Finding                                                    Corrective & Preventive Action Plan                      Plan
                                                                       With reference to the document HESS‐MAHMP‐1302‐A1 Internal Investigations                    Root Cause Analysis indicted no formal procedure with regard   In Progress
                                                                       Matrix, investigations of severity level 4 are led by independent RAAS investigators,        to timelines for reporting. RAAS will update HMP 1303 to
                                                                       while severity level 3 investigations are generally Operating Line led investigations with   define O/L progress report frequency based on the
                                                                       RAAS providing independent assurance. Although the sampled investigations were               investigation complexity (severity 1 through 4). Updated
                                                                       found to be carried out in compliance with the internal policies and procedures, relying     frequency will be provided and defined by three steps: 1.
                                                                       on investigators as employees of the company’s Operating Line seems to be a                  Evidence Gathering; 2. Analysis; and 3. Reporting. VP of
                                                                       determinant cause of delay in the completion of multiple investigations. No timeline for     RAAS will provide updates of all severity 3 and 4
                                                                       investigation completion has been defined in the internal procedure but the status‐quo       investigations during quarterly EVP meeting.
                                                                       could potentially lead to a conflict of interest and affect the “independence”
                                                                       requirement. RAAS (Risk Advisory and Assurance) is an independent department
                                                                       which reports directly to Carnival Corporation’s Board of Directors. The following
                                                                       RAAS department personnel have been interviewed: Chief Audit Officer, Vice
                                                                       President, Investigations Director, and ABG Hess Audit and QA Director. Awareness
                                                                       and high level of commitment toward the ECP were evident for each interviewee. The
                                                                       procedures and policies followed with regard to audits and investigations were
                          Shore - ABG         ECP Section III.B.1.;    explained and sampled to verify the compliance with the ECP requirements. RAAS is
           1.                                                          constantly in contact with the MP&A department to review procedures and policies as
                          (08.18.2017)        HESS: HMP‐1302‐A1
                                                                       results of audit finding and investigation results. Audit and QA department: In 2013 the
                                                                       RAAS auditing branch’s structure has been completely revised. Since then, teams of
                                                                       independent auditors reporting to RAAS were established and are currently present at
                                                                       each Operating Line. Audits and follow‐up visits are carried out on each vessel to
                                                                       ensure compliance with international regulations and internal processes and procedures.
                                                                       Each Operating Line has an ISO 14001 certified EMS (Environmental Management
                                                                       System) which is audited as required by the international regulations. The January 2017
                                                                       quarterly review report was provided and HESS audit results presented including trend
                                                                       analysis for each operating line and across the fleets with regard to Environmental
                                                                       findings. Investigation department: The company’s internal procedures and policies for
                                                                       investigations on vessel casualties, oil pollution incidents, and open report reports were
                                                                       presented and reviewed. Investigations on Environmental, as well as Health Safety and
                                                                       Security, incidents are carried out in accordance with the internal procedure HMP 1303
                                                                       – Event Investigation and the relevant Internal Investigation Matrix which defines 4
                                                                       severity levels.
                                                                     During the test of the RWO Static OWS, the quantity of water processed from the clean          Root Cause Analysis indicated back pressure was too high on    Complete
                                                                     bilge tank was only 1.8 m3/hr. This was due to the fact that during operation, a certain       the discharge side of OWS. BCDB supplier arranged to check
                                                                     amount of the RWO OWS effluent must be recirculated back to the clean water bilge              proper flow is established. Discharge pipework from OWS is
                       Caribbean Princess
           2.                                 ECP Section VIII.B.2.d tank through a manual recirculation line. The RWO Static OWS operates as designed              also being checked for blockages. Bilge system upgrades will
                         (02.06.2018)                                and meets the requirements of MARPOL and ECP, but it will not operate at the rated             be undertaken to change material and size of discharge
                                                                     capacity of 5 m3/hr.                                                                           pipework.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 29 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                      Status of
                                                                                                                                                                                                                                    Corrective &
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     Row Number           (Audit Date)             ECP Section                                           Final Audit Finding                                                  Corrective & Preventive Action Plan                       Plan
                                                                       Though not a prerequisite, pre‐reading for the course was only completed by 2 out of 12   Only pre-reading reference in LMS is to the EO1                 In Progress
                                                                       students. Information gathered for EO’s use should find a common platform for             Communications Reference Guide EO1 Train the Trainer
                                                                       distribution. Recommend ongoing information provided by CSMART should be hosted           section. Revisit "Welcome to the Environmental Officer
                                                                       on Carnival Corp platforms for distribution to EO’s and available throughout the year     Course Phase II" page on the LMS. Recommend ongoing
                                                                                                                                                                 information provided by CSMART should be hosted on
                                                                                                                                                                 Carnival Corp Platforms for distribution to EO’s and available
                                                                                                                                                                 throughout the year. EOs now have access to the
                                                                                                                                                                 Environmental HUB Discussion Forum. Use of Hub to be
                                                                                                                                                                 further promoted by CSMART, OLTMs & ABG team.
           3.        CSMART(08.24.2018)                N/A                                                                                                       Participants who do the self-study are well prepared and help
                                                                                                                                                                 us keep to program running time. Make pre-reading a
                                                                                                                                                                 prerequisite. ABG team to progress efforts towards a 365 CPD
                                                                                                                                                                 learning and competency checking system for EOs in order to
                                                                                                                                                                 assist both EOs development & OLTMs oversight throughout
                                                                                                                                                                 the 51 weeks between CSMART efforts. Plus, allow value
                                                                                                                                                                 feedback on participant strengths and where to improve in
                                                                                                                                                                 order to best direct CSMART efforts each year. HESS-MS and
                                                                                                                                                                 associated ECP & ENV literature are already circulated on a
                                                                                                                                                                 CC platform and available whenever an EO is on a tour.
                                                                     It was observed that there are no markings to visually indicate the locations of the        Root Cause Analysis indicated the procedure in place is not    In Progress
                                                                     vulnerabilities that are controlled under the ECS making locating the vulnerability for     effective and does not stipulate that markings are mandatory.
                                                                     weekly verification more difficult – especially for a crew member that is new to the        The ECS working group created to streamline ECS
                                                                     vessel. There are no requirements for the locations to be marked in either the ECP or the   implementation and record keeping. ENV 1204 will be revised
                                                                     HESS. However, as some seals are in locations that are not readily visible, the addition    to reflect mandatory marking requirements. Once ENV 1204 is
                        Carnival Fantasy
           4.                                 ECP Section VIII.B.2.h of some markings that allow the crew to easily identify the location of the sealed          revised, a team from environmental operations will go onboard
                         (09.16.2018)
                                                                     vulnerability should be considered. Other vessels that have been audited are utilizing a    and ensure standard implementation of the procedures.
                                                                     numbered bullseye painted near the vulnerability. On those vessels, the number
                                                                     corresponds to the number in the Vulnerability Assessment and listed in the Critical
                                                                     Valves, Fittings, and Tank Hatches List, Lock Log, and Seal Log.

                         Shore - Carnival                              The Annual HESS Management Review (shore side) and Monthly HESS Steering                  CCL will revise the annual HESS Management Review (shore        Completed
                                                   ECP Section         Committee report (vessel) are lacking ECP or environmental elements.                      side) and Monthly HESS Steering Committee report (vessel) to
           5.              Cruise Line
                                                   Attachment 2                                                                                                  include ECP or environmental elements.
                          (10.02.2018)
                                                                       The Exception Request procedure “INT 1004 ‐ Exception Request” lacks tracking             The Exception requests procedure will be evaluated to include   Completed
                         Shore - Carnival                              requirements. It does not included procedures to address expiration or extension dates    procedures to address expiration or extension dates and will
                                                   ECP Section
           6.              Cruise Line                                 nor does it address how continual non‐compliance is to be managed or tracked.             address how continual non‐compliance is to be managed or
                                                   Attachment 2
                          (10.02.2018)                                                                                                                           tracked. A new system is being evaluated.
                                                                       During interviews several of the senior officers, Staff Captain, Staff Engineer and EO    Root Cause Analysis indicated no current policy requiring the   In Progress
                                                                       stated that the number of Global Hess updates to read upon returning to the ship (new     crew to review regulation updates while on leave; therefore,
                            Ventura                                    contract) can be very challenging and that it would be nice if they had access to the     there is no system allowing this to happen. Consider
           7.                                  ECP Section III.A.14
                          (10.24.2018)                                 updates from their home computers prior to returning to the ship.                         introducing a system allowing officers on leave to access
                                                                                                                                                                 GHESS updates.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 30 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                          Status of
                                                                                                                                                                                                                                        Corrective &
                         Location Name                                                                                                                                                                                               Preventive Action
     Row Number           (Audit Date)             ECP Section                                         Final Audit Finding                                                    Corrective & Preventive Action Plan                           Plan
                                                                     The ECP training report (MISTRAL) for the period 1 July 2018 to 27 September 2018            Attendance application to be implemented to address the gap        In Progress
                                                                     has an additional forty one (41) names not on the previous gap report for the same           reporting and ensure accurate training record upload.
                            Ventura
           8.                                 ECP Section VIII.B.2.n timeframe. This requires the EO to verify the training by crosschecking paper records,
                          (10.24.2018)                               which is time consuming.

                                                                       The recent relocation of the White Box has altered the pressure requirements for the       Root Cause Analysis indicated class approved Bilge Water           Completed
                                                                       Oily Bilge Water Treatment system. The new operating procedure suggested by the            Management Manual (BWMM) demonstrates the Centrifugal
                                                                       manufacturer’s representative is to adjust the settings of the pressure regulating valve   Oil Water Separator (COWS) should be used for internal
                                                                       located inside the White Box before operating the system. This requires routine access     transfers. The only time the COWS will be used overboard
                                                                       to, and adjustment of, the pressure regulator located in the White Box, increasing the     will be during the monthly, annual test, an audit, and during an
                                                                       risk of unauthorized access and improper operation.                                        emergency due to the failure of the Static Oily water Separator
                              Ruby                                                                                                                                (SOWS). Adjustments will be carried out only during these
           9.                                   ECP Section IX.G
                      Princess(10.31.2018)                                                                                                                        four occasions. In all of these cases, authorized access will be
                                                                                                                                                                  granted to the Bilge Discharge Control Box (BCDB) in the
                                                                                                                                                                  presence of the Environmental Officer, Chief Engineer,
                                                                                                                                                                  Company Representative and/or auditor under video
                                                                                                                                                                  surveillance. Control keys are required to access the (BCDB).
                                                                                                                                                                  In any of these cases, the OLCM will be notified of the COWS
                                                                                                                                                                  Test.
                                                                     Global HESS procedure OHS‐1302‐ (Contractor or Third Party Personnel) should be              Root Cause Analysis indicated a lack of oversight. ABG is          Completed
                        Carnival Horizon                             reviewed for clarity on how environmental awareness should be addressed in this              developing a standardized approach (procedure) for contractor
           10.                                ECP Section VIII.B.2.q
                          (11.03.2018)                               procedure to meet ECP requirements.                                                          training. Once this procedure is rolled out, it will be
                                                                                                                                                                  implemented fleet wide.
                                                                       ECP critical spare parts are not segregated in storage from routine engineering spare      Root Cause Analysis indicated no existing procedure requiring      Completed
                                                                       parts.                                                                                     the ships to segregate ECP critical spare parts from regular
                                                                                                                                                                  spare parts. CCL Shoreside Technical Department is to
                         Carnival Elation                                                                                                                         evaluate the possibility of having the ships store the ECP
           11.                                  ECP Section V.B.3
                          (12.16.2018)                                                                                                                            critical spare parts separately given the space restrictions
                                                                                                                                                                  onboard. Once this evaluation is complete, ships will be
                                                                                                                                                                  instructed accordingly. A suggestion to ABG is to include this
                                                                                                                                                                  requirement in the HESS procedure ENV 1201.
                                                                       During the interviews, the crew stated they are scared to make a mistake out of fear of    OLCM will be sending out a written communication and a             Completed
                         Carnival Elation                              getting fired.                                                                             video message to the fleet to highlight the company's just
           12.                                         N/A
                          (12.16.2018)                                                                                                                            culture and to reinforce blame culture will not be tolerated.
                                                                       HESS Policy ENV‐1204 Environmental Control Systems does not require a “Master”             Root Cause Analysis indicated ENV-1204 does not provide       Completed
                                                                       list of current Seals or Locks in place. The policy only provides instructions and forms   guidance on maintaining a Master Seal List. Environmental
                                                                       for when Seals are changed, or Locks are opened. A separate uncontrolled Master Seal       Officers were resourceful and created a list to make their
                                                                       List is being maintained in spread sheet format for EO use.                                required weekly job of checking the seals easier. This
                                                                                                                                                                  observation requests we amend G-HESS to provide guidance to
                          Sun Princess
           13.                                 ECP Section IX.B.1                                                                                                 Environmental Officers for maintaining a separate Master Seal
                          (01.08.2019)
                                                                                                                                                                  List. Presently, the Company is working with the CAM and
                                                                                                                                                                  ABSG to amend ECS guidance within the ECP. Address
                                                                                                                                                                  maintaining a separate Master Seal List by submitting a
                                                                                                                                                                  revision suggestion to ENV-1204. Publish revised procedure
                                                                                                                                                                  in the G-HESS.

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 31 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                Status of
                                                                                                                                                                                                                              Corrective &
                         Location Name                                                                                                                                                                                      Preventive Action
     Row Number           (Audit Date)             ECP Section                                           Final Audit Finding                                                Corrective & Preventive Action Plan                   Plan
                                                                      Errors were noted on the following MARPOL Certificates:· The total capacity listed on   Root Cause Analysis indicated in 2016 a 1.4 M3 tank was       Completed
                                                                      the International Oil Pollution Prevention Certificate does not match the sum of the    removed which should have reduced the capacity from 131.4 to
                                                                      individual tank capacities.· The Record of Equipment for the International Air Pollution130. The IOPP was incorrectly updated. The only way to
                                                                                                                                                              prevent this is to double check the certificates when they are
                                                                      Prevention Certificate lists multiple systems that utilize R‐22 as a refrigerant. All the
                                                                      listed equipment has been removed from the vessel or converted to the use of other non‐ prepared by Lloyd’s surveyor. Completed the replacement of
                                                                      ozone depleting substances                                                              Freon R22 to R438a on December 14, 2018. The TPA's visit
                                                                                                                                                              was on January 8, 2019. The Chief Engineer contacted Lloyd’s
                                                                                                                                                              to update two certificates. One of these is the "Air Pollution
                                                                                                                                                              Prevention Certificate," Certificate No: MEL1601144, issued
                                                                                                                                                              on November 16, 2016, and valid until November 29, 2020.
                              Sun
           14.                                ECP Section VIII.B.2.y                                                                                          Equipment 2.1.2 needs to be changed from R-22 to R438a.
                      Princess(01.08.2019)
                                                                                                                                                              The other is the "International Oil Pollution Prevention
                                                                                                                                                              Certificate," Certificate No: MEL1701145, issued on
                                                                                                                                                              November 20, 2017, and valid until November 29, 2020. 3.3:
                                                                                                                                                              the total volume of the holding tanks for the retention of oily
                                                                                                                                                              bilge water is wrong. It should be 130 metric cubes instead of
                                                                                                                                                              68.8 metric cubes. The updating of certificates should be
                                                                                                                                                              included in the work description to prevent this from
                                                                                                                                                              happening again when projects take place. A reminder could
                                                                                                                                                              be included in the set-up of the new Modprop software as part
                                                                                                                                                              of the approval criteria for a modification.
                                                                     The plastic drums located in the garbage room intended to collect and store the spent    Root Cause Analysis indicated no formal procedure or            Completed
                                                                     hazardous liquids were found without means of containment. During the course of the      guidelines exist for this collection process. Placed secondary
                                                                     audit, housekeeping personnel was noted pouring used product from working bins into      containment for the drum collecting the used HB quat. Made a
                                                                     drums without using any spill prevention means.                                          spill kit available by the area. Environmental operations to
                          Carnival Vista          ECP Section
           15.                                                                                                                                                discuss with housekeeping shore side department the process in
                          (01.11.2019)            VIII.B.2.j.iii
                                                                                                                                                              place to collect spent HB quat and come up with formal written
                                                                                                                                                              guidance to be included in the garbage management plan. The
                                                                                                                                                              formal written guidance shall include instructions for proper
                                                                                                                                                              storage and spill prevention methods.
                                                                     Multiple crew members were not aware of the section “My Primary Document Updates” Root Cause Analysis indicated oversight by ship staff. Sent            Completed
                          Carnival Vista                             to review changes to and new procedures within Global HESS that would keep them          out a reminder to all to ensure crew members review the
           16.                                ECP Section VIII.B.2.k
                          (01.11.2019)                               updated on all procedures including Environmental.                                       procedures listed in the section "My Primary Document
                                                                                                                                                              Updates" within Global HESS.
                                                                     The HESS Contractor Procedure Checklist, does not have a date completion block for       Root Cause Analysis indicated the department heads were         Completed
                                                                     verification purposes. Additionally, it states that the form should only be retained for unaware of the retention policy. Instructional Notice
                                                                     one (1) month.                                                                           ENV/01/2019 was issued on 14 Jan 19 defining the
                          Sea Princess
           17.                                ECP Section VIII.B.2.q                                                                                          requirements for contractor environmental briefing and
                          (01.14.2019)
                                                                                                                                                              associated record retention requirements. Development and
                                                                                                                                                              implement Operating Lines specific procedures per the IN on
                                                                                                                                                              contractor awareness.




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Items without an asterisk previously appeared and are either in progress or pending verification.                                   30
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 32 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                             Status of
                                                                                                                                                                                                                                           Corrective &
                         Location Name                                                                                                                                                                                                   Preventive Action
     Row Number           (Audit Date)             ECP Section                                             Final Audit Finding                                                  Corrective & Preventive Action Plan                            Plan
                                                                       HESS Policy ENV‐1204 Environmental Control Systems does not require a “Master”             Root Cause Analysis indicated the current guidance in ENV-             Completed
                                                                       list of current Seals or Locks in place. The policy only provides instructions and forms   1204 does not say anything about creating and maintaining a
                                                                       for when Seals are changed, or Locks are opened. A separate uncontrolled Master Seal       separate Master List that the Environmental Officers are using
                                                                       List is being maintained in an external flash drive contained in the Seal Log in word‐     to facilitate their required weekly check of the seals. As there
                                                                       format for crew use. Additionally, the policy provides no guidance for the crew on         is no guidance for having or not having a separate Master List,
                                                                       updating or managing the vulnerability assessment and any new vulnerabilities or           the Environmental Officers were resourceful and created a list
                                                                       critical fittings identified onboard the vessel.                                           to make their required weekly job of checking the seals easier.
                                                                                                                                                                  This observation is requesting that we amend G-HESS to
                          Sea Princess
           18.                                 ECP Section IX.B.1                                                                                                 provide guidance to the Environmental Officers concerning
                          (01.14.2019)
                                                                                                                                                                  maintaining a separate Master Seal List. Presently, Carnival
                                                                                                                                                                  Corporation is working with the CAM and TPA to amend the
                                                                                                                                                                  ECS guidance found in the ECP. The big issue being
                                                                                                                                                                  discussed is the use of portable pumps to protect
                                                                                                                                                                  vulnerabilities. The issue of maintaining a separate Master Seal
                                                                                                                                                                  List will be addressed by submitting a document revision
                                                                                                                                                                  suggestion to ENV-1204 in the G-HESS. Publish revised
                                                                                                                                                                  procedure in the G-HESS.
                                                                       Could not perform the required OWS tests during the audit; upon joining the ship on 19     Root Cause Analysis indicated in preparation for normal                In Progress
                                                                       February, 2019 for the unannounced ECP audit the auditors were informed that the ship      maintenance cleaning the ship had emptied the bilge tanks
                                                                       did not have enough oily bilge water on board to run the OWS units. The source tanks       without foreknowledge of the upcoming unannounced third-
                                                                       had been emptied days before the audit to allow for the annual source tank cleaning.       party audit. ECP does not take into account the possibility that
                                                                                                                                                                  with an unannounced audit there may not be sufficient bilge
                             Pacific                                                                                                                              water on board to conduct the required test. The CCM will be
           19.                                ECP Section VIII B.2.d
                      Princess(02.19.2019)                                                                                                                        arranged with the TPA an additional visit that will allow the
                                                                                                                                                                  vessel to conduct the 1-hour demonstration. The CCM is in
                                                                                                                                                                  discussion with the CAM on the procedure necessary to follow
                                                                                                                                                                  in the event that testing is not feasible due to the location of the
                                                                                                                                                                  vessel or the levels of the Bilge Holding Tanks. Preventive
                                                                                                                                                                  Action will be prescribed at the conclusion of that discussion.
                                                                       The food waste system modification to accommodate the installation of the Exhaust Gas      Root Cause Analysis indicated ineffective follow up by the             Completed
                                                                       Cleaning System (EGCS) is no longer reflected properly by the onboard manual.              technical team. Technical operations manager to take actions
                                                                       Several pumps and associated piping and at least one overflow tank remain in place, but    to correct the above items, including updating all the
                         Carnival Liberty          ECP Section
           20.                                                         not in use. This can potentially create numerous vulnerability points.                     documentation/manuals and also dismantling all the obsolete
                          (01.13.2019)              VIII.B.2.G
                                                                                                                                                                  equipment. Tom will also ensure that the ship is surveyed for
                                                                                                                                                                  any other such items that may exist and take actions to correct
                                                                                                                                                                  the same.
                                                                       HESS Policy ENV‐1204 Environmental Control Systems; missing elements and clear             Root Cause Analysis indicated the current format of ENV 1204           In Progress
                                                                       instructions. ENV‐1204 does not require a “Master” list of current Seals or Locks in       log is not efficient. A cross-brand ECS working group was
                                                                       place. The policy only provides instructions and forms for when Seals are changed, or      formed to mitigate this issue of inconsistency in the
                                                                       Locks are opened. A separate Master Seal List is being maintained in spread sheet          implementation of the ECS program. The ECS working group
                         Carnival Liberty
           21.                                  ECP Section IX.B.1     format which is not controlled or consistent fleet wide.                                   is responsible for standardizing the procedures ENV 1203 and
                          (01.13.2019)
                                                                                                                                                                  ENV 1204 and effective implementation of the same fleet wide
                                                                                                                                                                  across all the brands. In regards to this, ENV 1204 will be
                                                                                                                                                                  revised to make the logs more efficient. Once ENV 1204 has
                                                                                                                                                                  been revised and has been implemented on the ship, the EO


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 33 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                        Status of
                                                                                                                                                                                                                                      Corrective &
                         Location Name                                                                                                                                                                                              Preventive Action
     Row Number           (Audit Date)             ECP Section                                          Final Audit Finding                                                  Corrective & Preventive Action Plan                          Plan
                                                                                                                                                                 and CE on board will be responsible for maintaining the
                                                                                                                                                                 standard logs.




                                                                       During the recent dry dock the purifier sludge system was removed, however two (2)        Root Cause Analysis indicated Mod Prop did not include the         Completed
                                                                       unused pumps remain in place. Pumps should be properly controlled or removed.             removal of "and associated equipment." Shoreside included in
                                                                                                                                                                 their approval the comments, "Once removal is completed,
                                                                                                                                                                 please carry out a VA to ensure that nothing is missed."
                                                                                                                                                                 Corrected while inspectors were still onboard: removed both
                        Diamond Princess                                                                                                                         pumps and scrapped. Technical to verify that any PCL fleet
           22.                                 ECP Section IX.B.1
                           (02.22.19)                                                                                                                            with obsolete Purifier Sludge Systems has verified a
                                                                                                                                                                 walkthrough following the removal of said system to include
                                                                                                                                                                 the removal of the obsolete pumps/associated equipment.
                                                                                                                                                                 Where/if the obsolete system is currently scheduled to be
                                                                                                                                                                 removed, then the Mod Prop to be updated to reflect "and
                                                                                                                                                                 removal of associated equipment" to the proposal.
                                                                       ENV‐1204 does not require a “Master” list of current Seals or Locks in place. The         Root Cause Analysis indicted the current guidance in ENV-          Completed
                                                                       policy only provides instructions and forms for when Seals are changed, or Locks are      1204 does not say anything about creating and maintaining a
                                                                       opened. A separate Master Seal List is being maintained in spread sheet format which is   separate Master List that the Environmental Officers are using
                                                                       not controlled or consistent fleet wide.                                                  to facilitate their required weekly check of the seals. As there
                                                                                                                                                                 is no guidance for having or not having a separate Master List,
                                                                                                                                                                 the Environmental Officers were resourceful and created a list
                                                                                                                                                                 to make their required weekly job of checking the seals easier.
                        Diamond Princess
           23.                                ECP Section VIII.B.2.r                                                                                             This observation is requesting that we amend GHESS to
                           (02.22.19)
                                                                                                                                                                 provide guidance to the Environmental Officers concerning
                                                                                                                                                                 maintaining a separate Master Seal List. ENV-1204-A1 is
                                                                                                                                                                 being updated to an excel spreadsheet that will make the
                                                                                                                                                                 Critical Valves, Fittings, Tank Hatches List, Lock Log, and
                                                                                                                                                                 Seal Log a more significant tool for updating and tracking for
                                                                                                                                                                 the EOs use in their weekly checks. Publish revised procedure
                                                                                                                                                                 ENV-1204 in the GHESS.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 34 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                      Status of
                                                                                                                                                                                                                                    Corrective &
                         Location Name                                                                                                                                                                                            Preventive Action
     Row Number           (Audit Date)             ECP Section                                            Final Audit Finding                                                Corrective & Preventive Action Plan                        Plan
                                                                       It was noted that during the test call, the hotline person was difficult to communicate Root Cause Analysis indicated hotline provider review: “Thank      Completed
                                                                       with. The call lasted for about 10‐15 minutes for a simple test call.                   you for bringing this to our attention, we take their concerns
                                                                                                                                                               very seriously. Our Contact Center operates on a “shared
                                                                                                                                                               resource delivery model.” As such, we employ roughly 250
                                                                                                                                                               Communication Specialists who take calls for more than
                                                                                                                                                               10,000 customer programs. With the variety of customer
                                                                                                                                                               programs managed daily, Communication Specialists are
                                                                                                                                                               unable to memorize the nuances of specific customer
                                                                                                                                                               programs. To successfully manage varying customer
                                                                                                                                                               configurations, NAVEX Global requires all non-standard
                             Regal
           24.                                ECP Section: VII.B.2.p                                                                                           configurations to be application driven. However, in this
                      Princess(02.24.2019)
                                                                                                                                                               particular case, we can confidently assure the customer their
                                                                                                                                                               experience was isolated, and we will address it directly with
                                                                                                                                                               the CS in question.” After receiving the feedback from the
                                                                                                                                                               Regal (at the time), we (Deputy Director Ethics & Compliance
                                                                                                                                                               Programs) contacted the Chief Ethics Officer at Carnival
                                                                                                                                                               Corporation, Martha De Zayas. She contacted Ethicspoint, who
                                                                                                                                                               is the Hotline provider, the Hotline provider conducted a
                                                                                                                                                               review (Root Cause Analysis above). The Hotline provider is
                                                                                                                                                               addressing this issue directly with the problematic Customer
                                                                                                                                                               Service representative.
                                                                     Hotel Chemical Distribution Station used for cleaning guest cabins, bathrooms and other Root Cause Analysis indicated un-organized referral is due to        Completed
                                                                     areas of the vessel is un‐organized. Multiple hoses are draining into unmarked            unidentified hoses into one containment unit in the Hotel
                                                                     containers and have hoses that are in or over the wash basin that displays a sign “Do Not Chemical Distribution Station. Deck scuppers do not exist in
                                                                     Throw Chemicals into the Sink”. It also appears that the unmarked container could         the general vicinity of the Hotel Chemical Distribution Station.
                                                                     over‐flow and the chemicals could make entry to deck scuppers.                            The floor drain in the Hotel Chemical Distribution Station
                            Maasdam
           25.                                ECP Section VIII.B.2.g                                                                                           flows to the Grey Water System. Corrected immediately: each
                          (03.02.2019)
                                                                                                                                                               hose has an empty jug for draining the chemical, both hose and
                                                                                                                                                               the jug for draining the chemical are labeled as well. The
                                                                                                                                                               secondary containment is in place. Pictures attached for
                                                                                                                                                               reference. Housekeeping Chemical room set-up standard to be
                                                                                                                                                               met across the HAL fleet.
                                                                     ENV‐1204 only provides instructions and forms for when Seals are changed, or Locks        Root Cause Analysis indicated the current guidance in ENV-         Completed
                                                                     are opened. A separate Master Seal List is being maintained in spread sheet format        1204 does not say anything about creating and maintaining a
                                                                     which is not controlled nor consistent fleet wide.                                        separate Master List that the Environmental Officers are using
                                                                                                                                                               to facilitate their required weekly check of the seals. As there
                                                                                                                                                               is no guidance for having or not having a separate Master List,
                                                                                                                                                               the Environmental Officers were resourceful and created a list
                            Maasdam
           26.                                ECP Section VIII.B.2.r                                                                                           to make their required weekly job of checking the seals easier.
                          (03.02.2019)
                                                                                                                                                               This observation is requesting that we amend GHESS to
                                                                                                                                                               provide guidance to the Environmental Officers concerning
                                                                                                                                                               maintaining a separate Master Seal List. ENV-1204-A1 is
                                                                                                                                                               being updated to an excel spreadsheet that will make the
                                                                                                                                                               Critical Valves, Fittings, Tank Hatches List, Lock Log, and
                                                                                                                                                               Seal Log a greater tool for updating and tracking for the EOs


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 35 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                     Status of
                                                                                                                                                                                                                                   Corrective &
                         Location Name                                                                                                                                                                                           Preventive Action
     Row Number           (Audit Date)             ECP Section                                         Final Audit Finding                                                 Corrective & Preventive Action Plan                         Plan
                                                                                                                                                              use in their weekly checks. Publish revised procedure ENV-
                                                                                                                                                              1204 in the GHESS.




                                                                      Bunker samples from recent bunker operations done in January and February 2019 were     Root Cause Analysis indicated an ineffective procedure to          Completed
                                                                      not in sample locker but later found in another locker.                                 assure the proper storage of required fuel samples. Samples
                                                                                                                                                              were all there but over two lockers and now organized and
                            Maasdam
           27.                                 ECP Section VIII.B.2                                                                                           sample list updated by Inventory Specialist. Completed during
                          (03.02.2019)
                                                                                                                                                              Audit. Inventory Specialist to conduct monthly inspections on
                                                                                                                                                              the designated list of fuel samples in the locker for the period
                                                                                                                                                              of three months.
                                                                      The ship’s ECP Audit Sampling Plan shows two (2) Blackwater overboard sample            Root Cause Analysis indicated that when the MADM was               Completed
                                                                      points (Port & Starboard) that are no longer valid since the blackwater piping system   being assisted by office personnel, and they were implementing
                                                                      has been modified to accommodate a new system with overboard discharge points that      ECN-17-2018 and developing the ship’s sample plan, the ship
                                                                      were in the plan.                                                                       was given incorrect guidance. The ECN (attached) says the
                                                                                                                                                              following sampling points will be created for the following
                                                                                                                                                              discharges, “Greywater and sewage systems while they are
                                                                                                                                                              discharging overboard from a point as near as possible to the
                                                                                                                                                              hull penetration, but inboard of the isolation valve (A sample
                                                                                                                                                              will be required from each grey water and sewage overboard
                                                                                                                                                              discharge point).” The ECN implies that each discharge point
                                                                                                                                                              actually needs to be functional. The MADM had two
                                                                                                                                                              overboard discharges (port and starboard) for the black water
                                                                                                                                                              system, which were included in the sample plan, the only
           28.        Maasdam(03.02.2019)      ECP Section IX.G.1
                                                                                                                                                              problem was that at some earlier date the black water system
                                                                                                                                                              was physically disconnected from these two overboard
                                                                                                                                                              discharges. When the original sample plan was developed, the
                                                                                                                                                              two sample points were considered discharge points; the
                                                                                                                                                              argument that no sample could be taken from the sample points
                                                                                                                                                              was not appreciated. So the discharge valves and piping are
                                                                                                                                                              there, but there is NO connection to the black water system.
                                                                                                                                                              Dep Dir, Environmental Cpl was onboard in March: verified
                                                                                                                                                              that the black water system was permanently disconnected, as
                                                                                                                                                              that is when the Sample Plan was updated, and the two sample
                                                                                                                                                              points were removed. MADM’s sampling plan has been
                                                                                                                                                              amended. ModProp to include a checklist to account for
                                                                                                                                                              impact to Sampling Plans.


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 36 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                          Status of
                                                                                                                                                                                                                                        Corrective &
                         Location Name                                                                                                                                                                                               Preventive Action
     Row Number           (Audit Date)             ECP Section                                           Final Audit Finding                                                  Corrective & Preventive Action Plan                           Plan
                                                                       During the daily walk around of the open decks, it was noted on deck 17 starboard side,    Root Cause Analysis indicated an investigation in progress.        In Progress
                                                                       the hot tub was overflowing onto the deck and down the scupper drain overboard for         The investigation commenced Monday, April 15th. Senior
                        Majestic Princess                              over an hour. The vessel’s position was not in an environmentally sensitive area at the    Manager, Maritime Investigation, to submit a report once an
           29.                                   HESS MAR1301
                         (03.28.2019)                                  time of discharge but no action was noted by the crew to report the hot tub overflow.      investigation is completed. Preventive Action Plan is
                                                                                                                                                                  dependent on the outcome of the Investigation Report.
                                                                       Some hotline reports were found without the minimum necessary information (vessel          Root cause analysis, corrective, and preventive actions will be    In Progress
                          Shore - ABG*                                 name) that would allow for follow‐up                                                       reported within the next quarterly submission.
           30.                                 ECP Section III.D.1
                           (05.08.2019)                                or to initiate an investigation.
                                                                     A shore‐side covered personnel, Analyst Sr, Asset Performance ‐ Marine Technology            Root cause analysis, corrective, and preventive actions will be    In Progress
                          Shore - ABG*          ECP Attachment 3     (ABG), who was recently transferred over to a covered position did not complete the          reported within the next quarterly submission.
           31.
                           (05.08.2019)         Employee Training    training program within the 7 days of commencing their duties.
                                                                     Several attempts to test the open reporting hotline were unsuccessful until the following    Root Cause Analysis indicated satellite issues with the ship at    Completed
                        Carnival Breeze*                             day when a successful test was conducted. The unsuccessful attempts were because of          the time of the event caused the issue. The Satellite issue was
           32.                                ECP Section VIII.B.2.p
                          (05.11.2019)                               bad communication connections at sea.                                                        restored the next day, and the test was successfully conducted.
                                                                                                                                                                  No other preventive actions were foreseen.
                                                                       The #6 EGCS engine exhaust has many repaired areas and insulation and outer sheet          Root Cause Analysis indicated wear and tear and quality of         In Progress
                                                                       metal covers are deteriorated.                                                             material used. Repairs are in progress. Technicians are
                        Carnival Breeze*                                                                                                                          working on overhauling the system, and replacement with
           33.                                ECP Section VII.B.2.c
                          (05.11.2019)                                                                                                                            better quality materials are being done. Repairs are in
                                                                                                                                                                  progress. Technicians are working on overhauling the system,
                                                                                                                                                                  and replacement with better quality materials are being done.
                                                                       Between 28 September 2018 and 18 April 2019, a total of 60 liters of barbicide was         Root cause analysis, corrective, and preventive actions will be    In Progress
                         Ruby Princess*          ECP Section VIII      taken down to the Recycling Center for disposal. The SPA manager stated there should       reported within the next quarterly submission.
           34.                                                         be approximately 20‐25 liters of barbicide waste generated a month. Therefore, there
                          (05.16.2019)             B.2.j.xviii
                                                                       may be approximately 70 liters of barbicide unaccounted for.
                                                                       While the vessel was moored alongside in Skagway, AK, on May 25, two crew                  Root Cause Analysis indicated a lack of situational awareness      In Progress
                                                                       members were noted working on a cherry picker for paint touch ups in some areas on         when the crew failed to rig the tarpaulin as a means of paint-
                         Coral Princess*           ECP Section         the stern. No canvas or other means of protection were noted between the cherry            falling-protection beneath their work area that covered the area
           35.
                          (05.22.2019)              VIII.B.2.g.        picker and the hull side shell to avoid potential dropping of paint in the water           specifically vessel to a cherry picker. Additional training
                                                                       during the painting.                                                                       required for the crew to guide situational awareness. MAR141
                                                                                                                                                                  to guide on In Port Painting and situational awareness.
                                                                       In the galley, a posted corporate environmental incident notice had; “Serious              Root Cause Analysis indicated EO investigated the observation      Completed
                                                                       Consequences” in red ink handwritten on it (see photo on page 30 of this report). It was   and met with the Chef and galley supervisors to discuss. There
                                                                       not known who wrote the remark or what the “serious consequences” entailed.                is no camera next to the board where the sign was found (deck
                             Crown                                                                                                                                six main galleys). At this time there is no indication of a
           36.                                ECP Section VII.B.2.g
                      Princess*(06.06.2019)                                                                                                                       responsible party. The sign was removed from the galley.
                                                                                                                                                                  Personnel has been advised accordingly, and the EO will
                                                                                                                                                                  continue monitoring the boards during rounds in the galleys
                                                                                                                                                                  and hotel area.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 37 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                           Status of
                                                                                                                                                                                                                                         Corrective &
                         Location Name                                                                                                                                                                                                Preventive Action
     Row Number           (Audit Date)             ECP Section                                            Final Audit Finding                                                    Corrective & Preventive Action Plan                         Plan
                                                                       The HESS Contractor Procedure Checklist does not have a date completed block and it          Root Cause Analysis indicated the VODM used outdated              In Progress
                                                                       also states that the form should only be retained for one (1) month.                         contractor brochure. A new version that contains the signed
                                                                                                                                                                    date and five-year retention requirement have been posted in
                                                                                                                                                                    the HAG detailed instructions of GHESS. Ships have been
                                                                                                                                                                    instructed to use the new checklist from that version. An
                           Volendam*                                                                                                                                updated version of the brochure is going to print and will be
           37.                                ECP Section VIII.B.2.q
                          (06.12.2019)                                                                                                                              sent to FLL warehouse. Ships will be able to order this new
                                                                                                                                                                    version that includes the date signed and 5 year retention
                                                                                                                                                                    requirements. Safety Operations to determine the outcome of
                                                                                                                                                                    existing outdated brochures in the HAL fleet and the
                                                                                                                                                                    communication to the HAL fleet on disposal (if deemed
                                                                                                                                                                    necessary).
                                                                       The auditor was presented with two separate sample plans, the first sample plan includes     Root Cause Analysis indicated in the past; the ship developed     In Progress
                                                                       a total of 9 sample points and the second sample plan has a total of 7 sample points.        two sampling plans. The plan with nine sample points includes
                                                                                                                                                                    two extra black water sampling points that are rarely used,
                                                                                                                                                                    except when the Zenon AWWPS breaks down, and this
                                                                                                                                                                    requires the ship to use two different overboard discharge
                                                                                                                                                                    ports. During the Audit, the ship did not take samples from
                                                                                                                                                                    these two overboard discharges, as the Zenon system was
                           Volendam*
           38.                                 ECP Section IX.G.1                                                                                                   operating normally. The VODM's sample plan loaded into
                          (06.12.2019)
                                                                                                                                                                    GHESS contains only the sample plan with seven sample
                                                                                                                                                                    points, as Management decided it was not necessary to include
                                                                                                                                                                    the extra two black water sample points, as the Zenon system is
                                                                                                                                                                    operating normally almost 100 percent of the time. The
                                                                                                                                                                    sampling plan with nine sample points will be uploaded to
                                                                                                                                                                    GHESS. Environmental Compliance to verify that the HAL
                                                                                                                                                                    fleet has correct sample plans loaded in the GHESS.
                                                                       The Non‐Tank Vessel Response Plan (NTVRP) Section 7.2.3 requires a Remote                    Root Cause Analysis indicated the 2019 Annual Review (dated       Completed
                                                                       Assessment and Consultation (RAC) exercise to be completed annually and 7.2.3                23JAN19) incorporated the triennial requirement (once every
                                                                       requires that the exercise to include firefighting at least once every three years. The      three years) to conduct RAC Exercise. The 23JAN19 review
                                                                       RAC exercise was last completed on 09/10/2016 and the type of casualty listed was            was noted as the annual review in the Record of Changes.
                       Caribbean Princess*         ECP Section         collision and did not include firefighting. The required annual review of the plan may       Environmental Systems Manager provided 2019 Annual
           39.
                          (06.18.2019)             VIII.B.2.m          have been conducted 17 December 2018, however, the record of changes does not                Review in January 2019. The manager has re-sent the 2019
                                                                       specifically indicate the annual review of the plan was done, as this is not listed in the   Annual Review to the CB to verify update received onboard.
                                                                       description of change, which was included in the description of change for previous          Environmental Systems Manager to determine the
                                                                       years.                                                                                       acknowledgment method required for an annual task: Annual
                                                                                                                                                                    Review receipt onboard.
                                                                     During the tendering operations at Half Moon Cay, Bahamas, it was witnessed that               Root cause analysis, corrective, and preventive actions will be   In Progress
                        Carnival Magic*                              several lids to the food waste containers were loose and sliding around. It was noted          reported within the next quarterly submission.
           40.                                ECP Section VIII.B.2.g that improper rigging of several loads was causing containers to shift and being pinched
                         (06.22.2019)
                                                                     as it was lifted from the tender to the vessel.
                                                                       As only electronic logs were provided to the TPA auditor, it is unknown if the ship is       Root cause analysis, corrective, and preventive actions will be   In Progress
                           Eurodam*                                    using hard copy Gray Water and Sewage log book required under the Alaska Cruise              reported within the next quarterly submission.
           41.                                ECP Section VIII.B.2.i
                          (07.08.2019)                                 Ship statute and 33 C.F.R. 159.315.


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 38 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                    September 25, 2019 Quarterly Issue Tracker - TPA Final Audit Findings (Observations)
                                                                                                                                                                                                                                           Status of
                                                                                                                                                                                                                                         Corrective &
                         Location Name                                                                                                                                                                                                Preventive Action
     Row Number           (Audit Date)             ECP Section                                           Final Audit Finding                                                    Corrective & Preventive Action Plan                          Plan
                                                                       During an internal inspection of the magnetic trap (A1) in the recycling center,            Root Cause Analysis indicated separating non-food items from       In Progress
                                                                       numerous metal bottle caps were found, which identifies that the food segregation           the food waste stream is challenging due to the conditions and
                                                                       process is not efficient.                                                                   the volume of food waste. Direct EO to remind Hotel
                           Eurodam*                                                                                                                                personnel of the requirements of ENV-1302 and the
           42.                                ECP Section VIII.B.2.g
                          (07.08.2019)                                                                                                                             importance of focusing on effective sorting to identify non-
                                                                                                                                                                   food items. Separation of non-food items is challenging, but
                                                                                                                                                                   the metal trap worked as a safety mechanism. ENV-1302 is in
                                                                                                                                                                   the process of being revised.
                                                                       The No. 4 MDG turbo charger intercooler has a crack that is causing jacket water to         Root Cause Analysis indicated fatigue and wear of the cooler       In Progress
                                                                       drain to a temporary funnel and drain line that is directing the jacket water to tank 11P   during its 10-year life - condition-based. Installed refurbished
                                                                       “clean water scavenging tank”.                                                              cooler - 26Jul2019. Technical Operations to review the need
                                                   ECP Section
           43.       Eurodam*(07.08.2019)                                                                                                                          for two new coolers for Signature Class vessels for purchase.
                                                    VIII.B.2.a
                                                                                                                                                                   New coolers will allow a faster exchange for future failures.
                                                                                                                                                                   Signature Class vessels are at decade long service, and future
                                                                                                                                                                   repairs/service will be required.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 39 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                             September 25, 2019 Quarterly Issue Tracker - Notices of Violation
                                                          Operating
   Row           Notice       Date of       Date of        Line /                                                                                                                                                                Status of
  Number        Number       Incident       Notice         Group           Vessel                           Summary of Incident                                         Analysis Summary and Action Plan                         Action Plan
                                                                                      The monthly Oily Water Separator (OWS) tests for the month of     A clarification email was circulated to the AIDA and Costa fleets to
                                                                                      April 2019 were not conducted due to a combination of             ensure all understand the test can be completed in recirculation mode.
                                                                                      equipment      malfunctions,     dry     dock    overlap,   and   A fleetwide communication containing the same clarification was also
                                                                                      misunderstanding of a procedural requirement. AIDAluna was        sent.
                                                                                      in dry dock for two of the four weeks in April 2019. On April
                                                                                      27, 2019 following the drydock period, the ship’s static OWS
                                                                                      malfunctioned due to a clogged sample line. This failure was
                                                                                      reported in the May 8, 2019 HESS Weekly Flash Report to the
                                                                                      CAM. On May 21, 2019 a technician from the equipment
                                                                                      manufacturer attended the ship, fixed the clogged sample line,
     1.       #25-2019      Apr-19       05.24.2019      Costa Group    AIDAluna      and determined part of the system (second step of filtration)                                                                              Complete
                                                                                      would need to be replaced. Based on this diagnosis, spare parts
                                                                                      were ordered on May 22, 2019. Once received, the system will
                                                                                      be fixed accordingly. The monthly test was not conducted on the
                                                                                      ship’s centrifugal OWS in April 2019 due to the dry dock and
                                                                                      misunderstanding of the monthly test requirement. The ship
                                                                                      misunderstood that the monthly test could not be done via
                                                                                      recirculation and was not traveling outside of 12nm for a long
                                                                                      enough period to perform the test. This misunderstanding has
                                                                                      since been clarified and the centrifugal OWS test was performed
                                                                                      on May 11, 2019.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 40 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                   Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                 Analysis Summary and Action Plan                         Action Plan
                                                                    While underway within three nautical miles of the U.S. coast, approximately 27       CCL approved the plans to divert the recreational water facility
                                                                    cubic meters of pool water with a 3.6 ppm chlorine level was discharged due to       discharge to the grey water system. The changes are expected to be
                                                                    the malfunction of a pool control system. The control system was displaying an       implemented on all Sprit Class vessels before the end of August 2018.
                                                                    error message and the manual overboard valve for the pool was open, allowing         UPDATE: The Pride will undergo modifications during drydock in
                                                                    the discharge to occur in violation of VGP requirements. The chart recorder was      March 2019. Modifications for the other Spirit Class ships are under
                                                                    checked to confirm the location of the discharge. The National Response              evaluation.
                                                     Carnival
     1.      03.15.2018     02.04.2018 CCL                          Coordination Center and local U.S. Coast Guard were advised. The pool computer                                                                               In Progress
                                                     Pride
                                                                    was reset and is not showing any error. By default, the automatic valve will fail-
                                                                    safe open and the pool will dump. The incident was partially due to the ongoing
                                                                    need to have an open overboard valve for emergency response to a stability
                                                                    problem. As a preventative action, the possibility of diverting recreational water
                                                                    facility discharge to the grey or ballast water systems while the ship is inside
                                                                    environmentally restricted areas is being reviewed.
                                                                    While the ship was alongside in Long Beach, CA, ballast water was discharged         Ballast water management plan was updated to reflect the California
                                                                    in violation of California 'Marine Invasive Species Program' regulations. The        ballast water requirements. The ships no longer discharge ballast water
                                                                    required ballast water reporting forms were also not sent on time to the National    in the port of Long Beach, California. This incident was discussed
                                                                    Ballast Information Clearinghouse and the California State Lands Commission          during monthly conference calls and a "Must See Notice" was sent out
                                                                    due to an administrative oversight. The ship had relocated from Florida and the      corporate wide. The RAAS investigation concluded that the direct
                                                                    improper discharge occurred during the ship's first call in Long Beach. The          cause of the incident was that voyage planning and overview was not
                                                                    improper discharge was identified by the new Staff Captain when reviewing the        conducted as per procedural requirements. As a preventative action, a
                                                                    ballast water records. An initial investigation has found there was inadequate       Lessons learned note was sent out to the fleet, to raise ships awareness
                                                                    voyage planning for the relocation cruise. Ballast water requirements had not been   regarding this issue. The note included importance of voyage planning
                                                     Carnival       discussed during the voyage overview meeting. Relevant procedures were not           and correct process to develop and communicate a complete voyage
     2.      03.15.2018     01.27.2018 CCL                                                                                                                                                                                        In Progress
                                                     Splendor       followed and the Ballast Water Management Plan had not been updated to reflect       plan and environmental schedule. Additionally, CCL will develop a
                                                                    the relocation voyage or subsequent voyages. Handovers of the Captain, Staff         more robust ballast water management training program to ensure that
                                                                    Captain and Voyage Officer had been conducted just before or during the              all officers and engineers are well educated in regards to ballast water
                                                                    relocation voyage. The ship had taken on sea water ballast for stability purposes    requirements and ENV 1501. CCL will also develop a short presentation
                                                                    and this had been discharged in port to allow bunkering of potable water and fuel.   on how a comprehensive voyage overview should be conducted to meet
                                                                    The CAM understands that this incident is a violation of California regulations      the requirements of ENV 1001 and MAR 1301. Staff Captain Giuseppe
                                                                    only.                                                                                Strano will be given a positive performance for being diligent and
                                                                                                                                                         raising this issue as soon as he became aware of the situation. UPDATE:
                                                                                                                                                         The investigation has not been closed. Additionally, a voyage planning
                                                                                                                                                         video is currently in production.
                                                                    While the ship was docked in Cozumel, Mexico, the EO was advised that a              The findings from the LSA asset team are expected by June 10, 2018.
                                                                    lifeboat was missing an access hatch. It was confirmed that the hatch had been in    Replacement and repair of the other lifeboats is expected to be complete
                                                                    place following departure from Progreso, Mexico, the day prior. It is believed that  by June 30, 2018. UPDATE: To date, the ship has not received the
                                                                    the orange fiberglass hatch detached from the lifeboat during the transit due to     order of the three hatches. In the meantime, the Deck Officers are
                                                                    strong winds and was lost in violation of MARPOL Annex V. It is possible that        looking for any malfunctions or deficiencies during the monthly checks
                                                     Carnival
     3.      05.10.2018     03.13.2018 CCL                          the hatch closing handle may have been left open during recent lifeboat checks       of the lifeboats.                                                        In Progress
                                                     Fantasy
                                                                    and operations. All relevant crew were advised to confirm correct closing of all
                                                                    hatch handles upon completion of lifeboat operations/maintenance and to report
                                                                    any malfunction or damage in a timely manner. All other lifeboats were inspected
                                                                    and 19 issues with similar handles were identified for subsequent replacement or
                                                                    repair. The issue has been forwarded to the shoreside LSA asset team for review.
                                                     Queen Mary     While at anchor in Phuket, Thailand, a grey water tank overflowed directly The Company is considering multiple preventative measures including
     4.      06.15.2018     04.09.2018 CUK                                                                                                                                                                                    In Progress
                                                     2              overboard for approximately five minutes, resulting in five cubic meters of grey modifying the pre-departure checklist to include a check of the capacity


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 41 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                      Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                   Analysis Summary and Action Plan                          Action Plan
                                                                    water being discharged overboard in violation of company requirements. The           and filling rate of the grey and black water filling tanks, adjusting the
                                                                    discharge was stopped by switching the grey water filling to an alternate tank.      tank settings to allow for additional warnings prior to overflow, and
                                                                    The local port agent was informed of the discharge. The root cause of the incident   separating critical watch keeping functions. Decisions as to actions to
                                                                    was that the high level alarm was not addressed appropriately in the ECR, which      take are expected to be completed by September 2018. UPDATE: The
                                                                    was in red manning. During the interval between the alarm sounding at 1849 and       suggestion to modify the pre-departure checklist to include a check of
                                                                    the incident occurring at 1900 there were an additional 13 new alarms, including     the capacity and filling rate of the grey and black water filling tanks has
                                                                    six general alarms on a diesel generator, which drew the focus of the watch          been submitted for inclusion in Global HESS. A decision on the
                                                                    keeping team. While the ECR was at red manning, the Assistant Operator was           suggestion is expected before the end of October. The project to adjust
                                                                    located in the engine room. Details of the incident will be shared with the fleet    the tank settings to70% to allow for additional warnings prior to
                                                                    and teams reminded of the purpose of the Assistant Operator within ERM at red        overflow is complete. Separating the critical watchkeeping functions is
                                                                    manning. The Operations Director must review the location of the Assistant           complete and now in Global HESS (TEC1201). The review of the alarm
                                                                    Operator at red manning and, if necessary, bring him into the ECR to assist with     prioritization and reduction of alarm loading is ongoing with Valmarine
                                                                    alarm management. The CAM understands that this is incident was a violation of       and expected to be complete by February 2019. Given the complexity
                                                                    Company requirements only.                                                           of the project, the prioritization is postponed to dry dock when a
                                                                                                                                                         complete upgrade will be conducted.
                                                                    While the ship was approaching Belize and maneuvering in the channel, it listed The ship is currently scheduled to undergo permanent repairs during
                                                                    by approximately 1.5°, causing 45 liters of water to overflow from a forward pool the next dry dock in January 2020.
                                                                    and drain into the sea. The violation of company requirements was reported to the
                                                                    Port Authority. No further action was requested. The current layout of the pool
                                                                    does not permit lowering the pool level. Near term preventative action was to
                                                     Carnival
     5.      07.06.2018     06.06.2018 CCL                          remove the overflows by having the ships conduct a risk assessment based on                                                                                      In Progress
                                                     Miracle
                                                                    forecasted weather, traffic, transit conditions prior to arrival. If the assessment
                                                                    reveals a likelihood that an overflow may occur, the potentially impacted facilities
                                                                    must be lowered, and if necessary closed. Long term, the ship is reviewing options
                                                                    to add permanent internal drainage, refilling lines, skim gutters or return lines at
                                                                    the calculated lower level.
                                                                    While the ship was alongside at Brooklyn Cruise Terminal, NY, the Technical The crewmembers identified alternative self-closing valves that could
                                                                    Stores Manager reported that water was overflowing into the harbor from one of address the design deficiency in the pool water system. Valmarine
                                                                    the ship's side vents. It was determined that the overflow of less than one cubic technicians attended the ships and confirmed that the valves can be
                                                                    meter of chlorinated fresh water had come from one of the passenger pools. The installed as proposed on the existing channels. Ship services engineer is
                                                                    overflow occurred because there was a blackout on the ship which stopped the reviewing available valves to determine the best appropriate type for the
                                                                    pool water circulating pump, causing drainage of water from the deck into the proposed installation. The work order is expected to be submitted by
                                                                    buffer tank, which subsequently overflowed through the tank vent line. The mid-September 2018. UPDATE: Given the complexity of the system,
                                                                    incident was a violation of company regulations and a VGP violation and has been the work is expected to be completed before the end of September 2019.
                                                                    reported as such to the regional EPA office who have currently not replied to the
                                                     Queen Mary     report. It was also reported to the port authority via the agent on the day and
     6.      08.09.2018     07.01.2018 CUK                                                                                                                                                                                           In Progress
                                                     2              required no corrective actions. An investigation was conducted and determined
                                                                    that the incident was a result of the pool circulation system design which lacks
                                                                    any non return or failsafe/closed valves. In the event of power failures, gravity
                                                                    causes water from the other deck level pools to drain back to the pool buffer tanks
                                                                    and overflow out via the tank vent lines. The ship has made local alterations to
                                                                    the software controlling the system to prevent similar overflows when the pool
                                                                    circulation pumps trip out in service, however these changes do not solve the
                                                                    problem in full power loss conditions because valve closure is power actuated.
                                                                    The port agent was informed and was tasked to notify the port authority as
                                                                    required. The ship has been advised that a thorough review of the ECS is


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 42 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                        Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                  Analysis Summary and Action Plan                             Action Plan
                                                                    scheduled at the end of August. The onboard team are still investigating both short
                                                                    term mitigation and long term preventive solutions. The manufacturer will be on
                                                                    board in Aug 2018 to investigate what is required to change the system. Also
                                                                    recorded as a Full Blackout.
                                                                    While the ship was alongside in St John New Brunswick, Canada, the ship               The crewmembers identified alternative self-closing valves that could
                                                                    suffered a blackout during which the EO noticed water pouring from a tank vent.       address the design deficiency in the pool water system. Valmarine
                                                                    The overflow was determined to be approximately two cubic meters of                   technicians attended the ships and confirmed that the valves can be
                                                                    chlorinated pool water from passenger pools which was stopped by restoring main       installed as proposed on the existing channels. Ship services engineer
                                                                    power. The valves and pump for pool recirculation had failed as a consequence         is reviewing available valves to determine the best appropriate type for
                                                     Queen Mary     of the blackout, which allowed the circulation pool water to drain down into the      the proposed installation. The work order is expected to be submitted
     7.      08.09.2018     07.03.2018 CUK                                                                                                                                                                                            In Progress
                                                     2              pool buffer tank and overflow through the open vent lines. The discharge of water     by mid-September 2, 2018. UPDATE: Given the complexity of the
                                                                    was in violation of Company regulations. The port agent was instructed to notify      system, the work is expected to be completed before the end of
                                                                    the port authority on behalf of the ship. Without a system design alteration spills   September 2019.
                                                                    of this type will occur following every blackout. The CAM understands this
                                                                    incident was a violation of Company requirements only.

                                                                    While the ship was alongside in Cozumel, Mexico, ten liters of water from the         Environmental Managers together with the Hotel Superintendent,
                                                                    water park overflowed onto the deck and drained directly overboard via the            visited at least one ship from each class he visits took place on July 21
                                                                    scupper drains. The spill was caused because the ship was listing 0.5 degrees to      and 22, 2018 to evaluate the need and benefit of Recreational Water
                                                                    the port side to keep a safe angle for the gangway and the water park drains          Facility system modifications. Proposed modifications will be
                                                                    became overwhelmed. Furthermore, the housekeeping team did not apply                  considered fleet wide as applicable. The proposed fleetwide repiping
                                                                    effective cleaning methods and were removing water with squeegees toward the          modifications are under evaluation. UPDATE: Technical modifications
                                                                    overboard drain. To prevent further spillage, the ship's list was corrected and the   will be considered during the ships' scheduled drydocks. The Paradise
                                                                    water park was closed and cleared of excess water. The chlorine and pH content        is currently scheduled to undergo drydock modifications in 2020.
                                                                    of the water was examined and found to be normal. The technical department
                                                                    inspected all drains which were all found to be in order. No issues were found
                                                                    with the movement of water into the drains when assessed during normal
                                                     Carnival
     8.      08.09.2018     06.26.2018 CCL                          operation at sea. An entry was made in the Deck Log Book and authorities were                                                                                     In Progress
                                                     Paradise
                                                                    notified. Pool attendants were advised to shut down the water park in the event of
                                                                    similar events. Housekeeping crewmembers that are responsible for the deck and
                                                                    pools have been directed to use wet vacuums or absorbents to recover pool water.
                                                                    Modifications to both onboard drain/return lines as well as operational procedures
                                                                    have been completed. Planning is underway on other operating line ships with
                                                                    modifications being done in service, but others will need to be completed in
                                                                    drydock. In the interim, the ships have been issued a reminder to apply the
                                                                    requirements from an earlier ECN (related to risk assessments) to all potential
                                                                    risks from listing, including from intentional listing while alongside or anchored.
                                                                    The ship‐specific actions taken to avoid this issue are being confirmed. The CAM
                                                                    understands this incident was a violation of Mexican requirementsonly.
                                                                    While the ship was en route to Kotor, Montenegro, approximately 98 cubic meters       Before the end of the year the following action items are expected to be
                                                                    of untreated sewage were discharged into Albanian territorial water because the       completed: 1) the engineering team will undergo coaching to highlight
                                                                    incorrect valve was opened by the EOOW. This MARPOL Annex IV violation                lessons learned and best practices; 2) a report regarding the incident will
     9.      08.22.2018     07.08.2018 HA Group      Oosterdam      was caused because the EOOW was under a heavy workload and time pressure              be communicated to the fleet for review by the engineering teams; and In Progress
                                                                    and accidentally opened the untreated sewage valve instead of the grey water          3) a review of the valve layout in ABB to optimize usability and reduce
                                                                    suction valve. The sewage and grey water valves are positioned next to each other     the likelihood of accidental selection. Additionally, a work load study
                                                                    on the operator computer screen. The port agent was informed. A level three           will be carried out before the end of April 2019, to evaluate the current


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 43 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                     Status of
  Number     Notification    Incident     Group         Vessel                                     Description of Incident                                                 Analysis Summary and Action Plan                         Action Plan
                                                                    investigation by a Fleet Chief Engineer is currently underway and is expected to      state of operations for the onboard technical and nautical departments.
                                                                    be completed within the next two weeks. The investigation will look at human          UPDATE: The final workload study report is expected by the end of
                                                                    factors as well as procedural execution, supervision and systems layout.              August 2019.
                                                                    The shaft of the feeding screw for the incinerator sheared. Temporary repairs have    The Company is working with the shipyard and the manufacturer
                                                                    been carried out and the incinerator is back in service. A Guarantee Failure Report   regarding this equipment failure, and a course of action is not expected
                                                     Seabourn
     10.     09.20.2018     07.14.2018 HA Group                     has been submitted to the shipyard and manufacturer as it is believed [sic] to be a   until early 2019. The ship will go into dry-dock on June 2, 2019.        In Progress
                                                     Encore
                                                                    design issue. The shoreside technical team is looking at a possible dry dock
                                                                    retrofit to resolve the issue.
                                                                    While the ship was underway towards Boston, Massachusetts, it entered the             The level three investigation concluded failure to follow procedures and
                                                                    Stellwagen Bank National Marine Sanctuary while operating two diesel                  exercise due diligence as the root-cause of the incident. Contributing
                                                                    generators (DG) with EGCS. One DG was operating on MGO and the other DG               factors to the incident include: failure of the environmental schedule to
                                                                    was operating on HFO. After 13 minutes, it was discovered that EGCS were being        align with the foreseen geographical location of the vessel at the
                                                                    operated in contravention of Company policy and local regulations. The EGCS           displayed times, the cancellation of the Watch Keeping
                                                                    for the DG on MGO was shut down immediately while the EGCS on the other               Engineers'/Technical daily meeting, and the possibility that outdated
                                                                    DG was shut down approximately 30 minutes later after a safe fuel changeover          OVMS system provided a false sense of security. The company is
                                                                    from HFO to MGO was completed. This violation was recorded in the Deck                currently evaluating the report's recommendations and developing
                                                                    Logbook and the shoreside environmental department notified the National              action plans. Prior to June 1, 2019, the Group expects to complete the
                                                                    Oceanic and Atmospheric Administration of the incident. A level three                 following recommended actions: 1) Consider a study of level three
                                                                    investigation has been initiated to identify root causes. The assigned investigator   investigations to analyze the causes behind non-conforming
                                                                    has been reviewing the relevant information provided by the ship, and will join       environmental incidents over the last 2-3 years and develop formal
                                                                    the ship on 18 August in Boston to conduct interviews and do a site inspection. A     action plans to address any identifiable trends; 2) Revise the
     11.     09.20.2018     08.04.2018 HA Group      Veendam        draft report is expected by the end of next week.                                     environmental schedule to allow Engine Operational Watch Keeping In Progress
                                                                                                                                                          teams to plan for discharges with a display that gives an accurate
                                                                                                                                                          timeline in relation to the geographical location; 3) Conduct a review of
                                                                                                                                                          environmental templates and update as required on HA Group vessels;
                                                                                                                                                          4) Consider conducting a review of the current OVMS and upgrade the
                                                                                                                                                          OVMs as required; 5) Consider liaising with Maritime Policy and
                                                                                                                                                          Analysis Carnival Corporation to include a requirement in the Engine
                                                                                                                                                          Room Resource Management Manual for detailed Chief Engineer night
                                                                                                                                                          order to be entered in NAPA in the event the Watch Keeping
                                                                                                                                                          Engineers'/Technical Daily Meetings is not held, to provide substitute
                                                                                                                                                          guidance to the Engineering Operational teams. UPDATE: Items 1-3
                                                                                                                                                          are complete. For Item 4, phase one is complete and has been rolled
                                                                                                                                                          out on all HAL ships. Phase two will be implemented on all HAL ships
                                                                                                                                                          by the end of 2019. Item 5, is currently pending.
                                                                    While the ship was underway from Cozumel, Mexico to Fort Lauderdale,                  The review revealed that the 8-12 watch standers had limited experience
                                                                    approximately 48 cubic meters of treated sewage was discharged overboard while        on the Caribbean Princess and consequently should have been paired
                                                                    inside 12 nautical miles from the Mexican baseline, but outside of 4 nautical         with other engineers with more experience. Technical Operations is
                                                                    miles, in violation of Company policy. This discharge occurred because the            currently collaborating with HR to utilize the current PIP procedure to
                                                                    Engine Officer of the Watch (EOOW) mistakenly opened a discharge valve for a          develop a professional development plan for the 8-12 watch standers.
                                                     Caribbean
     12.     09.26.2018     08.16.2018 HA Group                     tank that contained treated sewage when instructed by the Bridge to open the four     Also, Fleet Chief Engineers will spend time during 2019 visits to discuss In Progress
                                                     Princess
                                                                    nautical miles discharges. As soon as he realized his mistake, the discharge was      with motormen ERM principles and give guidance accordingly.
                                                                    stopped. The importance of abiding by environmental regulations was reinforced        Additionally, the company is evaluating the feasibility of integrating
                                                                    with the EOOWs to prevent recurrence. An entry was made in the NAPA eLog.             legacy systems into IMAC. UPDATE: It has been agreed that the
                                                                    It was confirmed the ship was 5.9 nautical miles from land, making this a             subject watch keeper cannot cover the second engineer position.
                                                                    Company, not a MARPOL violation. As a corrective action, the Engine Officer           Therefore, he has retaken ERM 2 and attended Continuous


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   42
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 44 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                        Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                    Analysis Summary and Action Plan                          Action Plan
                                                                    of the Watch received a written warning and this case has been discussed during         Development ENG at CSMART. While working as a third engineer, he
                                                                    the monthly Environmental Meeting with the Engine department. As a                      will continue his onboard learning program with the first engineer. The
                                                                    preventative action the operating line is sending a communication to all operating      company continues to work with Siemens regarding the IMAC updates.
                                                                    line ships about the recent uptick in improper discharges and coordinating Brand
                                                                    President/EVP Fleet calls with ship leadership. The operating line is assessing if
                                                                    communications from the Bridge to the ECR concerning discharge restrictions
                                                                    were consistent with ENV1002.
                                                                    While the ship was underway towards Sisimiut, Greenland, 13 cubic meters of             RAAS is currently reviewing proposed preventative actions. The
                                                                    clean bilge water was discharged overboard while the ship was outside 12 nautical       review is expected to be completed before December 2018. In response
                                                                    miles from the land. As per the Polar Code, bilge water may not be discharged in        to the CAM request for additional information propounded on
                                                                    Arctic Waters. The discharge was immediately stopped when the violation was             September 24, 2018, "clean bilge water" means the bilge water was
                                                                    noticed. To prevent recurrence, the EO will provide additional training to all          processed through the OWS. RAAS made the following
                                                                    personnel involved in the environmental operation as the incident was the result        recommendations: 1) Consider shoreside support of vessel planned
                                                                    of a lack of adherence to the ENV-1001-F1 Worldwide Cruising Environmental              voyage tracks or a centralized database of approved environmental
                                                                    Standards. The incident was reported to the Flag via the DPA and it was recorded        scheduled based on way points; 2) An ABG review the current
                                                     Seabourn       in the Oil Record Book. The Environmental schedule for the voyage was                   environmental matrix suitability for supporting voyage planning and
     13.     09.26.2018     08.14.2018 HA Group                                                                                                                                                                                      In Progress
                                                     Quest          incorrect, as it did not reflect the restrictions in place for the Polar region. This   development of alternative solution where possible; 3) HA Group to
                                                                    was an oversight in creation of the schedule. The Environmental Officer has held        include in the work load study scope to include nautical operations and
                                                                    training sessions with all watch standers on how to read and understand the ENV         voyage planning process; 4) HA Group to consider contacting all fleet
                                                                    1001 matrix and the requirement to consult with the EO in any case of doubt.            ships scheduled to operate in the polar region and highlight Polar Code
                                                                                                                                                            requirements; and 5) Review the current ENV-1001-F1 schedule for
                                                                                                                                                            areas of potential confusion. All action items are expected to be
                                                                                                                                                            completed before June 2019. UPDATE: Seabourn completed all of the
                                                                                                                                                            recommendations except for item 3. The final work load study report is
                                                                                                                                                            expected to be issued by the end of August 2019.
                                                                    The Company notified the CAM the of the allegation that a Second Engineer had           The Company is evaluating the incident and determining the next steps
                                                                    created false entries in the Company’s Planned Maintenance System for work that         to address the issue of inaccurate entries. UPDATE: The Company will
                                                                    was not actually performed. The entries include cleaning a filter inside the White      conduct a time motion study of the planned maintenance required to be
     14.     10.02.2018     10.02.2018 HA Group      Westerdam                                                                                                                                                                       In Progress
                                                                    Box, cleaning the intermediate bilge tank, and testing bilge level alarms. The          completed for all disciplines in relation to the current headcount. This
                                                                    allegations were reported to the Holland America Group OLCM by the                      is expected to be completed before July 2019.
                                                                    Westerdam Captain and Chief Engineer.
                                                                    Following arrival into Charleston, SC, the EOOW advised the Chief Engineer              The evaluation on whether it is feasible to implement new preventative
                                                                    (CE) that the overboard pH value of Diesel Generator (DG) #4 was not in                 automation modifications that would create interlock features between
                                                                    compliance and could not be kept online while in port. During the two hours of          the EGCS and DGs is still under review. A decision is expected before
                                                                    maneuvering prior to arrival, the load on a seawater dilution pump had been             April 15, 2019.
                                                                    changed to try and increase the pH level. The CE instructed the EOOW to stop
                                                                    DG#4 and start another DG. By accident, the EOOW stopped the EGCS first,
                                                                    without stopping the DG. By the time the EOOW realized his error and shut down
                                                     Carnival
     15.     10.11.2018     09.08.2018 CCL                          the DG, the engine had run on HFO without an EGCS inside VGP waters for 27                                                                                        In Progress
                                                     Ecstasy
                                                                    minutes. The incident was reported to the port authorities via the port agent and
                                                                    to the U.S. Coast Guard (USCG). The USCG called the ship and instructed them
                                                                    to notify the Environmental Protection Agency (EPA) and the National Response
                                                                    Coordination Center (NRCC). There was no response from the EPA. The NRCC
                                                                    provided the ship with a report number. Entries were made in the Oil Record
                                                                    Book, EGCS Record Book and Napa Log. As a preventive measure, the Chief
                                                                    Engineer conducted a meeting with all engineers stressing the importance of being


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Items without an asterisk previously appeared and are either in progress or pending verification.                                    43
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 45 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                          Status of
  Number     Notification    Incident     Group         Vessel                                     Description of Incident                                                  Analysis Summary and Action Plan                             Action Plan
                                                                    more careful and vigilant in the future. It is being evaluated whether it is feasible
                                                                    to implement new preventative automation modifications that would create
                                                                    interlock features between the EGCS and DGs.
                                                                    While the ship was alongside in Homer, AK, the ship experienced a blackout              After further review the company determined it was not feasible to add
                                                                    which resulted in an overboard discharge of four cubic meters of brominated             the functionality of a "power to open" valve due to the limited space
                                                                    water from the forward pool. During the blackout, the suction pump for the pool         available in the swimming pool machinery room. The company is
                                                                    and its compensation tank was inoperable, which caused the compensation tank            currently evaluating if a non-return valve can be installed within the
                                                                    to fill and the pool to overflow into the nearby overboard scuppers. The violation      compensation tank. Given the non-return valve is not a nonstandard type
     16.     10.24.2018     09.18.2018 HA Group      Zaandam        of the EPA Vessel General Permit was reported to the Alaska Department of               a valve it is taking longer to source.                                  In Progress
                                                                    Environmental Conservation and the EPA. The ship and shoreside technical team
                                                                    are exploring the feasibility of installing a "power to open" valve on the high level
                                                                    drain line from the pool so, if a power failure does occur, the compensation tank
                                                                    cannot fill up and overflow from the high level drain line. Also recorded as a Full
                                                                    Blackout.
                                                                    A crewmember emailed CCM Christopher Donald alleging that the Food                      CCL launched a Company review of the allegation. The final report is
                                                     Carnival       Operations Manager took no action after being notified that plastics, oil, and paper    expected to be issued before the end of January 2019. UPDATE: The
     17.     11.28.2018     11.20.2018 CCL                                                                                                                                                                                       In Progress
                                                     Horizon        had been found food waste shredder. The crewmember believed that as a result            final report is pending.
                                                                    of the inaction, the non-food items had been discharged at sea.
                                                                    While the ship was alongside in Grand Turk, a housekeeping crewmember                   Crewmembers will be interviewed to determine the root cause. The
                                                                    drained a wet vacuum full of approximately 16 liters of soapy water into a deck         completion date for the interviews is expected to be in four monthstime
                                                                    scupper drain, as advised by the Assistant Housekeeping Manager. An                     given the crewmembers' leave schedules.
                                                                    investigation revealed that the water contained approximately 30 milliliters of a
                                                                    chemical approved for internal use but not included in the approved chemical list
                                                                    for hull and open deck cleaning operations. The Ship Manager witnessed the
                                                                    incident and stopped the internal work operation immediately. All the remaining
                                                                    water containing the diluted chemical was taken to the garbage room and disposed
                                                                    of correctly. The MARPOL Annex V violation was recorded in the Garbage
                                                     Carnival
     18.     11.28.2018     10.18.2018 CCL                          Record Book and NAPA eLog and was reported to the local agent to notify the                                                                                         In Progress
                                                     Breeze
                                                                    authorities. All crewmembers joining the ship receive environmental awareness
                                                                    induction training, including the Environmental Awareness video, and also
                                                                    receive Enhanced Environmental Training not to pour any chemicals into ship
                                                                    drains. At each homeport Safety Briefing, all crewmembers and passengers are
                                                                    advised not to throw or discharge any material overboard. On 23 October, the
                                                                    Fleet Housekeeping Manager sent a message to all Hotel Directors, Housekeeping
                                                                    Managers and Laundry Managers, re-enforcing the proper method of disposal.
                                                                    This message was shared with all EOs. The root cause and preventive action will
                                                                    be determined.
                                                                    While the ship was at anchor in Princess Cays Island, Bahamas, the Bridge look          At this time there is no further information. The tank level sensors will
                                                                    out noted water overflowing from a starboard side air vent. The OOW notified            be replaced during the next scheduled drydock (September 30, 2019 to
                                                                    the ECR and requested the EOOW stop the ballast/grey tank transfer operation in         October 12, 2019).
                                                                    progress. The overflow lasted for about five minutes and resulted in the discharge
                                                     Carnival
     19.     12.14.2018     10.31.2018 CCL                          of at least 200 liters of grey water in violation of Company policy. The overflow                                                                                   In Progress
                                                     Ecstasy
                                                                    occurred due to the failure of the tank level sensor on a ballast/grey tank. The
                                                                    Chief Engineer took the affected tank out of service until the sounding sensor
                                                                    issue is resolved. The tank remains out of service. Once the tank is back in service,
                                                                    sounding values will be frequently verified to identify any discrepancies. The


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 46 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                        Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                  Analysis Summary and Action Plan                             Action Plan
                                                                    incident was reported to the Island Manager by the ship agent and was recorded
                                                                    in the NAPA eLog. The tank level sensors on all of the ships of this class are
                                                                    being replaced. Most are being replaced in service. The remainder, which can
                                                                    only be replaced during drydock, will be replaced by the end of the next drydock
                                                                    cycle.
                                                                    While the ship was alongside in Grand Turk, Turks & Caicos, two Advanced Air          Contractors are expected to complete repairs by Q2 2019.
                                                                    Quality Systems (AAQS/EGCS) were taken out of service due to several sea
                                                                    water leaks from the DeSOx washing towers caused by acid corrosion and
                                                                    welding failure. The asset team is working on the repair action plan. Depending
                                                                    on availability, contractors are expected to be on board by Q2 2019 to complete
                                                     Carnival
     20.     01.02.2019     11.12.2018 CCL                          the repairs. In accordance with the recently completed AAQS reliability study,                                                                                    In Progress
                                                     Conquest
                                                                    system components will be replaced with improved materials and welds repaired
                                                                    with enhanced procedures. With the ship's third AAQS currently under
                                                                    maintenance, all AAQS are out of commission. MGO will be used in all ECAs.
                                                                    An entry was made in the NAPA eLog and an eNOA will be submitted before the
                                                                    next US port.
                                                                    While the ship was alongside in Abu Dhabi, United Arab Emirates, the ship             The estimated lead time on delivery and installation is six months.
                                                                    experienced a malfunction of the incinerator. It was found that the gearbox was
                                                                    misaligned with the screw shaft, which appears to be a design flaw. The technical
                                                     Seabourn
     21.     01.02.2019     11.06.2018 HA Group                     department onboard managed to complete temporary repairs and reinstate the                                                                                        In Progress
                                                     Encore
                                                                    incinerator. A permanent repair will require a new screw shaft, which is on order.
                                                                    A Guarantee Failure Report has been submitted. Temporary repairs have been
                                                                    completed. Lead time for the new screw shaft pends notification by the shipyard.
                                                                    While the ship was alongside in Suva, Fiji, traces of oil were found in a ballast     A cleaning crew joined the ship on December 21, 2018. After the
                                                                    water tank during a monthly inspection of the ballast water tanks. The tank was       cleaning, repairs will be arranged and as well as the Class inspection.
                                                                    empty and contained residual water with HFO contamination evident on the tank         UPDATE: As a preventative measure, the company is evaluating
                                                                    bulkheads. No immediate structural damage, cracks or pin holes were found in          whether to install an oil-in-water monitoring and detection system in the
                                                                    the tank. The remaining tanks and ballast system are being inspected for              forward ballast tanks in order to detect ballast tank contamination. The
                                                                    contamination. No contamination of the aft ballast system or tanks was noted. The     evaluation is expected to be completed by October 2019.
                                                                    forward section of ballast main has been blanked off to prevent discharge of tanks
     22.     01.02.2019     11.20.2018 HA Group      Maasdam                                                                                                                                                                          In Progress
                                                                    or further contamination risks. Details of tank discharge since the last inspection
                                                                    are being collated and an Oil Record Book entry has been made, along with
                                                                    notifications of the MARPOL Annex I violation to Flag and local authorities. The
                                                                    ship offloaded two-thirds of the tank contents in Auckland. The remainder will be
                                                                    processed through the ship's treatment plant. Until the tank is completely empty,
                                                                    a full inspection cannot be carried out to determine the source of the
                                                                    contamination. A further update will follow once available.
                                                                    While the ship was transiting Bahamian archipelagic waters en route to Port           The RAAS-led investigation report and findings are pending. UPDATE:
                                                                    Everglades, 258 cubic meters of ballast water were discharged in violation of the     The final report is expected to be issued before March 1, 2019.
                                                                    IMO Ballast Water Convention. Preliminary indications are that the EOOW failed
                                                                    to attend a meeting with the Bridge, failed to follow the instructions provided by
                                                     Carnival
     23.     01.02.2019     11.24.2018 CCL                          the Bridge during the briefing at the start of the watch as well as the Chief                                                                                     In Progress
                                                     Conquest
                                                                    Engineer's standing orders and failed to inform the Bridge before conducting the
                                                                    discharge operation. After the initial report, it was disclosed by the EOOW that
                                                                    the Bridge OOW offered to cover up the occurrence and change the time and
                                                                    location of the discharge to indicate it had occurred in a permitted area.


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                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 47 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                      September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                  Analysis Summary and Action Plan                           Action Plan
                                                                    Approximately 10 minutes later, the Bridge OOW called the EOOW back, stating
                                                                    that he was going to report the violating discharge to the Staff Captain. The Bridge
                                                                    OOW made these communications from the Gyro room located inside the Bridge.
                                                                    This room is not fitted with VDR microphones. A RAAS-led investigation has
                                                                    been initiated.
                                                                    While the ship was alongside in Baltimore, Maryland, crewmembers admitted              Upon return from vacation, the engineer will be interviewed regarding
                                                                    that they had been refilling the gravity tank of an azipod for two months without      the incident and how the crewmembers determined the amount was
                                                                    properly recording the operation and quantity of added oil in the Oil-to-Sea-          within the allowable amount. UPDATE: The engineer will be
                                                                    Interface (OTSI) Record Book. Roughly 122 liters of oil was added in the last two      interviewed during the last week in February.
                                                                    months, which is within the range approved by the manufacturer. The oil ended
                                                                    up in the sea as each OTSI system has an allowable amount of loss that is
                                                                    determined by the manufacturer. The oil used is not an environmentally
                                                                    acceptable lubricant so is not biodegradable. The amount leaked was within the
                                                                    allowable amount. No oil leakage was detected by divers during the Lloyd's
                                                     Carnival
     24.     01.11.2019     09.30.2018 CCL                          inspection on 21 September or during previous checks. The missing entries was                                                                                    In Progress
                                                     Pride
                                                                    due to an oversight by crewmembers. An entry was made in the Oil Record Book
                                                                    and further OTSI operations have been properly recorded. As a preventive action,
                                                                    all engineers involved in OTSI record keeping were retrained. While the engineer
                                                                    was trained on 27 July and checks were taking place weekly, the engineer was
                                                                    using a separate form to track the gravity tank activity. The engineer responsible
                                                                    had signed off the day after this was discovered which did not allowing for proper
                                                                    questioning about his personal disregard of the policy. Additionally, there was no
                                                                    historical data that would imply that there was an issue with the system so it would
                                                                    not have flagged as an issue that would have caused further investigation.
                                                                    Following the previous incident of a high exhaust gas boiler (EGB) outlet              The request for the software update that would allow the low flow alarm
                                                                    temperature on a diesel generator (DG) and a small fire inside, the EGB was soot       to activate regardless of valve control is pending due to further
                                                                    blown several times to clear and reduce the high temperatures. During this time        discussions with EcoSpray. In the meantime, crewmembers are noting
                                                                    two racks were closed as normal practice. The engine was restarted with EGCS           in the watch handover log when valves are opened and closed for soot
                                                                    back in operation. Due to human error and a lapse of concentration the SEOOW           blowing. UPDATE: EcoSpray have not agreed to the proposal given
                                                                    did not reopen the rack valves when restarting the DG or EGCS. Therefore for a         any change to the software would be implemented across all
                                                                    period of eight hours there was no monitoring of ECGS washwater PAH/turbidity          installations. CUK will continue discussions with Eco Spray. In the
                                                                    and PH. The investigation found that as well as the oversight, when the valves are     meantime, local mitigation is in place to avoid a repeat incident.
                                                                    in manual control from the EGCS panel, the system does not alarm on Ecospray
                                                                    or IMAC for any low flow which would have indicated the loss of monitoring. As
     25.     01.11.2019     10.12.2018 CUK           Aurora         a corrective action for the oversight, watchkeepers will record soot blowing in the                                                                              In Progress
                                                                    handover book and specifically state that racks were closed as a reminder during
                                                                    the handover to check that they are now open. As a further preventative action a
                                                                    request has been made for a software update that would allow the low flow alarm
                                                                    to activate regardless of valve control. The incident falls under 'E3.8 - Liquid
                                                                    Discharges: Non-Compliant EGCS Washwater (pH, PAH, Turbidity)' which is a
                                                                    'complete failure or prolonged exceedance of limits of one or more of the
                                                                    regulated water sensor parameters of pH, PAH (differential), or turbidity
                                                                    (differential), which the ship has been unable to correct after six hours'. As ship
                                                                    does not know whether it exceeded the parameters during the eight hour period,
                                                                    the incident could be recorded as an event or as a near-miss.



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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 48 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                     Status of
  Number     Notification    Incident     Group         Vessel                                     Description of Incident                                              Analysis Summary and Action Plan                            Action Plan
                                                                    While the ship was underway in international waters, sea water was noted to be         The Company received the sample and are determining preventative
                                                                    overflowing from a ballast water tank top into the ship's bilge. It was suspected      actions.
                                                                    that the overflow was from a small crack on the tank top caused by corrosion. If
                                                                    water leaked into the ballast tank, it came through the crack in the tanktop, but
                                                                    the water that leaked into the bilge during this specific overflow was the only
                                                                    water in the area as normally the bilge in question is dry. Approximately 100 liters
                                                                    spilled into the bilge before crew deployed rags and absorbent pads and collected
                                                                    the water in buckets. The ballast tank was full of water and needed to be lowered
                                                                    in order to perform a repair. Accordingly, five cubic meters of sea water was
                                                                    released back into the sea. Because it is possible that water went back into the
                                                     Carnival       tank after touching the bilge, the water discharged could potentially have been
     26.     02.12.2019     12.23.2018 CCL                                                                                                                                                                                         In Progress
                                                     Fantasy        contaminated with bilge water. This potential MARPOL Annex I violation was
                                                                    recorded in the Oil Record Book, Ballast Water Record Book (to account for
                                                                    ballast water movements), and NAPA eLog. Offload of the remaining ballast
                                                                    water in the tank was arranged However, due to time constraints, the entire
                                                                    quantity could not be offloaded and about 40 cubic meters remained in the tank.
                                                                    The remaining quantity was distributed to the bilges and processed as bilge water
                                                                    before discharge overboard. A sample from the tank was taken for laboratory
                                                                    analysis. Depending on the analysis. [sic] further notifications may be necessary.
                                                                    A Classification Surveyor boarded the ship on 24 December and issued a
                                                                    Condition of Class (CoC) for the tank. The ship made a temporary repair and the
                                                                    CoC remains. The ship's Flag Administration was notified of the incident.
                                                                    While the ship was underway, issues were experienced with the static Oily Water        The spare parts were delivered and installed on January 26, 2019. The
                                                                    Separator (OWS). The second stage filtration was opened and the polishing filter       Level 3 Investigation is pending and expected to be completed before
                                                                    was found missing, in violation of the approval certificate. The Chief Engineer        the end of March 2019.
                                                                    and Captain were informed, and the OWS isolated. The BCDB worked as
                                                                    designed and no non-compliant discharge occurred at any time. The ship will use
                                                                    its centrifugal OWS for processing/discharging and will offload bilge ashore
                                                                    when needed until the issue is resolved. An entry was made in the Oil Record
                                                                    Book. The initial review shows that a quarterly routine work order for the
                                                                    absorber filter element renewal/check was removed from this ship’s planned
                                                                    maintenance database in 2010 via a change request but is still active on all other
                                                     Caribbean
     27.     02.26.2019     01.05.2019 HA Group                     group ships. It is unknown why the work order was removed. The ship previously                                                                                 In Progress
                                                     Princess
                                                                    reported issues with back pressure and that could be a contributing factor in why
                                                                    the filter elements were removed. The shoreside technical team is working with
                                                                    the OWS manufacture on the safety valve setting which could be set too low.
                                                                    Additionally, the shoreside technical team engaged with all ships in the fleet. Two
                                                                    further ships reported filter elements missing which have since been restored. All
                                                                    other ships confirmed that their filter elements were in place. The ship is awaiting
                                                                    delivery of parts required for the absorber filter and the static OWS remains
                                                                    isolated until the spare parts are received. A Level 3 Investigation is underway
                                                                    and the circumstances of the incident continue to be reviewed to identify the
                                                                    cause.
                                                                    During the handover period, a newly joined EO noticed that six signatures in the       The Level 3 investigation report is under review by IAG and HA Group.
                                                     Caribbean
     28.     03.05.2019     03.03.2019 HA Group                     Hazardous Waste Log for disposals on 25 November 2018 were not his signature.                                                                                  In Progress
                                                     Princess
                                                                    The EO in Charge, Chief Engineer, Staff Chief Engineer and Captain were


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 49 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                        Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                   Analysis Summary and Action Plan                            Action Plan
                                                                    immediately informed. The initial review revealed that the waste disposal
                                                                    supervisor was unaware of the six signatures accompanying the date and port
                                                                    disposal entries made by a crewmember. RAAS is investigating the matter.
                                                                    Initial interviews have been completed.
                                                                    While the ship was underway in the North American Emission Control Area, a             CCL is evaluating the actions taken during the incident and the physical
                                                                    fire in the incinerator silo and the consequent suppression release flooded the        arrangement on the position of the nozzles and control panels.
                                                                    main panel in the incinerator room and caused a shutdown of the three Advanced
                                                                    Air Quality Systems (AAQS/EGCS) that were running at that time, due to a loss
                                                                    of communication. The Compliance Computer lost communication with the
                                                                    system as well. The diesel generators running on AAQS were changed over to
                                                     Carnival
     29.     03.05.2019     01.27.2019 CCL                          MGO. The ship is unable to establish exactly how long it took to changeover to                                                                                    In Progress
                                                     Miracle
                                                                    MGO once the AAQSs shut down because the compliance computer was out of
                                                                    service. As a preventive measure, the ship will look into ways to protect all the
                                                                    AAQS components from water in a case of similar suppression system release.
                                                                    Entries were made in the NAPA eLog. The AAQS systems, including compliance
                                                                    computer, were back in operation 29 January. The incident is under review for
                                                                    fleetwide prevention. Also recorded as an Other Fire.
                                                                    While the ship was underway towards Ensenada, Mexico, the pulper computer              Further review determined the fault was not with PLC but with the HMI
                                                                    system failed and could not be restarted. The ship's electricians tried to restore     (human machine interface). The ship will transfer the spare HMI to the
                                                                    the system, and attempts were made to install and initialize a spare controller but    vendor for programming. Shoreside is evaluating whether it is possible
                                                                    the attempts were unsuccessful. As a result, the pulper is currently out of service.   to improve the purchasing process for these parts.
                                                                    Food waste production will be collected in designated storing areas and offloaded
                                                     Emerald        ashore. The pulper system remains out of service at this time. It was identified
     30.     03.22.2019     02.15.2019 HA Group                                                                                                                                                                                       In Progress
                                                     Princess       that the failure was due to a malfunctioning Programmable Logic Controller
                                                                    (PLC). The ship has a spare PLC onboard, however, the spare had not been pre-
                                                                    programmed and therefore is not ready for installation. The system can
                                                                    technically be run in manual mode, however, the shoreside team advised not to
                                                                    do so. The issue of the spare PLC not being pre-programmed is being assessed
                                                                    by the shoreside technical team.
                                                                    While the ship was alongside in Puerto Plata, Dominican Republic, an Advanced          The repair by the shoreside contractor is pending. The ship continues
                                                                    Air Quality System (AAQS) was taken out of service due to several sea water            to use MGO to ensure compliance.
                                                     Carnival
     31.     04.10.2019     03.14.2019 CCL                          leaks from the DeSOx Washing Tower caused by construction problems. A                                                                                             In Progress
                                                     Conquest
                                                                    shoreside contractor is scheduled to join the ship and repair the tower around 22
                                                                    June. In the meantime, the ship will use MGO to ensure compliance.
                                                                    While the ship was underway inside the North American Emission Control Area,           The AAQS on DG#3 was out of service from January 26, 2019 to
                                                                    the Advanced Air Quality Systems (AAQS/EGCS) for two Diesel Generators                 February 4, 2019. The fleetwide change to place all important spare
                                                                    (DG) shut down. The AAQSs were restarted but the systems did not respond.              parts for the AAQS on the critical spare parts list will be completed by
                                                                    The two affected DGs were changed to MGO. The Staff ETO commenced                      July 31, 2019.
                                                                    troubleshooting once the DGs were running on MGO. One AAQS started to work
                                                     Carnival       properly, but the second AAQS continued to shut off immediately due to a direct
     32.     04.10.2019     01.26.2019 CCL                                                                                                                                                                                            In Progress
                                                     Ecstasy        ground fault. Further investigation revealed problems with cabling and with a
                                                                    pressure transmitter. There was no spare pressure transmitter on board, and a
                                                                    requisition was issued. A suggestion was made to shoreside to place all important
                                                                    spare parts for the AAQS on the critical spare part list which would allow the
                                                                    vessel to maintain a minimum quantity to ensure AAQS systems can remain
                                                                    operational. Shoreside will evaluate the recommendation according to the


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   48
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 50 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                      Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                 Analysis Summary and Action Plan                           Action Plan
                                                                    criticality methodology. An entry was made in the EGCS Record Book and
                                                                    NAPA eLog.
                                                                    During a CAM vessel visit to the Carnival Valor regarding the presence of non-        The new Incident Analysis Group is investigating the incident.
                                                                    food items, including possible plastic items, in the food waste tank. The CAM
                                                                    Team did not observe any overboard discharge of these non-food items. After the
                            April 11-                Carnival
     33.     04.19.2019                  CCL                        presence of non-food items in the tank was brought to the ship’s attention, the                                                                                 In Progress
                            15, 2019                 Valor
                                                                    crew suspended food waste discharges and proceeded to manually remove and
                                                                    sort the contents of the tank. The new Incident Analysis Group is investigating
                                                                    the incident.
                                                                    While the ship was underway, 322 cubic meters of ballast water were discharged        The investigation report, findings, and recommendations are pending.
                                                                    within 12 nautical miles of the Belize coastline. The ballast water tank that was
                                                                    discharged had been loaded the night before more than 12 nautical miles off the
                                                                    Mexican Coast and with more than 200 meters under the keel. The de-ballasting
                                                                    was conducted due to the OOW believing that there was an issue with the stability
                                                                    (8.39 meters, when the maximum allowed draft was 8.42). The ship was
                                                                    producing fresh water and the OOW believed that the upcoming two hours of
                                                                    fresh water production could increase the draft to the maximum limit. It was later
                                                                    determined that this was not possible. After review of the VDR, the OOW was
                                                                    advised during the watch handover that they were inbound 12NM and no
                                                     Carnival       discharges or ballast operations were allowed inside the waters of Belize. After
     34.     04.26.2019     03.26.2019 CCL                                                                                                                                                                                          In Progress
                                                     Freedom        the discharge took place, the OOW made the appropriate log entries but the
                                                                    discharge was not immediately discussed. Later in the day, the OOW revisited
                                                                    the discharge and realized that the discharge violated local regulations. At this
                                                                    time, the OOW reported the incident to the EO and Captain who then relayed the
                                                                    information to the Port Authority. An investigation was conducted by the
                                                                    Environmental Manager on 31 March and it was confirmed that all preventive
                                                                    measures were in place, watch handover clearly outlined requirements, and the
                                                                    discharge itself was challenged and the OOW still proceeded with the discharge.
                                                                    The OOW has since been counseled by the Captain. The Captain has also held
                                                                    training with all deck officers to review the incident. IAG will attend the ship to
                                                                    conduct an investigation following which further actions will be determined.
                                                                    During a visual inspection of the processed food waste tank, plastic residue,         The spade installation is pending. However, in the meantime, all pulper
                                                                    pieces of green garbage bags and metal cutlery were found in the Food Waste           stations are locked and closed so no material can enter the food waste
                                                                    Tank. The presence of non-food items in the tank was most likely caused by a          system.
                                                                    lack of oversight/ failure to follow existing regulations during the processing of
                                                                    food waste. There was no evidence that non-food items were discharged
                                         Costa
     35.     04.26.2019     04.17.2019               AIDAluna       overboard. The tank was deep cleaned. As a preventive measure, it was decided                                                                                   In Progress
                                         Group
                                                                    that all food waste overboard discharges would be suspended until the tank was
                                                                    cleaned. All decentralized pulper systems were temporarily set out of service,
                                                                    impacting food waste shore discharge costs and onboard waste storage. Training
                                                                    was completed for engine and hotel crew. Tank cleaning has been completed. A
                                                                    blind spade will be installed.
                                                                    While the ship was alongside in Aruba, the Advanced Air Quality System                The operating line technical department is looking at VSD and VFD
                                                     Crown          (AAQS) on diesel generator (DG) #3 was reported out of service due to the failure     (variable speed/frequency drives) basic maintenance to try and prevent
     36.     05.07.2019     03.30.2019 HA Group                                                                                                                                                                                   In Progress
                                                     Princess       of the sea water pump inverter. A new inverter will be installed once delivered       the number of failures. The ship will not run DG #3 while in the ECA
                                                                    in May. As this was an electrical failure/defect, preventing this incident was not    unless necessary, and if so, will switch to MGO. No spare inverters are


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   49
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 51 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                    Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                               Analysis Summary and Action Plan                            Action Plan
                                                                    possible. However, the operating line technical department is looking at VSD       kept onboard. A new inverter will be installed once delivered in May.
                                                                    and VFD (variable speed/frequency drives) basic maintenance to try and prevent     An entry was made in the EGCS logbook. UPDATE: Programmed
                                                                    the number of failures. The ship will not run DG #3 while in the ECA unless        maintenance to the inverters started on June 18, 2019. The maintenance
                                                                    necessary, and if so, will switch to MGO. No spare inverters are kept onboard.     will be conducted every 18-24 months. All of the inverters have been
                                                                    A new inverter will be installed once delivered in May. An entry was made in       replaced and are back in service.
                                                                    the EGCS logbook.
                                                                    During the inspection of the food waste tank, the CAM found a few non-food         An investigation is taking place between 18 April through 20 April and
                                                                    items like broken china (crockery) inside. The EO was asked to hold all food       the incident will be updated following further information.
                                                     Carnival
     37.     05.07.2019     04.13.2019 CCL                          waste on board. A clean out of the tank was conducted on 16 April 2019. An                                                                                    In Progress
                                                     Valor
                                                                    investigation is taking place between 18 April through 20 April and the incident
                                                                    will be updated following further information.
                                                                    While the ship was underway from Yokohama to Kobe, Japan, approximately 45         The operating line's Maritime Investigation team are currently onboard
                                                                    cubic meters of partially treated sewage was accidentally discharged inside 12     reviewing the incident. Additional information will be provided once
                                                                    nautical miles. The MARPOL Annex IV and Company violation was reported to          available. UPDATE: The final report is pending.
                                                                    the agent and Japanese Coast Guard. The Japanese Coast Guard conducted a Port
     38.     05.07.2019     04.01.2019 HA Group      Westerdam      State Control boarding in Kobe on 03 April and found no deficiencies and stated                                                                               In Progress
                                                                    that no further port state actions would be taken. Flag state is being notified.
                                                                    Entries were made in the Sewage and Grey Water Log Books. The operating
                                                                    line's Maritime Investigation team are currently onboard reviewing the incident.
                                                                    Additional information will be provided once available.
                                                                    During inspections between 23 April and 27 April, non-food items were found in     The ship is in the process of determining whether action taken has
                                                                    red food waste bins.        The non-food items were removed and disposed           improved sorting.
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased
     39.     05.07.2019     04.27.2019 CCL                                                                                                                                                                                        In Progress
                                                     Breeze         supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 25 April and 26 April, non-food items were found in     Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins and food waste tanks. The non-food items were removed          will be evaluating sorting issues and develop best practices to address
                                                     Carnival       and disposed appropriately. To prevent re-occurrence, additional training and      fleetwide challenges.
     40.     05.07.2019     04.26.2019 CCL                                                                                                                                                                                        In Progress
                                                     Conquest       increased supervision at food sorting areas and new pulper inspection/control
                                                                    regimes have been implemented. Reduction of non-food waste initiatives have
                                                                    also been introduced.
                                                                    During inspections between 22 April and 26 April, non-food items were found in     Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.        The non-food items were removed and disposed           will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased         fleetwide challenges.
     41.     05.07.2019     04.26.2019 CCL                                                                                                                                                                                        In Progress
                                                     Dream          supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 23 April and 26 April, non-food items were found in     The ship has experienced an improvement in sorting. There is active
                                                                    red food waste bins.        The non-food items were removed and disposed           involvement from all Supervisors and Managers. An average of 70 red
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased         bins per day are sorted with very few pieces of non-food items observed.
     42.     05.07.2019     04.25.2019 CCL                                                                                                                                                                                        In Progress
                                                     Ecstasy        supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.




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Items without an asterisk previously appeared and are either in progress or pending verification.                                50
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 52 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                      Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                   Analysis Summary and Action Plan                          Action Plan
                                                                    During inspections between 21 April and 24 April, non-food items were found in        Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.        The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased            fleetwide challenges.
     43.     05.07.2019     04.21.2019 CCL                                                                                                                                                                                          In Progress
                                                     Elation        supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 19 April and 27 April, non-food items were found in        Sorting onboard has significantly improved. The ship personnel are
                                                                    red food waste bins.        The non-food items were removed and disposed              focusing on improving sorting in the crew mess and Blue Iguana.
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased
     44.     05.07.2019     04.27.2019 CCL                                                                                                                                                                                          In Progress
                                                     Fantasy        supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 18 April and 21 April, non-food items were found in        Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.        The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased            fleetwide challenges.
     45.     05.07.2019     04.20.2019 CCL                                                                                                                                                                                          In Progress
                                                     Fascination    supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 21 April and 26 April, non-food items were found in        Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.        The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased            fleetwide challenges.
     46.     05.07.2019     04.26.2019 CCL                                                                                                                                                                                          In Progress
                                                     Glory          supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 21 April and 26 April, non-food items were found in        Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.        The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased            fleetwide challenges.
     47.     05.07.2019     04.26.2019 CCL                                                                                                                                                                                          In Progress
                                                     Horizon        supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 21 April and 27 April, non-food items were found in        Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.        The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased            fleetwide challenges.
     48.     05.07.2019     04.27.2019 CCL                                                                                                                                                                                          In Progress
                                                     Imagination    supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During an inspection, non-food items were found in red food waste bins. The           The ship is in the process of determining whether action taken has
                                                                    non-food items were removed and disposed appropriately. To prevent re-                improved sorting.
                                                     Carnival
     49.     05.07.2019     04.27.2019 CCL                          occurrence, additional training and increased supervision at food sorting areas and                                                                             In Progress
                                                     Inspiration
                                                                    new pulper inspection/control regimes have been implemented. Reduction of
                                                                    non-food waste initiatives have also been introduced.
                                                                    During inspections between 21 April and 23 April, non-food items were found in        Non-food items continue to appear during sorting. The Tiger Teams
                                                     Carnival       red food waste bins.        The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
     50.     05.07.2019     04.20.2019 CCL                                                                                                                                                                                        In Progress
                                                     Liberty        appropriately. To prevent re-occurrence, additional training and increased            fleetwide challenges.
                                                                    supervision at food sorting areas and new pulper inspection/control regimes have



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Items without an asterisk previously appeared and are either in progress or pending verification.                                   51
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 53 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                      Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                  Analysis Summary and Action Plan                           Action Plan
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 21 April and 27 April, non-food items were found in        Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.        The non-food items were removed and disposed              will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased            fleetwide challenges.
     51.     05.07.2019     04.22.2019 CCL                                                                                                                                                                                          In Progress
                                                     Magic          supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During an inspection, non-food items were found in red food waste bins. The      The Environmental Officer prepared a PowerPoint presentation to
                                                                    non-food items were removed and disposed appropriately. To prevent re-           address training. After observing an increase in non-food waste items
                                                     Carnival       occurrence, additional training and increased supervision at food sorting areas and
                                                                                                                                                     in the red bins, the Environmental Officer started a second round of
     52.     05.07.2019     04.27.2019 CCL                                                                                                                                                                                    In Progress
                                                     Miracle        new pulper inspection/control regimes have been implemented. Reduction of        trainings with a new presentation. Fliers are posted on the departmental
                                                                    non-food waste initiatives have also been introduced.                            notice board as well as shown on the digital TV Notice board located in
                                                                                                                                                     front of the Crew Mess.
                                                                    During inspections between 15 April and 26 April, non-food items were found in Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.        The non-food items were removed and disposed will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased fleetwide challenges.
     53.     05.07.2019     04.25.2019 CCL                                                                                                                                                                                    In Progress
                                                     Paradise       supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 23 April and 26 April, non-food items were found in Improvement in minimizing the risk of non-food items in the food waste
                                                                    red food waste bins.        The non-food items were removed and disposed tanks due to the crew's efforts in checking the red bins before feeding
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased the waste into the pulper system.
     54.     05.07.2019     04.26.2019 CCL                                                                                                                                                                                    In Progress
                                                     Pride          supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 22 April and 28 April, non-food items were found in The ship is in the process of determining whether action taken has
                                                                    red food waste bins.        The non-food items were removed and disposed improved sorting.
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased
     55.     05.07.2019     04.28.2019 CCL                                                                                                                                                                                    In Progress
                                                     Spirit         supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 22 April and 27 April, non-food items were found in The ship is in the process of determining whether action taken has
                                                                    red food waste bins.        The non-food items were removed and disposed improved sorting.
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased
     56.     05.07.2019     04.27.2019 CCL                                                                                                                                                                                    In Progress
                                                     Splendor       supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 21 April and 23 April, non-food items were found in Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.        The non-food items were removed and disposed will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased fleetwide challenges.
     57.     05.07.2019     04.23.2019 CCL                                                                                                                                                                                    In Progress
                                                     Valor          supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.




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Items without an asterisk previously appeared and are either in progress or pending verification.                                   52
                                                               Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 54 of
                                                                                                               100
                                                                              United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                       September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                      Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                 Analysis Summary and Action Plan                           Action Plan
                                                                    During inspections between 23 April and 25 April, non-food items were found in       Non-food items continue to appear during sorting. The Tiger Teams
                                                                    red food waste bins.         The non-food items were removed and disposed            will be evaluating sorting issues and develop best practices to address
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased           fleetwide challenges.
     58.     05.07.2019     04.26.2019 CCL                                                                                                                                                                                          In Progress
                                                     Victory        supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During inspections between 18 April and 27 April, non-food items were found in       The ship is in the process of determining whether action taken has
                                                                    red food waste bins.         The non-food items were removed and disposed            improved sorting.
                                                     Carnival       appropriately. To prevent re-occurrence, additional training and increased
     59.     05.07.2019     04.27.2019 CCL                                                                                                                                                                                          In Progress
                                                     Vista          supervision at food sorting areas and new pulper inspection/control regimes have
                                                                    been implemented. Reduction of non-food waste initiatives have also been
                                                                    introduced.
                                                                    During an inspection, non-food items were found in food waste tanks. The non-        The ship personnel continue to work towards improved waste sorting
                                                                    food items were removed and disposed appropriately. To prevent re-occurrence,        operations.
                                                     Nieuw
     60.     05.07.2019     04.22.2019 HA Group                     additional training and increased supervision at food sorting areas and new pulper                                                                              In Progress
                                                     Amsterdam
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During an inspection, non-food items in food waste tanks. The non-food items         All food waste currently still being landed ashore until ship confident
                                                                    were removed and disposed appropriately. To prevent re-occurrence, additional        that correct procedures in place and no plastic present in food waste.
     61.     05.07.2019     04.16.2019 CUK           Arcadia        training and increased supervision at food sorting areas and new pulper              The Pulper Management Plan is in place and currently thorough checks In Progress
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste        are being carried out of dewatered food waste by the Environmental
                                                                    initiatives have also been introduced.                                               Officer.
                                                                    During an inspection, non-food items in food waste tanks. The non-food items         All food waste currently still being landed ashore until ship confident
                                                                    were removed and disposed appropriately. No overboard food waste discharges          that correct procedures in place and no plastic present in food waste.
                                                                    have been carried out since 20 April and no overboard food waste discharges are      The Pulper Management Plan is in place and currently thorough checks
     62.     05.07.2019     04.22.2019 CUK           Arcadia        to occur until further notice. All food waste is to be landed ashore. Food waste     are being carried out of dewatered food waste by the Environmental In Progress
                                                                    tanks will be emptied into suitable containers. Tanks and equipment will be          Officer.
                                                                    cleaned to remove non-food waste from the system. A further audit of food waste
                                                                    will be carried out by the EO on 29 April.
                                                                    During an inspection, non-food items were found in food waste tanks. The non-        The reduction of non-food waste initiatives is in progress.
                                                                    food items were removed and disposed appropriately. To prevent re-occurrence,
     63.     05.07.2019     04.22.2019 CUK           Ventura        additional training and increased supervision at food sorting areas and new pulper                                                                              In Progress
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were          The crewmembers continue to monitor food waste sorting operations.
                                                                    found in food waste tanks. Typical items found included broken chinaware,            To address the food waste sorting issues, additional staffing to help in
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were        the sorting has been enacted fleetwide.
                                                     Carnival
     64.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                                   In Progress
                                                     Conquest
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were          Supervisors have observed less non-food items during the sorting. The
                                                                    found in food waste tanks. Typical items found included broken chinaware,            crewmembers continue to monitor food waste sorting operations.
                                                     Carnival
     65.     05.10.2019     04.29.2019 CCL                          silverware, stirrers, paper, lids and other plastics. All non-food items were                                                                                   In Progress
                                                     Dream
                                                                    removed and correctly disposed/recycled. To prevent re-occurrence, additional
                                                                    training and increased supervision at food sorting areas and new pulper

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 55 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                 Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                           Analysis Summary and Action Plan                            Action Plan
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were     The number of IR's being submitted related to food waste sorting issues
                                                                    found in food waste tanks. Typical items found included broken chinaware,       has decreased. There are intermittent findings of non-food items in red
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were   bins. The crewmembers continue to monitor food waste sorting
                                                     Carnival
     66.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional   operations.                                                             In Progress
                                                     Elation
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were     Non-food items continue to appear during sorting. The Tiger Teams
                                                                    found in food waste tanks. Typical items found included broken chinaware,       will be evaluating sorting issues and develop best practices to address
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were   fleetwide challenges.
                                                     Carnival
     67.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                              In Progress
                                                     Fantasy
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were     Supervisors have observed less non-foods during the sorting. The
                                                                    found in food waste tanks. Typical items found included broken chinaware,       crewmembers continue to monitor food waste sorting operations.
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were
                                                     Carnival
     68.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                              In Progress
                                                     Fascination
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were     The crewmembers continue to monitor food waste sorting operations.
                                                                    found in food waste tanks. Typical items found included broken chinaware,       To address the food waste sorting issues, additional staffing to help in
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were   the sorting has been enacted fleetwide
                                                     Carnival
     69.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                              In Progress
                                                     Freedom
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were     The crewmembers continue to monitor food waste sorting operations.
                                                                    found in food waste tanks. Typical items found included broken chinaware,       To address the food waste sorting issues, additional staffing to help in
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were   the sorting has been enacted fleetwide.
                                                     Carnival
     70.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                              In Progress
                                                     Glory
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were     Non-food items continue to appear during sorting. The Tiger Teams
                                                                    found in food waste tanks. Typical items found included broken chinaware,       will be evaluating sorting issues and develop best practices to address
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were   fleetwide challenges.
                                                     Carnival
     71.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                              In Progress
                                                     Horizon
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.




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Items without an asterisk previously appeared and are either in progress or pending verification.                              54
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 56 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                  Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                             Analysis Summary and Action Plan                           Action Plan
                                                                    During an inspection within this reporting week, non-food items were found in    The crewmembers continue to monitor food waste sorting operations.
                                                                    food waste tanks. Typical items found included broken chinaware, silverware,     To address the food waste sorting issues, additional staffing to help in
                                                                    stirrers, paper, lids and other plastics. All non-food items were removed and    the sorting has been enacted fleetwide.
                                                     Carnival
     72.     05.10.2019     04.29.2019 CCL                          correctly disposed/recycled. To prevent re-occurrence, additional training and                                                                              In Progress
                                                     Imagination
                                                                    increased supervision at food sorting areas and new pulper inspection/control
                                                                    regimes have been implemented. Reduction of non-food waste initiatives have
                                                                    also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were      Non-food items continue to appear during sorting. The Tiger Teams
                                                                    found in food waste tanks. Typical items found included broken chinaware,        will be evaluating sorting issues and develop best practices to address
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were    fleetwide challenges.
                                                     Carnival
     73.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                               In Progress
                                                     Inspiration
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were      The crewmembers continue to monitor food waste sorting operations.
                                                                    found in food waste tanks. Typical items found included broken chinaware,        To address the food waste sorting issues, additional staffing to help in
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were    the sorting has been enacted fleetwide.
                                                     Carnival
     74.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                               In Progress
                                                     Liberty
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were      During the last two inspections of the food waste tanks, only one non-
                                                                    found in food waste tanks. Typical items found included broken chinaware,        food item was noticed during the each of the inspections. This is an
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were    improvement from the initial findings. Food waste tanks will be further
                                                     Carnival
     75.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional    monitored.                                                              In Progress
                                                     Pride
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced
                                                                    During multiple inspections within this reporting week, non-food items were      Supervisors have observed less non-food items during the sorting. The
                                                                    found in food waste tanks. Typical items found included broken chinaware,        EO will continue to monitor the progress and search for possible
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were    solutions to increase awareness.
                                                     Carnival
     76.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                               In Progress
                                                     Spirit
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were      The number of IR's being submitted related to food waste sorting issues
                                                                    found in food waste tanks. Typical items found included broken chinaware,        has decreased. There are intermittent findings of non-food items in red
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were    bins. The crewmembers continue to monitor food waste sorting
                                                     Carnival
     77.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional    operations.                                                             In Progress
                                                     Splendor
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were      Supervisors have observed less non-food items during the sorting. The
                                                     Carnival       found in food waste tanks. Typical items found included broken chinaware,        EO will continue to monitor the progress and search for possible
     78.     05.10.2019     04.29.2019 CCL                                                                                                                                                                                 In Progress
                                                     Sunshine       silverware, stirrers, paper, lids and other plastics. All non-food items were    solutions to increase awareness.
                                                                    removed and correctly disposed/recycled. To prevent re-occurrence, additional

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 57 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                        Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                  Analysis Summary and Action Plan                            Action Plan
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were            The crewmembers continue to monitor food waste sorting operations.
                                                                    found in food waste tanks. Typical items found included broken chinaware,              To address the food waste sorting issues, additional staffing to help in
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were          the sorting has been enacted fleetwide.
                                                     Carnival
     79.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                                     In Progress
                                                     Valor
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced.
                                                                    During multiple inspections within this reporting week, non-food items were            Supervisors have observed less non-food items during the sorting. The
                                                                    found in food waste tanks. Typical items found included broken chinaware,              crewmembers continue to monitor food waste sorting operations.
                                                                    silverware, stirrers, paper, lids and other plastics. All non-food items were
                                                     Carnival
     80.     05.10.2019     04.29.2019 CCL                          removed and correctly disposed/recycled. To prevent re-occurrence, additional                                                                                     In Progress
                                                     Vista
                                                                    training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented. Reduction of non-food waste
                                                                    initiatives have also been introduced
                                                                    During the grease trap pipe replacement in the Provision Compressor Room, the          The drain bell order is expected to be delivered on July 10, 2019.
                                                                    galley drain tank needed to be opened and, when it was opened, plastic materials
                                                                    were found and the grey water surface was covered by a film of cooking
                                                                    oil/grease. The oily residue found in the tank is the drainage from the galley
                                                                    cooking appliances. Furthermore, plastic was also found during the weekly
                                                                    inspection and cleaning of the galley grease traps. It is not confirmed that plastic
                                                                    items and/or cooking oil/grease was discharged overboard. The film of cooking
                                                                    oil/grease was removed from the tank and transferred into drums via portable
                                                     Carnival       pump and then into the Sludge Tank for offload to a truck in Port Canaveral. The
     81.     05.10.2019     04.22.2019 CCL                                                                                                                                                                                            In Progress
                                                     Breeze         plastic materials were immediately removed and properly disposed of. An entry
                                                                    was made in the NAPA eLog, Oil Record Book, and Portable Pump Log. An
                                                                    entry was not required in the Garbage Record Book because the incident involved
                                                                    the grey water system. All involved crew were retrained not to remove the drain
                                                                    bells in order to prevent future contamination of the grey water system with
                                                                    oil/grease and plastic materials. All drain covers and missing drain bells are in
                                                                    place and properly secured with screws. They cannot be welded as per USPH
                                                                    requirement as they need to be removed for cleaning purposes. New drain bells
                                                                    were ordered.
                                                                    The Westfalia Oily Water Separator (OWS) could not process overboard due to a          The OWS was successfully tested for internal transfers to the clean bilge
                                                                    previously reported malfunction (i.e. unstable flow and PPM readings on both           tank, and the OWS is only being used in recirculation mode and will not
                                                                    BCDBs continuously fluctuate to error). The OWS was successfully tested for            process water overboard. A second OWS remains fully operational as
                                                                    internal transfers to the clean bilge tank, and the OWS is only being used in          does the clean bilge delivery pump to the BCDBs. As a corrective
                                                     Carnival       recirculation mode and will not process water overboard. Relevant entries were         action, all the delivery piping between the OWS and both BCDBs will
     82.     05.30.2019     03.22.2019 CCL                                                                                                                                                                                           In Progress
                                                     Sunshine       made in the Oil Record Book. A second OWS remains fully operational as does            be arranged with the same diameter as per maker’s recommendations.
                                                                    the clean bilge delivery pump to the BCDBs. As a corrective action, all the            An action plan is being developed to separate delivery of the OWS to
                                                                    delivery piping between the OWS and both BCDBs will be arranged with the               both BCDBs, separate returns from the OWS and BCDBs to the clean
                                                                    same diameter as per maker’s recommendations. An action plan is being                  bilge tank and separate the suction of the OWS from the clean bilge
                                                                    developed to separate delivery of the OWS to both BCDBs, separate returns from         tank.



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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 58 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                      Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                  Analysis Summary and Action Plan                           Action Plan
                                                                    the OWS and BCDBs to the clean bilge tank and separate the suction of the OWS
                                                                    from the clean bilge tank.
                                                                    The incinerator was taken out of service because it was not reaching the required     The incinerator was returned to service on May 2, 2019. Nevertheless,
                                                                    850 Celsius temperature due to issues with the PLC unit. A manufacturer's             a technician attended the ship on May 16, 2019 to conduct planned
                                                                    service is being arranged. In the meantime, the incinerator will remain out of        maintenance and repairs. Repairs, including a complete rebuild of the
     83.     05.30.2019     04.22.2019 HA Group      Amsterdam                                                                                                                                                                       In Progress
                                                                    service and garbage will be landed ashore. The onboard engineers are continuing       refractory and installation of ash ram parts, are expected to be concluded
                                                                    to find the fault with the remote support of the manufacturer. A technician will      by June 17, 2019. During repairs, the ship will offload garbage when in
                                                                    attend the ship on 16 May.                                                            port.
                                                                    The ship experienced multiple sea water leaks from the exhaust gas manifold on        On April 23, 2019, two technicians boarded the ship in St, Thomas to
                                                                    a diesel generator after the Advanced Air Quality System (AAQS) tower. The            evaluate and plan repairs. Repairs are expected to be completed by June
                                                                    leaks are all around the exhaust pipe, and the location is extremely difficult to     20, 2019.
                                                                    access. Various sections of the manifold were welded only from the outside
                                                                    leaving a groove on the inside where corrosion has occurred. The bellow mounted
                                                                    less than a year ago is leaking. Multiple spot welds were carried out, but, due to
                                                     Carnival
     84.     05.30.2019     04.20.2019 CCL                          the leaks, the AAQS remains out of service. As a corrective measure, the                                                                                        In Progress
                                                     Breeze
                                                                    corroded sections will be replaced as soon as possible. Shoreside technicians will
                                                                    need to perform the repair/replacement of the exhaust gas pipe. The leaked water
                                                                    was contained on deck where it was recovered. There was no increase of bilge
                                                                    water as the water never reached the bilges. The ship will use compliant fuel in
                                                                    order to comply with air emissions requirements. A technician will be onboard
                                                                    on the 23 April to conduct repairs.
                                                                    During this reporting period, the ship submitted three near miss reports related to   The crewmembers continue to monitor sorting and work to improve
                                                                    contaminated food waste streams. Two reports involved the presence of non-food        ways to prevent non-food items from going in the food waste bins.
                                                                    items (typically silverware, straws, stirrers and other plastics) in red
                                                     Carnival       bins/collectibles. One report involved the presence of non-food items found while
     85.     05.30.2019     05.12.2019 CCL                                                                                                                                                                                          In Progress
                                                     Liberty        cleaning a food waste disposal magnetic trap. The ship confirmed that no non-
                                                                    food waste items were discharged overboard. As a preventive measure,
                                                                    crewmembers are paying extra attention while sorting food waste. An entry was
                                                                    made in the Garbage Record Book and NAPA eLog.
                                                                    During this reporting period, the ship submitted three near miss reports related to   The crewmembers continue to monitor sorting and work to improve
                                                                    contaminated food waste streams. Two reports involved the presence of non-food        ways to prevent non-food items from going in the food waste bins.
                                                                    items (typically silverware, straws, stirrers and other plastics) in red
                                                                    bins/collectibles. One report involved the presence of plastic wrapping inside a
                                                     Carnival       food waste mixing tank. The food waste mixing tank was cleaned and all non-
     86.     05.30.2019     05.12.2019 CCL                                                                                                                                                                                          In Progress
                                                     Pride          food items were removed, avoiding a potential discharge overboard. An entry
                                                                    was made in the Garbage Record Book and NAPA eLog. The cause of the non-
                                                                    compliance was determined to be lack of attention while separating the food
                                                                    waste. As a preventive measure, the ship will ensure better food waste separation
                                                                    from the crewmembers doing the final check of the food waste.
                                                                    During a visual inspection of the processed food waste shredder in the Recycling      The Tiger Teams will be evaluating sorting issues and develop best
                                                                    Center, a plastic bag was found in the tank and immediately removed. The root         practices to address fleetwide challenges.
                                                                    cause was a lack of oversight during processing of food wastes through the
                                         Costa
     87.     05.30.2019     05.13.2019               AIDAdiva       involved systems. There is little risk of a MARPOL violation with respect to                                                                                    In Progress
                                         Group
                                                                    overboard discharge because all food waste is dried and discharged to a port
                                                                    reception facility. As a preventive measure, ship management proposed to assess
                                                                    an automatic system to detect non-food items in the food waste system.

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                                                               Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 59 of
                                                                                                               100
                                                                              United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                       September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                                        Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                                  Analysis Summary and Action Plan                            Action Plan
                                                                    The remains of a shredded plastic garbage bin liner (as used in sculleries to collect                 The Tiger Teams will be evaluating sorting issues and develop best
                                                                    non-pulpable food waste, such as eggs shells, coffee grounds, etc.) were found in                     practices to address fleetwide challenges.
                                                                    both dewatering units by the Waste Disposal Supervisor during a routine weekly
                                                                    internal inspection. This is the first plastic item found in any stage of the food
                                                                    waste processing equipment after comprehensive checks during the past week,
                                                                    including daily checks of all bins. The shredded plastic garbage bag liner was
                                                     Queen
     88.     05.30.2019     05.04.2019 CUK                          removed for incineration. Food waste discharge has been suspended until the                                                                                                       In Progress
                                                     Elizabeth
                                                                    food waste tanks are internally checked. Supervisors will maintain 15 minute
                                                                    checks of pulpers and food waste bins as per the company Operational Directive
                                                                    02-2019. A specific brief by the EO at the main Food & Beverage morning
                                                                    muster was conducted. Daily visual inspections of the de-watering units were
                                                                    implemented, and confirmation by the EO is required before overnight food waste
                                                                    discharge is allowed.
                                                                    On 19 April, the forward Oily Water Separator (OWS) Oil Content Meter (OCM)                           There is no decision at present on whether to add coolers to the critical
                                                                    was being cleaned when the EOOW noticed some water was overflowing from                               spares list. Incidents of this nature are to be further monitored.
                                                                    the sample tube, indicating an issue with the unit. An investigation determined
                                                                    that the cooler had split allowing chill water to flow into the sample side of the
                                                                    cooler when not in operation. The unit was put out of service until spares were
                                                                    received onboard. On the 25 April, while the ship was underway from
                                                                    Southampton to La Coruna, a leak was observed on the aft OWS OCM Cooler
                                                                    indicating an issue with the unit. The ship had reduced capacity for bilge
     89.     06.09.2019*    04.25.2019 CUK           Aurora         processing and a lack of redundancy, which increased the number of offloads                                                                                                       In Progress
                                                                    ashore. A request was raised for urgent delivery of spares. The ship's crew
                                                                    managed to stem the leak on the aft cooler on 27 April and the aft COWS were
                                                                    returned to service. Spare coolers arrived on 02 May and the forward COWS was
                                                                    put back in service on 07 May. The aft OWS cooler was also replaced as a
                                                                    precautionary action. Relevant records were made in the Oil Record Book. A
                                                                    cooler will be landed on 13 May for failure analysis. The COWS coolers are
                                                                    currently not on the critical spares list. These may be added to the critical spares
                                                                    if deemed a high risk component failure.
                                                                    During operation of the incinerator, the electrical motor of the burner unit failed.                  Estimated delivery of the spares is May 25, 2019. The incinerator
                                                     Carnival
     90.     06.09.2019*    04.04.2019 CCL                          Due to no spare on board, the incinerator has been put out of service. Repairs will                   remains out of service.                                           In Progress
                                                     Ecstasy
                                                                    commence after a spare part is received. There was no operational impact.
                                                                    While the ship was alongside, the Bridge requested a second engine and bow                            The ship's staff continue to review options with the ship manager.
                                                                    thrusters. Soon after, the ship experienced high water levels in the forward boiler.
                                                                    The boiler was blown down for three minutes to confirm safe water levels. This
     91.     06.09.2019*    05.03.2019 CUK           Ventura        is a violation of Company requirements. The ship will monitor the water level.                                                                                                    In Progress
                                                                    The ship does not have the facility to blow down to an internal tank and an
                                                                    engineering solution to allow the control of this water without overboard
                                                                    discharge would be a complex modification.
                                                                    While the ship was alongside in Key West, Florida, the ship was using an Advanced Air Quality         During future voyages in the port of Key West, the ship will use only
                                                                    System (AAQS) with a filtrex filter on one of its diesel generators. The port of Key West and the     compliant fuel with the AAQS off. A survey was conducted across the
                                                                    area up to two nautical miles south of the Key West sea buoy is considered part of the Florida Keys
                                                     Carnival       National Marine Sanctuary (FKNMS) and, as per worldwide matrix ENV 1001 requirement, the              company fleet and it was determined that all ships are currently
     92.     06.09.2019*    04.23.2019 CCL                                                                                                                                                                                                      In Progress
                                                     Victory        use of AAQS is prohibited. From 26 February 2019 and in two previous calls back in 2018, the          respecting all special areas, marine sanctuaries, PSSA and ATBA for
                                                                    AAQS was used for the inbound and outbound transit as well as for the stay in the port of Key West.   any applicable environmental discharge restrictions. Lessons learned
                                                                    Deck and engine officers were informed, the issue was discussed in the Captain’s meeting and the      were discussed during the Environmental conference call with all


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Items without an asterisk previously appeared and are either in progress or pending verification.                                               58
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 60 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                         Description of Incident                                                                Analysis Summary and Action Plan                        Action Plan
                                                                    Environmental Schedule was amended with the correct FKNMS restrictions. This violation was              company ships on 24 April. It was also discussed during the EO bi-
                                                                    discussed in the Voyage overview meeting held on board. During future voyages in the port of Key        weekly call to highlight the EOs’ role in the voyage planning process.
                                                                    West, the ship will use only compliant fuel with the AAQS off. This incident was reported to the
                                                                    USCG Sector Key West and the NOAA FKNMS representative. The NOAA FKNMS                                  During the next scheduled EO call on 16 May 16 2019, voyage planning
                                                                    representative advised that AAQS use is allowed in the NMS, however the company’s decision is           will be the primary subject of discussion and all EO’s will share best
                                                                    to continue with the restrictions indicated in the Matrix. It was concluded that this incident was in   practices. Furthermore, lessons learned will be sent to the fleet,
                                                                    violation of company procedures. An investigation was conducted and the cause was identified as         highlighting the importance of correctly identifying boundaries of NMS,
                                                                    a failure to correctly identify the boundaries of the FKNMS on the Nautical Charts due to officers'
                                                                    lack of knowledge on how to differentiate between boundaries of “Particular Sensitive Sea Area”
                                                                                                                                                                            PSSA, ATBAs and other special areas and the EO’s role in voyage
                                                                    (PSSA), “Areas To Be Avoided (ATBA)” and the “FKNMS". Further, the EO did not use the                   planning. A number of additional recommendations are also being
                                                                    coordinates provided in ENV-1001-F1 as a reference to review and verify with the Voyage Planning        evaluated. Recommendations have not been finalized.
                                                                    Officer that the boundaries of the NMS were correctly identified on the ECDIS. A survey was
                                                                    conducted across the company fleet and it was determined that all ships are currently respecting all
                                                                    special areas, marine sanctuaries, PSSA and ATBA for any applicable environmental discharge
                                                                    restrictions. Lessons learned were discussed during the Environmental conference call with all
                                                                    company ships on 24 April. It was also discussed during the EO bi-weekly call to highlight the
                                                                    EOs’ role in the voyage planning process. During the next scheduled EO call on 16 May 16 2019,
                                                                    voyage planning will be the primary subject of discussion and all EO’s will share best practices.
                                                                    Furthermore, lessons learned will be sent to the fleet, highlighting the importance of correctly
                                                                    identifying boundaries of NMS, PSSA, ATBAs and other special areas and the EO’s role in voyage
                                                                    planning. A number of additional recommendations are also being evaluated.
                                                                    While underway to Aomori, Japan during discharge of bilge overboard, the flow                           Pressure regulators were inspected and a spring was found broken. The
                                                                    started to fluctuate which caused opening/closing of the three-way valve. The                           spring was replaced with a new one.
                                                                    BCDB was opened and inspected, strainer was cleaned and was found in good
                                                     Seabourn
     93.     06.20.2019*    05.18.2019 HA Group                     order. Pressure regulators were inspected and a spring was found broken. The                                                                                                      Complete
                                                     Sojourn
                                                                    spring was replaced with a new one. The ship was unable to process bilge water
                                                                    overboard until the BCDB was tested on 21 May once outside 12NM from the
                                                                    baseline. OLCM was informed and an entry was made in the Oil Record Book.
                                                                    An OWS is out of order due to a leakage in the proportional pressure valve (PPV),                       Repairs are complete.
                                                                    resulting in the system not being able to deliver correct pressure to one of the
                                                                    three-way valves. The other oily water separator was in service and there was no
                                                                    operational impact. Repairs will be completed once spare parts arrive onboard.
                                                     Carnival       The oily water separator has been out of service since 15 May. As a preventive
     94.     06.20.2019*    05.15.2019 CCL                                                                                                                                                                                                            Complete
                                                     Sensation      action a technician will be attending the ship to investigate the cause of the
                                                                    breakdown, as this is not the first time this has happened with this particular part.
                                                                    Additional spare PPVs were ordered. This item is not in stock in the USA and
                                                                    will be shipped via air freight from Sweden. An entry was made in the Oil record
                                                                    book.
                                                                    During a routine check, it was noted that the BCDB data records had a gap of                            A remote service was completed on 21 May and the system was put
                                                                    about five hours and two other failure alarms were exhibited later on the same                          back in service.
                                                                    day. A comparison among the previous and following flow meter readings
                                         Costa                      showed evidence that no overboard discharge was conducted. A service will be
     95.     06.20.2019*    05.13.2019               AIDAdiva                                                                                                                                                                                         Complete
                                         Group                      arranged. An entry was made in the ORB. The BCDB was taken out of service
                                                                    and bilge water will be offloaded to port reception facilities until the issue is
                                                                    resolved. A remote service was completed on 21 May and the system was put
                                                                    back in service. The system was out of service for eight days.
                                                                    While trying to discharge with the Marinfloc oily water separator overboard, the                        As there was no spare onboard, the memory card was replaced with a
                                                     Carnival       ship received a error alarm indicating a no / full memory card on the Oil Content                       new one on 24 April while alongside in Barbados.
     96.     06.20.2019*    04.23.2019 CCL                                                                                                                                                                                                            Complete
                                                     Fascination    Meter (OCM). As there was no spare onboard, the memory card was replaced
                                                                    with a new one on 24 April while alongside in Barbados. In the meantime, the

Please note: An asterisk next to an item indicates that it did not appear on the previous quarterly tracking spreadsheet.
Items without an asterisk previously appeared and are either in progress or pending verification.                                                 59
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 61 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                  Analysis Summary and Action Plan                           Action Plan
                                                                    RWO oily water separator was put in service. An Oil Record Book entry was
                                                                    made.
                                                                    While the ship was underway towards Ponta Delgada, Azores, the Centrifugal             With guidance from shoreside technicians, the issue was resolved and
                                                                    Oily Water Separator (COWS) was taken out of service due to an automatic shut          the COWS is now back in service.
                                                                    off valve issue. The automatic shut off valve did not change over from
                                                                    "overboard" position to "recirculation". The valve changed over from
                                                     Crown          "overboard" position to "recirculation" mode only if the flushing mode was
     97.     06.20.2019*    04.21.2019 HA Group                                                                                                                                                                                      Complete
                                                     Princess       activated from the COWS PLC. The COWS is used only for internal transfer and
                                                                    recirculation, not for overboard discharges. The overboard discharges are
                                                                    performed by the Static OWS. With guidance from shoreside technicians, the
                                                                    issue was resolved and the COWS is now back in service. An entry was made in
                                                                    the Oil Record Book.
                                                                    While the ship was alongside in Singapore, a manufacturer's service was                The manufacturer was contacted and a remote repair plan was developed
                                                                    completed to upgrade an OCM to an OMD24. Following departure from the port,            using a temporary password. This was valid for one hour allowing for
                                                                    it was noted that the system reading was -0.6 PPM. Shortly after an error alarm        the reinstallation of the old BCDB. This repair plan was approved by
                                                     Seabourn       was displayed on the screen. The BCDB was not in use at the time. An entry was         the OLCM. The system was tested and back in service.
     98.     06.20.2019*    04.10.2019 HA Group                                                                                                                                                                                      Complete
                                                     Sojourn        made in the Oil Record Book. The manufacturer was contacted and a remote
                                                                    repair plan was developed using a temporary password. This was valid for one
                                                                    hour allowing for the reinstallation of the old BCDB. This repair plan was
                                                                    approved by the OLCM. The system was tested and back in service.
                                                                    While operating the Oily Water Separator (OWS) in recirculation mode from              A new heat exchanger is expected to be delivered to the ship on July 2,
                                                                    Clean Bilge Tank to Clean Bilge Tank, a leak was detected from the external            2019.
                                                                    cover of the heat exchanger. The OWS was stopped and put out of service. The
                                                                    cover was removed and, upon inspection, a five millimeter hole was noted on the
                                                     Carnival       body of the heat exchanger. The incident did not affect bilge water processing
     99.     06.20.2019*    04.04.2019 CCL                                                                                                                                                                                           In Progress
                                                     Conquest       operations because the ship is equipped with two centrifugal OWS. The heat
                                                                    exchanger was removed and repaired by welding a patch to cover the hole. A
                                                                    pressure test was also carried out. After repair, the OWS was put back in service
                                                                    the next day. All required entries were made in the Oil Record Book. As a
                                                                    preventive measure, a requisition for a new heat exchanger was issued.
                                                                    During the wash cleaning of the AAQS towers, the touch panel in the ECR was            The system was rebooted but the error continued.         The network
                                                     Carnival       in alarm due to a communication error. The system was rebooted but the error           communication fault was not resolved until 19 May.
     100.    06.20.2019*    05.16.2019 CCL                                                                                                                                                                                           Complete
                                                     Victory        continued. The network communication fault was not resolved until 19 May. The
                                                                    ship was unable to run the AAQS System during the time it was down.
                                                                    The shredder unit on an incinerator was put out of service due to a faulty cutters     Repairs to the shaft are complete.
                                                                    shaft. The incinerator is still operational however the capacity is reduced as only
                                                                    the manual feed is available. A report has been submitted and a purchase order
                                                     Emerald        for new parts has been raised however, delivery dates are unknown as it is unique
     101.    06.20.2019*    05.13.2019 HA Group                                                                                                                                                                                      Complete
                                                     Princess       part. Due to the unknown delivery date, the ship has requested assistance from
                                                                    the shore side workshop. The intention is to off-load the shaft for repairs in Genoa
                                                                    on 23 May. If repairs are successful, the ship’s crew will assemble the cutters and
                                                                    return shredding equipment back in service by 01 June.
                                                                    While underway towards Victoria, Canada, the ship suffered a failure of the            The ship worked with Shoreside Technical to restore the correct
                                                     Grand          incinerator. While attempting to restart the incinerator, an automatic stop was        parameters with assistance from the manufacturer. The incinerator was
     102.    06.20.2019*    05.13.2019 HA Group                                                                                                                                                                                     Complete
                                                     Princess       activated from the relative automation control. An internal review revealed that       put out of service and waste was offload in Victoria, Canada, on 14 May,
                                                                    it was not possible to restore the original parameters in the control system. The      and was repaired on 15 May.

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Items without an asterisk previously appeared and are either in progress or pending verification.                                   60
                                                               Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 62 of
                                                                                                               100
                                                                              United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                       September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                               Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                       Analysis Summary and Action Plan                               Action Plan
                                                                    ship worked with Shoreside Technical to restore the correct parameters with
                                                                    assistance from the manufacturer. The incinerator was put out of service and
                                                                    waste was offload in Victoria, Canada, on 14 May, and was repaired on 15 May.
                                                                    While alongside in Juneau, AK, during routine maintenance on the open decks,              Review and updates to MAR 141 are underway. An update is expected
                                                                    some paint chips fell into the water. The incident was observed by Juneau CBP             July 8, 2019. Update: HA Group published the updates to MAR 141.
                                                                    Port officer and the Ocean Ranger who were present during the event. The
                                                                    supervisor on scene immediately stopped the job and informed the EO. Further
                                                                    investigations revealed that the incident occurred as the supervisor on scene did
                                                                    not adequately anticipate the change in weather. This accidental loss is a violation
                                                                    of MARPOL Annex V and the Vessel General Permit. To avoid a similar
                                                                    incident, training was conducted with the supervisor and the deck department to
                                                     Golden         highlight the need to assess the risk of the maintenance task, consider all external
     103.    06.20.2019*    05.21.2019 HA Group                                                                                                                                                                                               Complete
                                                     Princess       factors and possible consequences. Additionally, officers of the watch were
                                                                    instructed to assist the deck department to review weather changes, anticipate
                                                                    issues and keep the deck supervisor informed. To ensure fleet wide compliance,
                                                                    the shoreside Marine Department will review and update the current deck in-port
                                                                    maintenance procedures with a target completion date in three weeks (21 June).
                                                                    The Port Agent and local authority were notified and an entry was made in the
                                                                    Garbage Record Book. EPA (VGP violation) and ADEC was notified and a
                                                                    corrective action report will be submitted as required by ADEC. A notification
                                                                    was also made to USCG Sector Juneau informing them the EPA has been notified.
                                                                    During oily sludge offload to a truck in Copenhagen, Denmark, a connecting hose           The ship's crew contained the sludge on the water with booms and
                                                                    between two tanks of the shoreside truck failed, causing approximately 200 liters         started to clean up the ship's hull and pier with oil spill granulate and oil
                                                                    of sludge to spill onto the pier, the ships hull, the truck and into the water. The       spill pads. The local fire brigade supported with oil spill granulate and
                                                                    ship immediately stopped the discharge pump, closed the manifold, informed the            another truck arrived to vacuum the sludge on the water surface. As a
                                                                    Bridge and started to contain the spill with the oil spill equipment located in the       preventative action, the Ship reported the event to the Port Agent in
                                                                    bunker station. Crew were mobilized to proceed to the pier with the SOPEP                 order to enhance the awareness of the sludge removal company.
                                                                    equipment. The Captain informed the authorities and requested support from the
                                                                    local fire brigade. The ship's crew contained the sludge on the water with booms
                                                                    and started to clean up the ship's hull and pier with oil spill granulate and oil spill
                                         Costa
     104.    06.20.2019*    05.13.2019               AIDAluna       pads. The spill was a result of a failure of a connecting hose between the truck's                                                                                        Complete
                                         Group
                                                                    two tanks made by the external contractor. There was no failure of any ships
                                                                    equipment/arrangements. The truck driver was brought to the ship's hospital for
                                                                    a check up, because he had some of the sludge on his clothes and body. The local
                                                                    fire brigade supported with oil spill granulate and another truck arrived to vacuum
                                                                    the sludge on the water surface. As a preventative action, the Ship reported the
                                                                    event to the Port Agent in order to enhance the awareness of the sludge removal
                                                                    company. The external contractor is selected by local authorities as per EU
                                                                    Directive. The port operations team is in discussions with the authorities via the
                                                                    local agent in order to avoid recurrence.
                                                                    While the ship was alongside in Olden, Norway, an oily sheen of an unknown                Divers attended the port Azipod in Copenhagen on May 29, 2019. The
                                                                    origin was sighted around the port quarter of the ship. It was confirmed that there       divers did not observe EAL leaking from the pod seal during the
                                                                    was no oil loss from the azipod oil to sea interface. The port agent was informed         inspection, however, various thicknesses of fishing line were removed
     105.    06.20.2019*    05.13.2019 CUK           Arcadia                                                                                                                                                                          In Progress
                                                                    of the sheen. Divers inspected both azipod’s to determine the source of the oily          from the seal. The total length of line removed measured in the tens of
                                                                    sheen. When the divers went under the port azipod and blew air inside, oil was            meters. Approximately 1 liter of EAL was recorded as lost between May
                                                                    pushed out of the top of the pod via an inspection hole. Approximately three              29 and May 30. The pod will continue to be monitored to determine if


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Items without an asterisk previously appeared and are either in progress or pending verification.                                      61
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 63 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                         Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                   Analysis Summary and Action Plan                            Action Plan
                                                                    meters of fishing line was found to be inside the seals which likely caused the        the removal of the line has stopped the external leak or if another visit
                                                                    external leak. The fishing line was removed and the sheen on the water dissipated.     by divers is required.
                                                                    The starboard azipod was also inspected and no oil or fishing line was identified.
                                                                    Approximately one liter of environmentally accepted lubricant (EAL) was lost at
                                                                    sea. Another underwater inspection undertaken on 14 May confirmed EAL was
                                                                    continuing to leak from the port azipod. Divers recovered two separate fishing
                                                                    lines. An additional 10 liters of EAL was lost over the next 24 hours. The ship
                                                                    has arranged for divers to inspect the pods on 22 May. The port authority was
                                                                    notified of the MARPOL Annex I violation via the local agent and an entry was
                                                                    made in the Oil Record Book. Manufacturer guidance has been requested.
                                                                    Investigations are ongoing.
                                                                    While the ship was in Glacier Bay, Alaska, the starboard side spa Jacuzzi was          The cause was improper setting of the automatic timers. They are now
                                                                    found empty. A review revealed that the dumping timer was not properly locked,         on manual settings and will be locked out. Key switches have been
                                                                    allowing the automatic dumping system of the Jacuzzi to dump approximately 2.3         installed on three ships already and eight ships will have manual drain
                                                                    cubic meters of recreational water into the sea, in violation of Company Policy        valves installed on all timer control ships by 31 May 2019.
                                                                    and EPA Violation VGP Section 5.1.1.2 . A self-report was made with
                                                                    notifications to ADEC, USCG-Juneau, National Parks Service and the EPA. The
                                                     Ruby
     106.    06.20.2019*    04.30.2019 HA Group                     cause was improper setting of the automatic timers. They are now on manual                                                                                         Complete
                                                     Princess
                                                                    settings and will be locked out. Key switches have been installed on three ships
                                                                    already and eight ships will have manual drain valves installed on all timer control
                                                                    ships by 31 May 2019. The shoreside technical team is looking at changing
                                                                    piping so that Recreational Water Facilities will go to in-board discharges. This
                                                                    investigation will be completed by January 2020. An entry was made in the
                                                                    NAPA log book.
                                                                    While the ship was underway towards Praia di Vitoria, Azores, the crew galley          The tank has been cleaned. The root cause confirmed to be lack of
                                                                    drain tank was inspected, and a thin film of cooking oil was found on top of the       training and procedures pertaining to the tilt pan. A one-time training
                                                                    tank contents. The cooking oil entered the tank as a result of improper cleaning       was given to all galley personnel by the Sanitation Officer and EO
                                                                    and improper disposal of used oil. The tank was immediately isolated. The tank         regarding the grease trap and tilt pan to prevent reoccurrence. The
                                                                    capacity is approximately 37 cubic meters, with the pump stopping at a level with      company will continue to address food waste issues via the Tiger Team
                                                                    approximately 15 cubic meters remaining in the tank. Due to the cooking oil            review that will be conducted in the coming months.
                                                                    being lighter than water and the tank discharge was stopped at mid-level, no
     107.    06.20.2019*    04.25.2019 HA Group      Zuiderdam                                                                                                                                                                         In Progress
                                                                    cooking oil was discharged overboard, therefore no MARPOL violation occurred.
                                                                    An inspection of the grease separator was conducted on 01 April with little to no
                                                                    oil/grease found. The tank contents will be offloaded ashore, and the tank will be
                                                                    cleaned. To avoid recurrence, the galley crewmembers were instructed not to
                                                                    discharge cooking oil down the galley drains. A level-two investigation is
                                                                    underway regarding this near miss. Future preventative actions will be addressed
                                                                    during the investigation.
                                                                    The Engine team discovered that the drain filter on the galley grease separator in     Non-food items continue to appear during sorting. The Tiger Teams
                                                                    the engine room was completely clogged with food debris and plastic. The source        will be evaluating sorting issues and develop best practices to address
                                                                    of plastic was from the Deck 0 drainage line. Further investigations revealed that     fleetwide challenges.
                                                     Carnival       the crew working in the provision stores had removed the floor filter covers while
     108.    06.20.2019*    04.20.2019 CCL                                                                                                                                                                                             In Progress
                                                     Vista          washing the floor. The plastic was removed and disposed of correctly. The crew
                                                                    members were instructed about the importance of keeping the floor filters covers
                                                                    in position at all times. Spot welding was also conducted on the drainage filter
                                                                    covers. A Garbage Record Book entry was not required.


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   62
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 64 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                           Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                   Analysis Summary and Action Plan                              Action Plan
                                                                    Results were received from an earlier Alaska in-port sampling, which indicated         Incident Analysis Group report is pending. In the meantime, a Zenon
                                                                    an elevated level of Fecal Coliforms (100 FC /100 ml, exceeding the daily ADEC         technician inspected the unit, but could not pinpoint a source of this high
                                                                    limit of 40 FC /100 ml). At this time it is unknown if the monthly geometric mean      count. The whole system is operating as designed. It is therefore
                                                                    limit will be exceeded as a result of this sampling event. Upon receiving the          suspected that the exceedance was due to the sample was not properly
                                                                    results, the ship was instructed to cease permeate discharges in Alaska waters and     obtained, dirty sample bottles, or the samples were not properly cooled
                                                                    discharge permeate at a distance greater than 12 nautical miles from shore with a      down during the flight to the lab.
                                                                    speed greater than six knots in Western Canada waters as per the Pollution
                                                                    Prevention Guidelines for the Operation of Cruise Ships under Canadian
                                                                    Jurisdiction. Prior to this failed external sampling event, the ship conducted an
                                                                    EPA approved Colilert sampling showing compliance. Initially the failed
                                                                    sampling was believed to be due to human error due to a partially opened valve.
     109.    06.20.2019*    05.23.2019 HA Group      Maasdam                                                                                                                                                                             In Progress
                                                                    The ship's Service Provider was engaged to help with additional troubleshooting
                                                                    and various maintenance actions were taken. The ship was resampled on 28 May
                                                                    in San Francisco by Admiralty. The results (received 5/30) were within limits.
                                                                    Based on this resampling result, the ship will resume discharge in AK State waters
                                                                    as per their authorization. To prevent recurrence, all technical crew have been
                                                                    instructed and trained that handling of Zenon valves can only be done with the
                                                                    instructions of the Zenon Engineer. A Zenon technical representative will be
                                                                    onboard the ship from 01 June - 06 June for additional assessment. ADEC, USCG
                                                                    Sector Juneau and Transport Canada have been notified. A non-compliance
                                                                    notification form will be sent to ADEC. The incident analysis team will
                                                                    investigate the event.
                                                                    While alongside in Skagway, AK, a metal plate from the aft mooring roller fell         The crewmembers placed indicator marks on the location of the locking
                                                                    into the water. Due to the pier construction, the aft mooring deck was below the       plates to prevent reoccurrence.
                                                                    working level and all lines led upwards and angled around the top part of the roller
                                                                    where the locking plates are situated. At the time of the incident, the ship’s
                                                                    mooring winches were operating in “auto tension” mode to maintain a constant
                                                                    strain on the lines. The tension of the line against the locking plate caused the
                                                                    securing bolts of the metal plate of the outboard mooring roller to fail. The
                                                                    estimated weight of the metal plate is approximately one to two kilograms and it
                                                     Royal          was coated with some bearing grease. This accidental loss is a violation of
     110.    06.20.2019*    05.21.2019 HA Group                                                                                                                                                                                          Complete
                                                     Princess       MARPOL Annex V and an ADEC violation. The Port Agent and ADEC were
                                                                    notified. As the roller had grease on it, an NRC notification was made. An entry
                                                                    was made in the Garbage Record Book. To prevent reoccurrence, the ship will
                                                                    place indicator marks on the location of the locking plates in relation to the lead
                                                                    of the roller fairlead. When possible, the ship will avoid using roller leads that
                                                                    have a locking plate in the direction of the lead when lines lead upwards to the
                                                                    dock. If this cannot be avoided, the auto tension will be set to a lower figure to
                                                                    reduce the strain against the locking plate. This is also reported as a Solid
                                                                    Discharge (non-food).
                                                                    While the ship was enroute towards Sydney, Nova Scotia, Canada, approximately          To prevent recurrence, the Captain conducted training with the involved
                                                                    12.4 cubic meters of treated bilge water was discharged outside 12 nautical miles      officers on ENV 5/19. The training highlighted how to follow the ENV
                                                                    from land versus from the baseline. The treated bilge water had been through the       Schedule, use of the ECDIS, how to properly query ENCs, note and
     111.    06.20.2019*    05.20.2019 HA Group      Zaandam                                                                                                                                                                       Complete
                                                                    OWS, OCM and white box with ppm below 15 ppm before being discharged.                  understand navigational indicators and maintain full situational
                                                                    The discharge was in line with the Canadian regulations TP14202E as well as            awareness. Additionally, the ship conducts daily voyage overview
                                                                    ENV-1001-F1, ENV-1201,DER-2002 requirements and not in violation of                    briefings for each leg of the voyage with all watchstanders.


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   63
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 65 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                     Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                  Analysis Summary and Action Plan                          Action Plan
                                                                    MARPOL Annex I. It was in violation of IN ENV/05/19. During the Officer of
                                                                    the Watch handover, the mistake was recognized, the ECR was informed and the
                                                                    overboard discharge was stopped. There was no MARPOL violation, however,
                                                                    this is against Company Policy. No ORB entry was required. To prevent
                                                                    recurrence, the Captain conducted training with the involved officers on ENV
                                                                    5/19. The training highlighted how to follow the ENV Schedule, use of the
                                                                    ECDIS, how to properly query ENCs, note and understand navigational indicators
                                                                    and maintain full situational awareness. Additionally, the ship conducts daily
                                                                    voyage overview briefings for each leg of the voyage with all watchstanders.
                                                                    While alongside in Falmouth, England, approximately 1.3 cubic meters of pool          The flexible hose connection was fixed and the supply hose reattached.
                                                                    water was discharged in the port in violation of Company policy due to a leaking      To prevent recurrence, the shipboard technical crew rerouted the
                                                                    supply hose from the forward Jacuzzi. An internal review revealed that the            scupper to drain into the greywater system and not overboard.
                                                                    discharge occurred due to a flexible supply hose that was loose and the water from
                                                                    the leaking hose ran to the deck scupper which led overboard. The cause of the
                                                     Seabourn
     112.    06.20.2019*    05.09.2019 HA Group                     event is suspected to have been a blocked nozzle by someone using the Jacuzzi                                                                                  Complete
                                                     Quest
                                                                    which consequently increased the pressure while the massage jet system was
                                                                    running. The flexible hose connection was fixed and the supply hose reattached.
                                                                    To prevent recurrence, the shipboard technical crew rerouted the scupper to drain
                                                                    into the greywater system and not overboard. An entry has been made in the Napa
                                                                    logbook. The port agent and Port Authorities were informed.
                                                                    While the ship was underway, during sampling in accordance with the Alaska            The Chief Engineer has begun the review of all maintenance procedures
                                                                    Department of Environmental Conservation, the ship exceeded the Fecal                 and development of improved and standardized operating procedures.
                                                                    Coliform (FC) limits for the ADEC Large Cruise Ship General Permit discharge          An update on the project is expected in three months.
                                                                    requirements. The sample was over 600 FC/100 ml, with the daily ADEC limit
                                                                    being 40 FC/100ml. Preliminary sample results were received the next day and
                                                                    before the official results were received the ship was instructed not to discharge.
                                                                    A self-report was made to ADEC and USCG Sector Juneau. The root cause was
                                                                    damage to and contamination of the MBR membranes. The sample also exceeded
                                                                    the FC Monthly Geometric Mean for the ADEC Discharge Permit limit which has
                                                                    a monthly limit of 14 FC/ 100 ml. The membranes were repaired, sanitized, and
                                                                    the ship was sampled again with sample results still exceeding FC limits. The
                                                                    failed membranes were replaced and subsequent sampling by external party
                                                     Island         showed that FC are within normal limits. The ship is now discharging as per their
     113.    06.20.2019*    05.04.2019 HA Group                                                                                                                                                                                    In Progress
                                                     Princess       ADEC and USCG authorization. There are differences in the results between
                                                                    internal and external testing due to the differences in the two methods. The
                                                                    methods used onboard for detection of FC is Colilert, which is an enzyme method.
                                                                    The operating line have given previous examples when enzymes fail to detect FC
                                                                    issues due to reactions with chemicals in the effluent. However, external testing
                                                                    by Admiralty under the Alaska permit is done in line with the AK approved EPA
                                                                    testing method which is the SM 9222 and 9223 series. These methods are based
                                                                    on filtration and are more accurate, but cannot be done onboard due to the
                                                                    complexity of the testing. There will be an ABG coordinated Alaska Sampling
                                                                    alignment call on 03 June to discuss improvements to sampling protocols. An
                                                                    experienced Chief Engineer has been assigned to the shoreside team to review all
                                                                    maintenance procedures and develop improved and standardized operating
                                                                    procedures. Once confirmed and as required by the permit, there is a requirement


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   64
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 66 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                        Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                  Analysis Summary and Action Plan                            Action Plan
                                                                    to report any exceeded internal samples to ADEC. The incident analysis team
                                                                    will investigate the event.
                                                                    While inspecting and cleaning a grey water filter line, the on board technical team    The inventory of missing drain bells, covers, and screws was carried out
                                                                    found plastic and other inorganic materials trapped in the filter. It is suspected     and a Consumables Requisition was generated. As a preventative action
                                                                    that the inorganic materials came from the Lido and main galley aft deck drains.       tamper proof screws are being adopted fleetwide.
                                                                    All inorganic materials were removed from filters and properly disposed of. The
                                                                    responsible departments were informed accordingly. On further investigation, the
                                                                    root cause of the non-compliance was determined to be that drain bells and cover
                                                     Carnival
     114.    06.20.2019*    05.31.2019 CCL                          screws are missing, and the ship is waiting for spare parts. Further, the root cause                                                                              Complete
                                                     Magic
                                                                    can be attributed to new crewmember sign on and crewmember negligence. The
                                                                    inorganic materials found in the grey water filter were disposed in appropriate
                                                                    bins and recorded in the Garbage Record Book and Napa eLog. The inventory of
                                                                    missing drain bells, covers, and screws was carried out and a Consumables
                                                                    Requisition was generated. As a preventative action tamper proof screws are
                                                                    being adopted fleetwide.
                                                                    During the weekly inspection, plastic items, including small pieces of plastic and     On June 13th all drain covers were secured. The installation of eighteen
                                                                    a glow stick, were found in the grease trap. All the items were removed from the       drain bells is pending.
                                                                    grease trap and properly disposed of. The responsible department was informed
                                                                    accordingly. An entry was made in the Garbage Record Book and NAPA eLog.
                                                     Carnival
     115.    06.20.2019*    05.30.2019 CCL                          On further investigation the root cause of the non-compliance was determined to                                                                                   In Progress
                                                     Vista
                                                                    be removal of drain covers while cleaning due to missing screws. An order has
                                                                    been placed for all the missing drain bells and screws for drain covers by the Staff
                                                                    Chief Engineer. The responsible departments were informed to increase the
                                                                    supervision in their areas.
                                                                    During the inspection, a few non-food items were noticed inside a Main galley          Non-food items were removed and the grease trap was cleaned before
                                                                    grease trap including a plastic bag and candy cover. Other grease traps were           being put back in service. As a preventive measure, a requisition is in
                                                                    found in good condition. There is no proof that any non-food items went                place to order missing galley drain bells and covers.
                                                     Carnival       overboard, but as a precaution an entry was made in the Garbage Record Book.
     116.    06.20.2019*    05.29.2019 CCL                                                                                                                                                                                            Complete
                                                     Valor          Non-food items were removed and the grease trap was cleaned before being put
                                                                    back in service. As a preventive measure, a requisition is in place to order missing
                                                                    galley drain bells and covers. These are expected to arrive soon. Food Operation
                                                                    staff will be retrained regarding Workplace environmental training (TRG-2308).
                                                                    Non-food items, including a piece of plastic, a few pieces of broken china and a       As a preventive measure, the ship will prioritize better food waste
                                                                    few metal items were observed in the food waste tanks. The non-food items were         separation from the crew members doing the final check of the food
                                                                    removed from the food waste tank and properly disposed of. The Food                    waste.
                                                                    Department was informed accordingly. An entry was made in the Garbage
                                                     Carnival       Record Book and NAPA eLog. On further investigation, the root cause of the
     117.    06.20.2019*    05.28.2019 CCL                                                                                                                                                                                            Complete
                                                     Pride          non-compliance was determined to be lack of attention while separating food
                                                                    waste and lack of attention from the crew feeding the pulper system during final
                                                                    checks of the food waste. As a preventive measure, the ship will prioritize better
                                                                    food waste separation from the crew members doing the final check of the food
                                                                    waste.
                                                                    During an inspection of all Galley Grey Water Tanks, several non-food items            As a preventive action, an urgent Purchase Order was raised for missing
                                                     Grand          were found floating on the surface of Galley Grey Water Tank # 15, including           screws, bells and drain covers. The Galley Staff were instructed on the
     118.    06.20.2019*    05.28.2019 HA Group                                                                                                                                                                                    Complete
                                                     Princess       plastic wrappers, food label control stickers and bottle caps. The items were          importance of not putting any items down these drains at any time. The
                                                                    removed from the tank. The tank was drained to observe if any additional non-          additional supervision requirements and focus on proper segregation

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 67 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                   Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                 Analysis Summary and Action Plan                        Action Plan
                                                                    food items were found at the base of the tank. These non-food waste items are        and proper non-food waste disposal per ENV 07/19 implementation will
                                                                    being washed down from the deck drains inside the galleys as the cleaning crew       also prevent recurrence.
                                                                    is removing the covers from the deck drains. As a preventive action, an urgent
                                                                    Purchase Order was raised for missing screws, bells and drain covers. The Galley
                                                                    Staff were instructed on the importance of not putting any items down these drains
                                                                    at any time. The additional supervision requirements and focus on proper
                                                                    segregation and proper non-food waste disposal per ENV 07/19 implementation
                                                                    will also prevent recurrence. An entry was made in the Food Waste Disposal Log
                                                                    required by ENV 07/19.
                                                                    While the ship was underway from Ketchikan, Alaska to Victoria, Canada, and          Preventive actions include increased supervision, logging and focusing
                                                                    transiting outside 12 nautical mile limits, the Environmental Supervisor and the     on segregation at the source as outlined in Food Waste Instructional
                                                                    Environmental Technician reported that after the discharge overboard of Food         Notice - IN ENV/7/2019.
                                                                    Waste Tanks #1 and #2, a further inspection in the internal bottom of the tanks
                                                                    was made, and non-food items (i.e. a piece of yellow guest pool towel, plastic,
                                                                    and silver) were found inside Food Waste Tank #1. The non-food items were
                                                                    removed, and properly disposed of thereby avoiding a potential discharge
                                                     Carnival
     119.    06.20.2019*    05.27.2019 CCL                          overboard. The Director of Environmental Compliance and the Captain were                                                                                      Complete
                                                     Legend
                                                                    informed of the non-compliance of Company policy. An entry was made in the
                                                                    Garbage Record Book and NAPA eLog. On further investigation the root cause
                                                                    of the non-compliance was determined to be an accidental omission during waste
                                                                    segregation due to the size, color, and composition of the non-food materials.
                                                                    Preventive actions include increased supervision, logging and focusing on
                                                                    segregation at the source as outlined in Food Waste Instructional Notice - IN
                                                                    ENV/7/2019.
                                                                    Non-food items, including several pieces of bottle caps, broken china, one spoon,    As a preventive measure, the food waste collecting tank and magnetic
                                                                    wires and a few spoon were observed during inspection of the waste collecting        trap are opened for inspection and cleaned. Non-food items found are
                                                                    tank and silver trap magnet inspection. An entry was made in the Garbage Record      separated and properly disposed of. A new strainer with 25mm mesh
                                                                    Book. As a preventive measure, the food waste collecting tank and magnetic trap      was added between the tank and the overboard line. New environmental
                                                     Carnival       are opened for inspection and cleaned. Non-food items found are separated and        specific workplace training will be performed with all Food and
     120.    06.20.2019*    05.27.2019 CCL                                                                                                                                                                                    Complete
                                                     Valor          properly disposed of. A new strainer with 25mm mesh was added between the            Beverage Operations team members regarding the purpose, policies and
                                                                    tank and the overboard line. New environmental specific workplace training will      procedures associated with food waste separation and disposal.
                                                                    be performed with all Food and Beverage Operations team members regarding
                                                                    the purpose, policies and procedures associated with food waste separation and
                                                                    disposal.
                                                                    During an inspection of food waste systems that was already out of service, hard     As a preventative measure the CCL notice 64 and multiple corporate
                                                                    food waste and non-food items including plastic materials, beer bottle crowns,       guidance were issued.
                                                                    broken china, glass and silverware were found inside the food waste mixing tank,
                                                     Carnival       magnetic cutlery trap and shredders. The mixing tank, both magnetic traps and
     121.    06.20.2019*    05.26.2019 CCL                                                                                                                                                                                        Complete
                                                     Breeze         shredders were cleaned and re-inspected before being placed back in service. It is
                                                                    not confirmed that any of these items went overboard. The waste was not properly
                                                                    segregated at the point of generation. As a preventative measure the CCL notice
                                                                    64 and multiple corporate guidances were issued.
                                                                    Non-food items were found during the weekly inspection of a food waste tanks,        This incident was reported in error in the 05 JUN 19 Flash report. There
                                                     Carnival       magnetic traps and a grease traps. The non-food items were removed from the          is no corresponding Incident Report for a similarly described incident
     122.    06.20.2019*    05.26.2019 CCL                                                                                                                                                                                        N/A
                                                     Dream          pulper system and food waste tank and the tank was emptied. As a preventive          for the Carnival Breeze or another ship.
                                                                    measure, additional measures to ensure compliant segregation of food waste were


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 68 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                      Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                  Analysis Summary and Action Plan                           Action Plan
                                                                    implemented as per Instructional Notice ENV/07/2019. An entry in the Garbage
                                                                    Record Book was made for the Crew Galley GW Collection Tank and Magnet
                                                                    trap.
                                                                    Non-food items, including four pieces of cutlery, eight bottle caps, and one wire     To prevent recurrence, additional training and increased supervision at
                                                                    clip were observed in the magnet traps. All the non-food items were removed and       food sorting areas and new pulper inspection/control regimes have been
                                                                    properly disposed of. The Food operations and Housekeeping department were            implemented.
                                                     Carnival       informed accordingly. An entry was made in the Garbage Record Book and
     123.    06.20.2019*    05.26.2019 CCL                                                                                                                                                                                          Complete
                                                     Liberty        NAPA eLog. On further investigation the root cause of the non-compliance was
                                                                    determined to be improper waste segregation at source. To prevent recurrence,
                                                                    additional training and increased supervision at food sorting areas and new pulper
                                                                    inspection/control regimes have been implemented.
                                                                    Non-food items were found in the galley grey water system, the forward and aft        The non-food items were removed and properly disposed of. The
                                                                    collecting tanks were inspected, emptied and cleaned as per Food Waste                relevant departments were informed accordingly. The root cause of the
                                                                    Instructional Notice - IN ENV/7/2019. The tanks have two compartments – the           non-compliance was determined to be lack of attention while cleaning
                                                                    dirty side where the galley water is collected and the clean side from where the      the floors. There is no evidence that any items went overboard. TRG
                                                                    water is pumped overboard. No non-food items were found in the clean side.            2308 training will be conducted by supervisors with the involved
                                                     Carnival       Some non-food items were found in the dirty side like, plastic wrapping and other     personnel.
     124.    06.20.2019*    05.24.2019 CCL                                                                                                                                                                                          Complete
                                                     Pride          small plastic items. The non-food items were removed and properly disposed of.
                                                                    The relevant departments were informed accordingly. The root cause of the non-
                                                                    compliance was determined to be lack of attention while cleaning the floors.
                                                                    There is no evidence that any items went overboard. TRG 2308 training will be
                                                                    conducted by supervisors with the involved personnel. An entry was made in the
                                                                    NAPA eLog and Garbage Record Book.
                                                                    Non-food items, including rice , vegetables, plastics, steak markers, rubber bands,   As a preventive measure, the Food & Beverage Department Supervisors
                                                                    straws, and a plastic spoon were observed inside the galley grey water tanks. The     and Managers were verbally briefed on the issue during TRG 2309
                                                                    root cause was determined to be improper waste segregation and disposal and           training on 25 May.
                                                     Carnival
     125.    06.20.2019*    05.23.2019 CCL                          oversight. The improper objects were removed and disposed of appropriately. As                                                                                  Complete
                                                     Elation
                                                                    a preventive measure, the Food & Beverage Department Supervisors and
                                                                    Managers were verbally briefed on the issue during TRG 2309 training on 25
                                                                    May. An entry in the Garbage Record Book was made.
                                                                    The magnet traps were observed to contain non-food items, including silverware,       As a preventive measure, crewmembers are continuously reminded of
                                                                    bottle caps and a screw. All the non-food items were removed from the magnet          the importance of proper garbage segregation.
                                                                    traps and properly disposed of. The Food Operations Department was informed
                                                     Carnival
     126.    06.20.2019*    05.23.2019 CCL                          accordingly. An entry was made in the Garbage Record Book and NAPA eLog.                                                                                        Complete
                                                     Freedom
                                                                    The root cause of the non-food items in the magnet traps is lack of proper garbage
                                                                    segregation. As a preventive measure, crewmembers are continuously reminded
                                                                    of the importance of proper garbage segregation.
                                                                    As required by Corporate Environmental Compliance Notice #3 – 2019 and ECP            The crew is currently installing the drain covers with the new screws.
                                                                    Notice EC000055, the main galley grey water collecting tank located in the aft
                                                                    sewage room port side and the crew galley grey water collecting tank located in
                                                                    osmosis room portside were visually checked and foreign objects including
                                                     Carnival
     127.    06.20.2019*    05.21.2019 CCL                          plastics, a metal cap, broken china, and a metal wire were found in both tanks.                                                                                 In Progress
                                                     Spirit
                                                                    The foreign objects might have ended up in the grey water collecting tanks via
                                                                    the drains leading to the tanks. The foreign objects found in the two galley grey
                                                                    water collecting tanks were removed and disposed of appropriately. An entry was
                                                                    made in the Garbage Record Book and Napa eLog. As a preventive measure, the

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 69 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                          Status of
  Number     Notification    Incident     Group         Vessel                                      Description of Incident                                                  Analysis Summary and Action Plan                            Action Plan
                                                                    hotel and technical department are working in order to replace the missing drain
                                                                    covers. Additionally, the covers will be secured using screws. Departmental
                                                                    heads were notified accordingly during the HAT meeting held on 26 May.
                                                                    The galley drain tank and the grey water tank were opened and emptied to be              The visible non-food items were removed from both tanks and properly
                                                                    inspected. Plastic gloves were observed in both tanks. The plastic materials were        disposed of. As a preventive measure, crewmembers undergo
                                                                    removed thereby avoiding a potential discharge overboard. During the routine             continuous training to prevent recurrence of similar incidents.
                                                                    cleaning operations of the galleys, drain bells were unscrewed and removed which
                                                     Carnival
     128.    06.20.2019*    05.20.2019 CCL                          led plastic materials to fall into the grey water tanks. The responsible departments                                                                                 Complete
                                                     Breeze
                                                                    were informed accordingly. The visible non-food items were removed from both
                                                                    tanks and properly disposed of. An entry was made in the Garbage Record Book
                                                                    and NAPA eLog. As a preventive measure, crewmembers undergo continuous
                                                                    training to prevent recurrence of similar incidents.
                                                                    While the ship was alongside in Seattle, USA, during the planned maintenance of          To avoid reoccurrence, further training will be provided to the galley's
                                                                    the galley grease traps a disposable apron was found trapped inside a grease trap.       working crew as well as an increase in supervision to ensure awareness,
                                                     Ruby           The source of disposable apron could not be identified. To avoid reoccurrence,           and the implementation of procedures in ENV-07-2019 that will be
     129.    06.20.2019*    05.11.2019 HA Group                                                                                                                                                                                       Complete
                                                     Princess       further training will be provided to the galley's working crew as well as an             followed.
                                                                    increase in supervision to ensure awareness, and the implementation of
                                                                    procedures in ENV-07-2019 that will be followed.
                                                                    While the ship was alongside in Juneau, Alaska a small amount of plastic was             The covers will not be welded due to cleaning requirements. Therefore
                                                                    found from food wraps or covers in the grease trap during grease trap inspection.        supervision staffing for the galley area cleanings have been increased.
                                                                    The plastic was removed and disposed of in the proper containers. No Garbage             Additionally, the Environmental Officer and Staff Chief Engineer will
     130.    06.20.2019*    06.07.2019 HA Group      Amsterdam      Record Book entry was made. No drains were found to be missing their covers,             perform random spot checks for cleanings in the evenings.               Complete
                                                                    but a more thorough check is being conducted as part of the ship’s prevention
                                                                    program. Moreover, the ship is currently discussing tack weld covers as a
                                                                    preventative measure but no further action has yet been taken.
                                                                    Non-food items, including a plastic glove, a piece of wrapper, a vegetable label,        As a preventive measure, the Food Operations and Beverage Operations
                                                                    and a piece of rubber were found in a heated grease separator tank during a weekly       must supervise their cleaning operations and train their team members
                                                                    inspection. All non-food items were removed and the tank was inspected                   on proper waste disposal. There are no missing drain bells. Further,
                                                                    thoroughly by stirring the tank with a metal rod. A few straws, a few plastic            filters on the inlet line will prevent non-food waste items from entering
                                                                    stirrers, three plastic bottle caps, two pieces of plastic wrappers, a few cloth rags,   the system. A Garbage Record Book entry was made.
                                                                    a few pieces of shrink wrap and an orange ear plug were found in the second
                                                     Carnival       separator tank. To ensure nothing was left inside, the tank was placed out of
     131.    06.20.2019*    06.07.2019 CCL                                                                                                                                                                                               Complete
                                                     Miracle        service and manual cleaning of this tank initiated. The non-food waste items were
                                                                    removed. The root cause of this incident is improper separation of waste at source
                                                                    and improper supervision at source. As a preventive measure, the Food
                                                                    Operations and Beverage Operations must supervise their cleaning operations and
                                                                    train their team members on proper waste disposal. There are no missing drain
                                                                    bells. Further, filters on the inlet line will prevent non-food waste items from
                                                                    entering the system. A Garbage Record Book entry was made.
                                                                    Three plastic fragments were found in a grey water galley grease trap while              The trap was isolated, cleaned and put back in service that same day.
                                                                    conducting the weekly inspection. The fragments are believed to have come from           All drain bells and deck drain covers in all galleys and pantries were
                                                                    the Crew Galley. All plastic fragments were removed and properly disposed of.            earlier inspected as per ship notice EC000054 and a report was
                                                     Carnival
     132.    06.20.2019*    06.07.2019 CCL                          The trap was isolated, cleaned and put back in service that same day. All drain          submitted. However, crew galley drains were inspected again and it was Complete
                                                     Sunrise
                                                                    bells and deck drain covers in all galleys and pantries were earlier inspected as        found that five drain bells, one strainer and three drain strainer securing
                                                                    per ship notice EC000054 and a report was submitted. However, crew galley                screws were found missing in the crew galley. The Engine department
                                                                    drains were inspected again and it was found that five drain bells, one strainer and

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Items without an asterisk previously appeared and are either in progress or pending verification.                                     68
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 70 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                        Status of
  Number     Notification    Incident     Group         Vessel                                Description of Incident                                                    Analysis Summary and Action Plan                              Action Plan
                                                                three drain strainer securing screws were found missing in the crew galley. The         has submitted a requisition for drain bells and all missing drain bells will
                                                                Engine department has submitted a requisition for drain bells and all missing drain     be fitted upon receipt onboard.
                                                                bells will be fitted upon receipt onboard. An entry was made in the Garbage
                                                                Record Book and NAPA eLog.
                                                                While the ship was alongside in Mykonos, Greece, a small piece of paper from a          Food waste tank B was cleaned and food waste will be landed. As a
                                                                teabag was found in food waste tank B during the food waste tanks inspection.           preventative measure, the person manning the pulper hatch was spoken
                                                                Food waste tank B was cleaned and food waste will be landed. A Garbage Record           to about the incident.
     133.    06.20.2019*    06.07.2019 HA Group      Koningsdam Book entry was made, but guidance will be sent to the ship that reporting                                                                                              Complete
                                                                requirements have changed and no Garbage Record Book entry is required. As a
                                                                preventative measure, the person manning the pulper hatch was spoken to about
                                                                the incident.
                                                                During inspections of three food waste tanks, non-food items, including knives,         Corrective actions taken include meetings with staff and crew at various
                                                                spoons, polyester, cotton thread and broken chinaware were found. All the non-          levels and through departmental meetings.
                                                     Carnival   food items were removed and properly disposed of. Corrective actions taken
     134.    06.20.2019*    06.06.2019 CCL                                                                                                                                                                                             Complete
                                                     Miracle    include meetings with staff and crew at various levels and through departmental
                                                                meetings. A Garbage Record Book entry was made and all tanks were thoroughly
                                                                cleaned.
                                                                During inspection, one latex glove was noticed inside a main galley grease trap.        The non-food items were removed and the grease trap was cleaned
                                                                Other grease traps were found in good condition. There was no evidence that any         before being put back in service. As a preventive measure, galley
                                                     Carnival   non-food items went overboard, but a Garbage Record Book entry was made as a            cleaning will be supervised as per Environmental Compliance Plan
     135.    06.20.2019*    06.06.2019 CCL                                                                                                                                                                                Complete
                                                     Valor      precaution. The non-food items were removed and the grease trap was cleaned             Notices EC000057.
                                                                before being put back in service. As a preventive measure, galley cleaning will
                                                                be supervised as per Environmental Compliance Plan Notices EC000057.
                                                                While the ship was underway in international waters, the weekly food waste              The non-food items were removed and properly disposed of, thereby
                                                                system/tanks inspection was conducted. Non-food items, including one hand               avoiding a potential discharge overboard. All crewmembers working in
                                                                glove and a plastic fiber supposedly coming from a mop, were found inside a food        the food area were advised to pay more attention in order to segregate
                                                                waste tank. The non-food items were removed and properly disposed of, thereby           properly the non-food waste materials at source prior to discharge into
                                                     Carnival
     136.    06.20.2019*    06.05.2019 CCL                      avoiding a potential discharge overboard. All crewmembers working in the food           the pulpers system. Galley crewmembers have been retrained.             Complete
                                                     Legend
                                                                area were advised to pay more attention in order to segregate properly the non-
                                                                food waste materials at source prior to discharge into the pulpers system. Galley
                                                                crewmembers have been retrained. An entry was made in the Garbage Record
                                                                Book and NAPA eLog.
                                                                A grease interceptor tank was opened for inspection. Plastic items and a rubber         The improper objects found were removed and disposed of
                                                                band were found inside. The improper objects found were removed and disposed            appropriately. As a preventive measure, the crew working in the areas
                                                     Carnival   of appropriately. As a preventive measure, the crew working in the areas where          where the drains lead to the tank was advised to be careful and not to
     137.    06.20.2019*    06.04.2019 CCL                                                                                                                                                                                      Complete
                                                     Elation    the drains lead to the tank was advised to be careful and not to throw plastic, paper   throw plastic, paper or other improper objects in or around the drains.
                                                                or other improper objects in or around the drains. Garbage Record Book entry            There are no drain bells missing.
                                                                was made. There are no drain bells missing.
                                                                A piece of broken china and a metal beer bottle cap were observed in the food           The non-food items were removed from the food waste tank and
                                                                waste tank. The non-food items were removed from the food waste tank and                properly disposed of. As a preventive measure, there must be better
                                                     Carnival
     138.    06.20.2019*    06.04.2019 CCL                      properly disposed of. An entry was made in the Garbage Record Book and NAPA             food waste separation from the crewmembers doing the final check of Complete
                                                     Pride
                                                                eLog. As a preventive measure, there must be better food waste separation from          the food waste.
                                                                the crewmembers doing the final check of the food waste.
                                                                During the weekly inspection of two galley grey water collecting tank, non-food         The non-food items may have entered into the grey water collecting
                                                     Carnival
     139.    06.20.2019*    06.04.2019 CCL                      items were observed, including plastic shrink wrap, plastic bottle lids, plastic        tanks via the drains. The foreign objects found in the two tanks were Complete
                                                     Spirit
                                                                straw and plastic debris. The non-food items may have entered into the grey water       removed and disposed of as per procedure. The hotel and technical

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Items without an asterisk previously appeared and are either in progress or pending verification.                                 69
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 71 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                     Description of Incident                                                Analysis Summary and Action Plan                            Action Plan
                                                                    collecting tanks via the drains. The foreign objects found in the two tanks were     department are working to secure drain covers in place. Additionally,
                                                                    removed and disposed of as per procedure. An entry was made in the ship’s            the hotel director, food operations manager and bar operations manager
                                                                    Garbage Record Book and Napa eLog. The hotel and technical department are            will reinforce the procedure in their work areas.
                                                                    working to secure drain covers in place. Additionally, the hotel director, food
                                                                    operations manager and bar operations manager will reinforce the procedure in
                                                                    their work areas.
                                                                    A food waste collecting tank and silver trap magnet inspection was conducted in      The non-food items found were separated and will be properly disposed
                                                                    the presence of a HESS Auditor. One bottle cap and a few screws were observed        of as garbage. As a preventive measure, food waste system inspection
                                                     Carnival       inside the magnetic trap. Nothing was found inside food tank. An entry was           and cleaning will be performed often as a precaution.
     140.    06.20.2019*    06.04.2019 CCL                                                                                                                                                                                           Complete
                                                     Valor          made in the Garbage Record Book. The non-food items found were separated
                                                                    and will be properly disposed of as garbage. As a preventive measure, food waste
                                                                    system inspection and cleaning will be performed often as a precaution.
                                                                    While the ship was underway, a piece of paper was observed inside a grease           A new requisition has been issued for the correct type of screw required.
                                                                    separation tank during the weekly inspection. It is presumed that the piece of       The previously received screws were not suitable for the drain covers.
                                                                    paper entered the system through a drain with an unsecured cover within the crew
                                         Costa       Costa          galley. The paper was removed and the system was set back to service after
     141.    06.20.2019*    06.04.2019                                                                                                                                                                                               In Progress
                                         Group       Atlantica      confirming that no additional non-food wastes items were present inside the tank.
                                                                    As a preventive action, a general check was performed on all drain covers within
                                                                    the involved area. Covers were present but not all were secured. Stainless steel
                                                                    screws have been received securing of the covers is in progress.
                                                                    During the weekly inspection, non-food waste items were found in the food waste      To avoid recurrence, additional supervision and staff training as well as
                                                                    processing system. The items, which appear to be latex glove pieces, were            the requirements of recently implemented ENV/07/19 will be followed.
                                                     Crown
     142.    06.20.2019*    06.04.2019 HA Group                     removed and disposed of correctly. To avoid recurrence, additional supervision                                                                                   Complete
                                                     Princess
                                                                    and staff training as well as the requirements of recently implemented ENV/07/19
                                                                    will be followed. An entry was made in the Garbage Record Book.
                                                                    Non-food items, including broken china, bones, a fork, a spoon, a metal beer cap,    All the non-food items were removed from the food waste trap tanks
                                                                    and oyster and mussel shells, were found inside the food waste trap tanks. All the   and properly disposed of. As per HESS MS procedures, the
                                                                    non-food items were removed from the food waste trap tanks and properly              crewmembers receive environmental awareness training (TRG 2302,
                                                     Carnival
     143.    06.20.2019*    06.03.2019 CCL                          disposed of. An entry in the Garbage Record Book and NAPA eLog were made.            2308 & 2309). As per Instructional Notice ENV/07/2019, additional Complete
                                                     Magic
                                                                    As per HESS MS procedures, the crewmembers receive environmental awareness           measures are in place to ensure compliant segregation of food waste.
                                                                    training (TRG 2302, 2308 & 2309). As per Instructional Notice ENV/07/2019,
                                                                    additional measures are in place to ensure compliant segregation of food waste.
                                                                    During a routine food waste tank inspection, a number of non-food items were         All the items were removed and properly disposed of. To prevent
                                                                    found including broken chinaware, metal spoons, a wine bottle cork, plastic wrap     recurrence, additional supervision, training and other procedures
                                                                    film, and a bottle cap. All the items were removed and properly disposed of. An      required by ENV-07-19 have been implemented.
     144.    06.20.2019*    06.03.2019 HA Group      Oosterdam                                                                                                                                                                       Complete
                                                                    entry was made in the Garbage Record Book. To prevent recurrence, additional
                                                                    supervision, training and other procedures required by ENV-07-19 have been
                                                                    implemented.
                                                                    During the weekly inspection of food waste systems, non-food items including         It was not confirmed that items definitively went overboard. The items
                                                                    knives, spoons, a wrench, bottle caps, metal washers, broken china and broken        were removed and properly disposed.
                                                     Carnival
     145.    06.20.2019*    06.02.2019 CCL                          glass were found inside the food waste mixing tank and magnetic cutlery trap. It                                                                                 Complete
                                                     Breeze
                                                                    was not confirmed that items definitively went overboard. The items were
                                                                    removed and properly disposed and a Garbage Record Book entry was made.
                                                                    While the weekly inspection was in progress, non-food items including two metal      The food waste tank was opened and inspected. No food items were
                                                     Carnival
     146.    06.20.2019*    06.02.2019 CCL                          bottle caps, two hair clips, one key ring and one ID clip were observed inside the   observed in the lower section of the tank. Pulper operations and planned Complete
                                                     Conquest
                                                                    magnet trap. All the non-food items were removed from the magnet trap and            overboard discharges were suspended. The tank was inspected, cleaned

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 72 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                     Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                  Analysis Summary and Action Plan                          Action Plan
                                                                    properly disposed of. The magnetic trap was cleaned. An entry was made in the        and all food inside the tank offloaded to a shore facility. The tank was
                                                                    Garbage Record Book and NAPA eLog. The food waste tank was opened and                inspected again and then put back in service.
                                                                    inspected. No food items were observed in the lower section of the tank. Pulper
                                                                    operations and planned overboard discharges were suspended. The tank was
                                                                    inspected, cleaned and all food inside the tank offloaded to a shore facility. The
                                                                    tank was inspected again and then put back in service.
                                                                    During the weekly inspection of food waste tanks, magnetic traps, the Recycling      The non-food items were removed from the pulper system and food
                                                                    Center and the Engine Room grease trap, a number of non food items were found        waste tank and the tank was emptied. As a preventive measure,
                                                                    including screws, a paper clip, a spoon, one beer cup, one small piece of broken     additional measures to ensure compliant segregation of food waste were
                                                     Carnival       chinaware and plastic wrap. The non-food items were removed from the pulper          implemented as per Instructional Notice ENV/07/2019.
     147.    06.20.2019*    06.02.2019 CCL                                                                                                                                                                                          Complete
                                                     Dream          system and food waste tank and the tank was emptied. A Garbage Record Book
                                                                    Entry was made. As a preventive measure, additional measures to ensure
                                                                    compliant segregation of food waste were implemented as per Instructional
                                                                    Notice ENV/07/2019.
                                                                    Several bottle caps, broken china, a few pieces of cutlery, a few screws and wood    The food waste collecting tank and magnetic trap were opened for
                                                                    were found inside the food waste collecting tank and silver trap magnet during an    inspection and cleaned. As a preventive measure, food waste system
                                                                    inspection. This occurred despite the shipboard crew’s efforts to eliminate the      inspection and cleaning will be performed often as a precaution.
                                                                    amount of non-food waste going through the food waste system and diligent hand
                                                     Carnival
     148.    06.20.2019*    06.02.2019 CCL                          sorting of food prior to pulper use. An entry was made in the Garbage Record                                                                                    Complete
                                                     Valor
                                                                    Book. The non-food items found were separated and will be properly disposed
                                                                    of as garbage. The food waste collecting tank and magnetic trap were opened for
                                                                    inspection and cleaned. As a preventive measure, food waste system inspection
                                                                    and cleaning will be performed often as a precaution.
                                                                    During the weekly food tank inspections small pieces of plastic were found in the    All waste was disposed of correctly for further processing. A review
                                                                    Grease Trap Tanks. All waste was disposed of correctly for further processing.       revealed that several drain bells were missing or not secured properly.
     149.    06.20.2019*    06.02.2019 HA Group      Maasdam        A review revealed that several drain bells were missing or not secured properly.     A drain bell order was placed and will be fitted once received onboard; Complete
                                                                    A drain bell order was placed and will be fitted once received onboard; the ship     the ship is working to expedite delivery.
                                                                    is working to expedite delivery. No Garbage Record Book entry was made.
                                                                    During the weekly inspection of the food waste tank, grease trap and magnetic        All the non-food items were removed and properly disposed of. On
                                                                    trap, non-food items were found, including cutlery, broken china, plastic, hard      further investigation the root cause of the non-compliance was
                                                                    food waste, candles and bottle caps. All the non-food items were removed and         determined to be lack of attention during waste segregation. As a
                                                     Carnival       properly disposed of. On further investigation the root cause of the non-            preventive measure, the responsible departments were informed
     150.    06.20.2019*    06.01.2019 CCL                                                                                                                                                                                 Complete
                                                     Glory          compliance was determined to be lack of attention during waste segregation. An       accordingly to be more vigilant during food waste segregation.
                                                                    entry was made in the Garbage Record Book and NAPA eLog. As a preventive
                                                                    measure, the responsible departments were informed accordingly to be more
                                                                    vigilant during food waste segregation.
                                                                    Two bottle caps and one metal spoon were found during an inspection of the           As a preventive measure, signed on crewmembers are provided with
                                                                    magnetic trap. All the sorted non-food items were properly disposed of. An entry     familiarization training and TRG 2302, 2308 and 2309 - which include
                                                                    was made in the NAPA eLog and Garbage Record Book. The root cause of this            information regarding proper waste separation. Refresher training /
                                                                    incident is crewmembers not giving required attention during waste separation.       orientation are delivered to on-board team members on a regular basis,
                                                     Carnival
     151.    06.20.2019*    06.01.2019 CCL                          As a preventive measure, signed on crewmembers are provided with                     by the respective departmental supervisors, regarding proper waste Complete
                                                     Splendor
                                                                    familiarization training and TRG 2302, 2308 and 2309 - which include                 separation at the source.
                                                                    information regarding proper waste separation. Refresher training / orientation
                                                                    are delivered to on-board team members on a regular basis, by the respective
                                                                    departmental supervisors, regarding proper waste separation at the source.



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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 73 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                         Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                   Analysis Summary and Action Plan                            Action Plan
                                                                    The galley drain tank was opened to perform a visual check and a few non-food           The tank was skimmed and put back in service. The non-food items
                                                                    items (corks, can tops, straw, organic residue) was found in tank. Drain covers         were removed and will be disposed properly as garbage. As a
                                                                    are already in place for all galley drains and the discovered items were probably       preventive measure, drain covers are in place for all galley drains. The
                                                     Carnival       inside the tank from before. An entry was made in the Garbage Record Book.              complete cleaning of this tank is scheduled for August.
     152.    06.20.2019*    06.01.2019 CCL                                                                                                                                                                                              Complete
                                                     Valor          The tank was skimmed and put back in service. The non-food items were
                                                                    removed and will be disposed properly as garbage. As a preventive measure,
                                                                    drain covers are in place for all galley drains. The complete cleaning of this tank
                                                                    is scheduled for August.
                                                                    While conducting the weekly inspection of the magnetic trap in recycling center,        The tank was cleaned and, after a final inspection in the presence of the
                                                                    non-food items were found including one spoon, 11 bottle caps and one handy             ship management, the tank was put back in service. Following the
                                                                    fuel cover. These are expected to have come from various garbage separation             Instructional Notice ENV/07/2019, the pulper feeding operations were
                                                                    locations. All the non-food items were removed from the magnetic trap and               suspended and the food waste silo tank was manually emptied
                                                                    properly disposed of and the magnetic trap was cleaned. An entry was made in            completely into red bins and later put in cardboard boxes for proper
                                                     Carnival       the Garbage Record Book and NAPA eLog. On further investigation the cause               offloading ashore.
     153.    06.20.2019*    05.31.2019 CCL                                                                                                                                                                                              Complete
                                                     Conquest       of the non-compliance was determined to be inadequate separation at source and
                                                                    while dumping. The tank was cleaned and, after a final inspection in the presence
                                                                    of the ship management, the tank was put back in service. Following the
                                                                    Instructional Notice ENV/07/2019, the pulper feeding operations were suspended
                                                                    and the food waste silo tank was manually emptied completely into red bins and
                                                                    later put in cardboard boxes for proper offloading ashore.
                                                                    During inspections of the food waste tanks and grease traps, plastic and plastic        The tank was cleaned, inspected and returned to service. The grease
                                                                    gloves were found. The food waste tank was emptied and food waste was                   trap was emptied and strained, the gloves were removed, and the trap
                                                                    offloaded ashore. The tank was cleaned, inspected and returned to service. The          was cleaned, inspected and returned to service. Ongoing monitoring
     154.    06.20.2019*    05.31.2019 HA Group      Eurodam        grease trap was emptied and strained, the gloves were removed, and the trap was         and instructions were provided to crewmembers.                       Complete
                                                                    cleaned, inspected and returned to service. Ongoing monitoring and instructions
                                                                    were provided to crewmembers. No Garbage Record Book entry was made. The
                                                                    EO was present for the inspection.
                                                                    The Recycling Center supervisor reported that, during his weekly check of the           The preventive measures per ENV/07/2019 are now in force and the EO
                                                                    pulper system magnet, numerous metal objects were found including spoons,               is monitoring their impact on pulper food waste segregation.
                                                                    metal lids, tinned food tops, part of a padlock, bottle tops, metal wine caps, a corn
                                                     Queen          holder, a paperclip and a magnet. These items had made their way through the
     155.    06.20.2019*    05.31.2019 CUK                                                                                                                                                                                              Complete
                                                     Victoria       pulper system and were caught by the magnet prior to entering the comminuted
                                                                    food discharge tanks. These items were disposed of correctly. The preventive
                                                                    measures per ENV/07/2019 are now in force and the EO is monitoring their
                                                                    impact on pulper food waste segregation.
                                                                    While cleaning the food waste disposal magnetic trap and particle trap, crew            As a preventive measure, the ship will double check all food waste
                                                                    found non-food items present including six bottle caps, four pieces of silverware,      receptacles to ensure no non-food items are disposed into the food waste
                                                                    four small pieces of broken china and 13 small metal items. All items were              discharge system.
                                                     Carnival       removed and disposed of properly. The root cause of the non-compliance was
     156.    06.20.2019*    05.30.2019 CCL                                                                                                                                                                                              Complete
                                                     Horizon        determined to be omission due to difficulties distinguishing these non-food
                                                                    materials. As a preventive measure, the ship will double check all food waste
                                                                    receptacles to ensure no non-food items are disposed into the food waste
                                                                    discharge system.
                                                                    The Oil Content Meter (OCM) cell of BCDB #1 was displaying an error even                The OCM cell was replaced. All concerned personnel were notified and
                                                     Carnival
     157.    07.15.2019*    06.17.2019 CCL                          after flushing with technical water and cleaning the cell. The OCM cell was             an entry was made in the PMS, Oil Record Book and NAPA eLog. Complete
                                                     Magic
                                                                    replaced. All concerned personnel were notified and an entry was made in the            BCDB #2 was available at all times and there was no operational impact.

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 74 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                    Analysis Summary and Action Plan                          Action Plan
                                                                    PMS, Oil Record Book and NAPA eLog. BCDB #2 was available at all times                  The total time out of service was two days. The faulty cell was sent to
                                                                    and there was no operational impact. The total time out of service was two days.        the service vendor for replacement.
                                                                    The faulty cell was sent to the service vendor for replacement.
                                                                    While the ship was underway, the oil content level of the Oil Content Meter             Overboard discharge was stopped and BCDB #2 was kept out of service.
                                                                    (OCM) installed on BCDB #2 was continuously showing above 15 ppm during                 An entry was made in the Oil Record Book and NAPA eLog and a report
                                                                    overboard discharge operations of treated bilge through the Oily Water Separator        was made to require ship and shoreside personnel. The faulty OCM was
                                                                    (OWS) and BCDB #2. Consequently, no treated bilge water was able to be                  replaced with a newly calibrated OCM, which tested satisfactorily and
                                                                    discharged overboard. During the same period, the oil content level on the OWS’s        was authorized for service by the Chief Engineer. BCDB #2 was set
                                                     Carnival       OCM was showing below 15 ppm. Overboard discharge was stopped and BCDB                  back in service on 20 June. During this time, BCDB #1 was available
     158.    07.15.2019*    06.14.2019 CCL                                                                                                                                                                                        Complete
                                                     Splendor       #2 was kept out of service. An entry was made in the Oil Record Book and NAPA           and there was no operational impact.
                                                                    eLog and a report was made to require ship and shoreside personnel. The faulty
                                                                    OCM was replaced with a newly calibrated OCM, which tested satisfactorily and
                                                                    was authorized for service by the Chief Engineer. BCDB #2 was set back in
                                                                    service on 20 June. During this time, BCDB #1 was available and there was no
                                                                    operational impact.
                                                                    During the last use of the Oily Water Separator (OWS), it was observed that the         The OWS was set back in service after completion of the assessment on
                                                                    bowl sealing ring was leaking. The purifier was opened to assess and correct the        06 June. There was no operational impact as two alternative OWSs
                                                     Carnival
     159.    07.15.2019*    06.04.2019 CCL                          issue and an Oil Record Book entry was made. The OWS was set back in service            were available.                                                       Complete
                                                     Horizon
                                                                    after completion of the assessment on 06 June. There was no operational impact
                                                                    as two alternative OWSs were available.
                                                                    While the ship was underway between Vancouver and Juneau, the breaker for the            A further investigation determined there was a drive motor failure.
                                                                    Centrifugal Oily Water Separator (COWS) tripped. A further investigation                There was no operational impact as ship had redundancy in way of static
                                                     Queen          determined there was a drive motor failure. There was no operational impact as          (Facet) separator. The COWS motor was replaced, tested and set back
     160.    07.15.2019*    06.01.2019 CUK                                                                                                                                                                                          Complete
                                                     Elizabeth      ship had redundancy in way of static (Facet) separator. The COWS motor was              in service on 02 June having been out of service for 26 hours. Relevant
                                                                    replaced, tested and set back in service on 02 June having been out of service for      entries were made in Oil Record Book.
                                                                    26 hours. Relevant entries were made in Oil Record Book.
                                                                    During the 3rd Engineer’s rounds, a water leak was discovered on the corroded           The item will not be added to the critical spare list because it does not
                                                                    flexible water hose of Oily Water Separator #2. The hose was replaced and the           need to be a specific hose. Hoses can be fabricated and provided
                                                     Carnival
     161.    07.15.2019*    05.28.2019 CCL                          system was set back in service on 15 June. There was no operational impact as           onboard. Adding a specific hose to the critical spare part list would Complete
                                                     Victory
                                                                    the other OWS was available. An entry was made in the Oil Record Book. This             require a specific part/item number.
                                                                    item will be evaluated to see if it needs to be added to the critical spare list.
                                                                    While the ship was underway, pulper station A was taken out of service due to a         As a corrective action, all the food waste in system A was transferred to
                                                                    broken mixer inside the food waste tank. It was identified that there was               system B. Once the tank was empty, it was ventilated prior to repairing
                                                                    insufficient water inside the tank, which caused the mixer to not work properly         the mixer. Pulper system B was not affected by the above mentioned
                                                                    and eventually break. As a corrective action, all the food waste in system A was        failure, and remained in service. Pulper system A was returned to
                                         Costa       Costa          transferred to system B. Once the tank was empty, it was ventilated prior to            service on 21 June after being out of service for 52 hours. As a planned
     162.    07.15.2019*    06.19.2019                                                                                                                                                                                                Complete
                                         Group       Atlantica      repairing the mixer. Pulper system B was not affected by the above mentioned            preventive action, all pulper operators will be instructed to ensure that
                                                                    failure, and remained in service. Pulper system A was returned to service on 21         sufficient water is used when processing food waste into the pulper/bone
                                                                    June after being out of service for 52 hours. As a planned preventive action, all       crusher system.
                                                                    pulper operators will be instructed to ensure that sufficient water is used when
                                                                    processing food waste into the pulper/bone crusher system.
                                                                    While the ship was underway towards New York, the incinerator was put out of            The old version of the software was re-installed. Incinerator 1 and food
                                                                    service due to an inoperable computer touch screen and frozen interface. A              waste system 1 are back in service and fully function since June 15,
                                                     Pacific
     163.    07.15.2019*    06.13.2019 HA Group                     technician joined the vessel on 15 June and found that the new software had an          2019. Food waste system 2 is also operational.                           Complete
                                                     Princess
                                                                    error. The technician was able to conduct a partial repair at the time. In total, the
                                                                    incinerator was completely out of service for 96 hours.

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 75 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                     Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                  Analysis Summary and Action Plan                         Action Plan
                                                                    The food pulper system was broken due to an object entering the pulper                Currently, the ship has one fully functioning food waste system (System
                                                                    mechanism. Upon inspection, the magnet prior to the mechanism was noted to            A) and one down system (System B). The system that was down
                                                                    contain various metal objects that could have eventually entered the food waste       (System A) was put back in service by utilizing the parts needed from
                                                                    tank, including spoons and glass jar lids. These items have been removed and          System B. Shredder parts are scheduled to arrive onboard September 6,
                                                     Queen          correctly disposed. The pulper system is out of service until the mechanism can       2019. The overboard pump VDF parts have arrived and have been
     164.    07.15.2019*    06.13.2019 CUK                                                                                                                                                                                        In Progress
                                                     Victoria       be repaired. Contact has been made with the OEM and awaiting feedback on              installed.
                                                                    repair options. No food processing can occur until the system is repaired. Food
                                                                    will be stored and landed ashore until the system can be repaired. The EO will
                                                                    monitor the situation, teams will be briefed by their managers on correct
                                                                    segregation. Also recorded as an Environmental Near Miss.
                                                                    The ship experienced a flame failure on the burner of Incinerator #2. The ship        There is no spare screen available to order at the moment given the
                                                                    attempted to start Incinerator #1, but it failed due to a defective screen. The       incinerator control panel is obsolete. Therefore the manufacturer is
                                                                    Environmental Engineer along with the 3rd ETO decided to swap the screen from         building a replacement screen. In the meantime, the incinerator will be
                                                     Carnival
     165.    07.15.2019*    06.10.2019 CCL                          Incinerator #2 to #1. The ship has Incinerator #2 out of service and the flame        de commissioned on July 7th and the IAPPC updated.                      In Progress
                                                     Spirit
                                                                    failure cannot be resolved as the screen is not part of the critical spare list).
                                                                    Incinerator #2 will be decommissioned starting on 27 June for AAQS installation.
                                                                    An incinerator screen has been ordered. There was no operational impact.
                                                                    During a routine EO inspection in the main galley, the port side pulper station       An immediate intervention was performed, by means of cutting and
                                                                    was found out of service. Onboard technical assessments identified the cause of       replacing the affected pipe. After the maintenance, the system was
                                                                    failure was the clogging of food residuals. There was no presence of non food or      tested and put back in service. No preventative actions were deemed
                                         Costa       Costa          other items in the pipe. An immediate intervention was performed, by means of         necessary / applicable. No MARPOL non-compliant discharge at sea
     166.    07.15.2019*    05.05.2019                                                                                                                                                                                        Complete
                                         Group       Atlantica      cutting and replacing the affected pipe. After the maintenance, the system was        was caused at any time by the above described pulper failure.
                                                                    tested and put back in service. No preventative actions were deemed necessary /
                                                                    applicable. No MARPOL non-compliant discharge at sea was caused at any time
                                                                    by the above described pulper failure.
                                                                    While the ship was underway towards Muroran, Japan, the ship's Advanced Air           The AAQS was tested after temporary repairs were made. AAQS was
                                                                    Quality System (AAQS) outlet from a diesel generator (DG) failed. Due to the          restarted on May 1, 2019 at 19:48 hours and shut down again to end the
                                                                    failure, the bellow on the AAQS outlet from the DG started leaking from the           test at 21:43 hours on May 1, 2019. Parts were received on June 2,
                                                                    gasket. The engine was shut down immediately. Temporary repairs were effected         2019 and installed on June 9, 2019.
     167.    07.15.2019*    04.30.2019 HA Group      Westerdam      resulting in no further leaks from the gasket. Permanent repairs will take place                                                                               Complete
                                                                    after spare parts arrive on 02 June, 2019. There was no operational impact as the
                                                                    ship was able to make required speed with the fully operational AAQS/DG’s
                                                                    while the bellows on the affected system were being repaired. An entry was made
                                                                    in the NAPA eLog.
                                                                    During lifeboat maintenance while alongside in Key West, FL, approximately 10         Maintenance and any required repairs are scheduled to be performed
                                                                    liters of hydraulic oil were spilled onto a ship's platform due to human error. A     during the next dry dock in March 2020. In the meantime, the hydraulic
                                                                    hole caused by corrosion in the platform allowed approximately 0.5 liters (17 fluid   system is being inspected daily. No subsequent issues have been
                                                                    ounces) to fall into the sea. The spill was caused by contractors performing a        reported.
                                                                    maintenance job. The contractors were previously advised on 07 June on
                                                     Carnival
     168.    07.15.2019*    06.11.2019 CCL                          preventive measures that were needed to be in place, but failed to put those                                                                                   In Progress
                                                     Victory
                                                                    measures in place days later. This was addressed with the contractor for a second
                                                                    time and will be followed up by the onboard team during the upcoming work that
                                                                    is being done onboard. Temporary repairs to seal the hole have been completed
                                                                    until the platform can be replaced. The U.S. Coast Guard and National Response
                                                                    Coordination Center were notified. A record was made in the Oil Record Book.



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Items without an asterisk previously appeared and are either in progress or pending verification.                                   74
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 76 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                    Analysis Summary and Action Plan                          Action Plan
                                                                    While the ship was underway from Ketchikan to Prince Rupert, Canada, 5.5 cubic         Deck and Engine watchkeepers were reminded of the requirements of
                                                                    meters of treated bilge water and 13.5 cubic meters of biomass were discharged         the Instructional Notice and the change in measurements from shore to
                                                                    outside 12 nautical miles from shore in Canadian internal waters. The discharge        baseline for Canada Internal Waters. A level 3 investigation has been
                                                                    of bilge water was a violation of Company policy per ENV/05/2019 which                 initiated to establish root causes and effective corrective actions
                                                                    requires that bilge water be discharged >12NM from the baseline. The discharge         regarding the discharge of biomass within the extended Canadian
                                                                    of biomass 12 nautical miles from shore rather than the baseline was a violation       baseline. Following clarification of ENV/05/2019, ships reviewed prior
                                                                    of MARPOL Annex IV. Deck and Engine watchkeepers were reminded of the                  instances of clean, treated bilge water discharges and self-reported prior
                                                                    requirements of the Instructional Notice and the change in measurements from           instances of non-compliance. An exception for all Alaskan vessels
                                                     Seabourn       shore to baseline for Canada Internal Waters. A level 3 investigation has been         discharging clean, treated, bilge water inside the extended Canadian
     169.    07.15.2019*    06.10.2019 HA Group                                                                                                                                                                                       Complete
                                                     Sojourn        initiated to establish root causes and effective corrective actions regarding the      baseline in accordance with ENV-1001 has been granted. Future
                                                                    discharge of biomass within the extended Canadian baseline. Following                  exceptions will be granted, if required, to ships on the Alaskan itinerary
                                                                    clarification of ENV/05/2019, ships reviewed prior instances of clean, treated         navigating the inside pass at the beginning of the season. Also recorded
                                                                    bilge water discharges and self-reported prior instances of non-compliance. An         as an Other Water Discharge.
                                                                    exception for all Alaskan vessels discharging clean, treated, bilge water inside the
                                                                    extended Canadian baseline in accordance with ENV-1001 has been granted.
                                                                    Future exceptions will be granted, if required, to ships on the Alaskan itinerary
                                                                    navigating the inside pass at the beginning of the season. Also recorded as an
                                                                    Other Water Discharge.
                                                                    While the ship was underway from Ketchikan to Prince Rupert, Canada, 20 cubic          Deck and Engine watchkeepers were reminded of the requirements of
                                                                    meters of treated bilge water and 75 cubic meters of biomass were discharged           the Instructional Notice and the change in measurements from shore to
                                                                    outside 12 nautical miles from shore in Canadian internal waters. The discharge        baseline for Canada Internal Waters. A level 3 investigation has been
                                                                    of bilge water was a violation of Company policy per ENV/05/2019 which                 initiated to establish root causes and effective corrective actions
                                                                    requires that bilge water be discharged >12NM from the baseline. The discharge         regarding the discharge of biomass within the extended Canadian
                                                                    of biomass 12 nautical miles from shore rather than the baseline was a violation       baseline. Following clarification of ENV/05/2019, ships reviewed prior
                                                                    of MARPOL Annex IV. Deck and Engine watchkeepers were reminded of the                  instances of clean, treated bilge water discharges and self-reported prior
                                                                    requirements of the Instructional Notice and the change in measurements from           instances of non-compliance. An exception for all Alaskan vessels
                                                     Seabourn       shore to baseline for Canada Internal Waters. A level 3 investigation has been         discharging clean, treated, bilge water inside the extended Canadian
     170.    07.15.2019*    06.08.2019 HA Group                                                                                                                                                                                       In Progress
                                                     Sojourn        initiated to establish root causes and effective corrective actions regarding the      baseline in accordance with ENV-1001 has been granted. Future
                                                                    discharge of biomass within the extended Canadian baseline. Following                  exceptions will be granted, if required, to ships on the Alaskan itinerary
                                                                    clarification of ENV/05/2019, ships reviewed prior instances of clean, treated         navigating the inside pass at the beginning of the season. Also recorded
                                                                    bilge water discharges and self-reported prior instances of non-compliance. An         as an Other Water Discharge.
                                                                    exception for all Alaskan vessels discharging clean, treated, bilge water inside the
                                                                    extended Canadian baseline in accordance with ENV-1001 has been granted.
                                                                    Future exceptions will be granted, if required, to ships on the Alaskan itinerary
                                                                    navigating the inside pass at the beginning of the season. Also recorded as an
                                                                    Other Water Discharge.
                                                                    While the ship was alongside in Corfu, Greece a blackout test was conducted after      There was no oil sheen and no regulatory violation. A clean-up was
                                                                    which Diesel Generator (DG) #2 restarted with Advanced Air Quality System              carried out using one of the ship's tenders. Entries were made in the
                                                                    (AAQS) online and the soot from DG #2 subsequently washed down and                     Garbage Record Book and Napa Deck Log. The Port Agent was advised
     171.    07.15.2019*    06.23.2019 HA Group      Veendam        overboard via the overboard discharge. There was no oil sheen and no regulatory        to notify the local authorities.                                      Complete
                                                                    violation. A clean-up was carried out using one of the ship's tenders. Entries
                                                                    were made in the Garbage Record Book and Napa Deck Log. The Port Agent
                                                                    was advised to notify the local authorities.
                                                                    While the ship was alongside in Keelung, Taiwan, 0.4 cubic meters of aft boiler        The ship is trialing a different set up with their economizer pump
                                                     Majestic
     172.    07.15.2019*    06.20.2019 HA Group                     water was blown down in the harbor in violation of company policy. In                  operation that is expected to result in a more stable boil lever. Results In Progress
                                                     Princess
                                                                    preparation for the departure, two diesel generators were started almost               from the trial will be available after the first week in August 2019.


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   75
                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 77 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                      September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                          Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                     Analysis Summary and Action Plan                            Action Plan
                                                                    simultaneously causing DG economizer water to flow back into the boiler. To
                                                                    prevent reoccurrence, the shoreside technical team is investigating lowering the
                                                                    boiler level set points so when more than one engine is started, the circumstances
                                                                    resulting in the boiler blow down are avoided.
                                                                    While the ship was alongside in Zeebrugge, Belgium, a light black discoloration         A purchase Order was raised. The vendor attended on July 14, 2019 to
                                                                    without any obvious oil sheen was observed in the water after launching a rescue        evaluate the condition of the equipment. CUK currently awaits the
                                                                    boat for testing purposes. This discoloration lasted for a total of 20 minutes before   report.
                                                                    dissolving. The dark discoloration was deemed to be produced by incomplete
                                                     Queen Mary
     173.    07.15.2019*    06.18.2019 CUK                          combustion resulting in black soot, in conjunction with a long period of inactivity                                                                                 In Progress
                                                     2
                                                                    of the boat whereby dust and carbon accumulated in the exhaust pipe, in
                                                                    combination with the relative low temperature of the engine. The coxswain was
                                                                    made aware of the occurrence via radio and instructed to return to the falls. The
                                                                    engine is due to undergo maintenance.
                                                                    While the ship was alongside in Gijon, Spain, with diesel generator (DG) #4 on          DG#2 was started on MGO and DG#4 was shut down. The scum
                                                                    load with an Advanced Air Quality System (AAQS), surface scum was observed              dissipated over time. At the time of the incident, the day was grey and
                                                                    in the harbor at the forward end of vessel. The scum was suspected to come from         overcast and the harbor water was flat and calm. This was not
                                                                    the AAQS washwater. DG#2 was started on MGO and DG#4 was shut down.                     considered surface effect as it was an oily sheen. The ship's team have
     174.    07.15.2019*    06.17.2019 CUK           Aurora                                                                                                                                                                         Complete
                                                                    The scum dissipated over time. At the time of the incident, the day was grey and        seen the company video relating to surface effects.
                                                                    overcast and the harbor water was flat and calm. This was not considered surface
                                                                    effect as it was an oily sheen. The ship's team have seen the company video
                                                                    relating to surface effects.
                                                                    While the ship was alongside in Okinawa, Japan, the aft boiler was blown down           There was no violation of local regulations. The short term preventative
                                                                    into the harbor waters in violation of ENV-1001-F1. In preparation for the              action will be to adjust the boiler water level setting. Long term action
                                                                    departure, two diesel generators were started almost simultaneously causing             is to evaluate if blow down may be routed to an internal tank during an
                                                     Majestic       economizer water to flow back into the boiler. An entry was made in the Oil             upcoming dry dock.
     175.    07.15.2019*    06.16.2019 HA Group                                                                                                                                                                                         Complete
                                                     Princess       Record Book and the agent was informed. There was no violation of local
                                                                    regulations. The short term preventative action will be to adjust the boiler water
                                                                    level setting. Long term action is to evaluate if blow down may be routed to an
                                                                    internal tank during an upcoming dry dock.
                                                                    While the ship was alongside in Juneau, Alaska, a port sample of the Membrane           A continuous monitor for pH effluent is currently being installed.
                                                                    Bio-Reactor water revealed a low pH value of 5.3. ADEC and the U.S. Coast
                                                     Golden
     176.    07.15.2019*    06.12.2019 HA Group                     Guard will be informed of this exceedance of the Alaskan Permit. Installation of                                                                                    In Progress
                                                     Princess
                                                                    a continuous monitor for pH effluent is being evaluated. Until this can be done,
                                                                    the sampling protocol will be modified to require daily pH testing.
                                                                    While the ship was alongside in Warnemunde, Germany, the wrong valve was                The installation of the one non-return valve on the BWTS overboard
                                                                    opened while obtaining a sample from the Ballast Water Treatment System                 line is complete.
                                                                    (BWTS). Approximately 46 cubic meters of water filled the ballast tank,
                                                                    bypassing the BWTS. The ECR was in Yellow Manning with Operations
                                                                    Director when the event occurred. Ballasting and deballasting occurred during
                                                     Regal
     177.    07.15.2019*    06.09.2019 HA Group                     the same day in the same location so there was no violation of regulations. An                                                                                      Complete
                                                     Princess
                                                                    entry was made in the BWTS log. It was identified that, during ballast operations,
                                                                    sea water may fill up any ballast tank which is in service, by-passing the BWTS
                                                                    system, because the overboard piping does not have a non-return valve to block
                                                                    the back flow from the sea. Additionally, the automation does not have an
                                                                    interlock which would limit opening the critical valve during de-ballasting only.



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Items without an asterisk previously appeared and are either in progress or pending verification.                                    76
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 78 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                   Analysis Summary and Action Plan                          Action Plan
                                                                    A modification proposal to fit a non-return valve or upgrade the automation
                                                                    system is under review.
                                                                    The previous EO was unaware of the ENV/05/2019 requirement to discharge                 All discharges were in accordance with MARPOL requirements,
                                                                    treated bilge water outside 12 nautical miles from the Western Canada extended          Canadian requirements and as per ENV 1001 F1 Matrix requirements.
                                                                    baseline and instead followed the ENV 1001 Matrix requirement. A new EO                 Given the ship’s itinerary and extended period within the Canadian
                                                                    joined the ship and identified four prior non-compliant discharges. The                 baseline, an exception was requested by the ship and was granted for the
                                                                    discharges were 23 May (8.2 cubic meters), 28 May (10.4 cubic meters and then           remainder of the ship’s Alaska season for the discharge of less than 15
                                                                    16.2 cubic meters, 04 June (11.2 cubic meters). All discharges were in accordance       ppm treated bilge water within the Canadian extended baseline in
                                                                    with MARPOL requirements, Canadian requirements and as per ENV 1001 F1                  accordance with ENV-1001, Canadian requirements and MARPOL.
                                                                    Matrix requirements. Given the ship’s itinerary and extended period within the          Following clarification of ENV/05/2019, ships reviewed prior instances
                                                                    Canadian baseline, an exception was requested by the ship and was granted for           of clean, treated bilge water discharges and self-reported prior instances
     178.    07.15.2019*    06.09.2019 HA Group      Volendam                                                                                                                                                                          Complete
                                                                    the remainder of the ship’s Alaska season for the discharge of less than 15 ppm         of non-compliance. An exception for all Alaskan vessels discharging
                                                                    treated bilge water within the Canadian extended baseline in accordance with            clean, treated, bilge water inside the extended Canadian baseline in
                                                                    ENV-1001, Canadian requirements and MARPOL. Following clarification of                  accordance with ENV-1001 has been granted. Future exceptions will
                                                                    ENV/05/2019, ships reviewed prior instances of clean, treated bilge water               be granted, if required, to ships on the Alaskan itinerary navigating the
                                                                    discharges and self-reported prior instances of non-compliance. An exception for        inside pass at the beginning of the season.
                                                                    all Alaskan vessels discharging clean, treated, bilge water inside the extended
                                                                    Canadian baseline in accordance with ENV-1001 has been granted. Future
                                                                    exceptions will be granted, if required, to ships on the Alaskan itinerary
                                                                    navigating the inside pass at the beginning of the season.
                                                                    While the ship was inside 12 nautical miles from the Canadian baseline, the ship        The discharge complied with MARPOL, and Canadian requirements.
                                                                    accidentally discharged 0.5 cubic meters of treated bilge water. This discharge         An entry was made in the Oil Record Book. Following clarification of
                                                                    was not in compliance with the Instructional Notice ENV/05/2019                         ENV/05/2019, ships reviewed prior instances of clean, treated bilge
                                                                    Implementation of Company Policy to Conduct Discharges over 12 Nautical                 water discharges and self-reported prior instances of non-
                                                                    Miles from the Baseline as no exception request was made for the discharge. The         compliance. An exception for all Alaskan vessels discharging clean,
                                                                    discharge complied with MARPOL, and Canadian requirements. An entry was                 treated, bilge water inside the extended Canadian baseline in accordance
     179.    07.15.2019*    06.08.2019 HA Group      Noordam        made in the Oil Record Book. Following clarification of ENV/05/2019, ships              with ENV-1001 has been granted. Future exceptions will be granted, if Complete
                                                                    reviewed prior instances of clean, treated bilge water discharges and self-reported     required, to ships on the Alaskan itinerary navigating the inside pass at
                                                                    prior instances of non-compliance. An exception for all Alaskan vessels                 the beginning of the season.
                                                                    discharging clean, treated, bilge water inside the extended Canadian baseline in
                                                                    accordance with ENV-1001 has been granted. Future exceptions will be granted,
                                                                    if required, to ships on the Alaskan itinerary navigating the inside pass at the
                                                                    beginning of the season.
                                                                    While the ship was arriving into Cozumel, Mexico, a pool overflow occurred.             The feasibility of alarms and automated pump shutdown is being
                                                                    The midship pool water level was found much higher than normal which resulted           assessed.
                                                                    in an overboard discharge of three cubic meters during maneuvering.
                                                                    Approximately 11 cubic meters of pool water were drained to the ship bilges to
                                                                    lower the pool level. The housekeeping department team blocked the drains to
                                                                    stop further water from going overboard and accumulated water on the floor was
                                                     Carnival
     180.    07.15.2019*    06.07.2019 CCL                          removed with wet vacuum machines. It was discovered that the sea water                                                                                           In Progress
                                                     Miracle
                                                                    automated suction valve was leaking, which allowed an increase in the pool level
                                                                    even after all valves were closed before the ship entered the 12 nautical mile limit.
                                                                    The violation of local regulation and Company Policy was reported to the port
                                                                    authority. As a preventive action, the main sea water suction manual isolating
                                                                    valve will be closed before the ship enters 12 nautical mile limits and will remain
                                                                    closed until the ship exits 12 nautical mile limits. Other ships will be checked for


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Items without an asterisk previously appeared and are either in progress or pending verification.                                    77
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 79 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                    Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                  Analysis Summary and Action Plan                        Action Plan
                                                                    similar configurations. The feasibility of alarms and automated pump shutdown
                                                                    is being assessed.
                                                                    After a review of the implementation of ENV/05/2019, the ship discovered that it       Although a violation of Company procedure, the discharge was in
                                                                    has discharged 6.8 cubic meters of treated bilge water within 12 nautical miles of     accordance with MARPOL and Canadian requirements. Following
                                                                    the Western Canadian baseline. Although a violation of Company procedure, the          clarification of ENV/05/2019, ships reviewed prior instances of clean,
                                                                    discharge was in accordance with MARPOL and Canadian requirements.                     treated bilge water discharges and self-reported prior instances of non-
                                                                    Following clarification of ENV/05/2019, ships reviewed prior instances of clean,       compliance. An exception for all Alaskan vessels discharging clean,
                                                     Star
     181.    07.15.2019*    06.03.2019 HA Group                     treated bilge water discharges and self-reported prior instances of non-               treated, bilge water inside the extended Canadian baseline in accordance Complete
                                                     Princess
                                                                    compliance. An exception for all Alaskan vessels discharging clean, treated,           with ENV-1001 has been granted. Future exceptions will be granted, if
                                                                    bilge water inside the extended Canadian baseline in accordance with ENV-1001          required, to ships on the Alaskan itinerary navigating the inside pass at
                                                                    has been granted. Future exceptions will be granted, if required, to ships on the      the beginning of the season. Also recorded as an Other Water
                                                                    Alaskan itinerary navigating the inside pass at the beginning of the season. Also      Discharge.
                                                                    recorded as an Other Water Discharge.
                                                                    Following the grey water sampling event from 28 April, the ship was notified by        The air diffusers and air blower of MBR #1 processing sewage have
                                                                    Admiralty Environmental that the BOD underway sample (76 mg/L) exceeded                been inspected. Crewmembers replaced a few air diffusers; no further
                                                                    both the daily (60 mg/L) and monthly average (30 mg/L) Alaska compliance               action is deemed necessary.
                                                                    limits. The fact that the in port sample is within limits may show that the issue is
                                                     Ruby
     182.    07.15.2019*    04.30.2019 HA Group                     with the Membrane Bio-Reactor (MBR) treating sewage. The air diffusers and                                                                                    Complete
                                                     Princess
                                                                    air blower of MBR #1 processing sewage will be inspected and further action will
                                                                    be decided. ADEC and the U.S. Coast Guard were notified regarding the
                                                                    exceedance on 04 May and non-compliance notification forms were submitted on
                                                                    07 May.
                                                                    While the ship was alongside in Montego Bay, Jamaica, a malfunction of the             The OWS was set out of service and dismantled for the replacement of
                                                                    Westfalia Oily Water Separator (OWS) occurred. An investigation revealed the           the broken transmission belt and a general check of all the parts. The
                                                                    cause of the malfunction was an unexpected rupture of the drive belt. The OWS          OWS was put back in service 04 July at 18:30, total time out of service
                                                     Carnival       was set out of service and dismantled for the replacement of the broken                was 26 hours. There was no operational impact as the second OWS was
     183.    07.25.2019*    07.03.2019 CCL                                                                                                                                                                                         Complete
                                                     Glory          transmission belt and a general check of all the parts. The OWS was put back in        fully functioning. Entries were made in the NAPA eLog and Oil Record
                                                                    service 04 July at 18:30, total time out of service was 26 hours. There was no         Book.
                                                                    operational impact as the second OWS was fully functioning. Entries were made
                                                                    in the NAPA eLog and Oil Record Book.
                                                                    After observing the previous couple of overboard bilge water discharges through        BCDB #1 is operational.
                                                                    Bilge Control Discharge Box (BCDB) #1, it was noted that the “Total Flow
                                                                    Overboard” section in Eurotherm remained the same and did not record the
                                                                    quantity discharged overboard. The issue was noted by the EO the same day it
                                                                    occurred, as the flow meter had just been replaced. The Electronic Officer
                                                                    checked the configuration and then the BCDB was retested (completing the
                                                                    repair) and the overboard discharge was conducted. It is suspected that this is due
                                                     Carnival       to a possible malfunction of the flow meter connectivity to the CPU of BCDB #1.
     184.    07.25.2019*    07.03.2019 CCL                                                                                                                                                                                        Complete
                                                     Splendor       On 03 July while docked in the port of Puerto Vallarta, Mexico, BCDB #1 was
                                                                    set out of service. It will remain out of service until the TMS technician arrives
                                                                    onboard 10 July and resolves the issue. BCDB #2 is fully operational. An entry
                                                                    was recorded to the Oil Record Book and NAPA eLog entry. The status of the
                                                                    equipment as out of service will be included in the e-NOA before arrival to Long
                                                                    Beach. Required shipboard and shore side personnel were notified. As a
                                                                    preventive measure, Eurotherm review is done on a regular basis to check the
                                                                    variance between tank soundings and Eurotherm recorder.


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   78
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 80 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                        Status of
  Number     Notification    Incident     Group         Vessel                                     Description of Incident                                                  Analysis Summary and Action Plan                           Action Plan
                                                                    While the ship was alongside in Victoria, Canada, it was reported that the              The COWS was isolated and dismantled to investigate the cause of
                                                                    Centrifugal Oily Water Separator (COWS) had tripped on motor overload after             failure. No specific fault was found, and the separator was cleaned and
                                                                    experiencing higher than normal levels of vibration. The COWS is now                    reassembled. There were no abnormal vibrations. COWS was out of
                                                                    unavailable. There are currently 40 cubic meters of bilge water on board, and the       service for 96 hours and 28 minutes. The suspected cause of the
                                                                    ship has the capacity to hold 120 cubic meters. The ship is current producing 4         malfunction is dirt build up. Appropriate entries were made in the Oil
                                                     Queen          cubic meters per day and the Static OWS remains operational. Accordingly, there         Record Book.
     185.    07.25.2019*    06.30.2019 CUK                                                                                                                                                                                            Complete
                                                     Elizabeth      are no immediate concerns regarding holding capacity. The COWS was isolated
                                                                    and dismantled to investigate the cause of failure. No specific fault was found,
                                                                    and the separator was cleaned and reassembled. There were no abnormal
                                                                    vibrations. COWS was out of service for 96 hours and 28 minutes. The suspected
                                                                    cause of the malfunction is dirt build up. Appropriate entries were made in the
                                                                    Oil Record Book.
                                                                    During a service inspection on the Static Oily Water Separator (SOWS) the               Delivery of the spare parts and service is pending. The estimated
                                                                    inner body of the second stage was found to be perforated due to corrosion. The         delivery date is August 27, 2019.
                                         Costa                      SOWS was taken out of service and an entry was made in the Oil Record Book.
     186.    07.25.2019*    05.20.2019               AIDAluna                                                                                                                                                                         In Progress
                                         Group                      Spare parts were ordered and a service request was created. The centrifugal oily
                                                                    water separator remained available until the SOWS was repaired and returned to
                                                                    service.
                                                                    The SO2/CO2 sensor of Advanced Air Quality System (AAQS) #4 is not                      A technician boarded the ship on July 13, 2019, but could not resolve
                                                                    providing an accurate reading due to high vibration of the sensor when running,         the issue. The technical team is currently evaluating the next required
                                                     Carnival
     187.    07.25.2019*    07.04.2019 CCL                          making it difficult to align the lens and obtain an accurate reading. AAQS #4 is        steps. Repair is expected to be completed before September 2019.        In Progress
                                                     Elation
                                                                    offline pending repair. A new sensor has been received onboard and the vendor's
                                                                    technicians will go onboard to complete the repair once a date has been arranged.
                                                                    Due to low alarm differential pressure, the incinerator shut down. An                   A spare impeller was available on board and was used to replace the
                                                                    investigation revealed the cooling impeller electrical motor was damaged. This          damaged impeller. As a preventive measure, more frequent inspections
                                                                    was likely caused by the age of the equipment. A spare impeller was available on        will be carried out. A request for another spare impeller will be issued.
                                                     Carnival
     188.    07.25.2019*    07.03.2019 CCL                          board and was used to replace the damaged impeller. As a preventive measure,            The incinerator remained out of service for a total of two days, the Complete
                                                     Liberty
                                                                    more frequent inspections will be carried out. A request for another spare              incinerator is back in service. There was no operational impact.
                                                                    impeller will be issued. The incinerator remained out of service for a total of two
                                                                    days, the incinerator is back in service. There was no operational impact.
                                                                    While the ship was underway from Venice to Argostólion and restarting for the           The system is still out of service. Technicians could not resolve the
                                                                    first time the ship's pulper system after a long period of inactivity [the system was   issue remotely. A service visit from the manufacturer (Deerberg) has
                                                                    stopped after having detected non-food items in the food-silos on 18 April], an         been requested.
                                                                    onboard technical investigation concluded it needed to be set out of service. No
                                         Costa       Costa
     189.    07.25.2019*    06.29.2019                              food waste processing system is available onboard, and a large amount of food                                                                                     In Progress
                                         Group       Luminosa
                                                                    waste needs to be stored on board before being disposed ashore to an authorized
                                                                    Port Reception Facility. Further technical investigations are ongoing and an
                                                                    external service was requested. The pulper system is out of service due to a PLC
                                                                    issue. The manufacturer is trying to solve the problem remotely.
                                                                    The ship is experiencing issues with the Advanced Air Quality System (AAQS)             The delivery of the mirrors is pending.
                                                                    SO2/CO2 ratio readings due to sensor exposure to atmospheric conditions. The
                                                                    receiver is losing communication connection. The shoreside technical team has
                                                     Sapphire
     190.    07.25.2019*    06.29.2019 HA Group                     been notified of the issue and the manufacturer is providing assistance. Consilium                                                                                In Progress
                                                     Princess
                                                                    are reviewing all data from Sapphire Princess and will advise on next steps as
                                                                    well as whether technician attendance is required once the data review is
                                                                    completed. An urgent purchase order has been raised. A purchase order has been

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Items without an asterisk previously appeared and are either in progress or pending verification.                                    79
                                                               Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 81 of
                                                                                                               100
                                                                              United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                       September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                      Status of
  Number     Notification    Incident     Group         Vessel                                     Description of Incident                                                 Analysis Summary and Action Plan                          Action Plan
                                                                    raised for new mirrors with an on board date of 17 August which the vendor is
                                                                    working to improve on. Two DG's have been switched to MGO pending
                                                                    resolution.
                                                                    While the ship was underway from Isafjordur to Reykjavik, Iceland, the                 The ash grate operation was checked and the incinerator started but
                                                                    Recycling Center staff attempted to start the incinerator once the ship was outside    failed again. Further checks identified the servo motor for the burner
                                                                    12 nautical miles. However, the incinerator was blocked, and the burner would          air flap was burnt out. A spare servo motor was fitted and the incinerator
                                                                    not start. Initial investigations identified the likely cause of the malfunction was   was tested and all was found satisfactory. The incinerator was returned
                                                                    the ash grate switch. The ash grate operation was checked and the incinerator          to service on 02 July at 03:30. The ship was in port overnight and
                                                                    started but failed again. Further checks identified the servo motor for the burner     garbage offload was already being undertaken/planned. The working
     191.    07.25.2019*    06.29.2019 CUK           Ventura                                                                                                                                                                          Complete
                                                                    air flap was burnt out. A spare servo motor was fitted and the incinerator was         hours of staff was adjusted to ensure full support after departure on 01
                                                                    tested and all was found satisfactory. The incinerator was returned to service on      July to perform the test of the incinerator. Total time out of service was
                                                                    02 July at 03:30. The ship was in port overnight and garbage offload was already       53 hours
                                                                    being undertaken/planned. The working hours of staff was adjusted to ensure full
                                                                    support after departure on 01 July to perform the test of the incinerator. Total
                                                                    time out of service was 53 hours
                                                                    While testing the Advanced Air Quality System (AAQS) alongside in Piraeus,             The AAQS has been repaired and is operational.
                                                                    Greece, it was noted that the gas analyzer had failed and a pump was not working
                                                                    due to a bearing failure. Cabinet dryers and filters were replaced and new
                                                                    bearings were fitted. The gas analyzer continued to provide fixed values of SO2
                                         Costa       Costa
     192.    07.25.2019*    06.27.2019                              = 0 and CO2 = 6 all the time the system was switched on. Calibration was                                                                                        Complete
                                         Group       Deliziosa
                                                                    performed but did not solve the issue. The AAQS system was isolated and the
                                                                    DGs were run on MGO until departure. The AAQS remains offline and
                                                                    troubleshooting is ongoing. Service on board will be scheduled as soon as
                                                                    possible to identify the cause and repair the gas analyzer system.
                                                                    While the ship was at anchor in Moreton Island, Australia, due to the automatic        The sprinkler was deactivated and the matter was reported via phone
                                                                    activation of the dry sprinkler valve, some sprinkler technical water was              and via email to the port agent who informed the port authority of the
                                                                    discharged overboard through the drainage system in violation of Company               incident on the ship’s behalf. An entry was made in the NAPA eLog.
                                                                    Policy. The sprinkler activation was triggered by a fire detector located by a pool    As a preventive measure, the ship’s Safety Officer held a meeting with
                                                                    grill. The alarm, if not reset within two minutes, will activate the dry sprinkler     the entire fire patrol team. Aspects pertaining to the Fire Detection
                                                                    release. At the time the event took place, the fire detection system was manned        System and Dry Sprinkler system automatic activation were discussed
                                                                    by a Fire Patrol who acknowledged the alarm but by the time he sent the fire           and the team acknowledged their understanding.
                                                                    watch to investigate it, the dry sprinkler activated. The sprinkler water
                                                     Carnival       consequently reached the scupper drains of the area and was discharged
     193.    07.25.2019*    05.22.2019 CCL                                                                                                                                                                                          Complete
                                                     Spirit         overboard, creating a visible brown sheen. Sprinkler water is technical water but,
                                                                    due to the fact that such water had been in the piping system for a long period of
                                                                    time, it was rusty and it generated the sheen. The sprinkler was deactivated and
                                                                    the matter was reported via phone and via email to the port agent who informed
                                                                    the port authority of the incident on the ship’s behalf. An entry was made in the
                                                                    NAPA eLog. As a preventive measure, the ship’s Safety Officer held a meeting
                                                                    with the entire fire patrol team. Aspects pertaining to the Fire Detection System
                                                                    and Dry Sprinkler system automatic activation were discussed and the team
                                                                    acknowledged their understanding.
                                                                    While alongside in Southampton, UK, approximately 12.9 cubic meters of bilge           The MBR was confirmed out of service and the desludging operation
                                                     Sapphire       water was produced and then transferred into a sludge tank using a portable pump.      was conducted outside the 12nm limit. The respective membranes were
     194.    07.25.2019*    05.04.2019 HA Group                                                                                                                                                                                  Complete
                                                     Princess       The internal review revealed that due to the high pressure on the MBR, the             washed. The bilge water was off-loaded as sludge in Tallinn, Estonia,
                                                                    membrane collar rubber blew out. The high pressure was due to improper


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   80
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 82 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                               Analysis Summary and Action Plan                              Action Plan
                                                                    desludging and a faulty air pipe. The MBR was confirmed out of service and the         on 10 May. An entry has been made in the ORB and in the portable
                                                                    desludging operation was conducted outside the 12nm limit. The respective              pump log.
                                                                    membranes were washed. The bilge water was off-loaded as sludge in Tallinn,
                                                                    Estonia, on 10 May. An entry has been made in the ORB and in the portable
                                                                    pump log.
                                                                    While the ship was alongside in Sitka, Alaska, weekly required preventative            Further review confirmed the sheen was caused by unburnt fuel passing
                                                                    maintenance was conducted which required the testing of the engines from               through the exhaust of the tender. This occurs with wet exhaust systems.
                                                                    Tenders 12 and 14. The tenders remained in the blocks. A technical water line          To prevent the reoccurrence, a pipe has been manufactured that goes
                                                                    was connected to the sea water cooling line of the engines which were started and      over the exhaust outlet and directs the cooling water to bins, the water
                                                                    let run for approximately two minutes. During the time the engines were running        is then added to the bilge wells.
                                                                    the cooling water leaves the Tenders via the exhaust pipes and falls to the open
                                                                    deck and from there to the scuppers and finally overboard. At the completion of
                                                                    the testing it was observed that there was sheen on the Deck in the cooling water.
     195.    07.25.2019*    07.03.2019 HA Group      Eurodam                                                                                                                                                                          Complete
                                                                    The scupper heads were immediately covered and absorbent pads/wet vacuum
                                                                    were used to clean up. A small sheen was observed in the water between the ship
                                                                    and the dock. It dissipated a short time later. The ship reported the MARPOL
                                                                    Annex I violation to the National Response Center (NCR), report number
                                                                    1250916. Shoreside team reported the spill to Alaska Department of
                                                                    Environmental Conservation and U.S. Coast Guard Sector Juneau. A specific
                                                                    report was not made to the EPA Regional Administrator, but EPA is informed of
                                                                    reports to the NCR.
                                                                    During routine visual checks while the ship was en route towards Messina, Italy,       The lifeboat system was tested and the emergency bilge pump was
                                                                    fuel was noted in the bilge of a lifeboat. The engineer officer isolated the fuel      confirmed to function correctly in manual mode only with activation of
                                                                    tank, confirmed that the batteries were off and instructed the deck crewmember         the bilge well high alarm. The violation of MARPOL Annex I was
                                                                    to clean up the fuel. Shortly after clean-up started, the officer was informed that    reported to the Messina Coast Guard and an Oil Record Book entry
                                                                    the lifeboat was leaking. Approximately 10 liters of diesel had discharged into        made. The shoreside technical team continues to review the event,
                                                                    the sea due to activation of the lifeboat’s emergency bilge discharge pump. The        ensure proper system operation and address any issue fleet wide as
                                                     Emerald
     196.    07.25.2019*    06.26.2019 HA Group                     deck crewmember stated he did not touch the battery switch and the officer             needed.                                                                Complete
                                                     Princess
                                                                    confirmed the batteries remained off. The lifeboat system was tested and the
                                                                    emergency bilge pump was confirmed to function correctly in manual mode only
                                                                    with activation of the bilge well high alarm. The violation of MARPOL Annex I
                                                                    was reported to the Messina Coast Guard and an Oil Record Book entry made.
                                                                    The shoreside technical team continues to review the event, ensure proper system
                                                                    operation and address any issue fleet wide as needed.
                                                                    During scheduled maintenance on a stern thruster while the ship was alongside in       Any future service will need the OEM to ensure that the dive team
                                                                    Los Angeles, 20 liters of residual biodegradable oil from the thrusters gear spilled   follow correct procedures. Additionally, a boom will be deployed as a
                                                                    into the water in violation of MARPOL Annex I. An Oil Record Book entry was            further precaution.
                                                     Sun            made. The company received a Notice of Federal Interest from the U.S. Coast
     197.    07.25.2019*    06.25.2019 HA Group                                                                                                                                                                                       Complete
                                                     Princess       Guard. The incident occurred during a turnkey service provided by the OEM-
                                                                    supplied dive team who failed to follow the OEM's procedures. Any future
                                                                    service will need the OEM to ensure that the dive team follow correct procedures.
                                                                    Additionally, a boom will be deployed as a further precaution.
                                                                    After maneuvering departure from Amber Cove, housekeeping reported to the 3rd          As a preventive measure, the co-operator of every watch will verify and
                                                     Carnival       hotel engineer that the level of the water in the main pool dropped. The 3rd Hotel     report to the operator that the manual overboard valve of the pool is
     198.    07.25.2019*    07.01.2019 CCL                                                                                                                                                                                         Complete
                                                     Elation        Engineer reported the issue to the Engine Control Room after the end of                properly closed and tightened. This has been communicated to Engine
                                                                    maneuvering. Approximately six cubic meters of water from the main pool went           Officer's via a meeting and documented in an addendum to the Chief


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Items without an asterisk previously appeared and are either in progress or pending verification.                                   81
                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 83 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                      September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                     Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                 Analysis Summary and Action Plan                           Action Plan
                                                                    into the sea when the vessel was docked at Amber Cove as the main pool level         Engineer's standing orders (signed by Engine Officer's). This violation
                                                                    was subsequently dropping. Approximately four cubic meters went into the sea         of company policy was reported to the port authority via the ship’s
                                                                    while the ship was underway inside 12 nautical miles. It was found that the          agent.
                                                                    pneumatic actuator for pool dumping (in the pool machinery space) and the
                                                                    manual overboard valve of main pool (in the engine room) were both slightly
                                                                    open. After discharging the pool at night after outside 12 nautical miles, the FMM
                                                                    and his team removed the butterfly valves associated with the discharge and
                                                                    dumping of the pool. The valves were found in good condition; only a few hairs
                                                                    were found stuck in one butterfly valve. The valve was likely slightly open due
                                                                    to human error. As a preventive measure, the co-operator of every watch will
                                                                    verify and report to the operator that the manual overboard valve of the pool is
                                                                    properly closed and tightened. This has been communicated to Engine Officer's
                                                                    via a meeting and documented in an addendum to the Chief Engineer's standing
                                                                    orders (signed by Engine Officer's). This violation of company policy was
                                                                    reported to the port authority via the ship’s agent.
                                                                    While discharging grey water and treated sewage in international waters, the         The incident occurred due to an unexpected current. The crewmembers
                                                                    ship's speed dropped below six knots for a total time of one hour due to an          continue to strive to meet company requirements.
                                                     Carnival
     199.    07.25.2019*    06.26.2019 CCL                          unexpected current, resulting in a violation of company requirements. The ship's                                                                               Complete
                                                     Vista
                                                                    speed reduced to 5.5 knots and did not drop below four knots. An entry was made
                                                                    in the NAPA LOG.
                                                                    On 24 June, a Notice of Violation dated 14 June 2019 was received for a violation    The procedure is expected to be incorporated into Global HESS within
                                                                    on 28 April 2019 when an Advanced Waste Water Treatment System (AWWTS)               the next two months.
                                                                    sample was taken in the underway mixing zone. The Biological Oxygen Demand
                                                                    (BOD) was 76 mg/l, in excess of the Alaskan Large Commercial Passenger Vessel
                                                                    Wastewater General Permit effluent daily limit of 60 mg/l. The high BOD was
                                                     Ruby
     200.    07.25.2019*    06.24.2019 HA Group                     caused by poor aeration in the first stage and second stage, and to address the                                                                                In Progress
                                                     Princess
                                                                    issue, the MBR was cleaned and 17 air diffusers replaced. A cross-brand ABG
                                                                    Work Group has defined a preliminary standard approach to AWWTS sampling
                                                                    and testing in Alaska and this standardized sampling/testing/training will be
                                                                    incorporated into Global HESS as part of a Tier II procedure. The shoreside
                                                                    Environmental Team has been engaged.
                                                                    While the ship was alongside in Skagen, Copenhagen, a jacuzzi discharged             Seanet technicians removed the ability to remote dump by re-writing the
                                                                    overboard in violation of Company Policy. All other Jacuzzi's remained               software. Additionally, the actuators have been removed from the
                                                                    operational. It was concluded that work being undertaken by a contractor to          valves. The delivery of manual handles is pending.
                                                                    upgrade the system that controls the dump valves caused the discharge. The
     201.    07.25.2019*    06.23.2019 CUK           Aurora                                                                                                                                                                        In Progress
                                                                    control systems for jacuzzi dump valves and the dump pipework across all ships
                                                                    are being reviewed with a view to modifying the controls to inhibit auto dump
                                                                    when alongside. Longer term, the option of modifying the pipework to dump to
                                                                    grey rather than overboard will be evaluated.
                                                                    While the ship was underway toward Keelung, Taiwan, the Static Oily Water            The operation was stopped, the defective OCM was replaced with a
                                                                    Separator's (SOWS) Oil Content Meter (OCM) became in-operational as it was           spare one and the SOWS is now fully operational.
                                                     Majestic       not able to read oil in water content below 11 parts per million. The operation
     202.    08.05.2019*    07.10.2019 HA Group                                                                                                                                                                                    Complete
                                                     Princess       was stopped, the defective OCM was replaced with a spare one and the SOWS is
                                                                    now fully operational. The SOWS was down for approximately 32 hours total.
                                                                    There was no operational impact. An entry was made on the Oil Record Book.



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                                                               Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 84 of
                                                                                                               100
                                                                              United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                       September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                      Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                  Analysis Summary and Action Plan                          Action Plan
                                                                    The Bilge Control Discharge Box (BCDB) did not record the volume of bilge             Troubleshooting started immediately. The immediate and main cause
                                                                    water discharged overboard on two occasions. The Engine Officer of the Watch          was insufficient compressed air delivered to the 3-way valve inside the
                                                                    (EOOW) noticed during a bilge discharge on 09 July that the DRD display in the        white box which caused the 3-way valve to not fully open, which caused
                                                                    Engine Control Room was showing recirculation while the Damatic was showing           the DRD to read recirculation status. The malfunction caused the DRD
                                                                    normal discharge parameters. Troubleshooting started immediately. The                 to miss the recording of the volume of bilge water discharged overboard
                                                                    immediate and main cause was insufficient compressed air delivered to the 3-way       for the discharges on 08 July and on 09 July. All the other parameters
                                                     Carnival       valve inside the white box which caused the 3-way valve to not fully open, which      were recorded. The PPM of oil content was always in compliance. The
     203.    08.05.2019*    07.09.2019 CCL                                                                                                                                                                                        Complete
                                                     Pride          caused the DRD to read recirculation status. The malfunction caused the DRD to        air pressure after the regulating valve was increased. As a preventive
                                                                    miss the recording of the volume of bilge water discharged overboard for the          action, the engineer on duty will verify more often the air pressure
                                                                    discharges on 08 July and on 09 July. All the other parameters were recorded.         regulating valve to the BCDB 3-way valve.
                                                                    The PPM of oil content was always in compliance. The air pressure after the
                                                                    regulating valve was increased. As a preventive action, the engineer on duty will
                                                                    verify more often the air pressure regulating valve to the BCDB 3-way valve. An
                                                                    Oil Record Book entry was made.
                                                                    While the ship was underway, the 3rd Engine Officer was conducting rounds and         Owing to recent reduced reliability of COWS #1, and higher flow rate
                                                                    discovered a leak from the sample pipework compression fitting of Centrifugal         of COWS #2, the sample cooler was removed from COWS #1 and
                                                                    Oily Water Separator (COWS) #2. Attempts to tighten did not stop the leak.            installed on COWS #2. COWS #2 was run up, without leaks and was
                                                                    COWS #2 was shut down. COWS #1, Static OWS and the clean pump remain                  put back in service after 10 hours and 40 minutes. Appropriate entries
                                                                    operational and bilge capacity is at 29%. The ship checked the sample line            were made in the Oil Record Book. An urgent order was raised for spare
                                                                    connections and while repairing the sample line, water was still flowing out of the   sample coolers. They were received onboard and COWS #1 returned to
                                                                    line. This continued until cooling water was isolated for the sample cooler. The      service. Total time out of service 147.5 hours. Oil Record Book entry
                                                                    sample cooler has failed internally. This was installed on 24 June, and has           made and the spare coolers have been added to PMS as critical spares.
     204.    08.05.2019*    07.08.2019 CUK           Ventura                                                                                                                                                                         Complete
                                                                    completed 68 running hours. There are no spares onboard. Owing to recent
                                                                    reduced reliability of COWS #1, and higher flow rate of COWS #2, the sample
                                                                    cooler was removed from COWS #1 and installed on COWS #2. COWS #2 was
                                                                    run up, without leaks and was put back in service after 10 hours and 40 minutes.
                                                                    Appropriate entries were made in the Oil Record Book. An urgent order was
                                                                    raised for spare sample coolers. They were received onboard and COWS #1
                                                                    returned to service. Total time out of service 147.5 hours. Oil Record Book entry
                                                                    made and the spare coolers have been added to PMS as critical spares.
                                                                    While the ship was underway, the Oil Content Meter (OCM) was showing low              The sample lines of COWS #1 were checked for blockage. Owing to
                                                                    sample flow while the 3rd Engine Officer was checking the Centrifugal Oily            ongoing sample flow issues, the sample lines have been replaced in their
                                                                    Water Separator (COWS) #1 to see if it would be suitable for overboard                entirety.
                                                                    discharge. The cell flow cap was removed, which verified good flow. COWS #1
                                                                    was shut down. At that time COWS #1 was shut down, COWS #2 was undergoing
     205.    08.05.2019*    07.08.2019 CUK           Ventura        repair for a leaking sample line. The Static OWS and Clean pump remain                                                                                           Complete
                                                                    operational. Current bilge holding is at 29% capacity. An entry was made in the
                                                                    Oil Record Book. The sample lines of COWS #1 were checked for blockage. The
                                                                    ship is awaiting a new cooler because the cooler was utilized for COWS #2.
                                                                    Owing to ongoing sample flow issues, the sample lines have been replaced in their
                                                                    entirety.
                                                                    While the ship was underway from Reykjavik to Greenock, the watchkeeper               On 07 July, an Alfa Laval service engineer attended the ship and found
                                                                    observed smoke coming from the clutch housing of Centrifugal Oily Water               no abnormalities when examining rotating parts. He reassembled the
     206.    08.05.2019*    07.03.2019 CUK           Ventura        Separator (COWS) #1 while COWS#1 was recirculating the Settling Tank.                 COWS and returned it to service without any further clutch issues. Complete
                                                                    COWS #1 was shut down and opened up; the clutch pads were found damaged as            Note: The same clutch pad issue was raised in an incident report on 30
                                                                    friction material detached from the backing plates. An entry was made in the Oil      June. No definitive cause has been found for the faults. As a preventive


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                                                               Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 85 of
                                                                                                               100
                                                                              United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                       September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                         Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                     Analysis Summary and Action Plan                          Action Plan
                                                                    Record Book. The Static OWS and clean discharge pump remain operational.                action the ship are ordering an entire spare clutch assembly as there was
                                                                    On 04 July, the COWS clutch was rebuilt with new friction blocks and bearings.          some wear evident in the locating ports for the clutch pads. The stock
                                                                    The motor bearings were also changed. No other defects or abnormalities were            holding of the clutch pads will also be increased (these are a minimum
                                                                    observed. The COWS is operating well, and was used for overboard discharge.             cost) and since the second COWS is now in service there is back up.
                                                                    Once back on recirculation, the COWS stopped due to a sludge tank level alarm.
                                                                    Upon restarting, smoke again emitted from the clutch housing. The ship is
                                                                    arranging urgent OEM attendance as all checks outlined in the manual, and all
                                                                    rotating parts were checked without finding any issues. When in operation, no
                                                                    alarms are coming up related to operation. Bilge offload will be arranged for
                                                                    Southampton on 07 July. On 05 July, the Lloyd's surveyor attended the ship and
                                                                    completed certification of the new COWS. The IOPP Certificate and Form A
                                                                    were updated giving the ship one COWS fully available for use. On 07 July, an
                                                                    Alfa Laval service engineer attended the ship and found no abnormalities when
                                                                    examining rotating parts. He reassembled the COWS and returned it to service
                                                                    without any further clutch issues. Note: The same clutch pad issue was raised in
                                                                    an incident report on 30 June. No definitive cause has been found for the faults.
                                                                    As a preventive action the ship are ordering an entire spare clutch assembly as
                                                                    there was some wear evident in the locating ports for the clutch pads. The stock
                                                                    holding of the clutch pads will also be increased (these are a minimum cost) and
                                                                    since the second COWS is now in service there is back up.
                                                                    While the ship was alongside in Reykjavik, Centrifugal Oily Water Separator             The sample line was found blocked with debris. This was cleared and
                                                                    (COWS) #1 was set up for internal transfer from Settling to Clean Tank, but the         when on freshwater the OCM was indicating correct flow. Upon
                                                                    Oil Content Meter (OCM) was indicating low sample flow. The ship is therefore           starting the COWS, the clutch failed. The COWS was stripped down
                                                                    unable to process bilge to the clean tank. The Static OWS is still operational and      and a clutch pad failure was noted (the clutch friction pad had detached
                                                                    available. An entry was made in the Oil Record Book and an AMOS work order              from the steel holder). The COWS clutch was rebuilt and the COWS
                                                                    was raised. The sample line was found blocked with debris. This was cleared             was put back in service. The COWS was out of service for a total of
     207.    08.05.2019*    06.30.2019 CUK           Ventura                                                                                                                                                                         Complete
                                                                    and when on freshwater the OCM was indicating correct flow. Upon starting the           36.5 hours. There was no impact on bilge holding as the ship was in
                                                                    COWS, the clutch failed. The COWS was stripped down and a clutch pad failure            port overnight.
                                                                    was noted (the clutch friction pad had detached from the steel holder). The
                                                                    COWS clutch was rebuilt and the COWS was put back in service. The COWS
                                                                    was out of service for a total of 36.5 hours. There was no impact on bilge holding
                                                                    as the ship was in port overnight.
                                                                    While the ship was alongside in Okinawa, Japan, during an internal transfer of          An internal review was conducted to determine the cause of the failure.
                                                                    bilge water, the bilge water separator feed pump failed. The internal transfer was      The COWS feed pump failed due to excessive worn stator. The stator,
                                                                    immediately stopped and the pump is out of service. An internal review was              rotor and seals were replaced and pump was back in service in normal
                                                     Majestic       conducted to determine the cause of the failure. The COWS feed pump failed due          condition. There was no operational impact as a second OWS was
     208.    08.05.2019*    06.16.2019 HA Group                                                                                                                                                                                     Complete
                                                     Princess       to excessive worn stator. The stator, rotor and seals were replaced and pump was        operational throughout the event. An entry was made in the Oil Record
                                                                    back in service in normal condition. There was no operational impact as a second        Book.
                                                                    OWS was operational throughout the event. An entry was made in the Oil Record
                                                                    Book.
                                                                    The ship's incinerator is currently out of service due to an issue with the shredder    The incinerator was repaired and operable on July 24, 2019.
     209.    08.05.2019*    07.18.2019 HA Group      Noordam        unit. The repairs on the unit are in progress by the by ship's crew and are estimated                                                                               Complete
                                                                    to be completed by 27 July.
                                                                    While the ship was alongside in Grand Turk, the Chief Engineer decided to place         Although the PH sensors are working properly, it appears that
                                                     Carnival
     210.    08.05.2019*    07.16.2019 CCL                          Advanced Air Quality System (AAQS) # 3 out of service due to a faulty                   communications with system has not been restored. The company In Progress
                                                     Elation
                                                                    overboard water pH sensor. The sensor shows incorrect values. The engine team           continues to troubleshoot the issue.


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Items without an asterisk previously appeared and are either in progress or pending verification.                                    84
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 86 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                         Status of
  Number     Notification    Incident     Group         Vessel                                     Description of Incident                                                    Analysis Summary and Action Plan                          Action Plan
                                                                    tried to calibrate it without success. The Master and Director of Environmental
                                                                    Compliance were all advised. An entry was made in the AAQS Record Book.
                                                                    Two new spare pH sensors are available on board with valid calibration
                                                                    certificates, however the certificates could not be located at the time. In case of
                                                                    need, diesel generator # 3 will be run with compliant fuel. The reason for the
                                                                    sensor failure is still unknown. The spare pH sensor was installed however the
                                                                    AAQS is still out of service as the correct parameters are showing on SC1000,
                                                                    however they are not replicating on the EcoSpray computer monitor located in
                                                                    the ECR, locally near the AAQS installation or the compliance computer. The
                                                                    system is being evaluated by technicians and the shipboard team in order to
                                                                    complete permanent repairs.
                                                                    The incinerator was placed out of service due to refractory collapse caused by age        The Scan Ship technicians boarded the ship on August 19, 2019.
                                                                    and temperature variance. All garbage must be compacted for offload ashore.               Repairs and tests are expected to take at least eight days.
                                                                    Shoreside was notified to contact the manufacturer to evaluate the condition of
                                                                    the incinerator as it is a very old piece of equipment and many parts are obsolete.
                                                     Carnival
     211.    08.05.2019*    07.14.2019 CCL                          Shoreside is organizing a Scan Ship technician visit to evaluate and carry out                                                                                      Complete
                                                     Sunshine
                                                                    necessary repairs. The damage is significant and will be evaluated further once
                                                                    confirmation from scanship technicians arrive on 27 July. Once technicians are
                                                                    onboard the timeline of the repair will be determined by the technicians. An entry
                                                                    was made in the NAPA elog and eNOA was updated.
                                                                    While the ship was departing from Seward, Alaska a Vimex Gas Analyzer was                 The replacement profibus cable was ordered and arrived in Vancouver
                                                                    found to have a faulty profibus cable which caused communication issues                   on 21 July, and fitted by onboard technical personnel. Additionally, an
                                                                    between the master control unit and the compliance computer resulting in the              Emsys service engineer embarked on 21 July to repair the backup gas
                                                                    SO2/CO2 values of Advanced Air Quality System (AAQS) #4 not being                         analyzer for AAQS #4. All repairs are complete and the system is back
                                                                    displayed or recorded on the compliance computer. The backup gas analyzer for             in service. An entry was made in the EGCS logbook.
                                                                    AAQS #1 and #2 was put online, and the systems remained in operation. AAQS
                                                                    #4 was taken out of service as its backup gas analyzer was not operational at the
     212.    08.05.2019*    07.14.2019 HA Group      Noordam                                                                                                                                                                            Complete
                                                                    time. DG #4 was shifted over to MGO until this issue is resolved. EcoSpray and
                                                                    Norsk Analyse were contacted and fault finding has been carried out. The
                                                                    replacement profibus cable was ordered and arrived in Vancouver on 21 July, and
                                                                    fitted by onboard technical personnel. Additionally, an Emsys service engineer
                                                                    embarked on 21 July to repair the backup gas analyzer for AAQS #4. All repairs
                                                                    are complete and the system is back in service. An entry was made in the EGCS
                                                                    logbook.
                                                                    The Advanced Air Quality System (AAQS) experienced a communication issue                  All AAQS are now operational. The Ecospray Technician and
                                                                    between SC 1000 and Simatic due to a PLC failure. The Staff Electronic Officer            Electronic Team were able to restore automation functionality.
                                                                    unsuccessfully tried to reset it. Until the issue is resolved, the ship will run diesel
                                                                    generators on MGO within the Emission Control Area. The Chief Engineer has
                                                     Carnival       already informed the Paradise Pod and Technical Operations Manager. The EO
     213.    08.05.2019*    07.13.2019 CCL                                                                                                                                                                                              Complete
                                                     Paradise       has informed the Director of Environmental Compliance. The Guest Services
                                                                    Manager on behalf of the Captain has informed the U.S. Coast Guard via eNOA.
                                                                    An entry was made in the NAPA eLog and AAQS Record Book. A request for a
                                                                    service technician was made to resolve this issue. Technician will go onboard 23
                                                                    July, AAQS are still out of service. Flag was not notified.
                                                     Carnival       While the ship was underway outside 12 nautical miles and the technical team              Plant #4 is now in service.
     214.    08.05.2019*    07.10.2019 CCL                                                                                                                                                                                              Complete
                                                     Magic          was carrying out a sewage de-sludging operation on Sewage Treatment Plant #4,


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Items without an asterisk previously appeared and are either in progress or pending verification.                                      85
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 87 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                         Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                    Analysis Summary and Action Plan                            Action Plan
                                                                    they observed some condoms, Sanitary pads, Stickers and some plastic pieces at
                                                                    the bottom of settling tank. It is alleged that these items came from the passenger
                                                                    or crew cabin toilet systems. The Director of Environmental Compliance was
                                                                    informed and the responsible departments were informed accordingly. As per
                                                                    technical team all of the above materials will be removed at the earliest
                                                                    opportunity and disposed of. Until then the Sewage Treatment Plant #4 is out of
                                                                    service. An entry was made in the NAPA eLog. In the crew and passenger cabins,
                                                                    signage is posted relaying that bulky items should not be thrown in the toilet. This
                                                                    same message is delivered to shipboard team members via training (TRG 2302,
                                                                    2308 & 2309).
                                                                    While the ship was alongside in Juneau, Alaska, ABB technicians performed a            The AAQS was out of operation for a total of four days, during which
                                                                    planned maintenance on one of the transformers and the Advanced Air Quality            time the vessel exclusively operated on MGO. The AAQS is now back
                                                                    System (AAQS) for Diesel Generator (DG) #1 and #6 had to be isolated in                online and functioning properly.
                                                                    accordance with Global HESS. The ship was not using the AAQS in port in
     215.    08.05.2019*    07.09.2019 HA Group      Eurodam        Alaska. On completion of this maintenance, two variable frequency drivers for                                                                                      Complete
                                                                    the dilution pump of DG #1 and DG #6 failed to come back online, affecting the
                                                                    operation of the AAQS. The AAQS was out of operation for a total of four days,
                                                                    during which time the vessel exclusively operated on MGO. The AAQS is now
                                                                    back online and functioning properly.
                                                                    After investigating why all food waste systems shut down, it was discovered that       The parts required for repair are expected to be delivered to the ship in
                                                                    the electric motor of food waste compressor #1 had burned out due to general           October 2019.
                                                                    wear. Spare parts were not available on board (as they are not critical spare parts)
                                                     Carnival
     216.    08.05.2019*    07.08.2019 CCL                          but have been ordered (REQ- ED023156). Food waste system #1 was put out of                                                                                         In Progress
                                                     Dream
                                                                    service while food waste system #2 remains operational. Soft food is being
                                                                    disposed through the manual feeding hatch in the Recycling Center. A requisition
                                                                    was submitted.
                                                                    While the ship was alongside in Port Canaveral, the Chief Engineer reported a          The PH sensors are working properly, but there are still no
                                                                    malfunction of the SO2/CO2 sensor on Advanced Air Quality System (AAQS)                communications with system. The company is working to resolve the
                                                                    #4. There were incorrect readings of SO2/CO2 in the Compliance computer.               issue.
                                                                    Vibrations on the sensor support were likely caused intermittent misalignment.
                                                     Carnival       The Master, EO and Environmental Director were all advised and the AAQS
     217.    08.05.2019*    07.04.2019 CCL                                                                                                                                                                                             In Progress
                                                     Elation        Record book was updated accordingly. A requisition for a new sensor was
                                                                    submitted on 23 April and it arrived on 08 July. Technician was onboard 13 July
                                                                    however upon further investigation/service the sensor reading was still inaccurate.
                                                                    As a preventive measure, all other SO2/CO2 sensors were checked for same
                                                                    problem. The AAQS remains out of service.
                                                                    While the ship was alongside in Galveston, Texas, a considerable amount of black       The IAG investigation is pending.
                                                                    soot was discharged from the funnel to the sea and there was also a considerable
                                                                    amount of soot on the open deck. The suspected cause is a blockage of bank B
                                                                    turbocharger of Diesel Engine (DG) #4. The engine was stopped a few hours
                                                     Carnival
     218.    08.05.2019*    07.18.2019 CCL                          before at 01:30 hours due to surging issues on the suspected turbocharger. This                                                                                    In Progress
                                                     Dream
                                                                    incident happened when the ship was testing the DG #4 to evaluate the situation.
                                                                    DG #4 is out of service. The suspected turbocharger is being overhauled and
                                                                    mechanically cleaned to evaluate further. All concerned personnel were notified
                                                                    and an entry was made in the NAPA eLog. A Notice of Federal Interest and Letter



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Items without an asterisk previously appeared and are either in progress or pending verification.                                   86
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 88 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                          Status of
  Number     Notification    Incident     Group         Vessel                                     Description of Incident                                                  Analysis Summary and Action Plan                             Action Plan
                                                                    of Warning was issued by the U.S. Coast Guard for this incident. The cleanup
                                                                    was completed and nothing further was requested from the vessel.
                                                                    While in the shipyard in Freeport, Bahamas, the Officer of the Watch on the             The EO also informed the Director of Environmental Compliance and
                                                                    Bridge reported to the EO an oil sheen on the port bow of Boka Vanguard heavy           Vista Pod. The clean up was undertaken by the Shipyard personnel. The
                                                                    lift vessel that was caused by the 3rd party working there at the time. It was          oil sheen was not visible after some time. No further action required. An
                                                                    discovered that the hydraulic hose of one of the cherry pickers which was placed        entry was made in the NAPA eLog.
                                                                    on the deck of Boka Vanguard broke causing hydraulic oil to leak into the sea
                                                     Carnival       which caused the oil sheen. The quantity of the hydraulic oil could not be
     219.    08.05.2019*    07.18.2019 CCL                                                                                                                                                                                              Complete
                                                     Vista          determined. The EO informed the port agent and asked the port agent to report
                                                                    the incident to the port authorities. The port agent confirmed the same. The EO
                                                                    also informed the Director of Environmental Compliance and Vista Pod. The
                                                                    clean up was undertaken by the Shipyard personnel. The oil sheen was not visible
                                                                    after some time. No further action required. An entry was made in the NAPA
                                                                    eLog.
                                                                    While the ship was alongside in Charlottetown, Canada, during the pre-departure         The oil was residual from a leak in Thruster #1, which has been recorded
                                                                    check, after starting the bow thruster #2 an oil sheen was observed in the water        as a separate incident. There is a study in progress to determine the
                                                                    near the bow. The ship immediately stopped the bow thruster and checked the             feasibility of an in-water exchange of the thruster unit. Otherwise, the
                                                                    header tank for signs of leak. No leaks were found. It is possible that the oil is a    repairs will be completed during the next dry dock. The thruster unit
                                                                    residual from bow thruster #1; the technical department is reviewing. The               remains out of service until repaired.
                                                                    Environmental and Technical team were engaged. The ship is in the process of
     220.    08.05.2019*    07.16.2019 HA Group      Zaandam        notifying Transport Canada and the Qualified Individual (QI). The MARPOL                                                                                            In Progress
                                                                    Annex I violation was recorded in the Oil Record Book. The ship received
                                                                    permission to sail from Transport Canada and ultimately departed one hour and
                                                                    30 minutes later than scheduled. During the departure, the bow thruster use was
                                                                    kept to a minimum and stopped once the ship was clear from the pier. No oil was
                                                                    noted in the water and confirmed by the Pilot. The arrival to the next port of call
                                                                    Sidney, Nova Scotia is anticipated to be slightly delayed.
                                                                    While the ship was alongside in Montreal, Canada approximately 125 liters of oil        The study is still in progress. The thruster is expected to be back in
                                                                    leaked into the water from the bow thruster header tank. The leak was discovered        service before the ship sails to South America.
                                                                    due to activation of the low oil level alarm. The header tank and the bow thruster
                                                                    were isolated and taken out of service. The cause of the leak is under review. The
                                                                    MARPOL Annex I violation was recorded in the Oil Record Book and was
                                                                    reported to the port agent and authorities. Following the thruster oil loss, a Marine
                                                                    Safety Inspector from Transport Canada boarded the ship while alongside in
                                                                    Quebec, Canada. While on board, he checked the bow thruster and around the
                                                                    hull for any presence of oil and gathered documentation/information to pass onto
     221.    08.05.2019*    07.13.2019 HA Group      Zaandam        the Canadian Coast Guard who will make a decision on any further action. The                                                                                        In Progress
                                                                    Canadian Coast Guard indicated they may attend the vessel again in Halifax on
                                                                    18 July where a dive inspection of the forward thruster is being planned. During
                                                                    the ship's arrival in Charlottetown on 16 July, the Officers at mooring stations and
                                                                    the EO were instructed to watch for any oil sheen or presence of oil from the
                                                                    forward thruster area of the vessel. Both parties reported no visible sign of oil
                                                                    during the maneuvering operation. An Oil Record Book Entry was made. The
                                                                    dive inspection found rope lodged in the shaft seal, damaging it and preventing
                                                                    sealing. It is possible the seal may be irreparable until the next dry-dock period,
                                                                    however the technical department is conducting a feasibility study on an in-water


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 89 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                         Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                   Analysis Summary and Action Plan                             Action Plan
                                                                    exchange of the thruster unit; remains out of service until repaired. The oil lost
                                                                    was mineral oil.
                                                                    During a routine cleaning of the laundry pump filters, various small plastic pieces   Instructions were sent to the ship to pay particular attention to verifying
                                                                    were found. The items were removed and disposed of properly. This could have          that table cloths, napkins, bedding and towels are free of foreign debris
                                                                    resulted in a violation of MARPOL Annex V. These items could be from pockets          before being put into the laundry.
                                                     Ruby
     222.    08.05.2019*    07.07.2019 HA Group                     of clothing being washed/dried, or come from table cloth or bedding/towels that                                                                                     Complete
                                                     Princess
                                                                    were not sorted properly. Instructions were sent to the ship to pay particular
                                                                    attention to verifying that table cloths, napkins, bedding and towels are free of
                                                                    foreign debris before being put into the laundry.
                                                                    While in the shipyard in Freeport, Bahamas, an Engine Officer reported to the EO      This was a mistake by the shipyard and was immediately corrected by
                                                                    that when they started to discharge the grey water to the shipyard by using the       the shipboard personnel. After the incident, the proper parties were
                                                                    hose provided by the shipyard, a small quantity (approximately 200 milliliters) of    addressed.
                                                                    grey water leaked through a very small hole in the hose and went overboard. The
                                                     Carnival       discharge was stopped immediately. The EO informed the port agent and asked
     223.    08.05.2019*    07.18.2019 CCL                                                                                                                                                                                              Complete
                                                     Vista          the port agent to report the incident to the port authorities. The port agent
                                                                    confirmed the same. The EO also informed the Director of Environmental
                                                                    Compliance and Vista Pod. An entry was made in the NAPA eLog. The ship was
                                                                    on Boka Vanguard for emergency repair. The shore side project manager was
                                                                    asked to check all the hoses and equipment before they are provided to the ship.
                                                                    While the ship was underway, Alaska's Environmental Admiralty conducted an            The levels are in compliance and the ship began discharging MBR
                                                     Golden         underway sampling of the Membrane Bio-Reactor overboard. The fecal coliform           Permeate again on July 24, 2019.
     224.    08.05.2019*    07.18.2019 HA Group                                                                                                                                                                                         Complete
                                                     Princess       value was 66ml exceeding the daily max levels for Alaska 40FC/ 100ml.
                                                                    Authorities have been notified.
                                                                    While the ship was underway in international waters, 27.6 cubic meters of             Carnival Horizon confirmed the ship made modifications to mirror Vista
                                                                    untreated black water was discharged overboard in violation of Company Policy         in order to prevent this from happening there. However, after further
                                                                    because the Engineer in charge of the maintenance of the Advanced Waste Water         discussion it was determined no further modifications were necessary.
                                                                    Treatment system (AWWTS) mistakenly opened the suction valve (manual
                                                                    valve) of the black water holding tank 13S (untreated black water) while he was
                                                                    in the process of discharging the bio-sludge tank. At the time, the ship was 110
                                                                    nautical miles from nearest land (Mexico). When the Engineer came into the
                                                                    Engine Control Room to monitor the tank level, he saw the level of untreated
                                                     Carnival
     225.    08.05.2019*    07.08.2019 CCL                          sewage was going down and realized the mistake. He immediately went down                                                                                            Complete
                                                     Vista
                                                                    and closed the suction valve of the untreated sewage holding tank. The EO
                                                                    informed the Director of Environmental Compliance and an entry was made in
                                                                    the NAPA eLog and Sewage and Greywater book. As a preventive measure, the
                                                                    Chief Engineer decided to put locks on all the suction valves of the untreated
                                                                    sewage holding tank 13S, mixing tank 13P, and Bioreactors 1, 2, 3, 4 & 5. The
                                                                    other CCL ships with an AWWTS will be checked to ensure the valves are clearly
                                                                    identifiable. The company will determine if further training is needed for the
                                                                    Engineer.
                                                                    During the weekly inspection of the grease trap, several small pieces of plastic      Instruction has been sent to the fleet to ensure that all floors are cleared
                                                                    were found in Grease Trap #2. The items were removed and properly disposed            and free of debris before flushing any water into drains. To prevent
                                                     Royal          of. This could have resulted in a violation of MARPOL Annex V. The origination        reoccurrence, a comprehensive 7-step plan has been implemented on all
     226.    08.05.2019*    07.05.2019 HA Group                                                                                                                                                                                        Complete
                                                     Princess       of the non-food items is unknown. They could have entered the system by being         vessels in the fleet.
                                                                    already present and trapped in dirty pipes, or through missing drain covers and/or
                                                                    covers that are not properly secured. Instruction has been sent to the fleet to

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 90 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                  Analysis Summary and Action Plan                           Action Plan
                                                                    ensure that all floors are cleared and free of debris before flushing any water into
                                                                    drains. To prevent reoccurrence, a comprehensive 7-step plan has been
                                                                    implemented on all vessels in the fleet.
                                                                    While the ship was underway from Liverpool to Reykjavik, there was low flow            The sample lines were cleared but, on restarting the COWS for testing,
                                                                    to the Oil Content Meter (OCM) on the forward Centrifugal Oily Water Separator         the feed heat exchanger failed causing an external leak. The aft COWS
                                                                    (COWS). The sample lines were cleared but, on restarting the COWS for testing,         remained available. The forward COWS was returned to service after
                                                     Queen Mary
     227.    08.13.2019*    07.17.2019 CUK                          the feed heat exchanger failed causing an external leak. The aft COWS remained         clearing the sample lines and replacing the feed heater.               Complete
                                                     2
                                                                    available. The forward COWS was returned to service after clearing the sample
                                                                    lines and replacing the feed heater. The COWS was out of service for 27 hours
                                                                    and 25 minutes.
                                                                    The Oil Content Meter (OCM) of the Marinfloc Oily Water Separator (OWS) was            The sand was replaced and the OWS was returned to service on 13 July.
                                                                    reading a high PPM and stopped the OWS with an EE error message. Multiple
                                                     Carnival       attempts were made to clean the OCM and dirty water was found flowing through
     228.    08.13.2019*    07.11.2019 CCL                                                                                                                                                                                           Complete
                                                     Ecstasy        the system. The suspected cause was dirty filtering sand. The ship did not have
                                                                    a back-up OWS. An entry was made in the Oil Record Book and NAPA eLog.
                                                                    The sand was replaced and the OWS was returned to service on 13 July.
                                                                    An alarm was present during a check of the CO2 / SO2 probe panel. By checking          The Advanced Air Quality System of diesel generator (DG) #1 was
                                                                    the sample gas, it appeared the cell was reading anomalous values. The inspector       taken out of service and DG#1 was run on MGO. The cell was
                                         Costa       Costa          was informed by telephone and technical intervention was requested. The                calibrated by a service technician and the AAQS was put back in service
     229.    08.13.2019*    07.22.2019                                                                                                                                                                                             Complete
                                         Group       Deliziosa      Advanced Air Quality System of diesel generator (DG) #1 was taken out of               on 24 July.
                                                                    service and DG#1 was run on MGO. The cell was calibrated by a service
                                                                    technician and the AAQS was put back in service on 24 July.
                                                                    While the ship was underway towards Port Everglades, FL, following routine             Ballast Water Treatment System is now in service.
                                                                    testing and maintenance of the Ballast Water Treatment System, it was identified
                                                                    that a valve actuator failed on the delivery of the UV Phase of the Treatment
                                                     Caribbean
     230.    08.13.2019*    07.19.2019 HA Group                     System. At present, the Ballast Water Treatment system is unavailable. The                                                                                       Complete
                                                     Princess
                                                                    OEM service technician attended the ship in Port Everglades FL on 27 July but
                                                                    could not correct the issue. Replacement parts are scheduled to be delivered on
                                                                    31 July. The equipment is still under manufacturer’s warranty.
                                                                    After departure from Copenhagen, Denmark, the waste disposal supervisor was            A replacement fan was ordered and fitted and the incinerator was placed
                                                                    informed that the Incinerator ID fan motor failed. Tests revealed that a variable      back in service on 28 July.
                                                                    frequency drive had failed. The incinerator was isolated and is unavailable. The
                                                     Queen
     231.    08.13.2019*    07.18.2019 CUK                          operational impact was negligible as the ship was sailing in the Baltic where there                                                                              Complete
                                                     Victoria
                                                                    is minimal time in which the incinerator can be used. Plans were in place to land
                                                                    most dry waste already. A replacement fan was ordered and fitted and the
                                                                    incinerator was placed back in service on 28 July.
                                                                    The frequency driver of the sea water pump of Advanced Air Quality System              Crewmembers installed the VFD and returned the AAQS to service on
                                                                    (AAQS) #6 malfunctioned. The defect could not be repaired due to no spare              August 19, 2019.
                                                                    frequency driver on board. AAQS #6 was placed out of the service and a
                                                     Carnival
     232.    08.13.2019*    04.25.2019 CCL                          requisition for a new frequency driver was issued on 27 April. Due to the high                                                                                   Complete
                                                     Sunrise
                                                                    number of ongoing ship restoration projects post dry dock, no report was issued
                                                                    at that time. The estimated time of delivery for the new frequency driver is
                                                                    scheduled for mid-August 2019
                                                                    While the ship was underway, 100 cubic meters of ballast water from the fore           The IAG investigation is pending.
                                                     Carnival
     233.    08.13.2019*    07.24.2019 CCL                          peak tank was discharged inside Mexican waters without completing a proper                                                                                       In Progress
                                                     Dream
                                                                    ballast exchange (IMO Ballast Water Management Convention Regulation B –

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Items without an asterisk previously appeared and are either in progress or pending verification.                                   89
                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 91 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                 Analysis Summary and Action Plan                      Action Plan
                                                                    4). The ballast operation started at 03:50 hours and stopped at 04:00 hours. Per
                                                                    the preliminary investigation, the likely cause of the discharge was because the
                                                                    Officers were trying to follow the DTA (ENIRAM). Additional training will be
                                                                    conducted with all Deck Officers during the next Voyage Overview meeting,
                                                                    emphasizing the importance of following the Environmental Schedule and
                                                                    Company procedures in order to avoid violations. This incident was also
                                                                    discussed during the monthly environmental conference call held on 26 July
                                                                    where the officer involved in the incident shared lessons learned. Additionally, a
                                                                    message was issued reminding all OOW to contact the Captain or Staff Captain
                                                                    if any doubt arises (this will also be added to the Ballast Water Tool Box). An
                                                                    IAG investigation is currently in progress and any additional actions required will
                                                                    be addressed.
                                                                    While the ship was alongside in Juneau, Alaska, after cleaning deck chairs in the     The crewmember has been counseled on the proper procedures.
                                                                    ship’s marshalling area using a two bucket system, a crewmember improperly
                                                                    disposed of the second (rinse) bucket by tipping it into a ship's scupper which
                                                                    drained overboard. This rinse water contained a small amount of a diluted non-
                                                                    VGP compliant approved chemical. The details of the incident were revealed and
                                                                    reported to the EO the next day. Alaska Department of Environmental
                                                                    Conservation, Ocean Ranger, EPA and U.S. Coast Guard were informed and an
                                                                    entry was made in the VGP event log and Garbage Record Book. The procedure
                                                                    in place for the cleaning of deck chairs employs a two bucket system with the
     234.    08.13.2019*    07.22.2019 HA Group      Eurodam        chairs removed from the outside deck and taken to the marshaling area. At                                                                                 Complete
                                                                    completion, both buckets are taken to the Recycling Center for correct disposal.
                                                                    In this instance, the crewmember used the two bucket system and when
                                                                    completed, took the bucket containing the diluted chemical to the Recycling
                                                                    Center for correct disposal. Unfortunately, the crewmember neglected to take the
                                                                    rinse water bucket down, returned the deck chairs to their proper location and
                                                                    tipped the rinse water into the scuppers and thus overboard. This rinse water
                                                                    contained a minute amount of the diluted chemical from the chairs collected by
                                                                    the rag that the crewmember used to wipe/rinse off each chair. The crewmember
                                                                    has been counseled on the proper procedures.
                                                                    During the final stage of arrival into Corfu, Greece, approximately 200 liters of     After further review, the company determined the discharge was not a
                                                                    water was noted coming out from a scupper on the ship’s hull. After an initial        discharge from the pool drain but seawater coming from the vent head
                                                                    investigation, the water was established to be coming from the compensation tank      of the port side forward sea chest. In light of the additional information,
                                         Costa       Costa
     235.    08.13.2019*    07.23.2019                              of the aft swimming pool. The discharge valve of the compensation tank was            it was determined the incident was not a violation of any local Greek Complete
                                         Group       Deliziosa
                                                                    turned to the grey water tank. A suggested preventive measure to install automatic    requirements and neither the installation of automatic valves nor any
                                                                    valves is under evaluation by shoreside Technical Management. Further, a              fleetwide corrective action was required.
                                                                    fleetwide corrective action will be evaluated.
                                                                    During internal grey water transfer while the ship was at anchor in Grand             The sensor replacement is expected to be delivered to the ship on
                                                                    Cayman, grey water started overflowing from the overflow line in violation of         October 4, 2019.
                                                                    country requirements. The overflow continued for five minutes. The OOW
                                                     Carnival       noticed the accidental discharge and informed the ECR immediately. The Engine
     236.    08.13.2019*    07.22.2019 CCL                                                                                                                                                                                    In Progress
                                                     Paradise       OOW immediately stopped the transfer operation and started to transfer grey
                                                                    water in order to reduce the water level. It was calculated that approximately
                                                                    three cubic meters of grey water spilled into the sea. The incident was reported
                                                                    to the port agent to further inform the port authorities and was recorded in the


Please note: An asterisk next to an item indicates that it did not appear on the previous quarterly tracking spreadsheet.
Items without an asterisk previously appeared and are either in progress or pending verification.                                   90
                                                               Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 92 of
                                                                                                               100
                                                                              United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                       September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                       Status of
  Number     Notification    Incident     Group         Vessel                                   Description of Incident                                                    Analysis Summary and Action Plan                          Action Plan
                                                                    NAPA eLog. It was subsequently found that discrepancies in the Damatic
                                                                    Sounding Level were not matching the Manual Sounding Level. Electro-
                                                                    Technical Officers are inspecting the level transmitters to verify calibration to
                                                                    ensure that the correct sounding levels are displayed on the damatic. The Staff
                                                                    Electrical Technical Officer attempted to zero the sensor, but was unsuccessful.
                                                                    The onboard technical team is planning to replace the sensor when feasible. An
                                                                    entry was made in the Grey water Discharge log. During the time of the incident,
                                                                    the ship was not under yellow manning as the engineer did not fully understand
                                                                    the requirements. As an immediate action the Chief Engineer has added the
                                                                    requirements to his standing orders.
                                                                    The Forward Centrifugal Oily Water Separator (COWS) clean bilge outlet flow             The forward COWS was shut down and the three-way valve was
                                                                    sensor was alarming when the three-way valve was on recirculation. The incident         removed and replaced with a spare. Debris (rust) was found on the valve
                                                                    occurred when the ship was alongside with the bilge control discharge box               seals. An entry was made in the Oil Record Book and the BCDB data
                                                                    (BDCB) overboard valves closed and locked (i.e. there was no environmental              was reviewed to ensure no discharge had taken place. The COWS was
                                                     Queen Mary     impact). The ship had reduced bilge water processing capacity but the Aft COWS          placed back in service on 29 July.
     237.    08.30.2019*    07.24.2019 CUK                                                                                                                                                                                            Complete
                                                     2              remained fully functional. The forward COWS was shut down and the three-way
                                                                    valve was removed and replaced with a spare. Debris (rust) was found on the
                                                                    valve seals. An entry was made in the Oil Record Book and the BCDB data was
                                                                    reviewed to ensure no discharge had taken place. The COWS was placed back in
                                                                    service on 29 July.
                                                                    While the ship was underway in international waters, the Oil Content Meter              The BCDB #2 was set out of service and a TMS technician visited on
                                                                    (OCM) of Bilge Control Discharge Box (BCDB) #2 went into fault. The OCM                 05 July and solved the issue bringing the system back in service. BCDB
                                                                    was showing less than 15 ppm, but the high ppm alarm was on. The BCDB #2                #1 is fully functional so there is no operational impact.
                                                     Carnival
     238.    08.30.2019*    07.04.2019 CCL                          was set out of service and a TMS technician visited on 05 July and solved the                                                                                     Complete
                                                     Victory
                                                                    issue bringing the system back in service. The failure of the OCM lasted one day
                                                                    and was inserted in eNOA. An entry was made in the PMS and Oil Record Book.
                                                                    BCDB #1 is fully functional so there is no operational impact.
                                                                    The Centrifugal Oily Water Separator (COWS) was powered down for                        The Centrifugal Oily Water Separator (COWS) was powered down for
                                                                    maintenance. On restarting the COWS control system indicated a fault. The               maintenance. On restarting the COWS control system indicated a fault.
     239.    08.30.2019*    06.27.2019 HA Group      Maasdam                                                                                                                                                                      Complete
                                                                    COWS was taken out of service while communication was restored. An alternate            The COWS was taken out of service while communication was restored.
                                                                    OWS remained available at all times.                                                    An alternate OWS remained available at all times.
                                                                    The Centrifugal Oily Water Separator (COWS) was stopped due to structural               The OWS was out of service from 16:25 hours on June 26, 2019 and
                                                                    failure of the heater. No spare parts were available onboard. The ship ordered          18:00 hours on June 27, 2019.
                                                     Grand
     240.    08.30.2019*    06.26.2019 HA Group                     replacement parts for delivery as soon as possible. An alternate OWS remained                                                                                 Complete
                                                     Princess
                                                                    available. An entry has been made in the Oil Record Book to record the failure
                                                                    of the equipment.
                                                                    The sample coolers on the two centrifugal oily water separators (COWS) were             The replacement spares are now onboard and have been added to the
                                                                    found leaking cooling water into the sample line. Both COWS were already                Planned Maintenance System as a critical spare part. In response to the
                                                                    shutdown at the time of discovery (COWS #1 due to clutch smoking). No undue             CAM request for clarification propounded on July 19, 2019, the
     241.    08.30.2019*    06.24.2019 CUK           Ventura        effect on bilge discharges occurred. Both coolers were changed for new spares           COWS#2 was out of service for 105 hours.                                Complete
                                                                    and the COWS were returned to service. COWS #1 was out of service for 23
                                                                    hours 10 minutes. Oil Record Book and AMOS entries made as required. Order
                                                                    raised to replace spares used.
                                                     Carnival       The incinerator was out of service for three days due to failure of the diesel supply   There was an operational impact however all the resulting waste
     242.    08.30.2019*    08.03.2019 CCL                                                                                                                                                                                  Complete
                                                     Imagination    pump at the primary burner. The wrong type of spare part was available on board         generated was able to be offloaded.



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                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 93 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                      September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                           Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                                     Analysis Summary and Action Plan                            Action Plan
                                                                    due to the vendor sending the wrong part model. There was an operational impact
                                                                    however all the resulting waste generated was able to be offloaded.
                                                                    While the ship was alongside in Shenzhen, China, the Chief Engineer informed             The delivery of the spare part is expected September 7, 2019.
                                                                    the EO that the Ballast Water Treatment System was out-of-service due to failure.
                                                                    The system was showing a cabinet water alarm. Further technical assessments
                                                                    identified that the failure had existed for a long time, but it wasn't reported during
                                                                    the Chief Engineer's hand-over. Instead, the issue was mentioned on the 3rd
                                         Costa       Costa          Engineer handover report. Nevertheless, as ballast operations were always
     243.    08.30.2019*    07.30.2019                                                                                                                                                                                                   In Progress
                                         Group       Atlantica      performed more than 12 nautical miles from any baseline and the treatment plant
                                                                    was never used, no regulations were breached. The required spare part was
                                                                    requested on 11 May and has an estimated delivery on board of 26 August. Due
                                                                    to the fact that all the discharge have been conducted outside 12 NM, it has not
                                                                    been compulsory to use BWTS. The system has been maintained as per PMS
                                                                    pending provision of spares.
                                                                    While the ship was underway, the ship’s incinerator malfunctioned due to the             The repair was completed on 04 August 2019 and the incinerator was
                                                                    failure of the primary probe. The probe is a critical spare part. The repair was         placed back in service. The incinerator was out of service for
                                                     Carnival       completed on 04 August 2019. and the incinerator was placed back in service.             approximately 103 hours with no operational impact. As a preventive
     244.    08.30.2019*    07.29.2019 CCL                                                                                                                                                                                        Complete
                                                     Freedom        The incinerator was out of service for approximately 103 hours with no                   measure, the ship will arrange to have spare parts on board on time.
                                                                    operational impact. As a preventive measure, the ship will arrange to have spare
                                                                    parts on board on time.
                                                                    The ship's Ballast Water Treatment System is currently out of service due to             The BWTS is in service.
                                                                    software and mechanical issues. The back-flushing pump seal is badly leaking
                                                                    with no spare parts available on board. An order has been raised. Delivery and
                                                     Regal          repair dates are to be determined. Ship staff can replace the part once a spare
     245.    08.30.2019*    07.29.2019 HA Group                                                                                                                                                                                          Complete
                                                     Princess       arrives however, as the system is under warranty, a service technician repair may
                                                                    be required. A technician is currently on board examining the software issue.
                                                                    There is an operational impact in that, if ballast operations are required, the system
                                                                    continues to trip every 7-12 minutes during the back-flushing operation.
                                                                    Incinerator #1 is unavailable due to the failure of the secondary burner control         The new module is expected to be delivered to the ship on September
                                                     Queen Mary     module. There was no non-critical spare available on board. This has resulted in         17, 2019.
     246.    08.30.2019*    07.22.2019 CUK                                                                                                                                                                                               In Progress
                                                     2              reduced processing capacity. Incinerator #2 remains fully functional. A new
                                                                    module was ordered.
                                                                    While the ship was underway, the incinerator was placed out of service due to            The incinerator is still out of service given the extent of the required
                                                                    secondary combustion Fan Failure due to a broken bearing and shaft of the motor.         repairs. CCL is currently working with vendors to arrange for the repair.
                                                                    The ship is working on rebuilding the shaft and replacing the bearing, which is
                                                                    taking longer; the incinerator needs to remain out of service until the completion
                                                     Carnival
     247.    08.30.2019*    07.01.2019 CCL                          of the job. In the meantime garbage needs to be compacted to be offloaded ashore.                                                                                    In Progress
                                                     Sunshine
                                                                    The job was completed on 02 July (one day later) and the system was tested and
                                                                    placed back in service. Shore side was notified and an entry was made in the
                                                                    NAPA eLog. The bearing is available on board and the shaft is being fabricated
                                                                    by the chief fitter.
                                                                    While alongside in St. Petersburg, Russia, an Advanced Air Quality System                Flow rates had been increased and this led to the high level trip.
                                                                    (AAQS) tripped due to a high water level alarm resulting in DG4 running for five         Subsequently another DG was run on MGO and the AAQS remained
     248.    08.30.2019*    06.29.2019 CUK           Aurora         minutes on non-compliant fuel. This is believed to be within the troubleshooting         off for the remainder of the call. Authorities were not notified of the Complete
                                                                    window and therefore not considered an ECA violation. A standby DG was                   issue. The engineers continued to closely monitor system performance
                                                                    started on compliant fuel. The AAQS alarms were reset and the pumps were                 and have not experienced the same issue elsewhere.

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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 94 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                   Status of
  Number     Notification    Incident     Group         Vessel                                Description of Incident                                                 Analysis Summary and Action Plan                            Action Plan
                                                                restarted. Engineers struggled all day to keep the AAQS compliant due to issues
                                                                with SO2/CO2 ratio. Issues with the harbour water salinity were suspected. Flow
                                                                rates had been increased and this led to the high level trip. Subsequently another
                                                                DG was run on MGO and the AAQS remained off for the remainder of the call.
                                                                Authorities were not notified of the issue. The engineers continued to closely
                                                                monitor system performance and have not experienced the same issue elsewhere.
                                                                While the ship was alongside in Civitavecchia, Italy, a small amount of sludge        The Harbor Master engaged a local vendor for further cleanup and
                                                                sprayed into the water from the bunker break during the sludge offload. The           requested the ship's official statement, which was provided by the Chief
                                                                incident occurred when the hose slipped off the camlock connection which was          Engineer. The vendor reported that the slip of the hose was due to a
                                                                delivered by the shoreside vendor and connected to the ship's sludge offload          strap that broke. They have acknowledged responsibility and will
                                                                flange. Most of the spill was contained inside the bunker break however a small       assume the cost of water cleaning operation. The equipment in use was
                                                                unquantifiable amount of the sludge sprayed overboard and on the fender causing       certified and the governmental certificate had been provided by the
                                                                discoloration on the sea surface. The discharge operation was immediately             ship's agent prior to the start of the operation.
                                                                stopped and the clean-up carried out by the ship's crew using oil spill equipment.
     249.    08.30.2019*    08.10.2019 HA Group      Koningsdam                                                                                                                                                                   Complete
                                                                The MARPOL Annex I violation was entered in the Oil Record book and Deck
                                                                Logbook. The Port Agent and the Harbor Master were informed. The Harbor
                                                                Master engaged a local vendor for further cleanup and requested the ship's official
                                                                statement, which was provided by the Chief Engineer. The vendor reported that
                                                                the slip of the hose was due to a strap that broke. They have acknowledged
                                                                responsibility and will assume the cost of water cleaning operation. The
                                                                equipment in use was certified and the governmental certificate had been provided
                                                                by the ship's agent prior to the start of the operation.
                                                                While the ship was underway to Juneau, Alaska approximately nine liters of            The scuppers and ship's side were cleaned upon arrival in Juneau. The
                                                                hydraulic oil (HYSPIN HV32) leaked overboard through the scuppers from a              alarm on the Bridge ABB was activated and acknowledged by the bridge
                                                                lifeboat davit. Upon review it was discovered that a low-level alarm on the davit     officers but they did not take action because they were focusing on other
                                                                activated at 01:10 and it is believed that the leak continued throughout the night.   issues. A Master’s Hearing was conducted and Formal Warnings were
                                                                The review revealed that the pressure on the davit system was 220bar. The             issued to both officers on watch. The National Response Center, Alaska
                                                                manometer which shattered and leaked was rated up to 400 bar. Presently, it is        Department of Environmental Conservation and U.S. Coast Guard
                                                                not known why the manometer failed but it is believed to have been a mechanical       (USCG) were notified.
                                                                failure of the inner workings of the gauge, allowing oil to pass through the stem
                                                                into the gauge itself. The rubber cap on top did not pop off when pressurized,
     250.    08.30.2019*    08.08.2019 HA Group      Westerdam                                                                                                                                                                    Complete
                                                                forcing the glass to explode. The scuppers and ship's side were cleaned upon
                                                                arrival in Juneau. The alarm on the Bridge ABB was activated and acknowledged
                                                                by the bridge officers but they did not take action because they were focusing on
                                                                other issues. A Master’s Hearing was conducted and Formal Warnings were
                                                                issued to both officers on watch. The National Response Center, Alaska
                                                                Department of Environmental Conservation and U.S. Coast Guard (USCG) were
                                                                notified. USCG Sector Juneau issued the ship a Notification of Federal Interest
                                                                and asked the ship for a Witness Statement, which was completed by the EO. An
                                                                Oil Record Book entry was made.
                                                                During routine maintenance while the ship was alongside in Juneau, AK, a few          Preparation and supervision procedures were in place, however in this
                                                                drops of oil-based paint were accidentally dropped into the water. The Ocean          case the proper preparation and supervision where not followed for the
                                                     Ruby       Ranger was informed of the MARPOL Annex I violation and he advised ADEC.              specific job and disciplinary action was taken to the crew involved in
     251.    08.30.2019*    08.05.2019 HA Group                                                                                                                                                                              Complete
                                                     Princess   The Port Authority was notified via the local agent. The NRC was notified             the incident. As a preventive action, canvas must be used while
                                                                directly. Preparation and supervision procedures were in place, however in this       painting.
                                                                case the proper preparation and supervision where not followed for the specific


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 95 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                                    Status of
  Number     Notification    Incident     Group         Vessel                                     Description of Incident                                               Analysis Summary and Action Plan                          Action Plan
                                                                    job and disciplinary action was taken to the crew involved in the incident. As a
                                                                    preventive action, canvas must be used while painting. Garbage Record Book
                                                                    and Deck log entries were made.
                                                                    While the ship was underway in Alaskan waters, the ship accidentally discharged      The IAG findings are pending.
                                                                    overboard approximately nine cubic meters of recreational water from the ship's
                                                                    Jacuzzis. Four Jacuzzis were discharged to sea while the bromine quantity was
                                                     Coral          still above the limit in violation of the EPA Vessel General Permit. Notifications
     252.    08.30.2019*    08.04.2019 HA Group                                                                                                                                                                                   In Progress
                                                     Princess       were made to the Ocean Ranger, ADEC, EPA and U.S. Coast Guard. A Level 3
                                                                    investigation has been initiated with the IAG investigator boarding on 10 August.
                                                                    Initial information from the ship indicates a number of potential apparent and
                                                                    contributing causes, which have been provided to the investigator.
                                                                    During the previously reported rescue boat drop incident in Cozumel, Mexico,         Once that the rescue boat was recovered, the water residue was removed
                                                                    seawater entered the bilge well of the boat that was dry prior to the incident.      and collected in drum as bilge water.
                                                                    During recovery of the rescue boat, some of this water was lost into the sea. The
                                                     Carnival
     253.    08.30.2019*    08.03.2019 CCL                          surface of the water did not show traces of oil. Once that the rescue boat was                                                                                Complete
                                                     Fantasy
                                                                    recovered, the water residue was removed and collected in drum as bilge water.
                                                                    The MARPOL Annex I violation was entered in the Oil Record Book and reported
                                                                    to the Port Authority via the local agent.
                                                                    While the ship was alongside in Charleston, South Carolina, the Advanced Air         To prevent reoccurrence, the software was updated for the AAQS with
                                                                    Quality System (AAQS) on Diesel Generator (DG) #3 operated with an overboard         correct alarm set point. The system is now functioning properly.
                                                                    pH of less than 6 for approximately seven hours. The Technical team was not
                                                                    aware of the non-compliance as no alarm activated on the control panel or
                                                                    automation system. The panel was configured to VGP Parameters and showed
                                                                    green for all parameters with a reading of 5.8. Upon discovery, DG#3 was
                                                     Caribbean      stopped, and another DG on MGO started. The onboard technical team became
     254.    08.30.2019*    07.29.2019 HA Group                                                                                                                                                                                   Complete
                                                     Princess       aware of the issue after the Technical Officer was contacted by a colleague who
                                                                    was attending C-SMART observed Neptune AAQS operation for the vessel. The
                                                                    cause of this event was the system’s lack of alarming for the pH exceedance. The
                                                                    incident was recorded in the AAQS Log and the port agent, U.S. Coast Guard,
                                                                    EPA and Flag were informed. To prevent reoccurrence, the software was updated
                                                                    for the AAQS with correct alarm set point. The system is now functioning
                                                                    properly.
                                                                    While the ship was departing Grand Turk in red manning, the Staff Captain            The Level transmitter for DB 11 Port will be checked for functioning
                                                                    observed an effluent discharge from port side mid ship. The Captain informed         and calibration. The “GW/BW11 Port” High Level Alarm has been
                                                                    the Chief Engineer via talk back system regarding this discharge and the EOOW        lowered from 80% to 70%.
                                                                    stopped the transfer pump and the overflow was stopped. The Master checked
                                                                    the NAPA stability computer and found “GW/BW11 Port” was showing high
                                                                    level with 100% capacity. This discharge lasted for approximately three minutes
                                                     Carnival       and approximately 75 liters of grey water mixed with galley drain was discharged
     255.    08.30.2019*    08.08.2019 CCL                                                                                                                                                                                        Complete
                                                     Elation        overboard inside the Turk & Caicos EEZ in violation of local regulations. This
                                                                    was reported to the local authorities and recorded in the Grey Water Log. After
                                                                    investigation, the Chief Engineer confirmed that grey water went overboard from
                                                                    “GW/BW11 Port” via Air vent # 81. The level transmitter will be checked for
                                                                    function and calibration. As an immediate preventive measure, the "GW/BW11
                                                                    Port" high level alarm was lowered from 80% to 70%. Shipboard investigation
                                                                    is in progress to determine additional preventive actions.


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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 96 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                     September 25, 2019 Quarterly Issue Tracker - CAM Notifications to Interested Parties
                                         Operating
   Row         Date of        Date of     Line /                                                                                                                                                                         Status of
  Number     Notification    Incident     Group         Vessel                                    Description of Incident                                      Analysis Summary and Action Plan                         Action Plan
                                                                    While the ship was alongside in Cherbourg, France, crewmembers were chipping The EO will monitor future paint chipping operations to verify that the
                                                                    away old paint on the starboard side of the ship (on open decks), when suitable measures are in place to prevent paint chips entering the water.
                                                                    approximately 20 grams of paint chippings entered the water. This work was
                                                                    stopped as soon as the Environmental Officer (EO) was informed. The teams
                                                     Queen          were briefed on using appropriate measures to prevent paint from entering the
     256.    08.30.2019*    06.29.2019 CUK                                                                                                                                                                               Complete
                                                     Victoria       water, which they will do in the future. The MARPOL Annex V violation was
                                                                    reported to the port agent to inform the relevant authorities and was recorded in
                                                                    the Garbage Record Book. The EO will monitor future paint chipping operations
                                                                    to verify that the suitable measures are in place to prevent paint chips entering the
                                                                    water.




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Items without an asterisk previously appeared and are either in progress or pending verification.                             95
                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 97 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                           September 25, 2019 Quarterly Issue Tracker - Environmental Open Reports
                                                         Operating
                                            Date of
   Row          Notice       Date of                      Line /                                                                                                                                                                   Status of
                                           Incident
  Number       Number      Notification                   Group          Vessel                   Description of Incident                                       Analysis Summary and Action Plan                                  Action Plan
                                                                                    An employee reported that the oil record book entries The Incident Analysis Group investigation found no evidence of a systemic delay
                                                                                    are being completed by one engineer, as opposed to in completing the Oil Record Book. Additionally, the investigation confirmed all
                                                        Costa                       all who performed the applicable tasks (e.g., transfers, ORB entries were made as required by HESS-MS ENV-1201.
     1.      #12-2019*     06.02.2019     Unknown                     AIDAvita                                                                                                                                            Complete
                                                        Group                       bunkering, late entries, etc.). The Incident Analysis
                                                                                    Group will lead an investigation into the allegation.
                                                                                    A non-employee caller reported that “[s]ince 2016, the   The complainant did not respond to the Company's request for more information.
                                                                                    Carnival cruise ship, Liberty, has been dumping waste    Consequently, the incident was closed. Please note the open report notes
                                                                                    into the ocean. The waste includes human fecal           incorrectly noted the Incident Analysis Group would lead an investigation into the
                                                                      Carnival
     2.      #13-2019*     06.05.2019     Unknown       CCL                         matter, left over food, plastic, etc.” The caller        allegation.                                                                        Complete
                                                                      Liberty
                                                                                    reported he or she became aware of the incident from
                                                                                    a “news outlet.” The Incident Analysis Group will
                                                                                    lead an investigation into the allegation.
                                                                                    An employee reported that after pipes burst in the       The Incident Analysis Group led an investigation into the allegation. Despite best
                                                                                    engine casing, the waste and water collected was         efforts, the ship involved could not be identified. The investigators concluded that
                                                                                    taken to the garbage room and poured down the drain.     as described in HESS-MS INT-1007, it is not immediately evident the engine
                                                                                    The employee attempted to raise the issue but was        casing is part of the machinery space. The investigator recommended the company
                                                                                    reportedly ignored or told that the engine room casing   clarify the definition of the engine casing. The Company was given until
                                                                      Unknown       was not part of the machinery space. The Incident        September 30, 2019, to make a determination on clarifying the definition of the
     3.      #14-2019*     06.06.2019     Unknown       CCL           Carnival      Analysis Group will lead an investigation into the       engine casing.                                                                       In Progress
                                                                      Ship          allegation.




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                                                             Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 98 of
                                                                                                             100
                                                                            United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                          September 25, 2019 Quarterly Issue Tracker - Environmental Open Reports
                                                         Operating
                                            Date of
   Row          Notice       Date of                      Line /                                                                                                                                                                   Status of
                                           Incident
  Number       Number      Notification                   Group          Vessel                    Description of Incident                                          Analysis Summary and Action Plan                              Action Plan
                                                                                    A contractor via the hotline website made the            During the investigation the Company identified that this complaint came from the
                                                                                    following report: There are no filters in place. Drain   Oriana. Although the Oriana is not an ECP Covered Vessel, in the interest of full
                                                                                    cups missing…Some drain cups screw missing.              transparency, the Company wanted to still provide you with the investigation and
                                                                                    Waiters, cabin crew laundry workers throwing all sort    outcome. The ship was not designed to have any scupper “filters” and the
                                                                                    of paper plastic also chemicals inside to make their     allegation of missing filters was assumed to refer to missing drain bells. Many
                                                                                    life easy. Food beverage manager [sic] new to his        years ago a mesh filter was added to the underside of rectangular galley scupper
                                                                                    position…He is harassing [sic] and threatening           cover plates; however, because the mesh easily clogged to prevent the scuppers
                                                                                    potwash boys forcefully taking them to clean the tanks   from draining as designed, the mesh filter idea was not found to be successful and
                                                                                    once been called by chief engineer. These tanks are      the mesh was removed to return the scuppers to their original design to allow
                                                                                    in confined place on deck 2. Only authorized person      proper drainage. There is no requirement to have a mesh filter on the underside of
                                                                                    should to [sic] go there but they are not keeping the    the rectangular scupper cover plates. Drain bells are missing from many of the
                                                                                    records of these cleanings. So no one [sic] knows        scuppers in galleys throughout the ship. A maintenance order was submitted to
                                                                                    what happened. [sic]. Chief engineer and                 replace the missing scupper drain bells. Pursuant to Instructional Notice
                                                                                    environmental office aware of this violence. The         ENV/07/2019, a robust management system is in place to: (a) prevent non-food
                                                                                    Incident Analysis Group will lead an investigation       items from entering food waste pulpers; and (b) to detect the unauthorized disposal
                                                                                    into the allegation.                                     of non-food waste via food waste pulpers. A common theme in investigation
                                                                                                                                             interviews was that source reduction efforts, improved food waste segregation
                                                                                                                                             practices, food waste management educational initiatives, enhanced food waste
                                                                                                                                             management inspections, and closer food waste process supervision, have all
                                                                                                                                             worked to significantly reduce the amount and likelihood of non-food items
                                                                                                                                             entering food waste systems. If people were pushing plastic into pulpers as alleged,
                                                                                                                                             we would be finding that plastic within food waste tanks; however, we are not
                                                                                                                                             finding plastic in these tanks. A program was developed and implemented on the
     4.      #15-2019*     06.10.2019     Unknown       CUK           Oriana                                                                                                                                                        Complete
                                                                                                                                             Oriana to help galley staff understand the importance of proper food waste
                                                                                                                                             management. The program begins with an orientation session where the
                                                                                                                                             environmental officer delivers a PowerPoint presentation titled “Understanding
                                                                                                                                             the Food Waste Process”. This is followed by a safety presentation from the Staff
                                                                                                                                             Chief Engineer in preparation for an escorted visit to see food waste system
                                                                                                                                             equipment on lower decks. The participants are provided with the appropriate
                                                                                                                                             personal protective equipment. The HGM tells everyone that the field trip down
                                                                                                                                             to see the food waste equipment is optional for anyone who does not wish to
                                                                                                                                             participate. Everyone was provided with an opportunity to ask questions or make
                                                                                                                                             comments. There was no evidence of anyone telling crew members that they
                                                                                                                                             would be forced to clean out food waste tanks or grease traps if any plastic were
                                                                                                                                             found in them. After watching a demonstration on how to inspect and skim grease
                                                                                                                                             trap contents, galley staff are invited to give it a try if they wish to do so.
                                                                                                                                             Interviewees consistently reported that everyone finds this hands-on training
                                                                                                                                             program very beneficial. The participants seem to value the experience. In
                                                                                                                                             addition to the periodic orientation and educational visits to see the food waste
                                                                                                                                             tanks and grease traps, investigators found that two galley crew members are
                                                                                                                                             periodically going down to grease traps to remove non-food waste by skimming
                                                                                                                                             those materials off the surface of the grease trap contents. Their job title was Hotel
                                                                                                                                             Assistant or “pot washer”. Both of these individuals were interviewed and both
                                                                                                                                             expressed pleasure in performing this task voluntarily; nonetheless, the
                                                                                                                                             investigators question whether regular grease trap skimming should be a technical
                                                                                                                                             department maintenance function rather than a routine galley task.


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                                                              Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 99 of
                                                                                                              100
                                                                             United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                           September 25, 2019 Quarterly Issue Tracker - Environmental Open Reports
                                                         Operating
                                            Date of
   Row          Notice       Date of                      Line /                                                                                                                                                         Status of
                                           Incident
  Number       Number      Notification                   Group          Vessel                     Description of Incident                                        Analysis Summary and Action Plan                     Action Plan
                                                                                    A Caribbean Princess guest via the hotline website The Company thanked the reporter for the important message and gave the
                                                                                    made the following report, "Carnival Cruises has been assurance that the company is working very hard on environmental issues and
                                                                                    found guilty and fined millions of dollars for illegally appreciated the reporter's feedback.
                                                                                    dumping rubbish into the ocean. This is absolutely
                                                                                    appalling and unacceptable behavior and MUST be
                                                                                    dealt with in the strongest possible way. The buck
                                                                      Caribbean
     5.      #16-2019*     06.13.2019     Unknown       HA Group                    stops with the CEO of the company and I would hope                                                                                  Complete
                                                                      Princess
                                                                                    that he/she is putting in place measures to prevent this
                                                                                    from ever happening again." The reporter disclosed
                                                                                    she learned of “Dumping Rubbish Overboard” from
                                                                                    social media and news reports. Holland America
                                                                                    Group will contact the guest to find out additional
                                                                                    information.
                                                                                                                                             Event investigation is currently underway.
                                                                                    A hotline complainant reported that a contractor told
                                                                                    them that on or about July 16, 2019, confetti was fired
                                                                      Carnival      off during a party on the outdoor lido deck. Use of
     6.      #17-2019*     07.18.2019     07.16.2019    CCL                                                                                                                                                             In Progress
                                                                      Dream         confetti is not allowed on open decks. It was reported
                                                                                    to the complainant that no confetti went overboard,
                                                                                    but the risk of that happening was there.
     7.      #18-2019*     08.13.2019                                 Carnival      A complainant reported the ship cannot offload food The Company will request the complainant provide more information. Further
                                          Unknown       CCL           Breeze        waste.                                                   review by Carnival Cruise Line is currently underway.                      In Progress




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                                                            Case 1:16-cr-20897-PAS Document 162-1 Entered on FLSD Docket 09/25/2019 Page 100 of
                                                                                                            100
                                                                           United States v. Princess Cruise Lines, Ltd., 1:16-cr-20897 (S.D. Fla.)
                                                                  September 25, 2019 Quarterly Issue Tracker - Additional Notifications to Interested Parties
                                             Operating
   Row            Date of       Date of       Line /                                                                                                                                                                                  Status of
  Number         Incident       Notice        Group          Vessel                                Summary of Incident                                                    Analysis Summary and Action Plan                           Action Plan
                                                                         On November 29, 2017, Maritime New Zealand filed criminal charges             On June 28, 2018, Princess Cruises entered a plea of guilty for "caus[ing]
                                                                         against Princess Cruise Lines for two alleged violations of New Zealand’s     or permit[ting] a maritime product, namely a pressurized nitrogen cylinder
                                                                         Maritime Transport Act 1994, sections 65(1)(a) and (2)(a) in connection       forming part of a lifeboat davit stored energy system, to be maintained or
                                                                         with a fatal accident on board the Emerald Princess while that vessel was     serviced in a manner that caused unnecessary danger or risk to other
                                                                         docked in Port Chalmers, New Zealand on or about February 9, 2017. In         people." The Court issued its sentencing order on January 21, 2019. The
                                                                         sum, a high-pressure nitrogen cylinder burst while being re-pressurized,      financial penalty issued by the Court was NZD 15,000 (USD 10,139). The
                                                                         which resulted in the death of an Emerald Princess crew member                Court had the discretion to award reparations to the family of the deceased
                                                                         standing nearby. The Transport Accident Investigation Commission              crew member and awarded reparations in the amount of NZD 259,483
                                                                         (TAIC) in New Zealand investigated the incident and issued an interim         (USD 175,407.89). Payment has been provided to the Court.
                                                          Emerald        report on May 10, 2017, concluding that the burst nitrogen cylinder had
     1.        02.09.2017    11.29.2017     HA Group
                                                          Princess       suffered significant corrosion at the point of failure. A metallurgist’s                                                                                    Complete
                                                                         initial assessment also concluded that the failure had occurred as a result
                                                                         of overload caused by corrosion thinning. TAIC issued recommendations
                                                                         to the Navalimpianti Tecnimpianti Group (manufacturer of the cylinder),
                                                                         the International Association of Classification Societies, and to CLIA
                                                                         (Cruise Lines International Association) regarding inspection and storage
                                                                         requirements for these cylinders. No recommendations in the report were
                                                                         directed to Princess Cruise Lines. The maximum penalty for each of the
                                                                         two alleged violations cannot exceed NZ $100,000.




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